Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 1 of 449 Page ID #:6229




                             EXHIBIT 46




                                      Exhibit 46
                                        6186
                         ~:3g&'     '^sags™*

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                                                        ALLEN, MATKINS, LECK, GAMBLE 8e MALLO;RY                               SFUMD RECORDS CTR
                                                                             ATTORNEYS AT LAW
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PAUL D. O'CONNOR
S LEE HANCOCK
                                  FJOBYN B. GRANT
                                  MARK R. HARTNEY
                                                                    December 26, 1991                                 HIM SANTA MONICA BLVD., SUITE I22O

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RICHARD E. STINEHART              DAVID M. GOOSENBERG                                                                         OUR FILE NUMBER:
STEPHEN R. THAMES                 BRIAN J. MOONEY
JOHN K. MCKAY                     CLARA Y. RUYAN
DANA 1 SCHIFFMAN                  SCOTT S. WELTMAN
ANNE E. KLOKOW                    GREGORY B. TRATTNER
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NEIL N. GLUCK                     MARK W. HARRIQIAN                                                                            S7694-002
CHERYL 5. RIVERS                  MICHAEL L. SCHENKMAN
JOSEPH S. KLEIN
DAVID W. WENSLEY
                                  LEE ALI SHI RANI
                                  ROBERT J. SYKES
                                                                                                                               1356/2PLA
GARY S. MCKITTERICK               MATTHEW W. KOART                                                                       WRITER'S DIRECT DIAL NUMBER:
SALLY ST1RES                      FREDRICK j. ROSENTHAL
PATRICK J. GRADY



•A PROFESSIONAL COR PI
                                                                                                                           714/851-5406


                                                                                                                               SFUND RECORDS CTR
            Ms. Pamela Wieman
            Project Manager                                                                                                        88103163
            U.S. EPA, Region IX
            75 Hawthorne Street
            San Francisco, California                                     94105
                                       Re: McColl Superfund Site, Fullerton, California
            Dear Para:
                     Enclosed are various handouts, viewgraphs, reports and
            papers which the McColl Site Group ("MSG") has provided to the
            EPA in connection with the EPA/MSG Technical meetings. We would
            like these materials submitted into the administrative record for
            McColl, if you have not already included them. The enclosed
            materials consist of the following:
                                       A.         Handouts from the January 15, 1991, Technical
                                                  Meeting;
                                       B.         Handouts from the April 12, 1991, Technical Meeting;
                                       C.         Handouts from the May 21, 1991, Technical Meeting;
                                       D.         Handouts from the July 16, 1991, Technical Meeting;
                                       E.         Paper entitled "Rationale for Rejecting Total
                                                  Solidification in Place" distributed at the
                                                   July 16, 1991 Technical Meeting, with accompanying
                                                   references;



                                                                                  Exhibit 46
\                                                                                   6187
Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 3 of 449 Page ID #:6231
                   LAW OFFICES

ALLEN, MATKINS, LECK, GAMBLE &. MALLOEY
 A PARTNERSHIP INCLUDING PROFESSIONAL CORPORATIONS




   Ms. Pamela Wieman
   December 26, 1991
   Page 2


                 F.     Summary of and handouts from the August 6, 1991,
                        Technical Meeting;
                 G.     Summary of and handouts from the August 29, 1991,
                        Technical Meeting;
                 H.     Handouts from the September 10, 1991, Technical
                        Meeting (the Summary is in the process of being
                        finalized and will be forwarded to you when it is
                        completed);
                 I.     Paper entitled "Personal Protective Equipment
                        Considerations During the Implementation of the
                        Selective Excavation Remedial Alternative" provided
                        to the EPA after the September 10, 1991 Technical
                        Meeting; and
                 J.     Handouts from the October 21, 1991, meeting among
                        Dave Jones, John Blevins, Bill Duchie and John
                        Zannos.
            In addition, we have enclosed copies of the following
   ancillary materials for submittal into the McColl administrative
   record if you have not already done so:
                 K.     Chart entitled "Six Months to Clean-Up" with
                        accompanying attachment;
                 L.     Letter to John Blevins dated August 23, 1991,
                        regarding "Analysis of Onsite Incineration Costs";
                M.      Letter dated October 4, 1991, to John Blevins
                        regarding proposed melded schedule;
                 N.     Report of Dr. Charles Satterfield entitled
                        "Reactions Occurring in the McColl Superfund Site"
                        and accompanying letter to John Blevins dated
                        October 18, 1991;
                O.      Analytical Testing Protocols and Analytical Test
                        Results and accompanying letter to John Blevins
                        submitted to EPA on October 30, 1991;




                                                Exhibit 46
                                                  6188
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                   LAW OFFICES

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 A PARTNERSHIP INCLUDING   PROFESSIONAL CORPORATIONS




   Ms. Pamela Wieman
   December 26, 1991
   Page 3


                 P.        Report of Environmental Solutions, Inc. entitled
                           "Responses to EPA Questions Regarding Tar
                           Definition and Emission Control Under the
                           February 12, 1991 Selective Excavation, Treatment
                           and RCRA Equivalent Closure Approach" and
                           accompanying letter to John Blevins dated
                           October 31, 1991;
                 Q.        Letter dated November 1, 1991, to John Blevins
                           regarding the biological process at McColl;
                 R.        Letter dated November 18, 1991, to Pam Wieman, with
                           accompanying photographs, regarding the October 23,
                           1991 site visit;
                 S.        Letter dated November 20, 1991, to David B. Jones
                           regarding screening out on-site incineration;
                 T.        Report of ENSR Consulting and Engineering entitled
                           "Review of the START Report for the McColl
                           Superfund Site in Fullerton, California" and
                           accompanying letter to Pam Wieman dated
                           November 27, 1991; and
                 U.        Letter dated December 20, 1991, to David B. Jones
                           regarding on-site incineration.
                 Thank you in advance for your assistance in this matter.
                                                 Very truly yours,


                                                 Cynthia L. Burch, on behalf of
                                                 Shell Oil Company,
                                                 Union Oil Company of California,
                                                 Atlantic Richfield Company,
                                                 Texaco Refining and Marketing, Inc.,
                                                 and Phillips Petroleum Company

   CLB/ceb
   Enclosures




                                                   Exhibit 46
                                                     6189
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                                      Exhibit 46
                                        6190
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                               AGENDA

  I.    SITE SITUATION

  II. CONCERNS WITH TOTAL EXCAVATION AND
      THERMAL DESTRUCTION

   III. SELECTIVE EXCAVATION/TREATMENT
        APPROACH

   IV. NCP EVALUATION OF SELECTIVE
       EXCAVATION/TREATMENT APPROACH

   V. CONCLUSIONS




                                      Exhibit 46                MSG January 15,1991
                                        6191
Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 7 of 449 Page ID #:6235




              SITE HEALTH STUDIES

             ATSDR HEALTH ASSESSMENT


             ORANGE COUNTY
             - BIRTH OUTCOMES
             - COMMUNITY HEALTH SURVEY
             - CANCER STUDY


             DHS
             - HEALTH SURVEYS (1983 & 1988)
             - CANCER STUDY



             EPA
                 PUBLIC HEALTH AND ENVIRONMENTAL
                 ASSESSMENT


             MSG
             - RISK ASSESSMENT


                                                                 MSG January 15,1991
                                      Exhibit 46
                                        6192
Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 8 of 449 Page ID #:6236




        L     SITE SITUATION




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                                             Exhibit 46
                                               6193
                                                                                                  MSG JANUARY 15,1991
                     Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 9 of 449 Page ID #:6237
                                            EXISTING CdITE PLAN                                                 C               4A
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                                                                                                                    400 FEET




REFERENCE: TOPOORAPHY-BY HAMMON. JENSEN AND WALLEN
           DATE OF PHOTOGRAPHY. NOVEMBER 12.1MO.

           •DEVELOPED BY ENVIRONMENTAL •Oi.UTONS. INC.
           FOR THE McCOLL SITE GROUP.                                                                     MSG JANUARY 15.1091
                                                           Exhibit 46
                                                             6194
   Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 10 of 449 Page ID
                                     #:6238                                                                       4b




               ESTIMATED AVERAGE CONDITIONS


       rO
                                                      CLEAN OVERBURDEN

                                                 MIXED SOIL AND TARRY MATER I*.
       -10



       -20



       -30



                                         LOS COYOTES AND UPPER RAMPART SUMPS
                                           (And Possibly Lower Ramparts Sump R-3)




               MIXED DRILLING MUD                                • SHALLOW ELEVATED
               AND TARRY MATERIAL-                                 ARSENIC

             TARRY MATERIAL-
                                                                                  OVERBURDEN

    i-o-

     -10


     -20


    -30


                                       LOWER RAMPART SUMPS R-1. R-2. AND R-4




•DEVELOPED BY ENVIRONMENTAL SOLUTIONS, INC.        Exhibit 46                                  MSG JANUARY 15. 1991
  FOR THE McCOLL SITE GROUP.
                                                     6195
                                                                      C
                               Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 11 of 449 Page ID
                                                                 #:6239
                                                                                                                               5a




                                                  -SHALLOW ELEVATED
                                                   ARSENIC

                                                          CLEAN OVERBURDEN


                                               MIXED SOIL/DRILLING MUD AND TARRY MATERIAL
         MO                                                  ARRY MATERIAL



    LU                                                    ASPHALTIC MATERIAL
    o    -20




         ^30




                             COMPOSITE EXAMPLE FOR ALL SUMPS
•DEVELOPED BY ENVIRONMENTAL SOLUTIONS. INC
 FOR THE McCOLL SITE GROUP
                                                                                                              MSG JANUARY 15.1991
                                                                   Exhibit 46
                                                                     6196
             C                                                        C
                                 Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 12 of 449 Page ID
                                                                   #:6240                                                C    5b




                                                                         •    Arsenic - 50 to 5,000 ppm
                                                                         •    SO2 Emission Rate - None/Low
                                  SHALLOW ELEVATED ARSENIC
                                                                         •   Average Depth - 2.5 ft.
       \^777&3&tt
                                                                         •   Volume -1,800 c.y.
          ^V..,..l..^ ' i
                                                                         •   Migration Potential - None/Low
                                                                         •   Existing Geotechnical
                                                                             Instability Potential - Low




                                                      CHARACTERISTICS OF
                                                       ELEVATED ARSENIC
•DEVELOPED BY ENVIRONMENTAL SOLUTIONS, INC
 FOR THE McCOLL SITE GROUP BASED ON AVAILABLE DATA.
                                                                    Exhibit 46                                  MSG JANUARY 15.1991
                                                                      6197
           C                                                       C
                              Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 13 of 449 Page ID
                                                                #:6241                                                 C      5c




                                                                              Arsenic - Low
                                   DRILLING MUD                               SO2 Emission Rate - Low
                                                                              Maximum Depth -13 ft.
                                                                              Volume -10,900 c.y.
                                                                              Migration Potential - None
                                                                              Existing Geotechnical
                                                                              Instability Potential - High




                                                     CHARACTERISTICS OF
                                                        DRILLING MUD
•DEVELOPED BY ENVIRONMENTAL SOLUTIONS. INC.                                                                  MSQ JANUARY 15, 1991
 FOR THE McCOLL SITE GROUP BASED ON AVAtABLE DATA.               Exhibit 46
                                                                   6198
                                Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 14 of 449 Page ID
                                                                  #:6242                                              C5d




                                                                          Arsenic - Low
                     MIXED SOIL/DRILLING MUD/                             SO2 Emission Rate - Moderate
                     AND TARRY MATERIAL
                                                                          Maximum Depth -16 ft.
                                                                          Volume -19,100 c.y.
                                                                          Migration Potential - Low
                                                                          Existing Geotechnical
                                                                          Instability Potential - Low



                          CHARACTERISTICS OF
              MIXED SOIL/DRILLING MUD AND TARRY MATERIAL
•DEVELOPED BY ENVIRONMENTAL SOLUTIONS. INC.
 FOR THE McCOLLSTTE GROUP BASED ON AVAILABLE DATA.                                                             MSG JANUARY 15,1991
                                                                   Exhibit 46
                                                                     6199
                             Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 15 of 449 Page ID
                                                                   C
                                                               #:6243                                              C
                                                                                                                        5e




                                                                             Arsenic - None
                                                                             SO2 Emission Rate -
                               TARRY MATERIAL                                High («1,200 ppm)
                                                                             Maximum Depth -17 ft.
                                                                             Volume - 5,900 c.y.
                                                                             Migration Potential - High
                                                                             Existing Geotechnical
                                                                             Instability Potential - High




                             CHARACTERISTICS OF TARRY MATERIAL

•DEVELOPED BY ENVIRONMENTAL SOLUTIONS. INC.
 FOR THE McCOLL SITE GROUP BASED ON AVAILABLE DATA.             Exhibit 46                                  MSG JANUARY 15.1991
                                                                  6200
                                                                       C
                                   Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 16 of 449 Page ID
                                                                     #:6244                                              C
                                                                                                                                5f




                                                                                   Arsenic - None
                                            ASPHALTIC MATERIAL
                                                                                   SO2 Emission Rate - High
                                                                                   («1,000 ppm)
                  ;^?*^
                                                                                   Maximum Depth - 30 ft.
                                                                                   Volume - 48,000 c.y.
                                                                                   Migration Potential - None
                                                                                   Existing Geotechnical
                                                                                   Instability Potential - None



                       CHARACTERISTICS OF ASPHALTIC MATERIAL

•DEVELOPED BY ENVRONMENTAL SOLUTIONS. INC.
 FOR THE McCOU. SITE GROUP BASED ON AVALABLE DATA.                    Exhibit 46                              MSG JANUARY 15.1991
                                                                        6201
                                                                      C
                                  Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 17 of 449 Page ID
                                                                    #:6245
                                                                                                                           C     2a
                                               SITE RISK COMPARED TO
                                             REMEDIATION ALTERNATIVES
             g*
             cc
                                     NO
                                   ACTION
             o                      7x104
             z
             to
              UJ
             or
             o      10'4 -




                                                                                                           EXCAVATION
                                                                                                               AND
                      I-5 _
                                                                                                             ONSITE
                                                                                                          INCINERATION
                                                                                                              6x10*



      RISK         ID"6 -
     LEVEL                                                                                EXCAVATION
                                                                                             AND
                                                                                          REDISPOSAU
                                                                                             2x10'7

                   107 -                                          RCRA
                                                               EQUIVALENT
                                                                CLOSURE
                                                                 3x10 8


                   10s -




                   10'9
• BASED ON SROA DATA CONSIDERING CANCER RISKS ONLY.
  IMPLEMENTATION RISKS ARE NOT INCLUDED.                             Exhibit 46                                  MSG JANUARY 15. 1991
                                                                       6202
            C                                                      C
                               Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 18 of 449 Page ID
                                                                 #:6246                                                C


                                                     McCOLL SITE WASTE
                                                        VOLUME & RISK


         ARSENIC
           2%

                                                                                    ARSENIC
                                                                                      98%
                                                                                     7x10'


                             ALL OTHER WASTE
                                   98%




                                                                                                     ALL OTHER WASTE
                                                                                                            2%
                                                                                                          1x10' 5
                     WASTE VOLUME ESTIMATE                                     ASSOCIATED RISK FOR
                                                                                UNREMEDIATED SITE




DEVELOPED BY ENVIRONMENTAL SOLUTIONS. INC. IN
ASSOCIATION WITH ENVIRON FOR THE McCOLL SITE GROUP
BASED ON DATA FROM THE SROA                                                                                MSG JANUARY 15.1991
                                                                  Exhibit 46
                                                                    6203
                                                                         C
                                     Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 19 of 449 Page ID
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                                                                                     EPA ACCEPTABLE
                      OT 10                                                            RISK RANGE
                      £
                      oc
                      a>. W"

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                           10



                                                   METALS                               ORGANICS
                                                (e.g., ARSENIC)                          (2x10-6)
                                                  (7x10-4)




                                 RISK LEVELS BY CHEMICAL GROUPS
                                                          UNREMEDIATED SITE
' DEVELOPED BY ENVIRONMENTAL SOLUTIONS. INC
 IN ASSOCIATION WITH ENVIRON FOR THE McCOLL SITE GROUP
 BASED ON DATA FROM THE SROA                                            Exhibit 46                              MSG JANUARY 15, 1991
                                                                          6204
                                                                       C
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                                                                   #:6248                                               C




                                                 -2
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                                            10

                                            10"
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                                                                                   EPA ACCEPTABLE
                                            10*
                                                                                     RISK RANGE
                                       S2 10
                                       c
                                                 -7
                                            10

                                            10



                                                             SOIL       DUST AND VAPOR
                                                          INGEST1ON       INHALATION
                                                           (5x10-4)         (2x10-4)




                                                 UNREMEDIATED SITE RISKS
                                                   BY EXPOSURE ROUTE
• DEVELOPED BY ENVIRONMENTAL SOLUTIONS. INC.
  IN ASSOCIATION WITH ENVIRON FOR THE McCOLL SITE GROUP
 BASED ON DATA FROM THE SROA
                                                                      Exhibit 46                            MSG JANUARY 15, 1991
                                                                        6205
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                                  #:6249




    II.    CONCERNS WITH TOTAL EXCAVATION AND
           THERMAL DESTRUCTION




                                   Exhibit 46
                                     6206
                                                                   MSG JANUARY 15,1991
Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 22 of 449 Page ID
                                  #:6250
                                                                                   10

             WASTE EXCAVATION
          IMPLEMENTATION PROBLEMS
     PROJECT IMPLEMENTATION
     - Large Scale Operations within Enclosures
     - Material Segregation
     - Waste Material Stability
     - Waste Handling to Truck Load-Out
     - Complex Ventilation/Air Treatment System
     - Worker Inefficiencies Due to Safety Equipment
     - Depth of Excavation/Side Wall Instability
     - Access for Confirmatory Testing
     - Long Project Duration
     - Environmental Effects on Equipment


 • WORKER HEALTH AND SAFETY
   - Potential Worker Exposure
           •     Lethal SOi Levels
           •     Corrosive Materials
      -    Slippery Conditions
      -    Heat Stress
      -    Noise Levels
      -    Visibility Limitations


      PUBLIC HEALTH AND ENVIRONMENT
      • SO25 HiS Odors and Hydrocarbon Releases
      - Transportation Accidents
      - Noise and Visual Disruption for Long Duration
      • Fire, Explosion, and Other Accidents


 * Developed by Environmental Solutions, Inc.                MSG January 15,1991
   for the McColl Site Group.

                                                Exhibit 46
                                                  6207
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                                      #:6251
                                                                                              12


                    IMPORTANT LESSONS FROM
                       TRIAL EXCAVATION
     SO2 EMISSIONS (up to 1,200 ppm) FAR EXCEED:
     -    OSHA Standards (2 ppm)
     -    IDLH Levels (100 ppm)
     -    Lethal concentration levels (300 ppm for 15 minutes)

    WORKER CONDITIONS WOULD BE UNUSUALLY
    DIFFICULT
          Unusually risky work will require extreme health and safety control.
     -    Satisfaction of OSHA.

     FOAMS CANNOT BE RELIED UPON

     CONVENTIONAL (TESTED) AIR COLLECTION,
     HANDLING, AND CLEANING SYSTEMS WOULD NOT BE
     ADEQUATE

     INCINERATION AFTER SCRUBBING IS PROBABLE FOR
     VOCS

     TARRY MATERIAL EXCAVATION WOULD BE VERY
     DIFFICULT ON LARGE SCALE BASIS

     LARGE WASTE VOLUME INCREASES WOULD RESULT
     FROM WASTE HANDLING

     USE OF CONVENTIONAL EXCAVATING EQUIPMENT IS
     UNLIKELY TO BE FEASIBLE
                                                                                                   i
     PRODUCTION RATES WOULD BE VERY SLOW                                                           !

* Developed by Environmental Solutions, Inc. for the                    MSG January 15,1991
  McColl Site Group, based on the 1990 trial excavation.

                                                           Exhibit 46
                                                             6208
Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 24 of 449 Page ID
                                  #:6252




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                                                           DISTANCE TO
                                                   POTENTIALLY AFFECTED AREAS
                                                       DUE TO EXCAVATION


                                      Exhibit 46
                                        6209
                                        Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 25 of 449 Page ID
                                                                          #:6253                                                                        C   14

                                         ILLUSTRATION OF HEALTH RISKS
                                                      vs.
                                             EXCAVATION PROBLEMS
                                     HEALTH RISKS                                                         OPTIONAL APPROACHES
                                               VS.                                                          TO SOLVE EXISTING
                             EXCAVATION PROBLEMS                                                         GEOTECHNICAL PROBLEMS
                                                                                                          DESIGN CAP DESIGN CAP
                                                                                                                                  SOLIDIFY
                                                                                                             FOR        FOR                  EXCAVATE
                                                                                                                                  MATERIAL
                                                                                                         SETTLEMENT    SEEPS

        ELEVATED ARSENIC                                                          ELEVATED ARSENIC
                                                                                                             -           -           -          -

        DRILLING MUD                                                              DRILLING MUD
                                                                                                             X           -          X          X
        MIXED TARRY SOIL/MUD                                                      MIXED TARRY SOIL/MUD       X           -          X           -

        TARRY MATERIAL                                                            TARRY MATERIAL             X          X           X          X
        ASPHALTIC MATERIAL                                                        ASPHALTIC MATERIAL         -           -           -          -

                                0%             RISK/PROBLEM               100%




                                      LEGEND

                                  •••     POTENTIAL HEALTH RISKm


                                  CD O    POTENTIAL EXCAVATION PROBLEMS




(1)
      BASED ON DATA FROM THE SROA.

      'DEVELOPED BY ENVIRONMENTAL SOLUTIONS. INC.
       FOR THE MoCOLL SfTE GROUP.                                                                                                        MSG JANUARY 15.1991
                                                                                 Exhibit 46
                                                                                   6210
      Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 26 of 449 Page ID
                                                                                            15
                                        #:6254




                CONCERNS WITH TOTAL KXCAVA'fiC v \
                7!2\:HM\r.I>K.STRI OTION


       III.     SELECTIVE EXCAVATION/TREATMENT
                APPROACH




                   >•• *•\<"" •, " > y*\" * '*%"" f




V-X




                                                      Exhibit 46
                                                        6211
                                                                                     10Q1
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                                      #:6255                                                                                                    17




                       NCP ALLOWS FOR SELECTIVE
                    EXCAVATION/TREATMENT APPROACH


                      Federal Reguter / Vol M. Na 48 / Thuxxjay. M«idk ft, 1MO / RuW and RegukUon*

           (ii) AD appropriate Fund-financed         and <e*pleneaUtk» of appropriate
         reepooteeaderCERCLAhatbtea                                                         •tady OU/FS) UM) InvlOTMsUttOB efthc
         iBptcaefited. aad M farther retponte         0) AqfTB* JOoi Th* MtfOnal fOal Of    remedial action and. when •eaeetary.
         ectioo by mpomJbk partie* i*                                                       a* a ooBpooeat of tbt oaapUted
                                                                                            remedy. The nee «f toetttrtonel control;
                                                                                            tlwDerteabctftete for active fcepoaae
                                                                                            meauim («4- trMtMOt end/or
  (A) EPA expects to use treatment to                                                       oaotaiameal of eawce BaJarlal
                                                                                            ratocmtioa of gr*«Dd «M(*n to their
address the principal threats posed by a                                                    beneficial •eee)e» tfat ad* nmedy
site, wherever practicable.                                                                 OWOMWlCeB •COWt M0CMVW CM
                                                                                            detararfoed not to b* practicable, bee*.

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         previdt tb* cute 10 worir^ «i«y» for
                                                                                              (E) EPA cxprctf to
         publiatioo to tht F«*nl t^tor.                                                     (novatfvttodiaoJoty
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                                                     (tveotbealHi
           Mttfcxw wumt SMk •cfloa.
                   tfaerc ta • «k                                       (B) EPA expects to use engineering
               «*U deleted froa tfa« NPL (be
                 bt rxtand to the NPL »-itbou>                        controls, such as containment, for waste
                                                                      that poses a relatively low long-term
                       . to delete t rde«M
         d«ia( At ptA^.'vl
         frceidMNPL, i cball:                                         threat or where treatment is
           (I) NotOk • M\.«ftatenttodelete
         hi d>e                                                       impracticable.
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           (HI) Place copiet of information                                                 lnv«itJfatioo/UMlW'X<t»dy (Rl/FS) I*
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         tofannttton repotftory. Jcacribed in        Ukely to be
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         propeeed far dehtioa. TbtM ItenM thall                                                            Rl/FS feaerally Include*
         be araflable forpsbtic te*pection and                                                  _
                                                       (B) EPA
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         redace. or ooatrol riakt to hoeaaa health
         aad the envtroaieaL Remedial acttoot
                                                       (D)E        (C) EPA expects to use a combination
         an to be hnplfmrntod a* aoon at tile
         data and tafonnatioo make it poeafble to
                                                                 of methods, as appropriate, to achieve
         da •«. Acoocdiagly. EPA hat eetabliihed     too«-tei    protection of human health and the
         Ae foOowinj program foal                    UaMex
         expect* tioai. and prograia ouuu^taneoi                 environment... treatment of the
         principle* to auW in the identification     control)
                                                                 principal threats posed by a site ...
                                                                 combined with engineering controls ...
                                                                    Exhibit 46
                                                                      6212
                                                                                                                          MSG JANUARY 15,1991
                                                                    c
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                                                                  #:6256




                                                                      • Volume -1,800 c.y.
                                   SHALLOW ELEVATED ARSENIC
                                                                      • Average Depth - 2.5 ft.
                                                                      • Rationale for Considering
                                                                        Treatment/Excavation of
                                                                        Material:
                                                                        - Arsenic is the major
                                                                          contributor (98%) to health
                                                                          risk of unremediated site.



                                        REMEDIATION CONSIDERATIONS

•DEVELOPED BY ENVIRONMENTAL SOLUTIONS. INC
 FOR THE McCOLL SITE GROUP                                                                                     MSG JANUARY 15. 1991
                                                                   Exhibit 46
                                                                     6213
              c                                                       c
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                                                                    #:6257                                                  c



                                                                                  Volume -10,900 c.y.
                                         DRILLING MUD

                                                                                  Maximum Depth -13 ft.
                                                                                  Rationale for Considering
                                                                                  Treatment/Excavation of
                                                                                  Material:
                                                                                  - Geotechnically unstable
                                                                                    relative to cap.




                                        REMEDIATION CONSIDERATIONS

•DEVELOPED BY ENVIRONMENTAL SOLUTIONS. INC
 FOR THE McCOLL SITE GROUP
                                                                     Exhibit 46                                  MSG JANUARY 15.1991
                                                                       6214
             c                                                       c
                                 Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 30 of 449 Page ID
                                                                   #:6258




                                                                                 Volume -19,100 c.y.
                                                                                 Maximum Depth -16 ft.
                                                                                 Rationale for Considering
                                MIXED SOIL/DRILLING MUD
                                AND TARRY MATERIAL
                                                                                 Treatment/Excavation of
                                                                                 Materials:
                                                                                 - None, other than it overlays
                                                                                   tarry waste.
                                                                                   • Contains no chemicals
                                                                                     which would pose a
                                                                                     significant health risk.
                                                                                   • Geotechnical stability
                                                                                     relative to cap is not a
                                                                                     major issue.

                                         REMEDIATION CONSIDERATIONS                                                              ro
                                                                                                                                 o




•DEVELOPED BY ENVIRONMENTAL SOLUTIONS, INC.
 FOR THE McCOLL STTE GROUP.                                                                                     MSQ JANUARY 15. 1991
                                                                    Exhibit 46
                                                                      6215
             c                                                       c
                                 Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 31 of 449 Page ID
                                                                   #:6259                                                 c

                                                                                 Volume - 5,900 c.y.
                                                                                 Maximum Depth -17 ft.
                                    TARRY MATERIAL                               Rationale for Considering
                                                                                 Treatment/Excavation of
                                                                                 Material:
                                                                                 - Geotechnically unstable
                                                                                   relative to cap.
                                                                                 - Material mobility yields
                                                                                   seeps which have:
                                                                                   • LowpH.
                                                                                   • Sulfur dioxide and
                                                                                     benzene present.


                                       REMEDIATION CONSIDERATIONS

•DEVELOPED BY ENVnoNMENTAL SOLUTIONS. INC.
 FOR THE McCOLL SITE GROUP.                                                                                     MSG JANUARY 15.1991
                                                                    Exhibit 46
                                                                      6216
                                                                                        c
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                                                                    #:6260                                                           c

                                                                                                   Volume - 48,000 c.y.
                                                                                                   Maximum Depth - 30 ft.
                                              ASPHALTIC MATERIAL                                   Rationale for Considering
                                                                                                   Treatment/Excavation of
                                                                                                   Materials:
                                        ^^^^*Hm^^^^^i^^^^^^^^v^tM..^(.M-.mn^ll   JT                - None.
                                                                                                     • Geotechnically stable
                                                                                                       relative to cap.
                                                                                                     • Material is not mobile.
                                                                                                     • Material in-place does not
                                                                                                       present a pH or emission
                                                                                                       risk.



                                         REMEDIATION CONSIDERATIONS                                                                       ro
                                                                                                                                          ro




•DEVELOPED BY ENVIRONMENTAL SOLUTIONS. INC.
 FOR THE McCOLL SfTE GROUP.
                                                                                      Exhibit 46                          MSG JANUARY 15.1991
                                                                                        6217
             c: •                                                    c
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                                                                  #:6261                                                  c      23

                      RELATIVE WASTE EXCAVATION PROBLEMS
                                               PROBLEM                 GASEOUS     HANDLING        DEPTH
                                                           VOLUME     EMISSIONS   DIFFICULTIES   RELATED            SCHEDULE
                                       MATERIAL                        CONTROL                   PROBLEMS

                                        Elevated Arsenic




 1-30



• DEVELOPED BY ENVIRONMENTAL SOLUTIONS. INC.
  FOR THE McCOLL SITE GROUP.                                                                                   MSG JANUARY 15. 1991
                                                                    Exhibit 46
                                                                      6218
             c                                                              c:
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                                                                  #:6262
                                                                                                                        c     24

           RELATIVE PROBLEMS WITH EXISTING CONDITIONS
                                                                PROBLEM      POTENTIAL   POTENTIAL   MIGRATION       CAP
                                                                              HEALTH     EXPOSURE    POTENTIAL   INSTABILITY
                                                           MATERIAL             RISK




                                                             /////W




   1-30



• DEVELOPED BY ENVIRONMENTAL SOLUTIONS. INC.
  FOR THE McCOLL SITE GROUP BASED ON DATA FROM THE SROA.                                                     MSG JANUARY 15.1991
                                                                          Exhibit 46
                                                                            6219
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                                  #:6263
                                                                                   25




 SELECTIVE EXCAVATION AND
  TREATMENT POSSIBILITIES

       EXCAVATION AND OFFSITE
       TREATMENT OF ELEVATED
       ARSENIC MATERIAL

       EXCAVATION AND TREATMENT
       OR IN SITU TREATMENT OF:
       - DRILLING MUD
       - MIXED MATERIAL
       - TARRY MATERIAL


       PROVIDE RCRA CAP WITH GAS
       CONTROL ON ALL REMAINING
       MATERIAL



                                                             MSG January 15,1991
                                   Exhibit 46
                                     6220
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                                  #:6264                                       26




            SITE SITUATION


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    IV.     NCP EVALUATION OF SELECTIVE
            EXCAVATION/TREATMENT APPROACH




                                   Exhibit 46
                                     6221
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                                  #:6265
                                                                                          27




                     NCP ANALYSIS
                                                SELECTIVE    TOTAL
                                              EXCAVATION/ EXCAVATION
    NCP CRITERIA          CLOSURE              TREATMENT AND THERMAL
                                              AND CLOSURE DESTRUCTION
 Protection of Human          Yes                     Yes               No
 Health and the
 Environment                                                     • Worker and
                                                                   Community
                                                                   Risk
 Compliance With              Yes                     Yes               No
 ARARs
                                                                 • Air Emissions
 Long-Term                    Yes                     Yes               Yes
 Effectiveness and
 Permanence
 Reduction of Mobility,     Reduces                Reduces          Reduces
 Toxicity, or Volume        Mobility              Mobility and     Mobility and
 Through Treatment                                 Toxicity         Toxicity
 Short-Term                   Yes                     Yes              No
 Effectiveness
                                                                 • Risks During
                                                                   Implementation
 Implementability             Yes                     Yes               No
 Cost Effectiveness           Yes                     Yes               No
 State Acceptance          Unknown                 Unknown          Unknown
 Community                   Mixed                Anticipated         Mixed
 Acceptance




                                     Exhibit 46                     MSG January 15,1991
                                       6222
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               NCP ANALYSIS OF
       SELECTIVE EXCAVATION/TREATMENT
                  APPROACH
Protection of                                              Yes
Human Health        • Flexible Approach to Excavation and Technology to Balance Short and Long
and the               Term Risks
Environment         • Minimum Risks to Workers, Community and Environment
Compliance With                                            Yes
ARARs                 SCAQMD
                      Titles 22 and 23
                      RCRA Closure and Land Ban
Long-Term                                               Yes
Effectiveness and     Proven Technology Assures Certainty
Permanence            Treat/Stabilize High Risk and Mobile Wastes
                      Low Residual Risk with Remaining Immobile Materials
                      Residual Risks WeD Below Acceptable Risk Range
                      Multilayer RCRA Cap with Nondegenerative and Redundant Components
Reduction of                                           Yes
Mobility,             Contaminant Posing Principal Threat (98% of Risk at Site) Treated and
Toxicity, or          Disposed Offsite; e.g., Arsenic
Volume Through        Mobile Wastes Stabilized/Treated, e.g., Drilling Muds, Tarry Wastes
Treatment             Residual Waste Containing Less Than 2% of Risks Posed by the Site will be
                      Immobilized
Short-Term                                           Yes
Effectiveness         Minimum Implementation Period Achieves Quickest Long Term Protection
                      Impacts to Workers, Community and Environment Minimized by Limited
                      Waste Disturbance
                      Proven, Reliable Technology
Implementability                                        Yes
                      Technically Feasible because Uses Proven Technology and Limits
                      Excavation Depth
                      Minimal Need for Offsite Services and Redisposal Capacity
                      Administratively Feasible because Approvals and Permits can be Obtained
Cost                                                       Yes
Effectiveness         Depends Upon Depth of Excavation
State Acceptance                                       Unknown
Community                                             Anticipated
Acceptance
                      Interested Persons in Community Circulated Petition Supporting Closure
                      Interested Persons in Community Generated Comments on SROA
                      Supporting Closure
                      Interested Persons in Community Met with Congressman Dannemeyer on
                      12/17/90 to Discuss this Approach

                                                                                       MSG January 15,1991
                                              Exhibit 46
                                                6223
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                                      #:6267                                                                                                              29



                        NCP ALLOWS FOR SELECTIVE
                     EXCAVATION/TREATMENT APPROACH


         8846          Federal Register / Vol. SS. No. 46 / Thursday. March B. MOO / Rule* aad Regulation*

           (u) Ail appropriate Fund-financed           •ad implementation of appropriate             of Ibe remedial Invettiaation/feaafbility
         response under CERCLA h» been                 remedial actiooa.                             at«dy QU/rSl aad Implamintatloii of me
         implemented, and no further response            (i) Program goal The national foal of       remedial action and. where aecaaury.
         action by responsible parties ii              the remedy aetectioa prooaaa is to acted      a« a compooent of me eompletod
                                                                       e protective of Daman         itondy. Tfce aaa «f inatitiitteaal controlr
                                                                       BWOQQMOt. that                abaO aot anbtHtuta (or activa reapOBae
                                                                       ioa over time, and that
  (A) EPA expects to use treatment to                                  lad waste.
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address the principal threats posed by a                               laUeanaidartfae
                                                                                                     reatoeaUo* of arMnd walan to their
                                                                                                     •    -••
site, wherever practicable.
                                                                                                     M tbe balanemf af tr*da-ofit
                                                                                                     ahcmativM mat I* conducted darm( tbe
          provide tbe state 30 working days for        remediated ta operable Bafts when early
          review of the deletion notice prior to it*   action* an nscaasary or appropriate to          (E) IPA axpact* to considar asin,
          publication In the Federal Rejtrter.         achieve «i«nificarH risk redaction            aaio>stl»s torjinnlnp whun nrh
             (3) All releases deleted from tbe NPL     quickly, when phased analysis and             tocaootocr oBsrs me potaattal for
          are tligifals for farther Fund-financed      response is
          ttmifol action* should future                gfvec tbe size <
          i-wUtioas warrant such action.               or to e^edite
               ^oevar there b a significant release
          froX ate deleted from the NPL the
                                                       site rleamip
                                                          (BJOperabli
                                                                            (B) EPA expects to use engineering
          site sX; be restored to the NPL without
          appUcevVofmeHRS.
                                                       acboo operaol
                                                       Incontisteot w
                                                                          controls, such as containment, for waste
             (4) To eOs.-* pvMic involvement
          durmf the atX/wl to delete a release
                                                       implemtntatio      that poses a relatively low long-term
         from tbe NPL £
             (I) Pobbat a noX <rf tateol to delete
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            (if| m a major local ocw*pa»\ if           OOaMMamT QM rOt&OWta^ CXp9CtaltjOfW IB
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         that is proposed tor deletion. puSUT          altanatrvw:                                   evaVcale fiarmar rtak radaettoo.
         notice of avaUabffity of the oo«ce of            (A) EPA expect* to »ae treatment to          (2) K
         latent to delete                              sddrass tbe principal mreaU poaad by a               Tfce
            (iii) Place copies of information      {   site, wherever practicable, Trindpal
                                                       threats for which treatawnl is most
         supporting me proposed deletion in the                                                      to aaaaas aria coKXaa aad avaluate
         Information icporilory. described in          likely to be appropriate mdude liquid*,       ahamativaa lf/-tx\»at accessary u
         | 3OX«M(cX2Xitt). at or near me release       area* eontaminatad with high                  aefed a rr/<f. Dcvelopiaf aad
         proposed for deletion. These items shall      concentrations of toxic compounds, and                   ; an Rl/FS aanerally includes
         be available for public inspection and        bi(Uy mobOe matariats.                        the' <*rt»j activities: proisci scoping.
         copyta£ Bad                                      (B)EPA Ttpetts to aaa ainliiiisiiin
            (iv) Respond to •»                         cuutioli. aaca aa contahiiBaiH. far waste [
                         I any »<•»«««""* aaw data     that posea a raUovaly low loot-term
                                                       threat or where treotmant is                  aharoatfvaa. Taa scope aad timrnf of
         aabmiNad dariat me cooaaeot period                                                          meae actrvmas aboaUot taflorad to the
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         ia to implamea* nmadiaa that alimmate.
         radaca. or control rtaVs to haam health
             Ima<
                                                                     (C) EPA expects to use a combination
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         data «mdtafaroBfloaimaka* aoeafelt to
                                                                   of methods, as appropriate, to achieve
         4a ae, Aooordi«ajly. EPA mas actabBabad                   protection of human health and the
         prtedplee to aaeM to lac identification       controt
                                                                   environment... treatment of the
                                                                   principal threats posed by a site ...
                                                                   combined with engineering controls ...
                                                                        Exhibit 46
                                                                          6224                                                     MSG JANUARY 15. 1991
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                                  #:6268                                                                   3C




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                                             .X. X,i




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     V.     CONCLUSIONS




                                                                 Exhibit 46
                                                                   6225
                                                                                          MSG JANUARY 15.1991
                                                                                   c
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                                                                    #:6269                                                           c    16




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                                     55
                                       I               EXCAVATION AND
                                                        INCINERATION

                                     ssrr
                                     o



                       EXISTING
                 LU
                       CONDITIONS


                 W
                 E




                                            J      I       I   I             I         I           I   I    I    I
                                                                     6       8                10       12       14   16
                                                                   EXCAVATION TIME (YEARS)




                                                       QUALITATIVE SITE RISK
                                                               VS.
                                                       REMEDIATION METHOD
• DEVELOPED BY ENVIRONMENTAL SOLUTIONS. INC.
  IN ASSOCIATION WITH ENVIRON FOR THE McCOLL SITE GROUP.
                                                                                 Exhibit 46                               MSG JANUARY 15. 1991
                                                                                   6226
           c                                                              c
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                                                                #:6270                                                            C        11


                       IMPLEMENTATION PROBLEMS ASSOCIATED
                             WITH WASTE EXCAVATION



                                                                                                    ARSENIC




                                                                                                      DRILLING MUD

                                                                                              MIXED SOIL

                                                                                     TARRY WASTES


                 PROBLEMS INCLUDE:

                 • PROJECT IMPLEMENTATION
                 • WORKER HEALTH AND SAFETY
                 • PUBLIC HEALTH AND ENVIRONMENT


•DEVELOPED BY ENVIRONMENTAL SOLUTIONS. INC. FOR THE McCOLL SITE GROUP
                                                                                                                     MSG JANUARY 15.1991
                                                                        Exhibit 46
                                                                          6227
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                                       #:6271




CD




                                        Exhibit 46
                                          6228
   c                                                c
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                                                 #:6272                                       c
   COMPARISON OF SO2 CONCENTRATIONS
BETWEEN WORKER AREA AND SCRUBBER INLET


June 26




June 26


          0       100       200       300       400            500   600       700            900
              (I.D.L.H.)*
                                        SO2 Concentration (ppm)



* Immediately Dangerous to Life or Health

                                                  Exhibit 46
                                                    6229
  c                                                c
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                                                #:6273                                          c
          PEAK SO2 CONCENTRATIONS AT THE
             ENCLOSURE SCRUBBER INLET
June 26

June 15

June 14

June 13

June 12

 June 9

          0       100 200                  400                600             800            1000
              (I.D.L.H.)*
                                      SO2 Concentration (ppm)

  Immediately Dangerous to Life or Health

                                                 Exhibit 46
                                                   6230
c    Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 46 of 449 Page ID
                                       #:6274                                           c


                   Highest Total Hydrocarbons in ppm
                       1990 EPA Trial Excavation



                                                                     U Move Tar/Char

                                                                     • Pug Mill Operation

                                                                     • Tar/Char Excavation

                                                                        No Tar/Char Action




    CO   CO   CO   CO   CO   CO   CO   CO   CO




                                                 Exhibit 46
                                                   6231
     c                                               c:
                Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 47 of 449 Page ID
                                                  #:6275                                       c:
ESTIMATED REMEDIATION TIME AT MCCOLL SITE

                                            EPA Remediation Volume of 97,100 cy

 EPAH



  EPA I




                                       Remediation Time (yrs)

 EPA I: Based on the excavation rates achieved in the trial excavation
 EPA IL: Based on the excavation rates anticipated by EPA

                                                   Exhibit 46
                                                     6232
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                                                 #:6276                                       c
          SUMMARY OF TEMPERATURE READINGS

          Proposed NIOSH Heat Stress
          Ceiling Value (104 °F)


July 17
                                                               • Estimated WBGT within Suit (Max)
July 10                                                        • Estimated WBGT within Suit (Min)
                                                               D Temperature Inside Enclosure
June 27                                                        • Ambient Temperature (Max)
                                                               • Ambient Temperature (Min)

June 13

          0   20     40     60 80 100 120 140
                           Temperature (°F)


                                                  Exhibit 46
                                                    6233
     Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 49 of 449 Page ID
                                       #:6277                                          c
 BENZENE PERCENTAGE VERSUS MATERIAL TYPE
              McCOLL SUMPS




                                                                      MIXED SOIL/TAR

                                                                      SOIL/DRILLING MUD
     TARRY WASTE

                                                                       CHAR




BENZENE DATA FROM SROA




                                        Exhibit 46
                                          6234
c         Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 50 of 449 Page ID
                                            #:6278




        AVERAGE BENZENE CONCENTRATIONS (PPM)
                   McCOLL SUMPS




                                                                        10' DEPTH (100 PPM)
    15' DEPTH C1000 PPM),

                                                                           5' DEPTH (<10 PPM)
                                                                          25' DEPTH (15 PPM)
                                                                          20' DEPTH (30 PPM)




                                                                  0-1 FT. DEPTH (<1 PPM)
    BASED ON SROA DATA


                                             Exhibit 46
                                               6235
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                                             #:6279

          AVERAGE BENZENE CONCENTRATIONS (PPM)
                      McCOLL SUMPS
               CONCENTRATION (PPM)
      1200-1




                0-1                    10              15      20         25         30
                                         DEPTH IN FEET
                                       •    BENZENE LEVELS

    BASED ON SROA DATA




                                              Exhibit 46
                                                6236
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                                         #:6280                                       c
            THC IN PPM - 1990 TRIAL EXCAVATION
            BY ACTIVITY AND PERCENT BENZENE

2000



1500



1000



 500-




            EXCAVATE               MOVE                PUG MILL            TOTAL


                 TOTAL THC               80% BENZENE           EH 6% BENZENE




                                          Exhibit 46
                                            6237
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                                      #:6281




           AVERAGE DAILY TEMPERATURE
              SANTA ANA FIRE STATION
        100



         80




         40



C
         20




                                   J       L

           JAN        MAR        MAY                JUL      SEP    NOV


                         HIGH             LOW             -*- AVERAGE

    DATA FOR 1948-1988




                                       Exhibit 46
                                         6238
C                                            C
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                                         #:6282                                       (
    AMBIENT TEMPERATURES AND HEAT STRESS
                 McCOLL SITE

    NIOSH-RECOMMENDED HEAT-STRESS LIMIT - 90 F. FOR 15 MIN/HR.
    NIOSH RECOMMENDED CEILING LIMIT • 104 F.
    WORKER TEMPERATURE - AMBIENT * 10 F. FOR LEVEL A + 17 F. FOR
      ENCLOSURE (AMBIENT + 27 F)
    DURING FULL SCALE EXCAVATION:
      - WORKERS ENDANGERED WHEN AMBIENT TEMPERATURE > 70 F.
          AND WORK LIMITED TO 15 MINUTES/HOUR
      - IN EXCESSIVELY HIGH TEMPERATURES, WORK MAY BE STOPPED
      - RISK OF HEAT STRESS SIGNIFICANTLY REDUCES EXCAVATION
         RATE




                                          Exhibit 46
                                            6239
C                                            (
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                                         #:6283
                                                                                      C

                             THC EMISSIONS
                              McCOLL SITE

    BENZENE, A MAJOR CONSTITUENT OF THC, IS A KNOWN CARCINOGEN
    BENZENE ESTIMATED TO BE 6 TO 80% OF THC IN AIR SAMPLES
    AAL FOR AIRBORNE BENZENE EXCEEDED DURING TRIAL EXCAVATION:
      & 6% THC: 200,000 TIMES GREATER THAN AAL
      © 80% THC: 2,000,000 TIMES GREATER THAN AAL
    THC, INCLUDING BENZENE, PREDICTED TO BE MUCH GREATER DURING
      FULL-SCALE EXCAVATION
    COMMUNITY CONTINGENCY PLAN MANDATES THAT WORK BE STOPPED
      WHEN THC > 70 PPM FOR 30 MINUTES AT SITE PERIMETER
    WORK TO BE STOPPED WHEN THC REACHES 25% OF THE LEL; BASED ON
      TRIAL EXCAVATION, TOTAL THC - 1,800 PPM - 15% OF LEL




                                          Exhibit 46
                                            6240
c                                            c
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                                          #:6284                                       c
    SERIOUS AND CONCEIVABLY FATAL HEALTH RISKS
                   McCOLL SITE

     t DURING FULL SCALE EXCAVATION, SULFUR DIOXIDE AND THC
        EMISSIONS POSE POTENTIALLY FATAL HEALTH RISKS
     2. UNPRECEDENTED USE OF LEVEL-A PPE
     3. THT EMISSIONS COULD CAUSE:
       - SEVERE ODOR PROBLEMS OFFSITE
       - ADVERSE HEALTH EFFECTS
     4. NOISE LEVELS > 100 dbA ONSITE, 75 TO 100 dbA OFFSITE
        WOULD:
         - EXCEED FULLERTON CITY NOISE ORDINANCE OF 55 dbA
           (DAY) AND 50 dbA (NIGHT)
         - CAUSE HEARING DAMAGE IF >90 dbA FOR 8 HOURS
         - CAUSE WORKER COMMUNICATION PROBLEMS
     5. EXPLOSIVITY/FLAMMABILITY CREATES SIGNIFICANT RISK TO
        WORKERS AND COMMUNITY




                                           Exhibit 46
                                             6241
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 FATAL FLAWS WITH FULL-SCALE EXCAVATION


1. INABILITY TO CONTROL TOXIC EMISSIONS

2. INABILITY TO PREVENT SERIOUS RISKS TO
     WORKERS AND COMMUNITY

3. EXCESSIVE DURATION




McCOLL SITE GROUP

                                         Exhibit 46
                                           6242
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                                      #:6286
f




                                       Exhibit 46
                                         6243
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                                  #:6287




            KEY ELEMENTS FOR
          CONTROLLING EMISSIONS

    KEEP THE EXPOSED AREA/VOLUME VERY
    SMALL AND COMPLETELY CONTROLLABLE

    PROVIDE A PRIMARY SHROUD WHICH HAS
    BEEN PROVEN TO BE EFFECTIVE FOR
    CONTROLLING EMISSIONS AT AUGER
    SYSTEMS

    PROVIDE REDUNDANT SYSTEMS UNRELATED
    TO OPERATION OF THE AUGER OR SHROUD:

    AVOID THE NEED FOR INGRESS AND EGRESS

    PROVIDE REDUNDANT VACUUM AND AIR
    CLEANING CAPABILITIES

    KEEP THE AIR CLEANING SYSTEMS SMALL
    AND EASILY CONTROLLED




                                   Exhibit 46
                                     6244
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                                  #:6288




    SOLIDIFICATION CONCLUSIONS

   PHYSICAL SOLIDIFICATION POTENTIAL IS
   ASSURED

   COMPLETE COVERAGE IS ASSURED BY THE
   OVERLAPPING METHOD

• A VARIETY OF ADDITIVES COULD BE
  SUCCESSFULLY USED

• PREDESIGN BENCH TESTING AND FIELD
  DEMONSTRATIONS WOULD ALLOW SYSTEM
  OPTIMIZATION




                                   Exhibit 46
                                     6245
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                                          #:6289                                       c
     ELEMENTS CONTRIBUTING TO PHYSICAL
               SOLIDIFICATION
                                                           ATTRIBUTES OF
     REQUIRED ACTIVITY                                    IN SITU METHODS

Tar/Soil Mixing                                     Auger Loosens Material
                                                    Blade Angles Provide Vertical
                                                    Mixing
                                                    Duration or Agitation Can be Varied

Lime and/or Fly Ash/Hydration                 • Additives Are Injected as
and Bulking, Cement/Hydration,                  Slurry Along Blade
Silicates                                     • Blades Provide Vertical and
                                                Horizontal Mixing
                                              • Duration or Agitation Can be Varied

Curing Time                                         Procedure Does Not Require
                                                    Subsequent Material Handling


                                           Exhibit 46
                                             6246
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               SOLIDIFYING THE TAR


     REQUIRED RESULT IS TO PHYSICALLY
     SOLIDIFY TO REDUCE POTENTIAL FOR:
     - Settlement of Drilling Mud and Tar
     - Mobility of Tar


    SIGNIFICANT CHEMICAL STABILIZATION WILL
    OCCUR, BUT IT IS NOT RELIED UPON FOR THE
    RECOMMENDED SOLUTION


    NO REFERENCES OR OPINIONS CAN BE
    LOCATED WHICH QUESTION THE ABILITY FOR
    PHYSICAL SOLIDIFICATION OF TAR


    PHYSICAL SOLIDIFICATION HAS ROUTINELY
    BEEN ACCOMPLISHED ON MORE DIFFICULT
    MATERIALS




                                   Exhibit 46
                                     6247
c                                                                    c
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                                                      #:6291



                           Example Sump
                     Cone Penetrometer Program




           Boring           Phase 1 Cone/Continuous Sampling Calibration
Cone Penetrometer
                        ©    Phase 2 40-Foot Grid With Infill To Define Boundaries

                        ©    Phases 20-Feetx 10-Foot Grid

                        A    Phase 4 Type 2/3 Area Definitions
                                                                   Exhibit 46
                                                                     6248
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            REDUNDANT PROVISIONS


    ALL ACTIVE SEEP AREAS WILL BE EXCAVATED
    AFTER COMPLETE OR PARTIAL SOLIDIFICATION,
    IF SAFE EXCAVATION IS POSSIBLE


    PRIOR TO EXCAVATION, A LARGER BUFFER
    ZONE WILL BE SOLIDIFIED TO IMPROVE
    MATERIAL HANDLING


    BACKFILLING WILL INCLUDE:
    • Crushed rock bottom
    - Compacted clay top


    THE COVER SYSTEM INCLUDES A LOW
    PERMEABILITY COMPOSITE LAYER WHICH
    RESTRICTS FLOW IN EITHER DIRECTION




                                   Exhibit 46
                                     6249
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      SPECIAL CHARACTERIZATION
               FACTORS

       CONE PROBES TO BE USED
       • Tip Resistance
       • Friction Resistance
       • Resistivity
       • PH
       • Soil Gas Quality

       CONE PROBE CORROSION

       EVALUATIONS OF PRIOR PROGRAMS
       - 5 ft. Sampling Limitations
       - L-l Boring Data
       - "Old Faithful" Observations
       - Test Excavation Observations




                                   Exhibit 46
                                     6250
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                EXAMPLE
          SUMP CHARACTERIZATION
                PROGRAM

                                                        SMALL
                                                 CONE DIAMETER
  PHASE              ACTIVITY                   PROBES BORINGS
      1           Cone/Continuous                62              38
                      Sampling
                     Calibration

                  40 ft. Grid with               600         30 to 60
                  Infill to Define
                    Boundaries

               20 ft. x 10 ft. Grid              600             30


                   Type 2/3 Area                 400             40
                    Definitions




                                   Exhibit 46
                                     6251
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                                  #:6295

          CONE PENETROMETER SYSTEM




   SAND


                                                MEASURED PARAMETERS
                                                • TIP RESISTANCE

                                                • FRICTION RESISTANCE

                                                • RESISTIVITY

                                                • pH

                                                • GAS QUALITY




                                   Exhibit 46
                                     6252
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                                             #:6296
                  SELECTIVE EXCAVATION ALTERNATIVE
                            FLOW DIAGRAM
                                                                                        PREDESIGN ACTIVITIES
                                                                               WoricpUn Preparation
                                                                                Sump Characterization
                                                                                Bench Scale Treatment/Solidification Tests
                                                                                In Situ Treatment/Solidification Demonstration
                                                                                Dau Evaluation
                                                                               Develop Design Criteria
                                                                               Prepare Rnal Remediation WoricpUn




                                                                                  Siibdivide Sump Areas Into Types Based •
                                                                                          Upon Characteristics and                  •
                                                                                        Required Remediation Actions                •

                                                                                                        i '

             1
    TYTE1 AREAS                               TYPE 2 AREAS                                       "TYPE 3 AREAS                               TYPE 4 AREAS                 TYPE S AREAS
  Areas with Shallow                   Existing Seeps and Tar                                Tar Zones of a Size                        Zones with Drilling Muds            Areas Where
   Elevated Arsenic                  Zones Where Solidification                            Configuration and Depth                            Which Require            Improvements Prior to
Concentrations, Underlain            May Not Satisfy Differential                         Where u Situ Solidification                   Solidification to Eliminate   Closure Are Not Required
   with Drilling Mud                    Settlement Criterion                               Success is Demonstrated                       Differential Settlement
                                                                                          and Required to Eliminate                              Potential
                                                                                               Potential Seep or
                                                                                            Differential Settlement
                                                                                                  Conditions

                                                           1
            *
Excavate, Treat and Dispose •   r
                              Can Selective Excavation be Safely
                                                                                ^.;
Elevated Arsenic Materials •  Accomplished After Neutralization                    |


^ 7 '
       at > Landfill     |       and Partial Solidification it                     *       N
                                                                                             "       «*
                                       Accomplished?                               !;
                                  \ssixfsfifiisvs*:*:!*.        ffiswattfeyMHisifcssa
                                                                                                        1'
    Go to Type 4 Area       •                              1 Ye,
        Activity            •                                                                                                                  Solidify Drilling •
                                                                                                     Treat and     •                                Muds         •
                                         Neutralize and Partially              •                  Solidify In Situ •                           Where Required •
                                            Solidify In Situ                   •


                                                           1i
                                                                                                                                t
                                           Selectively Excavate                I
                                               and Backfill                    •                                       Test Solidification        b
                                                                                                                        Characteristics           •


                                                                                                                                i'
                                                           l
                                For Excavation Material:                                                      f     bDifferential Settlement      |
                                                                                                                                                  |        Yes ^
                                                                                                              1       Criteria Satisfied?         M            ^
                                • If TPH<10.000 ppm, dispose onsite                                                                              M
                                • If TPH is 10.000 to 100,000 ppm,
                                  dispose at landfill                                                                           ,    No

                                • If TPH>100,000 ppm. incinerate
                                  offsite or dispose at landfill                                                         Design a Special       I
                                                                                                                  Closure Cap to Accommodate •
                                                                                                                  Panially-SoUdifiedCooditioos •




                                                                                                                   Install RORA Equivalent Cap •
                                                                                                                             /BentoniieWall.   | _
                                                                                                                     Active Emissions Control • •*
                                                                                                                              System         |




                                                                                                                   Complete Site Landscaping




                                                                                                 Exhibit 46
                                                                                                   6253
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                                  #:6297




   TAR LOCATION AND DEFINITION

• EXTENSIVE CONE PENETROMETER AND SMALL
  DIAMETER BORING CHARACTERIZATION TO
  SUBDIVIDE EACH SUMP INTO ONE OF FIVE
  AREA TYPES

    PROVIDE REDUNDANCIES WITHIN SOLUTION
    TO ACCOUNT FOR EACH CHARACTERIZATION
    FACTOR AND/OR POTENTIAL REMEDIATION
    LIMITATION




                                   Exhibit 46
                                     6254
                                 f
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                                 Exhibit 46
                                   6255
                                   c
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                                   Exhibit 46
                                     6256
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                                  #:6300




                                   Exhibit 46
                                     6257
                                   c
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                                  #:6301




                                   Exhibit 46
                                     6258
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                                   Exhibit 46
                                     6259
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                                    #:6303                                       c

Detail of Neutralization and
Partial Solidification Process




                                                                            i




                                     Exhibit 46
                                       6260
c                   c                   c
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                                       #:6304

 In Situ Treatment/Solidification Process

                               t                   •ROTARY PLATFORM




                                                          E         E
         CRANE
                                                          =   n
                                                              BUM
                                                                    —

                                                                             SMALL DOZER


                                                                        SOLIDIFICATION
                                                                        AUGER




                                                                             REDUNDANT
                                                                             ENCLOSURE

                                                                             AIR CONTROL
                                                                             SHROUD



                                                                            EDGE OF
                                                                            SOLIDIFICATION



                           LOCAL EMISSION
                           CONTROL BLANKET




                                Plan View
                                             Exhibit 46
                                               6261
c                                            c
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                                         #:6305                                        c
    In Situ Treatment/Solidification Process
                                                        3' STROKE HYDRAULIC CYLINDER

                                                        ROTARY TABLE



                                                                FLEXIBLE BOOT


                                                                KELLY BAR




                                                                PRIMARY EMISSIONS
                                                                CONTROL SHROUD

                                                                REDUNDANT
                                                                ENCLOSURE

                                                                EXCESS
                                                                SOLIDIFICATION
                                                                MATERIAL FORM




                   '*'*y*' ' ' ' * f
             SOLIDIFIED * * VxVx x / x x




             SOUDIRED
             CONFIGURATION
             FROM PRIOR PASS




                                Cross Section View
                                           Exhibit 46
                                             6262
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                      In Situ Treatment And
                       Solidification Process
                                                                                                                 31 STROKE HYDRAULIC CYLINDER
                                                                                                                 ROTARY TABLE
                   f ROTARY PLATFORM

                                                                                                                      FLEXIBLE BOOT

                                                                                                                      KELLY BAR
                                       SMALL DOZER

                                   SOLIDIFICATION                                                                     PRIMARY EMISSIONS
                                   AUGER                                                                              CONTROL SHROUD
                                        A'
                                                                                                                       REDUNDANT
                                                                                                                       ENCLOSURE
                                        REDUNDANT
                                        ENCLOSURE                                                                      EXCESS
                                        AIR CONTROL                                                                    SOLIDIFICATION

                                                         /v^^^^^^^^xlN'x}| I
                                        SHROUD                                                                         MATERIAL FORM

                                        EDGEOF           xVxV.
                                                          x x x v SOLIDIFIED
                                                                           " xVxWVxl'V/p
                                                                             ^
                                        SOLIDIFICATION   '///,<, J^J^l^ , '//&',,
                                                             N \ \ X S \ N \ \ \ \ \ \ \ \ V N
                                                         f    + f f f f t f f f f f f S f f S .
LOCAL EMISSION
CONTROL BLANKET-
                                                                   SOUDIRED
                                                                   CONFIGURATION
                   PLAN                                            FROM PRIOR PASS                SECTION A-A'




                                                                Exhibit 46
                                                                  6263
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                                  #:6307




   CONE PENETROMETER EXAMPLES
        OF PAST EXPERIENCE

 1985      Chevron. Long Beach. California.
           710 Freeway and 405 Freeway.
           Mapped out perimeter of oil well sumps using
           end bearing, friction and resistivity.

 1985      Chevron. Long Beach. California.
           405 Freeway and Pacific Avenue.
           Defined natural layers surrounding separator ponds for
           water coming from oil wells. Also looked for
           seepage. Used tip and friction only.

 1985      University of Washington. Seattle.
           Performed cone tests to outline old landfill under
           athletic field. Information was also used to determine
           rate of settlement.
 1986      Carlsbad Sanitary Landfill (SWAT).
           Cone was used to define potential layers of methane
           gas. Cone truck was used to push 2" well screen into
           methane layers. Approximately 8 wells per day were
           set.
 1986      Texaco Oil Refinery. Carson. California.
           Performed numerous resistivity cone tests to map out
           plume of sludge pits as part of a remediation
           feasibility study.
 1989      Mississippi River Bank. Corp of Engineers - WES.
           Performed numerous resistivity water samples to
           determine transition point in soil between fresh
           ground water and brackish water, working with
           personnel from Delft, Holland.


                                   Exhibit 46
                                     6264
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       CONVERSATIONS WITH
   SOLIDIFICATION/STABILIZATION
     CONTRACTORS OR VENDORS

• GEO-CON
• MILLGARD ENVIRONMENTAL
• HALIBURTON
• IN-SITU FIXATION, INC.
• TOXIC TREATMENTS, INC. (NOVATERRA)
• ENRECO
• HAZCON (FUNDERBRUK)
• CHEMFIX
• VFL CORP.
• LSU - DR. TITTLEBAUM
• INTERNATIONAL WASTE TECHNOLOGY
• SILICATE TECHNOLOGY
• SIALLON CORP.
• REMCOR



                                   Exhibit 46
                                     6265
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                                  #:6309




                          REFERENCES


     STABILIZATION/SOLIDIFICATION OF CERCLA
     AND RCRA WASTES - EPA/625/6-89/022


     HANDBOOK FOR STABILIZATION/SOLIDIFICATION
     OF HAZARDOUS WASTE - EPA/540/2-86/001


     EVALUATION OF SOLIDIFICATION/STABILIZATION
     AS A BEST DEMONSTRATED AVAILABLE
     TECHNOLOGY FOR CONTAMINATED SOILS -
     EPA/600/2-89/013




                                   Exhibit 46
                                     6266
                   c
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                                                #:6310


In Situ Treatment/Solidification Process
     Rotary Table
                                                                                 Redundant Enclosure




   Treatment/                                                                   Primary Emissions
   Solidification Auger                                                         Control Shroud




                                                                                 Solidified Material
                                                                                 Containment Form
 Solidified
  Material
                                                                                      Vacuum Line to
                                                                                      Air Treatment Facility


                                                                                      Cylinder Being
                                                                                      Treated/Solidified
                                                                                Overlap with
                                                                                Previous Cylinder
                           Cross Section View
                                                 Exhibit 46
                                                   6267
    (                   c                   c
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                                              #:6311
r
    In Situ Treatment/Solidification Process

                                  ROTARY TABLE
                                                                                     TREATMENT/
                                                                                     SOLIDIFICATION
                                                                                     AUGER




    CRANE                                                                         VACUUM LINE TO
                                                                                  AIR TREATMENT
                                                                                  FACILITY
                                REDUNDANT
                                ENCLOSURE                                         PRIMARY EMISSIONS
                                                                                  CONTROL SHROUD




                                     Plan View
                                               Exhibit 46
                                                 6268
c                                c
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                                                #:6312

                     Onsite Soil Treatment

                                                              3i^jro Process
                                                                   Equipment


    Detoxifier
    Shroud


    Soil
    Surface


                                                                               Vapors to
                                                                               Surface

          Blades

                                                                 t.
                                                                               •Contaminated
                                                                                Soil




                                                 Exhibit 46
                                                   6269
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                                  #:6313




                                   Exhibit 46
                                     6270
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                                  #:6314



       RATIONALE FOR REJECTING TOTAL SOLIDIFICATION IN PLACE



         During our analysis of remedial options for the McColl
Site, we considered, but rejected, total in-place solidification
for the following reasons:
          •     Depth to the Char and Lack of Hazard
          •     No Reduction of Mobility, an Increase in Volume,
                and No Justification for Reducing Toxicity below
                already Low Levels
          •     Implementability
          •     Risk
          •     Worker Safety
          •     Time
Our conclusion, after considering all of these factors,          was that
solidification was a viable technology for treating the          tarry
material found at the McColl Site and a technology that          could be
part of a treatment train for remediating the Site, but          that the
technology was not practicable or necessary as a global          remedial
technology for the McColl Site.
         Depth to Char/Lack of Hazard - Based on the depth of the
char, there is no chance of casual contact with the char, now or
in the foreseeable future. Calculations using the Universal Soil
Loss Equation (USLE) indicated an erosion potential on the Site
of less than 1/10 of one inch of soil per year. At this rate,
given the current depth of cover over the sumps, it would be over
1000 years before the char would be exposed and able to be
contacted. Nominal maintenance, or a RCRA equivalent cap, would
extend this period indefinitely. As long as the waste is
undisturbed and covered, there are minimum emissions to the
atmosphere, as shown by site testing. In addition, the char has
low permeability, as evidenced by its containment of sulfur
dioxide and the lack of contamination in groundwater samples.
There was therefore no hazard associated with the char.
         Reduction of Toxicitv, Mobility or Volume - The risk
analysis conducted in the SROA concluded that, in an undisturbed
condition, the gases in the char do not pose a significant risk
of either toxicity or carcinogenicity. The SROA indicated that
the risks from volatiles inhalation for either the no-action
alternative (1E-06) or the RCRA Equivalent closure alternative
(3E-08) were as safe or safer than those normally accepted by EPA
as protective (1E-04 to 1E-06). Therefore, treatment to reduce
toxicity was not justified. Since the char is immobile, it
required no treatment to reduce mobility. In-place
solidification would involve converting one solid to another




                                   Exhibit 46
                                     6271
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solid by rupturing and then re-solidifying the existing char
matrix with chemicals. In addition, the added chemicals would
increase the final volume of the waste by up to 30%, creating a
site as much as 5-10 feet higher than the existing topography.
         implementabilitv - Because of the hardness of the char
(estimated in excess of 200 blows per foot of penetration,
CH2M-Hill), existing auger rigs would have difficulty penetrating
the char. There was the concern that the auger blades would be
unable to break the char into small enough fragments for the
solidification reagents to obtain sufficient contact for the
process to work. The effort to break up the char wouj.d greatly
increase the noise level of the solidification process, exposing
workers and the community to noise hazards for an extended period
of time. This process would also release entrapped gases, posing
a risk to the workers and the community where none exists today.
Attempts to control these risks would entail significantly
reduced solidification rates, redundant control equipment and
attendant higher costs and extended schedules.
         The sumps are as deep as 35 to 40 feet. There was
considerable concern over the ability to maintain alignment to
assure overlap of the vertical cylinders of treatment at these
depths. There were also concerns that the presence of foreign
materials (e.g.. rubble) or especially hard asphaltic material in
the sumps would preclude penetration of an auger to the base of
the asphaltic material. These factors would reduce the assurance
of complete solidification and require greater cost to implement.
         Total in-place solidification would result in the total
break-down of the char layer and the addition of large volumes of
liquid reagents. Any excess reagents would have direct access
into the soil beneath the waste sumps and could migrate through
the soil towards groundwater. Although we believe the potential
for groundwater contamination is small given the depth to the
groundwater, there is an inherent risk of groundwater
contamination when liquids are introduced to a site, a risk which
increases as the volume of liquids introduced increases.
Consequently, total in-place solidification increases the
potential for groundwater problems where none currently exist.
         Without assurance that the entire char mass could be
stabilized to an extent greater than the current in-place
material, which is already hard and impermeable, there was no
justification for increasing risks from emissions or liquid
injection by attempting to break up and re-solidify the char.
          Risk - The SROA evaluation demonstrates that the
undisturbed char presents little risk to the community or to the
environment. Disturbance of the char would release significant



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quantities of sulfur dioxide, benzene and odorous thiophenes,
creating the potential for significant toxic emissions during the
remediation process. The experience of the Trial Excavation
demonstrated the magnitude of and difficulty for controlling
emissions from the char. Management of this problem would reduce
the work rate, extending the schedule and increasing the cost,
         Worker Safety - Because of the high emission levels
encountered when the waste is disturbed, a high level of worker
health protection may be required similar to the experience
during the Trial Excavation. This would increase physical and
heat stress on the workers, reducing effective visibility and
effective work time per worker per hour, and increasing time and
cost.
         Time - The estimated char volume in the sumps, coupled
with the hardness of the material and the need to slow the work
to control emissions, would require 10 years or more for total
in-place solidification. Uncertainties with equipment downtime,
coupled with slowing the processing rate to assure proper
emissions treatment, worker safety, effective solidification
reagent interaction with the char, and control of the increased
solidified volume of material would further extend the program.
         Conclusion - Given the significant number of technical
issues associated with the implementation of total solidification
of all the wastes, as discussed above, and the potential for
increasing risks to workers and the community arising from
disturbance of the char, this technology was eliminated from
further consideration, prior to the development of potential
treatment trains to address the variety of remediation issues
associated with cleanup of the site. Solidification is merely a
component of a comprehensive approach to remediation which must
also address issues such as gas control and treatment, seismic
stability, groundwater protection and monitoring, and site
maintenance and access.




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                           McCQLL SUPERFUND SITE
                 THE REASONS FOR TAR REACTING TO ASPHALT



 •     CONCLUSION

          A review of the chemistry occurring within the McColl
 waste sumps

                (a) suggests the principal mechanism by which tar
      converts to asphalt is a complex polymerization/condensation
      reaction, catalyzed by sulfuric acid

      and

                (b) reveals that this reaction is irreversible at
      conditions which exist within the sumps.
 •    BACKGROUND

          Site assessments at McColl have indicated the sumps
 contain distinct types of material, two of which have been
 classified as tar and asphaltic material.
          The condition of the sumps, today, is clearly
 differentiated, with a viscous mobile "tarry material" residing
 above a harder asphaltic zone. This condition is clearly not how
 the sumps existed in their early years (late 1940's). Complex
 hydrocarbon reaction chemistry has occurred over 50 years,
 reacting the original alkylation waste to today's asphalt and tar.

          The following briefly describes the tar to asphalt
 conversion process.
     DISCUSi                   ASPHALT REACTION CHEMISTRY

          From a chemical engineering perspective, the McColl
 sumps can be considered batch reactors. During the 1940's, the
 twelve "reactors" were filled with alkylation sludge of a
 pumpable consistency. The sludge's composition may have been
 50:50 sulfuric acid to heavy hydrocarbons.
         During the ensuing half century, the hydrocarbons in the
sumps have undergone a condensation/polymerization reaction,
catalyzed by the sulfuric acid. The hydrocarbons are reducing
agents, so some sulfur dioxide is liberated in a side reaction.
Phenomenologically, the original sludge hydrocarbons react to




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 increasingly heavier fractions, which ultimately result in the
 formation of the asphalt phase, plus smaller amounts of light
 hydrocarbons.
          Research of the literature, coupled with consultations
 with both oil company researchers and academic experts, shows
 that asphalt to tar conversion could occur via two distinct
 mechanisms; namely, (i) a hydrotreatment process involving
 hydrogen addition typically using catalysts, and (ii) a pyrolysis
 mechanism. Mechanism (i) demands high temperatures (e.q. . 800°F)
 and high hydrogen pressures (e.g.. 100 atmospheres). Mechanism
 (ii) requires temperatures in the 500-600°F range. None of these
 conditions exist at McColl.
          Both of the above processes are typically employed
 during coal liquefaction where, in the presence of heat and
 hydrogen, coal liquids are generated. Another analogy is that if
 light hydrocarbons were formed from heavy hydrocarbons at McColl,
 then we should expect to discover mobile liquids in coal fields
 at ambient conditions. This, of course, does not happen.
 •    SEEP ISSUE

          Our previous discussion has focused on tar to asphalt
 reaction mechanisms in an air-free environment. The McColl Site
 has seeps where tar material permeates to the surface through
 weaknesses in the existing cap. It has been noted that on air
 contact, the tar solidifies. This solidification mechanism
 involves oxidation, which is chemically distinct from the
 intra-sump mechanism.




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                                    McCOLL
   ©EPA                           SUPERFUND SITE
                    United States Environmental Protection Agency, Region IX, San Francisco
Fullerlon, California                                                                                   July 1991


    MCCOLL WASTE SAMPLES TO BE TESTED
      The Environmental Protection Agency                           Contamination was first found in the deep
(EPA) will be working at the McColl Superfund                 groundwater well P-2D in February, 1987. Re-
Site during mid-July collecting samples of waste              sults of the June and October 1990 samplings
material. The samples will be combined with                   continued to show benzene and thiophene
other materials in a laboratory to determine if               compounds in well P-2D. Both of these com-
the waste can be solidified and stabilized.                   pounds are found in the McColl waste and EPA
                                                              believes these compounds continue to migrate
      The goal of the solidification/stabilization            into the groundwater from the waste material.
process is to make the waste material less acidic
and to reduce the mobility of chemicals within                      Residents who may be concerned about
the waste. If it is possible to solidify and stabi-           their drinking water quality should not be
lize the waste, this type of treatment might be               alarmed by the sampling results. The City of
considered for use as an interim cleanup meas-                Fullerton and Orange County both conduct
ure or a final remedy for the McColl site.                    regular tests of all drinking water wells in the
                                                              Fullerton area and there have been no indica-
      A report giving the findings of this study              tions the drinking water wells have been af-
will be available for public review in late fall.             fected by McColl site wastes.

                                                                    As the EPA conducts its quarterly monitor-
     GROUNDWATER MONITORING                                   ing of the groundwater beneath the site it will
                CONTINUED                                     make those results public. A report on the re-
                                                              sults of the January and April 1991 sampling
           Investigation Expanded                             events will be available in August. All previous
                                                              reports are available in the McColl Superfund
      With the continued detection of contami-                Site Repository in the reference section of the
nants in the groundwater beneath the McColl                   Fullerton Public Library, 353 West Common-
Superfun^Site, EPA has maintained its quar-                   wealth Ave., Fullerton.
terly sampling schedule of that groundwater.
Additionally, the EPA has begun to further
investigate the extent that the groundwater has
been impacted by the site. The investigation will
enable the EPA to determine what action will be
necessary to permanently protect the groundwa-
ter in the site's vicinity.




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                          WATER QUALITY AT WELL P2D



           Certain organic chemicals (e.g., tetrahydrothiophene,
           benzene, toluene, ethylbenzene) are tentatively reported
           in only one monitoring well (P2D) in the deep regional
           aquifer. However, the tentatively reported
           concentrations of these parameters are substantially
           lower than federal or state drinking water standards.

           The reported concentrations of tetrahydrothiophene and
           other organic parameters continue to decrease, which
           supports the conclusion that the chemicals in well P2D
           were most likely introduced into the aquifer during
           construction of the well.

           The tentatively reported concentrations of benzene,
           toluene and ethylbenzene in well P2D are below normal
           laboratory reporting limits. Furthermore, these
           tentatively reported concentrations are refuted by
           duplicate analyses, which reported these chemicals to be
           "not detected". The data that report these chemicals in
           well P2D are, therefore, quantitatively unreliable.

           Low concentrations of chlorobenzene and
           1, 4-dichlorobenzene (less than one ug/1) have also been
           reported in well P2D. No detections of these two
           chemicals have been reported in other monitoring wells
           at the McColl site or in McColl waste.




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                             Tetrahydrothiophene Concentration vs. Time
                                             McColl Site
                                            at Well P2D



         .Maximum
30-




                                                                              I
 1987   1988                 1989                     1990             6/90       10/90

                                               Year
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                                                              McColl Ground Water Chemistry
                                                        B/T/E and Thiophene Analyses in Well P2D



                                                                       SAMPLING EVENT
CHEMICALS
                                       CH2M Hill '87                 CDHS '88        NEIC '88        EPA '89          EPA 1/90          EPA 6/90         EPA 10/90


Benzene                               5U       51)                       5U     5U            5U      1U       1U      0.3J      1U      U         U      U    U


Toluene                               5U       5U                        5U     5U            0.7     1U       1U      0.4J      1U      U         U      1U   1U


Ethylbenzene                                                                                          1U       1U      0.3J      1U      0.6J      U      U    U


Tetrahydrothiophene                   7        8                30       23     21            19      4.1   3.4        3J        3J      5         5      4J   5


2-MelhylTetrahydrolhiophene                                    31        26     25            TENT   7.8J   5.9J       10J       10J     10J       10J    6J   7J


3-Me thy 1 Tetrahydrothiophene                                                                TENT   2.2J      1.7J    0.9J      0.8J    3J        3J     2J   2J



Not.es:                   U - Not Detected
                          J - Estimated Value, Quantification may be unreliable
                          Duplicate Analyses Listed Together
                          TENT - Tentatively Identified, No Quantitation Provided

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       RATIONALE FOR PR.TECTING TOTAL SOLIDIFICATION IN PLACE



         Durinq our analysis of remedial options for the McColl
Site, we considered, but rejected, total in-place solidification
for the following reasons:
          •     Depth to the Char and Lack of Hazard
          •     No Reduction of Mobility, an Increase in Volume,
                and No Justification for Reducing Toxicity below
                already Low Levels
          •     Imp lemeat ability
          •     Risk
          •     Worker Safety
          •     Time
Our conclusion, after considering all of these factors,          was that
solidification was a viable technology for treating the          tarry
material found at the McColl Site and a technology that          could be
part of a treatment train for remediating the Site, but          that the
technology was not practicable or necessary as a global          remedial
technology for the McColl Site.
         Depth to Char/Lack of Hazard - Based on the depth of the
char, there is no chance of casual contact with the char, now or
in the foreseeable future. Calculations usinq the Universal Soil
Loss Equation (USLE) indicated an erosion potential on the Site
of less than 1/10 of one inch of soil per year. At this rate,
given the current depth of cover over the sumps, it would be over
1000 yearb before the char would be exposed and able to be
contacted. Nominal maintenance, or a RCRA equivalent cap, would
extend this period indefinitely. As long as the waste is
undisturbed and covered, there are minimum emissions to the
atmosphere, as shown by site testing. In addition, the char has
low permeability, as evidenced by its containment of sulfur
dioxide and the lack of contamination in groundwater samples.
There was therefore no hazard associated with the char.
              -   _ of; Toxicity. Mobility o r Volume - T h e risk
analysis conducted in the SROA concluded that, in an undisturbed
condition/ the gases in the char do not pose a significant risk
of either toxicity or carcinogenicity. The SROA indicated that
the risks from volatiles inhalation for either the no-action
alternative (1E-06) or the RCRA Equivalent closure alternative
(3E-08) were as safe or safer than those normally accepted by EPA
as protective (1E-04 to 1E-06). Therefore, treatment to reduce
toxicity was not justified. Since the char is immobile, it
required no treatment to reduce mobility. In-place
solidification would involve converting one solid to another




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solid by rupturing and then re-solidifying the existing char
matrix with chemicals. In addition, the added chemicals would
increase the final volume of the waste by up to 30%, creating a
site as much as 5-10 feet higher than the existing topography.
         Implementability - Because of the hardness of the char
(estimated in excess of 200 blows per foot of penetration,
CH2M-Hill), existing auger rigs would have difficulty penetrating
the char. There was the concern that the auger blades would be
unable to break the char into small enough fragments for the
solidification reagents to obtain sufficient contact for the
process to work. The effort to break up the char wou,ld greatly
increase the noise level of the solidification process, exposing
workers and the community to noise hazards for an extended period
of time. This process would also release entrapped gases, posing
a risk to the workers and the community where none exists today.
Attempts to control these risks would entail significantly
reduced solidification rates, redundant control equipment and
attendant higher costs and extended schedules.
         The sumps are as deep as 35 to 40 feet. There was
considerable concern over the ability to maintain alignment to
assure overlap of the vertical cylinders of treatment at these
depths. There were also concerns that the presence of foreign
materials (e^g^, rubble) or especially hard asphaltic material in
the sumps would preclude penetration of an auger to the base of
the asphaltic material. These factors would reduce the assurance
of complete solidification and require greater cost to implement.
         Total in-place solidification would result in the total
break-down of the char layer and the addition of large volumes of
liquid reagents. Any excess reagents would have direct access
into the soil beneath the waste sumps and could migrate through
the soil towards groundwater. Although we believe the potential
for groundwater contamination is small given the depth to the
groundwater, there is an inherent risk of groundwater
contamination when liquids are introduced to a site, a risk which
increases as the volume of liquids introduced increases.
Consequently, total in-place solidification increases the
potential for groundwater problems where none currently exist.
         Without assurance that the entire char mass could be
stabilized to an extent greater than the current in-place
material, which is already hard and impermeable, there was no
justification for increasing risks from emissions or liquid
injection by attempting to break up and re-solidify the char.
         Risk - The SROA evaluation demonstrates that the
undisturbed char presents little risk to the community or to the
environment. Disturbance of the char would release significant



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quantities of sulfur dioxide, benzene and odorous thiophenes,
creating the potential for significant toxic emissions during the
remediation process. The experience of the Trial Excavation
demonstrated the magnitude of and difficulty for controlling
emissions from the char. Management of this problem would reduce
the work rate, extending the schedule and increasing the cost.
         Worker Safety - Because of the high emission levels
encountered when the waste is disturbed, a high level of worker
health protection may be required similar to the experience
during the Trial Excavation. This would increase physical and
heat stress on the workers, reducing effective visibility and
effective work time per worker per hour, and increasing time and
cost.
         Time - The estimated char volume in the sumps, coupled
with the hardness of the material and the need to slow the work
to control emissions, would require 10 years or more for total
in-place solidification. Uncertainties with equipment downtime,
coupled with slowing the processing rate to assure proper
emissions treatment, worker safety, effective solidification
reagent interaction with the char, and control of the increased
solidified volume of material would further extend the program.
         Conclusion - Given the significant number of technical
issues associated with the implementation of total solidification
of all the wastes, as discussed above, and the potential for
increasing risks to workers and the community arising from
disturbance of the char, this technology was eliminated from
further consideration, prior to the development of potential
treatment trains to address the variety of remediation issues
associated with cleanup of the site. Solidification is merely a
component of a comprehensive approach to remediation which must
also address issues such as gas control and treatment, seismic
stability, groundwater protection and monitoring, and site
maintenance and access.




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         REFERENCES FOR MSG PAPER ON REJECTION OF TOTAL SOLIDIFICATION

         At our meeting in Fullerton on July 16,1991 the EPA requested references for certain items
         in the MSG paper entitled Rejection of Total Solidification. The items questioned by EPA
         and the corresponding references are listed below:


                 L       Erosion potential on the site is less than 1/10 of one inch of soil per year.

                         This value was estimated using the Universal Soil Loss Equation for
                         estimating soil erosion losses (see attached calculation).

                         References:
                               Israelsen, C.E., Clyde, C.G., Fletcher, I.E., Israelsen, E.K., Haws, F.W.,
                               Packer, P.E. and E.E. Farmer. 1980. "Erosion Control During
                               Highway Construction • Manual on Principles and Practices."
                               Transportation Research Board, National Research Council,
                               Washington D.C. April 1980.

                                  Wischmeier, W.H., 1959." A Rainfall Erosion Index for a Universal
                                  Soil Loss Equation." Proceedingsr Soil Science Society of America,
                                  Volume 23, pp. 246-249.


                2.       Addition of chemicals would increase the final volume of the waste by up to
                         30%.

                         From discussions with vendors, the amount of solidification reagent that would
                         be required would be roughly 20 to 30 percent by volume. The volume
                         required is dependent on various factors which include the specific chemicals
                         to be added and the physical and chemical characteristics of the material to
                         be solidified.

                         In addition, EPA's Handbook on In Situ Treatment of Hazardous Waste-
                         Contaminated Soils. January, 1990 (EPA/540/2-90/002) provides some
                         general guidance on volume increases due to solidification. For the selected
                         case studies presented, the volume increase varied from zero to greater than
                         35%.




.   ,   McCoU Site Group September 13,1991




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          3.       The hardness of the char is estimated to be in excess of 200 blows per foot of
                   penetration. •

                   Reference: CH2M Hill's 1987 boring logs.


          4.       The sumps are as deep as 35 to 40 feet.

                   References:
                         CH2M Hill, 1989. Supplemental Reevaluation of Alternatives, Final
                         Draft. Table 2-1;

                            Borehole logs from CH2M Hill, 1987.


          5.       Presence of foreign materials (rubble) in the sumps.

                   Reference:
                         Based on photographs taken of the site, which are attached.


          6.       Ten years or more for total in-place solidification.

                   This was an engineering estimate based on volumes of waste to be solidified
                   and recognizing the hardness of the asphaltic material. Since the partial
                   solidification approach would take approximately 42 to 48 months to
                   accomplish, it was estimated that ten years or more would be required for
                   total solidification.




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                                         ATTACHMENT A

                                Use of the Universal Soil Loss Equation
                        for Estimating Soil Erosional Losses at the McColl Site


 The Universal Soil Loss Equation (USLE) is a predictive tool to estimate soil loss at a site.
 This tool was developed by Wischmeier (1959) primarily for use with agricultural lands. The
 equation was subsequently modified by the Transportation Research Board of the National
 Research Council in 1980 (Israelsen at al, 1980) to provide a more rapid technique for
 estimating soil erosion. The equation is:

          A =      R « K * LS* VM

 where:

          A =  the computed amount of soil loss per unit area for the time interval
               represented by factor R, measured hi tons per acre per year;
          R - Rainfall factor;
          K = Soil Erodibility Factor in tons per acre per year per unit of R;
          LS = Topographic Factor (Length, in feet, and Steepness, in % gradient, of the
               surface of the sump); and
          VM= Erosion Control Factor (Vegetative and Mechanical measures).

 The document by Isrealsen et al. provides factors for R, K, LS, and VM that are applicable
 to the McColl site. The factors that we used are based on the site as it exists today and are
 as follows:

          R = 70 (mean annual value for the site area);
          K =      0,37 to 0.49 for Orange County; we used an average value of 0.43;
          LS = 0.15 to 0.89, depending on the slope of the sump cover as it exists today and
               the length of the sump over which water could flow. The average LS for the
               sumps is 032 for the McColl site. Most of the sumps are quite flat, with very
               low gradients; one comer of Sump R-5 currently has a steeper gradient but
               the cover thickness also appears to be greater in this corner; and
          VM= Ranges from approximately 0 (full vegetative cover) to 1 (no vegetative
               cover); given the lack of vegetative cover over most of the site, we assigned
               a value of 1 to the calculation.
         To convert from tons per year to inches per year we assumed an average soil density
         of 100 pounds per cubic foot, yielding a conversion factor of 0.0055 to convert
         tons/acre/year to inches/year.

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 Using the above numbers, we developed the following calculation:

         A = 70 * 0.43 « 0.32 • 1 • 0.0055 = 0.053 inches per year

 On the areas of greatest slope, a value of 0.19 inches per year is possible, but over the bulk
 of the site, values as low as 0.02 inches per year would be expected. All of the above
 assumes no erosion protection provided by vegetation. Erosion levels would decrease in
 proportion to the amount of vegetative cover that was added to the site. Even weedy
 vegetation can provide VM values of 0.5, thus reducing the erosion potential at McColl to
 0.1 inches per year or less.

Taking Sump L-l as an example, the average calculated erosion rate of 0.05 inches per year
was compared against a cover thickness of 6 feet (per CH2M-Hill borehole log LO-WA-02).
This yielded an erosion time of 1440 years for this unprotected sump. Any sort of erosion
protection (grading to reduce slope, soil additives to decrease the credibility factor, or
vegetation to decrease rainfall impact and credibility) would decrease the erosion rate.


                                          References

Israelsen, C.E., Clyde, CO., Fletcher, J.E., Israelsen, E.K. Haws, F. W., Packer, P.E. and E.E.
Farmer, 1980. "Erosion Control During Highway Construction - Manual on Principles and
Practices." Transportation Research Board, National Research Council, Washington D.C.
April 1980

Wischmeier, W.H., 1959. "A Rainfall Erosion Index for a Universal Soil Loss Equation."
Proceedings,. Soil Science Society of America, Volume 23, pp. 246-249




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                     215 East Orangethorpe A\enue, Suite 304, Fullerton, California 92032 (,""!-}) 065 "391




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                                SUMMARY
                                   Of
             8-6-91 TECHNICAL MEETING BETWEEN EPA AND MSG


            Issue                                Status
Materials Present at McColl EPA and MSG agree on the types of
                            materials present at McColl. EPA
                            does not divide the materials into
                            the same categories as MSG. EPA has
                            three categories: (i) tar and
                            asphalt/ (ii) contaminated material
                            and (iii) clean fill. MSG believes
                            the materials can be categorized
                            into five types based on pathways
                            and waste characteristics:
                            (i) arsenic, (ii) drilling muds,
                            (iii) tarry material, (iv) asphaltic
                            material and (v) contaminated soil.
Contaminants of Concern           EPA and MSG agree that benzene,
  at McColl                       thiophenes, SO2/ arsenic and acidic
                                  materials are the potential risk
                                  "drivers" at the site. EPA believes
                                  these contaminants are the potential
                                  "drivers" in a broad sense and that
                                  other contaminants such as other
                                  sulfur compounds (HoS), toluene and
                                  xylene will be considered as well.
                                  This issue will require further
                                  discussion in meetings regarding
                                  remedial action objectives and risk
                                  assessment.
Pathways                          EPA and MSG agree that direct
                                  contact, ingestion, inhalation,
                                  surface water and groundwater are
                                  the potential exposure pathways to
                                  be evaluated at McColl.
                                  Historically, EPA has viewed
                                  inhalation and ingestion as the
                                  major potential pathways. ICF is
                                  looking at pathways on behalf of EPA
                                  in the context of the risk
                                  assessment. EPA currently views
                                  ingestion, inhalation and
                                  groundwater as the major potential
                                  pathways of concern. The surface




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                                 water pathway will be investigated
                                 as part of the groundwater risk
                                 assessment.
Tar/Asphalt Relationship         EPA and MSG agree the tar to asphalt
                                 irreversible conversion process
                                 hypothesis is sound. EPA and DHS
                                 have asked some questions about how
                                 the chemistry process actually works
                                 at McColl. EPA is interested in any
                                 variation in ash content within the
                                 asphaltic material and in obtaining
                                 Professor Satterfield's paper on
                                 this issue. MSG will provide
                                 Professor Satterfield's paper by
                                 early September.
Remediation of Tar and           MSG believes the tar and asphalt are
  Asphalt                        two distinct materials that should
                                 be analyzed individually in
                                 developing remediation. EPA
                                 currently believes remediation of
                                 the tar and asphalt should be the
                                 same. EPA wishes to review
                                 Professor Satterfield's paper on the
                                 tar and asphaltic materials.
                                 Further discussion needs to take
                                 place between EPA and MSG on this
                                 issue.
Remedial Action Objectives       EPA has two broad remedial
                                 objectives for McColl: (i) prevent
                                 exposure through direct contact,
                                 inhalation and ingestion, and
                                 (ii) prevent potential future
                                 migration to groundwater. EPA
                                 believes MSG's remedial objectives
                                 are more specific in that they
                                 consider different waste types. EPA
                                 does not consider MSG objectives
                                 (h), (i) and (j) as primary
                                 remediation objectives
                                 (See Attachment A). Another meeting
                                 needs to take place between EPA and
                                 MSG to discuss this issue.
Selective Excavation             EPA agrees the selective excavation
  Approach                       approach meets the EPA's remedial
                                 objectives, but has yet to agree
                                 with the MSG that it is a remedy



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                                 that treats the waste to the maximum
                                 extent practicable. EPA believes it
                                 must do more work on the MSG
                                 approach to confirm the proposed
                                 technologies will work (e.g.. the
                                 shroud). EPA also believes it must
                                 redo the NCP nine criteria analysis
                                 on this alternative.
Excavation and                   EPA advised it has screened out
Incineration                     excavation and off-site incineration
                                 as this alternative is not
                                 cost-effective ($700-800 million).
                                 EPA is continuing to study on-site
                                 incineration. MSG believes the cost
                                 of this alternative also makes it 3
                                 inappropriate. The cost of $150/yd
                                 is considered by MSG to be
                                 inappropriately low for a portable
                                 incinerator in the L.A. Basin.
Schedule                         EPA does not agree that the
                                 decision-making process at McColl
                                 can be completed in 6 months due to
                                 internal process and resource
                                 constraints. EPA currently believes
                                 all of the SROA alternatives need to
                                 be updated and the new alternatives
                                 fully evaluated. MSG believes the
                                 selective excavation alternative
                                 needs to be evaluated and added to
                                 the SROA. DHS does not believe the
                                 EIR can be redone until the Proposed
                                 Plan has been issued. MSG believes
                                 the EIR can be placed on a parallel
                                 track with preparation of the
                                 Proposed Plan. The schedule needs
                                 to be discussed further between MSG
                                 and DHS, with follow-up discussions
                                 with EPA.
Risk Assessment                  EPA is still analyzing whether the
                                 SROA risk assessment needs to be
                                 redone to satisfy new guidance. MSG
                                 believes the risk assessment need
                                 only address the new alternative,
                                 selective excavation. EPA has asked
                                 ICF, its risk assessment contractor,
                                 to determine whether EPA needs to
                                 redo the SROA risk assessment in
                                 order to comply with the new risk
                                 assessment guidance. MSG requested

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                                 that EPA and MSG contractors meet
                                 soon to discuss the underlying
                                 premises for the risk assessment.
Trial Excavation - Site          EPA's contractor, Edward Aul, made a
  Applications Analysis          presentation on the initial work
  Report                         regarding scaling up the trial
                                 excavation to a full scale
                                 excavation. MSG will review the
                                 materials provided and communicate
                                 any questions or comments to EPA.
Next Meeting Date                EPA and MSG have agreed to meet on
                                 August 29 and September 10.




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                                    Exhibit 46
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                                     McColl
                           MSG/EPA TECHNICAL MEETING

WASTE CHARACTERISTICS

•   Tarry Wastes: Semi fluid in nature, these wastes periodically flow to the surface
    through fractures in the cover. Upon reaching the surface, the material hardens as a
    result of oxidation and volatilization of the volatile organics and off-gassing of the sulfur
    dioxide. It has the same general chemical characteristics as the asphaltic wastes
    although higher levels of volatile organics. Tarry materials have been characterized as
    the source of odors experienced by the community.

•   Drilling Mud: Drilling muds were placed on the site to neutralize and stabilize the
    acidic wastes. They are mixed with the site wastes and hence contain the same
    contaminants but at lower concentrations.

•   Asphaltic Wastes: This material makes up the largest volume of waste. Due to its hard
    physical nature, this material is immobile. The asphaltic waste was originally more fluid
    in nature. The shift to the asphaltic condition has occurred over time and is a result
    of the chemicals which are present and site conditions. Chemical composition is similar
    to that of the tarry wastes, although the volatile organics are lower and SO2 higher.
    The wastes are relatively impermeable to movement of the SO2. Disturbance of the
    waste releases large amounts of SO2.

•   Arsenic: Not a component of the original waste, it is thought to be a result of midnight
    dumping in the lower Ramparts sumps, possibly the washings from an insecticide truck
    after placement of the drilling muds. It is found only near the surface.

•   Contaminated Soil: Soils in the surface or underlying the waste which have contacted
    the wastes and contain contaminants. Surface soils are contaminated by the tarry wastes
    passing through the soil. Underlying soils having been contaminated when liquid wastes
    were initially placed at the site. Contaminants are characterized by tarry materials,
    volatile organics and low pH.




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                                   #:6341




                                    McColl
                          MSG/EPA TECHNICAL MEETING

 CONTAMINANTS OF CONCERN

 •   Volatile Organics:
      Benzene
      Thiophenes


 •   Inorganic:
      Acidic Nature (low pH)
      Sulfur Dioxide
      Arsenic




 McColl Site Group 8/6/91


                                   Exhibit 46
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                                    McColl
                          MSG/EPA TECHNICAL MEETING
PATHWAYS

•   Contact: Limited to onsite exposure to tarry materials which periodically seep to the
    surface. Other wastes, including hot spots of arsenic, are under several feet of soil and
    thus not accessible. Soil erosion (wind and water) or a seismic event could potentially
    expose waste.

•   Air: Air borne contaminants (volatile organics, sulfur dioxide and arsenic) from the
    waste mass or periodic surface seeps.

    - Undisturbed Waste - Onsite emission impact from undisturbed waste varies from
      minimal (uncovered waste) to nondetectable (covered waste). Effects limited to
      odor. Offsite emission impact from undisturbed waste is limited to periodic odors
      from uncovered wastes.

    - Disturbed Waste - Onsite emission impact varies from moderate to extreme
      depending upon the level of waste disturbance and engineering controls. Failure of
      engineering controls poses offsite risk. Soil erosion (wind and water) or a seismic
      event could potentially expose the waste and increase emissions.

•   Surface Water: Leaching of volatile organics and metals into the surface water where
    it could flow offsite. Water contacting waste is limited to periodic rainfall contacting
    tarry waste that has seeped to the surface. Analysis of surface runoff has yielded very
    low to non detect levels of McCoil contaminants.

•   Groundwater: Leaching of contaminants through the vadose zone to ground water ind
    which could potentially limit its uses. After 40 years, there is no contaminant pattern
    found in the monitoring well system which indicates contaminates are leaching into
    ground water.




McColl Site Group 8/6/91


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                                    McColl
                          MSG/EPA TECHNICAL MEETING
REMEDIATION OBJECTIVES

      In the development of remedial alternatives for the McColl Site, the overall objective
      is to protect human health and the environment. Any remediation alternative
      proposed for the McColl site must attain residual risk levels within the NCP cancer
      risks criterion of 1 x 10"6 to 1 x 10^* and a hazard index for non-cancer effects of less
      than 1.0. Potential odor and other aesthetic problems also should be mitigated.
      Thus, an appropriate remedial alternative at the McColl site should:

      a.     Eliminate exposure by direct contact and paniculate emissions from arsenic-
             containing materials.
      b.     Eliminate exposure to volatile organic compounds and inorganic gases.
      c.     Eliminate the potential for direct contact with seeps and inhaling volatile
             chemicals from seeps.
     d.      Prevent leaching of contaminants into ground water.
     e.      Prevent migration of contaminants offsite via surface water.
     f.      Eliminate community exposure to site odors.
     g.      Prevent contact and exposure to emissions from asphaltic wastes,
     h.      Protect against seismic eventy
     i.      Provide a site that is compatible with the surrounding community,
     j.      Balance the reduction in residual risk against any implementation risk to
             workers and nearby residents




McColl Site Group 8/6/91


                                           Exhibit 46
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                                    McColl
                          MSG/EPA TECHNICAL MEETING
RESPONSE ACTIONS


The MSG approach will protect human health and the environment by satisfying the
remedial action objectives as follows.

• Exposure to arsenic materials will be eliminated by excavating material within 3 feet of
the surface with concentrations above 50 ppm. This material will be solidified to satisfy
BOAT requirements of the federal land ban regulations and disposed of offsite. A RCRA-
equivalent cap will be installed over remaining materials.

• Exposure to volatile organic compounds (VOCs) and inorganic gases will be eliminated
by removing the seeps, installing a RCRA-equivalent cap over the site and installing an
active emission collection and treatment system.

• Direct contact with seeps and associated exposure to odor, VOC emissions and acidic
material will be eliminated by 1) pre-treating, excavating, and thermally destroying or
redisposing existing seeps and select tar zones, or 2) in-situ solidification of select tarry
material. In addition, the site will be capped and have an active emission collection and
treatment system.

• Contamination of ground water will be prevented by eliminating infiltration, which will
be accomplished by installing a RCRA-equivalent cap with a permeability of less than 10"7
cm/sec. There will be surface grading and drainage to direct rain water away from the
sumps. Slurry walls around the sumps will prevent lateral migration of any perched ground
water. Long-term monitoring of ground water quality will also be performed.

• Migration of contaminants offsite via surface water will be prevented by installing a
RCRA-equivalent cap and runoff collection system over the remaining materials.

• The community's exposure to odors from the site will be prevented by installing a RCRA-
equivalent cap over the sumps and an emission collection/treatment system.

• Exposure to emissions from the asphaltic waste will be prevented by the installation of
a RCRA-equivalent cap and an emission collection/treatment system.

• Creation of a park-like site that is compatible with the surrounding community will be
accomplished by landscaping, including the installation of sidewalks, slumpstone walls,
modifications to Rosecrans Boulevard and planting of trees and shrubs. Operation and
maintenance will be performed to assure continuous site operation and appearance.

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                                           Exhibit 46
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• Protection from seismic events will be achieved by solidifying drilling muds and installing
backfills and crib walls designed to withstand a maximum credible earthquake.

• Risks to workers and residents during implementation will be minimized by avoiding
disturbance of the asphaltic materials and controlling the excavation rate to limit emissions
released. All excavations and in-situ treatment will be performed within positive air
pressure enclosure with redundant air collection and purification systems. Continuous
monitoring of emissions within the enclosures, around the enclosures and at site perimeters
will be performed to ensure protection of workers and the community.




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                                           Exhibit 46
                                             6302
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                  DEPOSITED WASTES AT McCOLL


                                ARSENIC MATERIAL

                                DRILLING MUD

                                TARRY MATERIAL

                                ASPHALTIC MATERIAL




McColl Site Group 8/6/91


                                                Exhibit 46
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                                                                                90316/VI I C H 2 & H I V ?/!2>ai




                                          •      Arsenic - 50 to 5,000 ppm
                                          •      SO2 Emission Rate - None/Low
   SHALLOW ELEVATED ARSENIC
                                          •      Average Depth - 2.5 ft.
                                          •      Volume -1,800 c.y.
                                          •      Migration Potential - None/Low
                                          •     Existing Geotechnical
                                                Instability Potential - Low




                                                                CHARACTERISTICS OF
                                                                 ELEVATED ARSENIC

                                                                      McCOLL SITE

                                                          ENVIRONMENTAL SOLUTIONS, INC.

                                   Exhibit 46
                                                                                              P/R/Q1
                                     6304
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                                   #:6348                                                      c
                                                                                    90336A/1 I C I I 2 6 H t V ?/!2'!ll




                                                 Arsenic - Low
     DRILLING MUD                               SO2 Emission Rate - Low
                                                Maximum Depth -13 ft.
      ^^
                                                Volume -10,900 c.y.
                                                Migration Potential - None
                                                Existing Geotechnical
                                                Instability Potential - High




                                                                 CHARACTERISTICS OF
                                                                    DRILLING MUD

                                                                      McCOLL SITH
                                                           ENVIRONMENTAL SOLUTIONS, INC.

                                   Exhibit 46                                                    8/6/91
                                     6305
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                                   #:6349                                                  c
                                                                                    90 H6A/I K H ^ 8 Ml V <>/I.VJI




                                                Arsenic - None
            TARRY MATERIAL
                                                SO2 Emission Rate - High
                                                Maximum Depth -17 ft.
                                                Volume - 5,900 c.y.
                                                Migration Potential - High
                                                Existing Geotechnical
                                                Instability Potential - High




                                                                  CHARACTERISTICS OF
                                                                    TARRY MATERIAL

                                                                       McCOlLSlTE
                                                            ENVIRONMENTAL SOLUTIONS, INC.

                                   Exhibit 46                                                   8/6/91
                                     6306
                                   C
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                                   #:6350
                                                                                               C
                                                                                    9031GA/1 I C H 2 9 H L V ;vi?/9l




        ASPHALTIC MATERIAL                      Arsenic - None
                                                SO2 Emission Rate - High
                                                Maximum Depth - 30 ft.
                                                Volume - 48,000 c.y.
                                                Migration Potential - None
                                                Existing Geotechnical
                                                Instability Potential - None



                                                                CHARACTERISTICS OF
                                                                ASPHALTIC MATERIAL

                                                                      McCOLL SITE

                                                          ENVIRONMENTAL SOLUTIONS, INC.

                                   Exhibit 46
                                                                                                  8/6/91
                                     6307
 c                                               <
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                                                #:6351                                       c
                    WASTE CONCERNS AT McCOLL


                                             ODORS

                                            LOWpH

                                             SO2

                                            BENZENE

                                            ARSENIC




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                                                Exhibit 46
                                                  6308
(                                               C
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                EXPOSURE PATHWAYS AT


                                      DIRECT CONTACT

                                      INGESTION

                                      INHALATION

                                      SURFACE WATER

                                      GROUND WATER




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                                               Exhibit 46
                                                 6309
 (                                              C
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                                               #:6353                                       C
OVERALL OBJECTIVE: PROTECT HUMAN HEALTH AND ENVIRONMENT
                        (104 TO


McCOLL REMEDIAL ACTION OBJECTIVES:


     ELIMINATE EXPOSURE TO ARSENIC
     ELIMINATE EXPOSURE TO VOCs AND INORGANIC GASES
     ELIMINATE CONTACT WITH SEEPS
     PREVENT CONTAMINATION OF GROUND WATER
     PREVENT OFFSITE MIGRATION VIA SURFACE WATER
     ELIMINATE COMMUNITY EXPOSURE TO ODORS
     PREVENT CONTACT/EMISSIONS FROM ASPHALTIC WASTES
     PROVIDE A SITE COMPATIBLE WITH SURROUNDING COMMUNITY
     MINIMIZE IMPLEMENTATION RISKS




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                                               Exhibit 46
                                                 6310
 (                                               C
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                                                #:6354                                       C


REMEDIATION GOAL:

ELIMINATE EXPOSURE TO ARSENIC MATERIALS




     EXCAVATE AND TREAT THE SHALLOW ELEVATED
     ARSENIC MATERIAL AND DISPOSE IT OFFSITE

     INSTALL RCRA-EQUIVALENT CAP




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                                                Exhibit 46
                                                  6311
C                                               C
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                                               #:6355                                       (


REMEDIATION GOAL:

ELIMINATE EXPOSURE TO VOCs AND INORGANIC
GASES


RESPONSE:

• EXCAVATE/TREAT SEEPS

•    INSTALL RCRA-EQUIVALENT CAP

     COLLECT AND TREAT EMISSIONS


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REMEDIATION GOAL:

ELIMINATE APPEARANCE OF SEEPS AND EXPOSURE TO ODORS, VOCs
AND ACIDIC MATERIALS


RESPONSE:

•   PRE-TREAT, EXCAVATE AND THERMALLY DESTROY OR REDISPOSE
    EXISTING SEEPS AND SELECT TAR ZONES

•   IN-SITU TREAT/SOLIDIFY SMALLER POTENTIALLY MOBILE TARRY
    ZONES

•    INSTALL RCRA-EQUIVALENT CAP

•    COLLECT AND TREAT EMISSIONS




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                                               Exhibit 46
                                                 6313
    (                                            C
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                                                #:6357                                       C


REMEDIATION GOAL:

PREVENT LEACHING OF CONTAMINANTS INTO GROUND WATER


RESPONSE:

•       INSTALL RCRA-EQUIVALENT CAP
            + < 107 CM/SEC COVER
            + SURFACE GRADING AND DRAINAGE TO DIRECT RAIN WATER
            AWAY FROM SUMPS

•       INSTALL SLURRY WALLS AROUND REMAINING MATERIALS TO
        ISOLATE FROM PERCHED WATER

•       MONITOR GROUND WATER QUALITY




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                                                Exhibit 46
                                                  6314
 c                                               c
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                                               #:6358                                       c

REMEDIATION GOAL:

PREVENT OFFSITE MIGRATION OF CONTAMINANTS
VIA SURFACE WATER


RESPONSE:

•    INSTALL RCRA-EQUIVALENT CAP AND RUNOFF
     COLLECTION SYSTEM

•    SURFACE GRADING AND DRAINAGE TO DIRECT
     SURFACE WATER AWAY FROM SUMPS


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                                               Exhibit 46
                                                 6315
  c                                               c
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                                                #:6359                                       c
REMEDIATION GOAL:

ELIMINATE COMMUNITY EXPOSURE TO ODORS


RESPONSE:

      INSTALL RCRA-EQUIVALENT CAP

      COLLECT AND TREAT EMISSIONS




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                                                Exhibit 46
                                                  6316
c                                               c
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                                               #:6360                                       c
REMEDIATION GOAL:

PREVENT CONTACT AND EXPOSURE TO EMISSIONS FROM ASPHALTIC
WASTES


RESPONSE;

•    INSTALL RCRA-EQUIVALENT CAP

•    COLLECT AND TREAT EMISSIONS

•    INSTALL BACKFILLS AND CRIB WALLS DESIGNED TO WITHSTAND A
     MAXIMUM CREDIBLE EARTHQUAKE




McColl Site Group 8/6/91


                                               Exhibit 46
                                                 6317
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                                                 #:6361




REMEDIATION GOAL:

PROTECT AGAINST SEISMIC EVENTS


RESPONSE:

•    SOLIDIFY DRILLING MUDS

•   INSTALL BACKFILLS AND CRIB WALLS DESIGNED TO WITHSTAND A
    MAXIMUM CREDIBLE EARTHQUAKE




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                                                 Exhibit 46
                                                   6318
    (                                              C
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                                                 #:6362                                       (
REMEDIATION GOAL:

MINIMIZE RISK TO WORKERS/RESIDENTS DURING IMPLEMENTATION

RESPONSE:

•       AVOID DISTURBANCE OF THE ASPHALTIC MATERIALS

•       MINIMIZE AND CONTROL RATE OF EXCAVATION TO LIMIT
        EMISSIONS

•       PERFORM ALL EXCAVATION/IN-SITU TREATMENT WITHIN
        POSITIVE AIR PRESSURE ENCLOSURE WITH REDUNDANT AIR
        COLLECTION/PURIFICATION SYSTEMS

•       CONTINUOUS MONITORING OF EMISSIONS

•       ADOPT COMMUNITY CONTINGENCY PLAN




McColl Site Group 8/6/91


                                                 Exhibit 46
                                                   6319
  c                                              c
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REMEDIATION GOAL:

PROVIDE A SITE THAT IS COMPATIBLE WITH
COMMUNITY


RESPONSE:

      LANDSCAPING

      SIDEWALKS AND WALLS

      O&M


McColl Site Group 8/6/91


                                                Exhibit 46
                                                  6320
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               'A'S 21/2 YEAR SCHEDULE FOR M(                                       ILL



ITEM:                                                                                        DATE:

FINALIZE FS                                                              FEBRUARY 1992

FINALIZE NINE CRITERIA ANALYSIS                                              AUGUST 1992

ISSUE PROPOSED PLAN                                                    NOVEMBER 1992

ISSUE ROD                                                              DECEMBER 1993




McColl Site Group 8/6/91


                                                Exhibit 46
                                                  6321
 C                                               C
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                                                #:6365                                          (
        MSG's SIX-MONTH SCHEDULE FOR MCCOLL

ITEM:                                                                                        DATE:

MEETINGS BETWEEN EPA AND MSG                                                AUG-OCT 1991
 TO AMEND SROA

ISSUE AMENDED SROA, PROPOSED                                                END OCT 1991
  PLAN & DEIR

PUBLIC COMMENTS               NOVEMBER 1991
BEGIN CONSENT DECREE NEGOTIATION

ISSUE ROD & EIR
SIGN CONSENT DECREE                                                      FEBRUARY 1992


McColl Site Croup 8/6/91


                                                Exhibit 46
                                                  6322
 C                                              C
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                                               #:6366                                       (
             SUGGESTED 1991 MEETINGS BETWEEN EPA & MSG

ITEM/MEETING                                                                  DATE

DISCUSSION OF PRINCIPAL THREAT                                                AUG 5-16
REMEDIAL ACTION OBJECTIVES                                                    AUG 5-16
HOW MSG ALTERNATIVE MEETS OBJECTIVES                                          AUG 5-16
SROA ALTERNATIVES AGAINST NEW NCP                                             AUG 12-23
TECHNICAL STUDIES/REMEDIAL ACTION OBJECTIVES                                  AUG 12-23
REVIEW OF RISK ASSESSMENT                                                     AUG 12-23
DISCUSSION OF DEIR                                                            AUG 12-23
REVIEW OF ARARS                                                               AUG 12-23
TECHNICAL EVALUATION OF SELECTIVE EXCAVATION                                  AUG 19-SEP 13
COMMENCE AMENDMENT OF SROA AND DEIR AND                                       AUG 19-SEP 13
    DRAFTING OF PROPOSED PLAN
REVIEW MSG ALTERNATIVE COSTS                                                  AUG 30-SEP 13
INDIVIDUAL & COMPARATIVE ANALYSIS                                             AUG 30-SEP 20
ISSUE AMENDED SROA, PROPOSED PLAN AND DEIR                                    OCT 1991
PUBLIC COMMENTS ON PROPOSED PLAN                                              NOV 1991
ISSUE ROD & EIR                                                               FEB 1992


McColl Site Group 8/6/91


                                               Exhibit 46
                                                 6323
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                                   Exhibit 46
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               SUMMARY OF 8/29/91 EPA/MSG TECHNICAL MEETING

                     Agenda attached as Attachment ft
                Attendance List attached as Attachment B


         1. Schedule; After the August 6 meeting with the
community, the EPA McColl Project Managers had a briefing with
management to discuss the 2-1/2 year schedule. EPA has agreed to
meet with the community after Interagency Committee meetings.
EPA will meet with the community on September 9 and has agreed to
provide the community with a detailed schedule describing
activities to take place over the next 2-1/2 years in that
meeting. EPA will provide the MSG with a copy of the schedule
before September 9. EPA and MSG will discuss the schedule in the
next technical meeting. MSG proposed to meet with the EPA every
week to discuss technical issues. EPA said it cannot commit to
meeting with the MSG once a week and still maintain the Agency's
internal schedule. EPA has agreed to meet with the MSG every
three weeks to discuss technical issues and to have conference
calls with the MSG to discuss isolated issues on an as-needed
basis. EPA and MSG have agreed to meet in Fullerton on September
10 and to meet in San Francisco on September 30. Agendas for
technical meetings will be developed based on results of the
prior meetings and suggestions from EPA and the MSG.
           •      Accomplishments;
                 -EPA and MSG have agreed to meet every
                  three weeks to discuss technical issues.
                 -EPA and MSG have agreed to have conference
                  calls on an as-needed basis to discuss
                  technical issues.
                 -EPA and MSG have agreed to meet on September 10
                  in Fullerton and on September 30 in San Francisco.
          •      Action Item;
                 -EPA to provide MSG with a copy of the Agency's
                  detailed 2 1/2 year schedule before September 9.

         2.   Tar/Asphalt Relationship; Professor Satterfield of
MIT gave a presentation on the reactions occurring at the McColl
Site (See Attachment C). The MSG will provide EPA with a
detailed paper describing these reactions in September. EPA



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 agrees with the reactions described by Professor Satterfield.
 EPA believes Professor Satterfield's presentation explains a
 great deal about the tar. EPA would like further information
 about why tar is still found at the Site if these reactions have
 been occurring since the sludge was placed in the sumps. MSG
 agreed to discuss these issues in greater detail with EPA in the
 next technical meeting.
            •     Accomp1i shment;
                 -EPA and MSG agree on the reactions occurring
                  at the McColl Site and agree the tar to asphalt
                  conversion process is irreversible.
            •     Action Item;
                 -MSG will provide EPA with further information
                  regarding the presence of tar at the Site.

          3.  Pathways. Waste Description and Remediation
Objectives; EPA and MSG agree that direct contact, ingestion,
inhalation, surface water and groundwater are the potential
exposure pathways to be evaluated at McColl. EPA intends to look
at the surface water and groundwater potential exposure pathways
as part of the. risk assessment for the groundwater operable
unit. EPA intends to consider the direct contact, ingestion and
inhalation potential exposure pathways as part of the surface
remedy. With respect to materials present at the Site, EPA and
the MSG agree there are five different physical materials present
at the Site (arsenic, drilling muds, tar, asphalt and
contaminated soil). EPA, however, groups the materials
differently than the MSG for purposes of remediation
considerations. EPA would group the five physical material
categories into two categories for purposes of remediation: (i)
arsenic and (ii) drilling muds, tar, asphalt and contaminated
soil. Currently, EPA is expressing its remedial action
objectives in terms of the contaminants present at the Site
rather than waste characteristics. The MSG also considers the
toxicity of the contaminants present at the Site in developing
its remediation goals for the Site, but found the potential
exposure pathways varied with the different categories of waste.
This leads the MSG to believe the material types should be
categorized differently for purposes of remediation. EPA
explained that the Agency is still evaluating the toxicity of the
different materials. EPA stated that the MSG remedial action
objectives are similar to the Agency's but that EPA views the MSG
objectives as subsets of broader EPA objectives. EPA agreed to
write down its remedial action objectives for McColl and to
provide the list for discussion at the next Technical Meeting.



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                                   Exhibit 46
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          •     Accomp1i s hment s;
                -EPA and MSG agree on the potential
                 exposure pathways.
                -EPA and MSG agree on the materials
                 present at the McColl Site.
                -EPA and MSG agree their remedial action
                 objectives are similar.
          •     Action Item.:
                -EPA to provide MSG with a list of the
                 Agency's remedial action objectives and
                 discuss them in the September 10 meeting.

         4. Selective Excavation and Remediation Objectives:
EPA raised the following questions about Selective Excavation:
(i) How does the MSG define tar? (ii) How does MSG intend to find
the tar? (iii) Who determines if excavation is "safe"? (iv) What
are the acceptable "safety" levels and what are the trigger
points for determining those levels? and (v) What happens if the
MSG is unable to locate and treat all of the tar? MSG agreed to
provide EPA with further information on these questions in the
upcoming technical meetings.
          •     Accomplishment;
                -EPA identified specific questions it has on
                 the Selective Excavation approach.
          •     Action Item:.
                -MSG will provide EPA with further information
                 on these issues in upcoming technical meetings.

         5.   Integration of Technical Studies into Current
Process; The MSG presented its logic for integrating new
technical studies into the decision-making process (See
Attachment D). EPA agrees with the logic set forth in the
decision-tree and understands the MSG position that it is
important to screen alternatives out of the process early if they
are not viable alternatives. EPA agreed with this approach and
stated the Agency intends to screen non-viable alternatives early
in the process. EPA cited the screening out of off-site
incineration as an illustration of this point. EPA suggested the
MSG tell the Agency when the MSG believes an alternative should



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be screened out of the process and provide the reasons for the
conclusion so EPA can consider the information. The MSG agreed
to do so and noted that its current efforts in this regard,
citing the recent letter sent to John Blevins regarding on-site
incineration costs (Attachment E). EPA believes it must update
the costs of all of the SROA alternatives. EPA does not believe
its plans to update the costs of the SROA alternatives will take
much time in the scheme of the 2-1/2 year schedule. EPA believes
developing the new alternatives and performing the risk
assessments on the new alternatives (total solidification,
discrete layer solidification and Selective Excavation) are the
critical path issues which will take a large amount of time to
complete. The MSG believes risk assessment work need only be
done on the new alternative, Selective Excavation, and that the
other two new alternatives EPA is currently considering fail NCP
criteria and should be screened out of the process. EPA and the
MSG agreed to have their respective contractors discuss the risk
assessment in upcoming technical meetings.
          •      Accomplishments;
                -EPA and MSG agree on the logic for integrating
                 new technical studies into the decision-making
                 process.
                -EPA and MSG agree that non-viable alternatives
                 should be screened out of the process as soon
                 as possible.

          •      Action Item;
                -EPA and MSG contractors to discuss risk
                 assessment issues in upcoming technical meetings.




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                                   Exhibit 46
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                                         #:6372




                                      McColl Sit*
                  Proposed Agenda for EPA/MSG Technical Meeting
                                 August 29, 1991
                                 9 a.a. - 3 p.m.
                               Baldwin Park Hilton
                          14635 Baldwin Park Town Canter
                                Baldwin Park, CA 91706
                              Telephone; (818) 962-6000
 1.   Discussion as to How to Integrate the EPA and MSG McColl schedules
      for Presentation to Community on September 9th
      EPA and MSG agreed to a community request to review their
      respective schedules regarding the time and steps necessary to
      select an alternative at McColl.
2.    MSG Presentation on Tar - Asphalt Relationship - 1 hour
      While EPA recognizes the differences between the tar and asphalt, they
      currently view the tar and asphalt as a single waste category* MSG
      believes the waste chemistry and characteristics warrant separate
      categories.    MSG will bring Prof. Satterfield (MIT) to make a
      presentation on the "tar - asphalt" relationship in advance of issuance
      of the technical paper.
'3.   EPA Presentation of: Pathways, Waste Description and Remediation
      Objectives - 1 hour
      At the last meeting, in response to the MSG presentation, EPA provided
      a broad, global overview of their approach to these issues. EPA would
      provide a more focused picture of their approach. From this and the MSG
      presentation earlier this month, specific areas of agreement and
      disagreement should emerge.
4.    EPA/MSC Discussion to Develop Documentation on Pathways, Waste
      Description and Remediation Objectives * 2 hours
      EPA and MSG to document areas of agreement to maximize progress. They
      will also identify areas of disagreement and seek to identify an
      approach for resolving the conflict. Identify action itama and proposa
      schedules.
3.    EPA/MSG Discussion Concerning Selective Excavation and the Remediation
      Objectives * 1 hour
      Based on the presentation of MSG on 8/6 and EPA (item 2 above) come to
      agreement as to how the objectives are met. If there are areas of
      disagreement, identify then for resolution. Identify action items and
      proposed schedules.
                                      ATTACHMENT A
                                       Page 1 of 2


                                         Exhibit 46
                                           6329
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Proposed Agenda, EPA/MSG Technical Meeting
(August 29, 1991)
Pago 2

6.   MSG Lead Discussion as to an Appropriate Response for Impact of New
     Information on the SROA Alternatives of 1989 - 1 hour
     MSG provides logic for integrating the results of technical studies;
     revised NCP and the remedial objectives into the SROA alternatives.
     Emphasis will be on a screening evaluation to identify the significance
     of the new information to the work included in the SROA.




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                                     ATTACHMENT A
                                      Page 2 of 2




                                        Exhibit 46
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                                ATTACHMENT B




                                    Exhibit 46
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                                   #:6375



                    REACTIONS IN THE McCOLL SUPEPpUND SITE

 SUMMARY - Present products have been formed by:
      A.     Acid-catalyzed polymerization and polycondensation of
             organic material.
      B.     Above reactions, accelerated by autoxidation
      C.     Above reactions, accelerated by acidified clay which
             also adsorbs products to form an asphaltic cement.
      D.     These reactions are not reversible under existing
             conditions
             1.     Original composition of sludge
                    (a) 90% H2S04
                    (b) undefined organic material of varying
                        molecular weight and composition.
                    (c) essentially no "ash "
             2.     Present composition, from L-4 EPA Pre-publication
                    Report, 1990
                             raw tar                   raw char
                    C           51.1 wt%                   8.6
                    H            4.1 (net)                 3.7
                    S           10.6                       4.5
                    N            0.1                       0.1
                    0           20.8 (net)                28.3
                  ash            1.6                      55
                    Radian - Cores from R-l, R-2, R-5. L-l and L-2
                    Two samples of each of five. Eight of the ten
                    described as a "hard, black asphaltic waste with a
                    slight rubbery texture."
             Average analysis: 48% ash
             (variation amongst individual samples apparently not
             available)
             3.     Clay was present in all CH2M borings (1987) of soil
                    near pits. (LO-SO-01 through LO-SO-09 and RA-SO-01
                    through RA-SO-07)

                                       ATTACHMENT C
                                        Page 1 of 2



                                          Exhibit 46
McColl Site Group 08-29-91                  6332
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                      Drilling muds (essentially bentonite clay) also
                      disposed of in some pits (Bentonite is a
                      montmorillonite type of clay).
                      Reactions
                      Dehydropolymerization
                           RH-t-R'H -_P_2___-^ R-R' + H2O, etc.
                      Polycondensation
                                R(0)H + R'(0)H -v- R - R 1 or R(0)R' + H20,
                           etc.
                      Polymerization reactions are catalyzed by acids
                    Contact of clays with an acidic hydrocarbon sludge
                      Kaolin (ideal) Al4Si40io(OH)3-nH2O
                      Montmorillonite (ideal)


                               X= monovalent cation
                      A.       clays are converted to the acidic form
                      B.       they dissolve/disperse
                      C.       they reprecipitate as acid concentration drops
                               simultaneously
                               • they catalyze polymerization reactions
                               • they adsorb polymeric materials and
                                    gradually become inactive
                               Result; Formation of an asphaltic cement
                               structure
                      D. These processes are exothermic and occur
                      spontaneously at ambient conditions. They cannot
                      occur in the reverse direction under the same
                      conditions that drive them forward.


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                                        Page 2 of 2




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                                                      McCOLL SITE STUDIES
                                                         DECISION TREE



                                                     Does the study pertain to an     .NO-
                                                   alternative under consideration?


  To what alternative does it apply?


       Selective Excavation                               SROA Alternatives


  Did MSG have information prior to         MO
          2/12/91 offer?

                    YES
                                                     Does information significantly   NO-
                                                     enhance the viability of the
                                                     alternative?

                                                                YES

                                                        Evaluate information


  Information considered by MSG in
  developing Selective Excavation
  and Incorporated into Proposal

                                                       Does Information Alter
                                                     Selective Excavation Plan?

                                                                YES

                                                       Integrate Into Selective
                                                           Excavation Plan

                                                                                               No Further Evaluation

McColl Site Group                                     ATTACHMENT D
August 29, 1991                                        Page 1Exhibit
                                                               of 462
                                                               6334
       McCOLL
Case 2:91-cv-00589-CJC     Document 677-17 Filed 07/10/20 Page 150 of 449 Page ID
       SITE *                               #:6378
       GROUP      215 East Orangethorpe Avenue, Suite 304, r\il!crton, California 92632 (714) 665-7391




                                                    August 23, 1991



      Mr. John Blevins
      U.S. EPA, Region IX
      75 Hawthorne Street, H-6-1
      San Francisco, California                        94105
                      Re: McColl Superfund Site - Analysis of Onsite
                          Incineration Costs
      Dear John:
              The EPA has stated in the Interagency Committee (IAC)
     letter dated August 2, 1991, that costs for onsite incineration
     are currently running approximately $150 per ton. We do not
     believe a $150 per ton estimate is appropriate for incineration
     and ash disposal at the McColl Site. A recent fixed price
     estimate for the Brio NPL site indicates that the incineration
     component alone, not including ash handling, for the site was
     $150 per ton. Further, this site is less complex than McColl and
     is located in a less restrictive air quality area.
              In our comments to the Supplemental Reevaluation of
     Alternatives, we cited a 1988 paper by John H. Lanier in the
     Hazardous Materials Control Research Institute's Superfund '99
     which states: "Incineration prices (for transportable units)
     range from $200/ton for dry contaminated soil to $1000/ton for
     sludges with high heating values." We believe that transportable
     incinerator costs will increase significantly in the future, just
     as the costs of fixed base units have, and that the McColl Site
     wastes will be on the upper end of the cost range.
             Science Applications International Corporation, in their
    START program report of May, 1991, estimated that the cost for
    incineration at McColl, using a transportable rotary kiln system,
    would be $249 per ton in 1987 dollars, or approximately $300 per
    ton in 1991 dollars. However, this number assumes " . . . no
    capital or annual costs involved in procuring such a system," nor
    does it account for the ash handling. It is unrealistic to
    expect that a company would provide an incinerator for six years
    without looking to recover the capital cost of that unit. This
    would add up to $100 per ton to amortize the cost of the unit.
    In addition, the ash handling for other sites costs approximately


                                                 ATTACHMENT E
                                                  Page 1 of 3
      The McCoU Site Croup I* competed ofi
      Shell CHI Company. ARCO. Phillip* Peuotcum. Teuco tnd UNOCAL •-•>•
                                                     Exhibit 46
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  McCOLL
  SITE                                       #:6379
  GROUP       215 East Orangethorpe Avenue, Suite 304, Mlerton, California 92632 (714) 665-7391



 Mr. John Blevins
 August 23, 1991
 Page 2


 $65 per ton. The total cost for incineration and ash handling
 would be at least $465 per ton. We believe the cost of meeting
 air quality standards in the South Coast Air Quality Management
 District ("SCAQMD") would require additional capital cost, but do
 not have any specific estimate at this time.
         Although we are not convinced that incineration is even
possible within the SCAQMD, given the above, we have developed an
illustrative cost analysis for an onsite incineration program.
For ease of comparison, we have used the costs EPA quoted in the
interagency Committee letter for excavation and storage, tar
treatment, char treatment and contingency percentage. Even
though we believe EPA's cost estimates are substantially low, and
the air quality issues associated with such a program have not
been adequately addressed, we have used them for illustration
purposes and have found that the lower range of costs for an
onsite incineration program at McColl would be $215-$330 million
(see Attachment 1). Adjustments for air quality facilities and
waste excavation and handling would substantially increase the
final cost and clearly result in this alternative not being
cost-effective.
         We would be glad to discuss the foregoing with you in
detail. We expect the foregoing information will be used in your
decision-making process at McColl.
                                                       Very truly yours,


                                                       William J. Duchie
WJD:mf1
cc:      David Jones
         Pam Wieman
         Steve Linder
         Barry Eaton
         David Bushey
         Barry Brown



                                                    ATTACHMENT E
                                                     Page 2 of 3
The McColl Site Croup It competed o£
Shell Oil Company. AJtCO. Philllpt Petroleum, Texaco and UNOCAL •«

                                                         Exhibit 46
                                                           6336
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  McCOLL
  SITE                                       #:6380
  GROUP       215 East.Orangeihorpe Avenue, Suite 304. Rillerton, California 92632 (714) 665-7391

                                             ATTACHMENT 1
                                     COST FOR ONSITE INCINERATION


                  ITEM                                                  COST (^MILLIONS)

         Excavation and Storage                                         $      62*
         Tar Treatment                                                            5*
         Char Treatment                                                         16*
        Transportation                                                            0
         Incineration and Ash Disposal**                                    70-150


 TOTAL                                                                  $153-233
 CONTINGENCIES***                                                        $18-28
 TOTAL PLUS CONTINGENCIES***                                            $171-261
TOTAL COST WITH 5%/YEAR ESCALATION***                                   $215-330


                 THESE NUMBERS HAVE BEEN TAKEN FROM EPA LETTER TO THE
                 INTERAGENCY COMMITTEE (8/2/91) FOR CONSISTENCY. THE
                 MCCOLL SITE GROUP DOES NOT AGREE WITH THE EXCAVATION AND
                 TREATMENT NUMBERS CITED ABOVE AND BELIEVES THAT
                 EXCAVATION WILL BE SIGNIFICANTLY MORE COSTLY.
**               BASED ON 150,000 TONS AT $465-$1000 PER TON
***              MULTIPLIERS TAKEN FROM EPA LETTER TO INTERAGENCY
                 COMMITTEE (8/2/91)




                                                   ATTACHMENT E
                                                    Page 3 of 3
' Shelf CHl'c^pan'yTARCO'.^hiiiip* Petroleum, Texaco and tfNOCAL ••»•

                                                        Exhibit 46
                                                          6337
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                                   Exhibit 46
                                     6338
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                                   #:6382



            AGENDA FOR SEPTEMBER 10 EPA/MSG TECHNICAL MEETING

            TIME:        10:00 a.m. to 3:00 p.m.
            LOCATION:    Fullerton Hunt Branch Library
                         201 South Basque (from Euclid go west on
                           Valencia to Basque and follow the signs)
                         Fullerton, California
                         (714)738-3121


     I.     TAR - ASPHALT RELATIONSHIP          (1/2 hour)

            After Professor Satterfield's presentation at the August
            29, 1991 meeting regarding the reactions occurring at
            the McColl Site which have led to the sludge becoming an
            asphaltic cement material, the EPA asked for further
            discussion as to why tar is still present at the Site.
            The MSG will lead the discussion.
    II.     DISTRIBUTION AND AMOUNT OF TAR          (1 hour)
            In the August 29, 1991 meeting, EPA raised questions the
            Agency has regarding the Selective Excavation, Treatment
            and RCRA-Equivalent Closure approach. Issues which EPA
            would like further information about include: (i) how
            does the MSG define tar, (ii) how much tar does the MSG
            believe is present at the Site, (iii) where does the MSG
            believe the tar is located, (iv) how does the MSG intend
            to find the tar, and (v) how will the Selective
            Excavation alternative be impacted, if at all, if the
            MSG is unable to locate and treat all of the tar. The
            MSG will lead the discussion.
   III.     REMEDIAL ACTION OBJECTIVES          (1 1/2 hours)
            In the August 29, 1991 meeting, EPA stated the MSG
            objectives were similar to EPA's, just more detailed.
            EPA will present a list of the objectives to the MSG and
            lead a follow-up discussion of the Agency's remedial
            action objectives for the Site.
    IV.     SCHEDULE    (1/2 hour)
            EPA and MSG will discuss the detailed schedule that EPA
            will be providing to the community on September 9.
            Dates and agendas for the next technical meetings will
            be set, along with any conference calls.
     V.     RISK ASSESSMENT     (1/2 hour)
            EPA and MSG will begin initial discussions as to the
            need for or lack of need for new risk assessments.
            Unfortunately, MSG's contractor will not be available to
            participate in this meeting and detailed discussions
            between the respective contractors will need to be
            deferred to the September 30 meeting.
                                   Exhibit 46
                                    6339 "A"
                            ATTACHMENT
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                                      ATTACHMENT      "B1
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           DISCUSSION OF SELECT ISSUES REGARDING TAR AT McCOLL


    I.       INTRODUCTION

          During the August 29, 1991 meeting with the EPA, the
 McColl Site Group (MSG) described the processes by which acidic
 sludge at McColl has been and is being converted to asphalt and
 tar. Further clarification was requested on the distribution of
 the tar within the sumps, why some pockets of tar appear to be
 found within the asphalt, and whether it is critical to find and
 solidify all of the tar to successfully close the site. The
 following paragraphs describe the acidic sludge conversion
 process, relate that process to the observations from sampling
 programs at McColl, and explain why it is not necessary to find
 and solidify all of the tar.
   II.       ACIDIC SLUDGE CONVERSION PROCESS
          Dr. Charles Satterfield, in his presentation to the EPA
 on August 29, 1991, identified the three reactions by which
 acidic sludges are converted to asphalt:
             1.       acid catalyzed polymerization/condensation;
             2.       acid catalyzed polymerization/condensation,
                      accelerated by acidified clay; and
             3.       acid catalyzed polymerization/condensation,
                      accelerated by autoxidation.
          Initially, the reactions occurred rapidly. This is due
 to the exposure of the acidic sludge to air, the presence of
 concentrated sulfuric acid, the presence of clay from the s.des
 and bottom of the sumps, and the presence of drilling muds in
 some of the sumps. The high ash content of the asphalt confirms
 acidic clay catalysis as a primary mechanism for the formation of
 the asphalt. The tar is an intermediate product that has not
 been completely transformed to asphalt due to: (i) the presence
 of saturated hydrocarbons that will not polymerize, or (ii)
 reduction in the reaction rate due to lack of oxygen.
  III.       WHAT IS TAR?
          Tar is an intermediate product from acidic sludge that
 has not been transformed to asphalt.
          Physically, the tar is              black and semi-fluid in nature.
 The viscosity of the tar varies              depending on the stage of
 transformation the material has              reached, which is determined by
 the original composition of the              sludge and the amount of




                                  ATTACHMENT "C"
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McColl Site Group   September 10, 1991      6341
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commingling with clay and oxygen. The variation in tar
characteristics is exemplified by the waste descriptions used
during the EPA drilling in Sump L-l, as shown in Tables 1 and 2.
         The tar has organic characteristics similar to those of
the asphalt, but with much lower ash content, indicative of the
absence of clay. Data from the EPA (1990) indicate that tar
samples had an ash content of less than 2 percent, while
asphaltic samples had ash levels of about 55 percent. The tar is
acidic, with pH ranging from less than 1.0 to 2.0.
   IV.      WHERE IS THE TAR?

          Tar is found primarily in localized areas above or in
the upper portions of the asphalt, in areas near where seeps have
occurred.
         Due to density differences between tar and asphalt, the
majority of the tar is found above the asphalt. As the acidic
sludge converted into tar and asphalt, the denser asphalt sank to
the bottom of the sump, while the lighter asphalt moved toward
the top. While small droplets of tar may be trapped within the
asphalt, the majority of tar is found above the asphalt.
Separating the relatively pure tar and asphalt phases is a
transition zone. Because of the small density variations, both
tar and asphalt would be found in this zone. The EPA Subsurface
Investigation Report (Ecology and Environment, 1991) shows that
virtually all of the tar in Sump L-l was found either immediately
above the asphalt or in the transition zone. The transition zone
is approximately one to two feet thick.
         Large tar deposits are found near seeps. The Ecology
and Environment Report showed that tar was found in the vicinity
of "Old Faithful" (see Figure 1). .Cone penetrometer data
(Ecology and Environment, 1989) confirmed a tar zone in this
area. The tar is believed to move to the surface through cracks
in the overlying material as pressure extrudes the tar.
          Tar distribution above the asphalt is consistent with
the MSG "mud wave" theory (MSG, 1991), in which overburden soils
or drilling muds pushed into the sumps from one side of the sump
displaced the tar. This activity would result in more
concentrated zones of tar, which could be thicker at some
locations, as indicated by the available data. Figure 2, a
cross-section through Sump L-l, shows that the thickest tar
occurs toward the sump edges. The predesign investigations will
define these localized areas of tar within the sumps which will
require treatment.




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    V.       HOW MUCH TAR TS THERE?

         Based on the L-l drilling program, the boring logs by
Radian (1983) and CH2M Hill (1987), and MSG mapping of the tar
seeps (MSG, 1991), the volume of tar within the McColl sumps is
predicted at 5,000 to 10,000 cubic yards. A more precise
estimate of the volume and location of the tar will be obtained
during the cone penetrometer study.

         From information obtained during the recent drilling
program conducted at the McColl Site, it is known that Sump L-l
contains tar in areas above the asphalt, in the transition zone
and in isolated pockets within the asphalt. The amount of tar in
Sump L-l is less than 10% of the total carbonaceous waste in the
sump. Since the sumps are all of similar origin and age, this
distribution should be similar for the other sumps. It is
possible, however, that there may not be as much tar in upper
Ramparts because there are very few seeps in that area.
   VI.       CONCLUSIONS AND RELEVANCE TO McCOLL.

         The Selective Excavation, Treatment and RCRA Equivalent
Closure plan has identified a process for locating, solidifying
and/or excavating significant areas of tar at the McColl Site.
The plan will work for the following reasons:

                      (a)    The asphaltic waste does not reconvert to tar;
                (b) The tar in the sumps is primarily located at
      the top of the asphalt;
               (c) The plan will allow tar to be located through
     a combined cone penetrometer and drilling program. The plan
     will locate all of the significant tar areas above the
     asphalt and in the transition zone. Any remaining material
     will be of an isolated nature and of too small of a volume to
     contribute to seeps or cause geotechnical instability;
                (d) The plan will allow backfilling of the spots
     where tar is removed with crushed rock. The void space in
     this crushed rock would be sufficient to assimilate any
     remaining tar; and
                (e) Tar which is currently trapped within the
     asphalt is immobile. The asphalt itself will withstand the
     weight of the overlying material and will resist "squeezing
     out" any small residual amounts of tar, just as it contains
     the sulfur dioxide. Therefore, isolated pockets of tar
     within the asphalt will not impact the integrity of the plan,
     and permanence will be achieved.



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                               TABLE 1
                       POSSIBLE TAR ENCOUNTERS
             DURING AUGUST 1990 BOREHOLE DRIILING AT LOS COYOTES PIT L01

 BOREHOLE     GEOLOGIST      DEPTH          DESCRIPTION
  NUMBER                   INTERVAL
                              (FT)

     3              VR    7.5    -      9   Black, plastic material mixed with brown silt
                           14    -     15   Brown clay intermixed with black tar
                           15   -      19   Brown clay mixed with black tar
     4              VR    8.5   -      10   Black char, granular, with stringers of plastic tar
     8              AF    8.5   -       9   Moist char layer
     12             AF      1    -      5   Hard silty clay, tar ball stuck in sampler
                            5   -     6.5   Clay mixed with tar lense
                          6.5   -       7   Tar lense
     13             AF     10   -      12   Tar
                           12   -    12.5   Tar and char
     15             DW    5.9   -      15   Char, initially with moisture then becoming hard
                           15   -    16.8   Char, initially with moisture then becoming hard
     16             DW      7   -     7.5   Tar and clay mixed
     17             VR    8.5   -     9.5   Tar
                           10   -      11   Tar
     18             VR      4   -       5   Tarry clay
                            5   -       7   Tar, non-liquid, soft, consolidated and cohesive.
     19             VR      6   -     7.5   Soft Char
                          7.5   -       8   Char with tar lenses
     22             AF      5   -       6   Soft char, pliable and moist
                          7.5   -       8   Tar lens, liquid
                            9   -    1 0    Softer char
                           10   -    12.5   Oily flowing tar
                           13   -      14   New tar flow
                           14   -    14.5   Soft char
    31              VR      7   -     7.8   Moist soft char
    32              VR      9   -      10   Char, sticky at barrier
    34              VR      9   -    1 0    Black soft char, pliable, not friable
                           10   -    11.5   Soft pliable char
    35              VR    7.5   -       8   Soft pliable char
                            8   -     8.5   Soft liquid char
    36              VR      7   -     7.5   Soft pliable char mixed with hard platy char
    37              VR      7   -     7.3   Sticky char, non-flowing
    39              VR    6.5   -       7   2 inch lens of gooey sticky tar consistency of frosting
                          9.5   -      10   Soft tar, mostly oily saturation
                           10   -    10.4   Soft tar
    40              AF      6   -     7.5   Slightly sticky semi-soft char; breaking into wafers
                          7.5   -     8.5   Friable char, oily and dripping
    43              VR    9.5   -      10   Moist, platy, vitreous char
                           11   -      12   Soft pliable/friable char
    44              VR      7   -     7.5   Black tarry char, vitreous amd pliable




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                                    TABLE 2


                      DESCRIPTIONS USED BY E&E
                    AND TRANSLATED AS TAR BY MSG


          Black, plastic material mixed with brown silt
          Black char, granular, with stringers of plastic tar
          Moist char
          Hard silty clay, tar ball stuck in sampler
          Clay mixed with tar lense
          Tar lense
          Tar
          Tar and char
          Tar and clay mixed
          Tarry clay
          Tar, non-liquid, soft, consolidated and cohesive.
          Soft Char
          Char with tar lenses
          Soft char, pliable and moist
          Tar lens, liquid
          Softer char
          Oily flowing tar
          New tar flow
          Darker brown clay with small char stringers
          Charry silty clay
          Moist soft char
          Char, sticky at barrier
          Black soft char, pliable, not friable
          Soft pliable char
          Soft liquid char
          Soft pliable char mixed with hard platy char
          Sticky char, non-flowing
          2 inch lens of gooey sticky tar consistency of frosting
          Soft tar, mostly oily saturation
          Soft tar
          Slightly sticky semi-soft char; breaking into wafers
          Friable char, oily and dripping
          Moist, platy, vitreous char
          Soft pliable/friable char
          Black tarry char, vitreous amd pliable




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            Figure 1          ISOPACH MAP OF TARRY MATERIAL THICKNESS (FT)




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                      PURPOSE OF A BASELINE RISK ASSESSMENT




             •       Help determine whether additional response is
                     necessary at the Site

                     Modify preliminary remediation goals

             •       Help support selection of the "no action" remedial
                     alternative, where appropriate

             •       Document the magnitude of risk at the Site, and the
                     primary causes of that risk




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                                         EXPO_SURE




             RAGS - Reasonable Maximum Exposure

             Former Guidance - Worst case analyses

             Examples:
                  30 years versus 70 years exposure
                  0.2 mg/day ingestion versus 1 mg/day

             RESULT:         Drives risk of all alternatives down




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                           RISK; CHEMICALS AND PATHWAYS



             Primary cause of risk for no-action alternative will not
             change

             Chemicals:
                  Arsenic
                  Benzene

             Pathway
                  Inhalation of vapors and dust

             RESULT:      No significant impact on risk assessment




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                                          LAND USE




             RAGS requires risk estimate based on current and future
             Site uses
                     •       Assume recreation
                     •       Would not change SROA conclusions that:
                             •    remediation is needed
                             •    arsenic ingestion poses a risk




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                                   GROUNDWATER




                      Groundwater was not addressed in the SROA

                      It is a separate operable unit

                      Therefore, omission from the SROA of exposure to
                      groundwater chemicals does not mandate a new
                      baseline risk assessment




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                                       PRECEDENT


         There is precedent within Region IX for relying on
Baseline Risk Assessments performed in accordance with old
guidelines. (South Bay Multi-Site Cooperative Superfund Program)




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               PERSONAL PROTECTIVE EQUIPMENT CONSIDERATIONS
                DURING THE IMPLEMENTATION OF THE SELECTIVE
                      EXCAVATION REMEDIAL ALTERNATIVE



          It is anticipated that protection of workers from
 exposure to sulfur dioxide will dictate the type of personal
 protective equipment (PPE) needed during the implementation of
 the selective excavation remedial alternative. Selective
 excavation will be performed in an enclosure. Table 1 shows the
 PPE needs at different sulfur dioxide levels.
          For sulfur dioxide levels below 25 ppm, Level C PPE,
 using a full faced air purifying respirator (APR), is
 recommended. The APR cartridges against sulfur dioxide are
 approved by NIOSH for sulfur dioxide levels below 50 ppm. By
 using 25 ppm as the cut-off for Level C PPE, we have incorporated
 a safety factor of 2. Workers should be able to work under such
 exposure conditions for their entire shift.
          For sulfur dioxide levels between 25 and 50 ppm, Level B
 PPE, using a self contained breathing apparatus (SCBA), is
 recommended. Fifty ppm is one-half of the NIOSH-recommended IDLH
 level. Even in the event of equipment failure, at most only
 one-half of the IDLH level could be reached and the workers will
 be able to evacuate the enclosure without developing adverse
 health effects. (Because sulfur dioxide is irritating to the
 upper respiratory tract, workers will quickly recognize when
 their PPE is not working properly).
          The sulfur dioxide levels can be between 50 to 100 ppm
 for up to 10 minutes without having to evacuate. In the event of
 equipment failure, these levels will allow shutdown of the
 operation and will protect the community. If the sulfur dioxide
 levels exceed 100 ppm for any duration, we recommend that workers
 evacuate the site.
          Exposure to the carcinogenic organic chemicals, benzene
 and methylene chloride, may occur during the implementation of
 the selective excavation remedial alternative. It is anticipated
 that airborne levels of benzene and methylene chloride will
 mirror airborne levels of sulfur dioxide and that protecting
 workers from excessive sulfur dioxide exposure also will protect
 workers against excessive benzene exposure. It is anticipated
 that methylene chloride levels will be below the CalOSHA PEL of
 100 ppm.
          Exposure to tetrahydrothiophene (THT) may occur during
 the implementation of the selective excavation remedial




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 alternative. Because of its low odor threshold, the primary
 concern is odor impacts to nearby residents in the event of
 enclosure failure, it is anticipated that airborne levels of THT
 will mirror airborne levels of sulfur dioxide and that protecting
 workers from excessive sulfur dioxide exposure will also protect
 workers from excessive THT odors.




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                                                           SULFOB DIOXIDE ACTIOM LEVELS FOB SELECTS




         Concentration*                              Duration      Personal Protective Equipment (PPE)                  Rationale

    less than 25 ppm                          Full work shift      Level C PPE with full faced air       Cartridges good to 50 ppm; safety
                                                                   purifying respirator                  factor of 2

    25 to 50 ppm                              Full work shift      Level B PPE with self contained       50 ppm is one-half of IDLH level;
                                                                   breathing apparatus                   safety factor of 2

    50 to 100 ppm                             10 minutes           Level B PPE with self contained       Range allows cessation of activities
                                                                   breathing apparatus                   without endangering workers or community

    greater than 100 ppm                      None                 Stop work and evacuate                Work environment becoming too riskv;
                                                                                                         evaluate implementing additional
                                                                                                         engineering or administrative controls




*    Measured at the breathing zone




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                 McCOLL SITE GROUP MEETING
                             AT
                         EPA OFFICES




                        OCTOBER 21, 1991




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2.   Estimate of Flux from McColl Wastes

3.   Comments on Edward AuPs Presentation

4.   Analysis of SAIC Report

5.   Re-estimation of Costs for On-site Incineration

6.   Electromagnetic Survey and Ground Penetrating Radar Investigations




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                   IMPLEMENTABILITY OF REMEDIATION OPTIONS



  ATTACHED TABLE SHOWING SELECTIVE EXCAVATION OPTION. TOTAL
 SOLIDIFICATION OPTION . AND TOTAL EXCAVATION AND INCINERATION
                             OPTION




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October H, 1991




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                                       COMPARATIVE ANALYSIS; IMPLEMENTABILITY  OF SELECTIVE EXCAVATION,
                                               TOTAL SOLIDIFICATION, EXCAVATION AND INCINERATION

                                                                                 ALTERNATIVES

                                          SELECTIVE EXCAVATION
                                          TREATMENT AND RCRA                            TOTAL                                       EXCAVATION AND
      CRITERIA                            EQUIVALENT CLOSURE                            SOLIDIFICATION                              INCINERATION


Technical Feasibility                                                                                                                 Special large enclosure required.
- Difficulties Associated with
   Implementation                           SO2 scrubber system design                       SO2 scrubber system design. Larger       SO2 scrubber system must be
                                                                                             size unit needed to deal with            designed for worst-case condition
                                                                                             increased SO2 quantity.                  corresponding to peak
                                                                                                                                      concentrations based on results of
                                                                                                                                      the trial excavation.

                                                                                                                                      Alternative to protective foam will
                                                                                                                                      be required for emission control
                                                                                                                                      since foams failed in the trial
                                                                                                                                      excavation.

                                            Excavation technology is available               Excavation technology is available       Excavation technology - a critical
                                            for this approach.                               for this approach.                       aspect of this alternative - is
                                                                                                                                      uncertain and failed during the trial
                                                                         'f
                                                                                                                                      excavation. May require multiple
                                                                                                                                      incinerators.

                                                                                             Not clear that auger technology is
                                                                                             available to penetrate and treat all
                                                                                             waste.



                                                                                                                                      Incinerator did not prove successful
                                                                                                                                      on McColl materials in Ogden test
                                                                                                                                      burn and further studies are needed.




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                                       TOTAL SOLIDIFICATION, EXCAVATION AND INCINERATION

                                                                             ALTERNATIVES

                                    SELECTIVE EXCAVATION
                                    TREATMENT AND RCRA                               TOTAL                                      EXCAVATION AND
  CRITERIA                          EQUIVALENT CLOSURE                               SOLIDIFICATION                             INCINERATION


                                                                                                                                  Insufficient information for
                                                                                                                                  SCAQMD to review for substantive
                                                                                                                                  compliance with agency criteria.
                                                                                                                                  Preliminary data from START
                                                                                                                                  report indicates it would not pass.

                                                                                                                                  Shoring or sheet piling of side walls
                                                                                                                                  to protect workers and limit flow
                                                                                                                                  into work area.

                                                                                                                                  Small enclosure may not
                                                                                                                                  accommodate large equipment
                                                                                                                                  needed for total excavation.



                                      Earthquake protection needed                       Earthquake protection needed             Earthquake protection needed
                                      during implementation - risk posed                 during implementation - risk posed       during implementation - risk posed
                                      is low and proven technology exists.               is low and proven technology exists.     is high because of depth of
                                                                                                                                  excavation.

Uncertainties Related to               SO2, HjS and hydrocarbon emission                 SOj, HjS and hydrocarbon emission        SO2, HjS and hydrocarbon emission
Inplementalion                         rates.                                            rates unknown but anticipated to be      rates unknown but anticipated to be
                                                                                         high because all waste will be           extremely high based on results of
                                                                                         disturbed.                               the trial excavation.

                                                                                                                                  Inability to meet air emissions
                                                                                                                                  requirements for exhaust gases on
                                                                                                                                  enclosure and incinerator (based on
                                                                                                                                  results of the trial excavation).




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                                 COMPARATIVE ANALYSIS; IMPLEMENTABILITY OF SELECTIVE EXCAVATION,
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                                                                               ALTERNATIVES

                                   SELECTIVE EXCAVATION
                                   TREATMENT AND RCRA                                  TOTAL                                        EXCAVATION AND
  CRITERIA                         EQUIVALENT CLOSURE                                  SOLIDIFICATION                               INCINERATION



                                      Volume of waste requiring                            Uncertain how much of waste and            Volume of wastes and contaminated
                                      solidification is not definitely known               soil can be solidified because of          soils adjacent to and underlying
                                      at this time but estimated to be                     subsurface obstacles and hardness of       wastes to be excavated is unknown.
                                      25,000 to 30,000 cy.                                 asphaltic waste.

                                      Increase in topography due to                        Greater change in site topography          Ability to excavate all tar and
                                      solidification reagents partially offset             due to addition of solidification          asphaltic waste - materials handling
                                      by excavation.                                       reagents to treat entire waste             will be complex and may exacerbate
                                                                                           volume.                                    risks based on the results of the trial
                                      Volume of waste to be selectively                                                               excavation.
                                      excavated is not definitively known at
                                      this time but believed to be 5,000 to                                                           There is insufficient information to
                                      10,000 cy.                                                                                      allow scaling up of the trial
                                                                                                                                      excavation to a full-scale excavation.

                                                                                                                                     Availability of offsite disposal
                                                                                                                                     capacity for ash is unknown.

                                      Selective excavation and in situ                     In situ treatment rates uncertain, but     Excavation rates uncertain-could
                                      treatment rates uncertain but                        estimated completion of remedy is          take 16 to 21 years based on the
                                      completion of remedy estimated to                    between 6-10 years because of              results of the trial excavation and
                                      be in four years or less because of                  volume of waste treated and the            limits to working hours due to
                                      amount of material treated.                          potential for encountering                 proximity to community.
                                                                                           subsurface obstacles.




Reliability that Technology will      Emission control systems effectively                 Exhaust gas treatment system has           Exhaust gas treatment system has
meet Efficiency and Performance       and reliably minimize inhalation                     not been designed to address the           not been designed to address the
Goals                                 risks.                                               problems associated with disturbance       problems experienced in the trial
                                                                                           of all waste.                              excavation.

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                                         TOTAL SOLIDIFICATION, EXCAVATION AND INCINERATION

                                                                            ALTERNATIVES

                                   SELECTIVE EXCAVATION
                                   TREATMENT AND RCRA                               TOTAL                                           EXCAVATION AND
  CRITERIA                         EQUIVALENT CLOSURE                               SOLIDIFICATION                                  INCINERATION



                                     Capping is a demonstrated reliable                    Capping is a demonstrated reliable         High sulfur and ash content of waste
                                     method of preventing direct                           method of preventing direct                materials makes reliability of
                                     exposure threats.                                     exposure threats.                          incinerator and emissions control
                                                                                                                                      equipment questionable.

                                     Design life of remedy is expected to                  Design life of remedy is expected to       Variability of waste characteristics
                                     be at least 30 years.                                 be at least 30 years.                      and other constituents will require
                                                                                                                                      extensive prctrcatment and handling
                                                                                                                                      and cause incinerator shutdown.

Likelihood of Technical Problems     Because of use of proven                              Penetrability of asphaltic cement and      Exceedance of air emissions limits
Leading to Delays                    technologies and minimal waste                        subsurface obstacles will limit            likely to delay implementation based
                                     disturbance, delays appear unlikely.                  application and lead to delays.            on results of the trial excavation.

                                                                                                                                      Buildup of flammable or explosive
                                                                                                                                      gases in the sumps may delay
                                                                                                                                      implementation.

                                     Potentially difficult working                         Potentially difficult working              Difficult working conditions
                                     conditions around shroud area, but                    conditions around shroud are more          associated with personal protective
                                     activities are limited in duration and                significant because of extent of waste     equipment (e.g., heat stress) as
                                     relatively small volumes of waste                     disturbance.                               demonstrated in the trial
                                     handled.                                                                                         excavation - workers could only be
                                                                                                                                      expected to work 15 minutes per
                                                                                                                                      hour due to health monitoring and
                                                                                                                                      rest requirements.

                                                                                                                                      Time required to move waste and
                                                                                                                                      equipment in and out of enclosure.




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                                                                                ALTERNATIVES

                                         SELECTIVE EXCAVATION
                                         TREATMENT AND RCRA                              TOTAL                                       EXCAVATION AND
     CRITERIA                            EQUIVALENT CLOSURE                              SOLIDIFICATION                              INCINERATION


                                                                                                                                       Waste feed handling equipment
                                                                                                                                       problem may cause delays.

                                           Odors should be controllable due to               Odor control is a bigger potential        Odors from disturbed waste cause
                                           limited excavation and greater                    problem because of greater volume         nuisance requiring abatement as
                                           flexibility to adjust rate of waste               of waste to be disturbed.                 experienced by residents during the
                                           disturbance.                                                                                trial excavation.

                                           Noise from solidification and                     Noise from stabilization equipment        Noise from broad range of activities
                                           equipment will require abatement.                 will be of longer duration due to         and large equipment will require
                                                                                             treatment of entire mass. Higher          abatement or additional design. 24-
                                                                                             noise levels when drilling through        hour operation unlikely.
                                                                                             asphlatic cement and when
                                                                                             encountering subsurface obstacles.
                                                                                             24-hour operation unlikely.


- Additional Remedial Actions               Not difficult to implement additional            Not difficult to implement additional     Treatment of ash if it remains
                                            remedial actions.                                remedial actions.                         hazardous.

  Migration or Exposure Pathways            No migration or exposure pathways                No migration or exposure pathways         Migration or exposure pathways for
  that cannot be Monitored                  exist that cannot be monitored                   exist that cannot be monitored            dispersion of inorganic heavy metals
  Adequately                                adequately.                                      adequately.                               throughout community from
                                                                                                                                       incinerator emissions very difficult to
                                                                                                                                       monitor.

  Risks of Exposure if Monitoring                                                                                                      Inhalation or ingestion of heavy
  is Insufficient or Fails                                                                                                             metals or partkulates from
                                                                                                                                       incinerator emissions.




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                                               TOTAL SOLIDIFICATION, EXCAVATION AND INCINERATION

                                                                                  ALTERNATIVES

                                         SELECTIVE EXCAVATION
                                         TREATMENT AND RCRA                               TOTAL                                     EXCAVATION AND
      CRITERIA                           EQUIVALENT CLOSURE                               SOLIDIFICATION                            INCINERATION


                                           Potential ground water                             Potential for ground water              Potential for ground water
                                           contamination.                                     contamination.                          contamination.

Administrative Feasibility




                                           SCAQMD Air Emissions Permit                        SCAQMD Air Emissions Permit             SCAQMD Air Emissions Permit
                                           Requirements.                                      Requirements. Level of uncertainty      Requirements. Significant level of
                                                                                              is greater because of more waste        uncertainty because of large scale
                                                                                              disturbance.                            waste disturbance and incineration.




                                           Permits should be available for                    Permits should be available for         RCRA land disposal restrictions may
                                           limited waste excavation activities                limited waste excavation activities     prevent redisposal of ash or require
                                           (eg. Arsenic and solidified tar).                  (eg. Arsenic).                          further treatment.

Availability of Services and Materials

- Disposal Capacity Needed.                Approximately 5,440 to 9,070 cubic                 Approximately 1,800 cubic yards of     At least 207,000 tons of ash/sludge.
                                           yards.                                             arsenic.


- Availability of Necessary                Shallow auger system is generally                  Significant concerns regarding          Specialty enclosure and emission
  Equipment and Specialists                available - specialty enclosures are               obstructions and depth required to      control system is needed for
                                           required but much smaller than                     auger into the asphaltic cement.        excavation of sumps.
                                           other alternatives.




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                                                                             ALTERNATIVES

                                      SELECTIVE EXCAVATION
                                      TREATMENT AND RCRA                             TOTAL                                      EXCAVATION AND
     CRITERIA                         EQUIVALENT CLOSURE                             SOLIDIFICATION                             INCINERATION


                                                                                                                                  Specialty equipment required for
                                                                                                                                  deep excavation; may require special
                                                                                                                                  prototype manufacture.

                                                                                                                                  Specialty materials handling trains,
                                                                                                                                  with air emissions control, are
                                                                                                                                  required.

- Special Equipment Requirements        Specialty excavation containment                 Specialty excavation containment         Specialty excavation containment
                                        structures.                                      structures.                              structures.

                                        Special enclosures for the in situ               Special enclosures for the in situ
                                        treatment unit                                   treatment unit.

  Lack of Equipment and                  None                                            Obstructions in sumps and structural     If incinerator emission controls
  Specialists That Prevent                                                               integrity of asphaltic cement may        cannot meet applicable (e.g., As, SO2
  Implementation                                                                         make use of conventional augering        and NOj) standards, this alternative
                                                                                         equipment infcasible.                    cannot be implemented unless an
                                                                                                                                  ARAR waiver applies.




  Technologies that Require              All equipment is available.                     Equipment is available, but unproven
  Further Development Before                                                             in these conditions
  They Can Be Applied Full-Scale
                                                                                         Gas emissions treatment systems          Gas emissions treatment systems
                                                                                         must be designed to handle large         must be designed to handle large
                                                                                         quantity of emissions.                   quantity of emissions.

                                                                                                                                  Excavation equipment.



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                                                    ALTERNATIVES

                             SELECTIVE EXCAVATION
                             TREATMENT AND RCRA             TOTAL                       EXCAVATION AND
CRITERIA                     EQUIVALENT CLOSURE             SOLIDIFICATION              INCINERATION


                                                                                          Operator protection.

                                                                                          Another test bum is required to
                                                                                          demonstrate this technology.




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                      ESTIMATE OF FLUX FROM MCCOLL WASTES


Flux is measured in terms of Mg/m2/min (micrograms per square meter per minute)
as a rate of gas evolution from an exposed surface over a given time period. Flux is
measured both as a "puff1 measurement, which occurs as soon as the surface is
disturbed, and as a lower steady state measurement Radian Corporation, in their
1983 report entitled McColl Phase II - Emission Control Test, measured emission
rates for SO2 and THC during a waste excavation test at the McColl site. The range
of values for this work is provided below:

Sulfur Dioxide (SO2):

           2.9 x 10* - 9.6 x 106 /zg/m2/min

Total Hydrocarbons (THC)

            1.3 x 103 - 4.7 x 10s Mg/m2/min

These values represent the most definitive study for the McColl site, and would be
representative of the range of flux that would be expected from excavation. Because
of the neutralization effects coming from the addition of solidification reagent, the
flux of SO2 from in-situ solidification would be expected to be less. Based on the
solubility of SO2 in aqueous media, we would expect complete mixing to reduce SO2
concentration by approximately 20%. This, however, is a very complex mass transfer
problem and cannot be confirmed without testing. The THC flux would not be
affected by the solidification reagents and would-therefore be equal for both in-situ
solidification or excavation.

Since emission rates are based on related to an exposed surface area, it is clear that
the larger the area that is disturbed, whether in total or at a given time, the greater
the emissions and amount of emissions that will have to be treated. It is also clear
from the Sump L-4 excavation that the SO2 and THC are in the tarry and asphaltic
cement materials but not in the drilling mud and overburden. The amount of SO2 and
THC from the tarry material and the asphaltic cement is approximately equal, based
on the emissions monitoring from L-l and L-4. Emission rates are thus tied to the
amount of tarry material or asphaltic cement that is disturbed, the rate of
disturbance, and the surface area exposed at any one time.

Therefore, since there are an estimated 5,000 - 10,000 cubic yards (cy) of tarry
material and approximately 50,000 cy of "asphaltic cement," there is 5-10 times more
total SO2 and THC in the asphaltic cement than in the tarry material. The Selective
Excavation plan calls for in-situ neutralization, with subsequent selective excavation,

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of the significant (areas greater than 200 sq. ft. and greater than or equal to 3" thick)
tarry material, a volume estimated at £ 5000 - 10,000 cy. Total Solidification, as well
as Excavation and Incineration, will involve the disruption of the tarry material plus
the asphaltic cement and material immediately adjacent to the sumps. Total
emissions from just the waste handling during either the Total Solidification option or
the Excavation and Incineration option will be 5 to 10+ times greater than for
Selective Excavation. This would require either a significantly larger emission
treatment system with constant operation or a substantially longer project life if the
treatment system were kept at the size projected for working in the tar only. The
subsequent incineration of the waste in the Excavate and Incinerate option will
generate another large volume of SO2, as described in the SAIC report.




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                         COMMENTS ON EDWARD AUL PRESENTATION

On August 6, Mr Edward Aul gave a short presentation to the MSG and EPA
regarding the technical feasibility of excavating under an enclosure. Our initial
comments regarding Mr. Aul's presentation are set forth below:

(1)                Table 4-1 contains data on sump geometry, in-piace volume, excess
                   excavation percentage, and a number of enclosure re-positioning required
                   to excavate the sump. For example, Sump R-6 requires the enclosure to be
                   moved and placed 7 separate times. Although the in-place volumes look
                   reasonable, we do not believe it is feasible to excavate only a small piece
                   of the sump at one time, given the mobility of the tar and of the drilling
                   mud (in 3 of the sumps). Additionally, we do not understand how excess
                   excavation volumes can be as low as 0.7%. Excavation is simply not that
                   precise an activity, as evidenced by the fact that the excess excavation
                   volume predicted by Mr. Aul for one sump (R-2) is 144.9%.

(2)                Figures 4-1 and 4-2 show a cross-section depicting excavation of the north
                   half and center columns of Sump R-2. Figure 4-1 depicts a 1 %:1 slope
                   through the drilling mud, a vertical face in the waste and a slope of
                   approximately 66% in the "questionable material" (soil underlying the
                   waste zone). Personnel would be working at depths up to 24 feet below
                   ground surface. We have previously expressed our serious reservations
                   about the safety of working that far below ground surface in the presence
                   of drilling mud and/or tarry material which has mobility, and in the
                   presence of potentially high concentrations of sulfur dioxide and other
                   chemicals. We are very uncomfortable with the idea of anchoring one side
                   of the structure on top of the drilling mud, which we all recognize is not
                   secure from a geotechnical standpoint. The consequences of collapse of
                   the enclosure are simply too great to seriously consider this option.
                   Finally, we are very uncomfortable with the idea of working around a
                   vertical waste face. OSHA regulations require shoring of any excavation
                   greater than 3 feet in depth. There is no indication of such shoring in this
                   drawing. For the 14-foot vertical work face shown, substantial shoring
                   would be required.

(3)                We recognize that the EPA questions MSG estimates of SO2 emission, and
                   are using lower SO2 emissions as a working premise. Although we do not
                   know what "puff* levels Ed Aul is employing, we recognize he is looking at
                   maintaining SO2 levels at or below 50 ppm within the enclosure. During
                   the trial excavation at average excavation rates of 4.3 cubic yards per hour
                   (cy/hr) for tar and 2.6 cy/hr for asphaltic cement, SO2 emissions greater
                   than 100 ppm were experienced on all 8 days on which tar or asphaltic

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                   cement was excavated. In a letter to the EPA dated September 13, 1991,
                   we provided our guidelines for selecting appropriate PPE at different sulfur
                   dioxide levels. We recommend that for SO2 levels between 25 and 50 ppm
                   (as measured at the breathing zone), level B PPE using a self contained
                   breathing apparatus (SCBA) should be used. For SO2 levels between 50
                   and 100 ppm, we recommend that workers only continue working for up to
                   10 minutes. In our previous comments to the 1990 Trial Excavation, we
                   described in some detail the consequences of working in Level B or A:

                   - shortened work times (as low as 15 minutes per hour)
                   - heat stress
                   - decreased visibility
                   - large crew sizes
                   - dramatically increased excavation schedule

(4)                Table 2.1 - Technical Feasibility Issues Regarding Excavation Under an
                   Enclosure, augmented by Figures 4-1 and 4-2, provides information on
                   equipment sizing. As you are aware from previous comments on the 1990
                   Trial Excavation, we have the following concerns:

                   - Excavating with a 3 yd bucket is inconsistent with an excavation rate of
                     100 tons/day;
                   - The materials did not provide sufficient information for us to
                     understand the selection of a 130,000 ACFM system. In light of the
                     potential "puffs" of SO2, we believe that this system is substantially
                     underdesigned;
                   - Stabilized foam has been demonstrated as ineffective;
                   - The Granular Activated Carbon (GAC) system and the SO2/Particulate
                     Scrubber were not effective in the 1990 Trial Excavation. Scaling up
                     those units without consideration of venturi scrubbers for the
                     particulates is inappropriate. There is no indication in the materials,
                     nor do we believe the use of a 1 million Btu/hr duct-burner will comply
                     with SCAQMD guidelines.

(5)                A two page table provides "Assumptions for Discussion with PRPs on
                   Application Analysis Report." Comments on these pages are as follows:

                   - The assumption that 90% of the feed will be contaminated material
                     with only 10% additives is inconsistent with the 1990 Trial Excavation,
                     wherein mixes up to 1:1 were employed.
                   - There appears to be no provision in the drawings or assumptions for
                     roadways to get large vehicles down into the excavation.
                   - Based on the cited production rates of 110 cy/day and 100 tons/day, the
                     density of the material would be 67.3 pounds per cubic foot. This is

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                     much less than the 90 pounds per cubic foot value for waste previously
                     provided in the February 1989 SROA.
                   - The ability to operate 50-ton off-highway trucks within the confines of
                     the enclosure is questionable.

As you know, the MSG is very concerned that total excavation of the McColl site is
not feasible. We do not believe that such an alternative is cost-effective or necessary.
We believe that SO2 emissions within the enclosure have been significantly
underestimated. As we stated in a September 13, 1991 letter to the EPA, we do not
feel that it is appropriate to perform long-term operations at 50 ppm SO2 levels.

While our analysis continues, the MSG would be interested in further conversation
with Mr. Aul to understand how the excavation assumptions and equipment selection
were made. We also would be happy to discuss our thoughts on why we believe total
excavation is not feasible at McColl.




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TABLE 4-1. PLANNING RESULTS FOR EXCAVATION UNDER AN ENCLOSURE AT HCCOLL
                                                                            Excess        Total
                                                                          excavation   exeavatii
                                                                          volume, X    volume. )

                                                                            18.4         16.300
                                                                            18.4         12.400
                                                                            13.2         14,100
                                                                             0.7         6,600
                                                                             6.7         6.100
                                                                             2.2         8,600


                                                                             7.2         9,400
                                                                           144.9        21.100
                                                                            5.9          7,200
                                                                             10         6.000
                                                                            23.3        14,500
                                                                            39.8        27.400
                                                                                       151. 70C
Depth of contaminated material.
                                                          v
Length and width of sump at grade level.
Volume to be excavated in excess of in-place volume (including covers).
Based on (CH2M-Hill 1988).




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                 Figure 4-1. Excavation of North Hatf of Sump R-2.

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             Figure 4-2. Excavation of Center Column in Sump R-2.

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                                                            TABLE 2.1

            TECHNICAL FEASIBIUTY ISSUES REGARDING EXCAVATION UNDER AN ENCLOSURE
System Componenjs               Trial Excavation                      Full-Scale Remediation       Reason For Chanoa
Excavation Equipment
 • Backhoe                      Track-mounted, with 20 ft             Track-mounted, with 31 ft    Need to excavate deeper
                                digging depth and 1 yd3               digging depth and 3 yd3      sumps and move more
                                bucket                                bucket                       material effldenty
                                Wheel-mounted with 1 yd3              Track-mounted with 3 yd3     Sloped terrain and the need
                                                                      bucket                       to move mom material
                                                                                                   efficiently
Encloeure
 •Six*                          120II x 60 ft x 25 H                  300ftx120ftx60ft             Need to excavate entire
                                                                                                   sumps arid accommodate
                                                                                                   larger equipment
  Number required               One                                   Four                         Maximize operations
                                                                                                   flextoiKy, productivity, and
                                                                                                   safety
                                One personnel airlock; no             One personnel air lock and   Trucks wil regularly move
                                vehicle aktocks                       two vehicle airlocks         Into and out of enclosures for
                                                                                                   material transport
Air VentUatJon System
 -Size                          Nominal 1.000 ACFM                   Nominal 130,000 ACFM          Greater surf ace area
                                                                                                   exposed, maintain lower
                                                                                                   pollutant concentration levels




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  Air exhaust and delivery        Air delivery and exhaust             Fresh air will be delivered to   Reduce effective
       design                     portals in enclosure waHs            the work areas via flexible      concentrations of pollutants
                                                                       ducting, exhaust hoods with      within enclosure to which
                                                                       flexible ducting will capture    workers are exposed
                                                                       pollutants near sources
Foam System
 • Temporary foam                 Used on moving waste                 WiU not be used                  Ineffective in suppressing
                                  surfaces                                                              emissions; discharged water
                                                                                                        to floor areas, complicating
                                                                                                        operations

 - Stabilized foam                Used on stationary waste             WIN be used on stationary        N/A
                                  surfaces                             waste surfaces

SOj/ParticuUrt* Scrubber
 • Number/capacity                One/1,000 ACFM                       Four/35,000 ACFM each for        Accommodate higher air
                                                                       excavation enclosure             ventilation rate

 - Liquor pH/btowdown             Manual                               Automatic                        Avoid foaming and plugging
        control

Granular Activated Carbon
       UnN
 -Number/capacity                 One/1500 ACFM                        16 (12 operating/4               Accommodate higher air
                                                                       spare)/12.000 ACFM each for      ventilation rate
                                                                       excavation enclosure

  Duct burner                     None                                 One natural gas-fired burner     Avoid moisture condensation
                                                                       In each of four APCO trains      In OAC unit, increase
                                                                       for excavation enclosure         adsorption efficiency




                                                              Exhibit 46
                                                                6395
                          DRAFT
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   TABLE 4-2. AIR VENTILATION SYSTEM SPECIFICATIONS AND COSTS

     Component/specifications
     Mr Supply Blower
       32.522-cfm throughput
       4 Inches water pressure drop
       40 HP motor
     Air Supply Ducting
       200 ft In length
       3 ft In dimeter
       FRP construction
     SO, Scrubber
       35.000-cfm throughput
       2 to 4 inches water pressure drop
       10-ft packed bed
       300-gpm recirculation pump
       Automatic controls for pH and sump level
       Biowdown pump
       Reagent metering pump
       Mist eliminator
       HPDE construction
     Inducted-Oraft Tan
       32.500-cfm throughput
       20 inches water suction pressure
       200-hp motor
     Reagent Storage Tank
       2000-gallon capacity
       FRP construction
     Slowdown Vastewater Storage Tank
       550-gallon capacity
       FRP construction
     Duct Burner
       20"F temperature rise
       1 million BTU/h heat input
     SAC Adsorber Modules
       3 operating modules/I spare
       12.000-cfm throughput each
       5-7 inches water pressure drop
       5100-1b carbon each
       O.B-second residence time
     Air fjthaust Ducting
       150 ft in length
       3 ft in diameter
       316 stainless tt.ee) construction




                                           46


                                                Exhibit 46
                                                  6396
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                                   Exhibit 46
                                     6397
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                                     #:6441



                                    ANALYSTS OF SAIC REPORT

Science Applications International Corporation (SAIC), in their Superfund Technical
Assistance Response Team (START) Program report dated May 1991, concluded that
an onsite incinerator would comply with the SCAQMD requirements. There is no
basis for believing that the SCAQMD will approve an onsite incinerator at McColl.
SAIC has failed to address significant issues and has made a number of overly
optimistic assumptions. Specific comments are as follows:

(1)          Emission Sources - The SAIC report fails to consider all emissions from the
             site. During remediation, there will be multiple emission sources in the event
             that excavation and incineration are employed. These include:

             -   excavation
             -   pretreatment/blending emissions
             -   fugitive emissions from the tent and along the emission control pipelines
             -   emissions from the incinerator(s), including ash particulate

             Multiple incinerators, for different waste streams (solids and emissions), are
             likely to be required and have not been evaluated. The SAIC report did not
             encompass and address the emissions from all of these sources.

(2)         Blending - Blending of other materials will be required to achieve 5.4% SO2
            content in the incinerator feedstock. The CH2M-Hill report indicates that the
            McColl waste has 14-17% sulfur content. In order to achieve the 5.4%
            projection, approximately 2 times the volume of material will have to be
            imported and blended. The addition of such materials will dramatically
            increase the amount of ash requiring treatment and disposal, increase the time
            required to complete the project, increase the costs for the site, and increase
            the danger for accidents caused by trucks bringing imported materials to the
            site. The difficulties associated with blending, and the infrastructure required,
            were not considered.

(3)         Risk assessment - The Screening Level risk assessment performed in this
            document is not sufficient. A risk assessment for this option requires a multi-
            pathway analysis. SAIC looked only at the inhalation pathway; the deposition,
            and associated ingestion, pathway is critical for an analysis where an
            incinerator is involved and must be considered.

(4)         Health impacts from particulates - Health impacts from particulates have not
            been addressed. Most of the particulate from this type of waste would be
            expected to be < 10 microns and may be < 1 micron. Blending of other
            materials would most likely introduce larger particulates. A treatability study

McColl Site Grai^t
October 21,1991                                    1




                                                   Exhibit 46
                                                     6398
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            would be required to show particulate size distribution. Particles of this size
            would be respirable, could create health problems, and need to be addressed
            in a risk assessment.

(5)         Downwash - Downwash from the stack, and the associated effect of the
            increased contaminants on the community, was not addressed in the SAIC
            report. Downwash was not factored into either the dispersion analysis or the
            risk analysis and thus they are significantly under estimated. The surrounding
            terrain and the presence of nearby residents makes this a significant concern.

(6)         Products of Incomplete Combustion (PIC's) - A boiler is proposed as a means
            of controlling gas temperatures within the proposed SAIC document. The use
            of a boiler has the potential to result in the production of products of
            incomplete combustion (PIC's). This was not considered on the preliminary
            design or the emissions analysis prepared by SAIC. The steam generated will
            likely have to be vented, creating a potential nuisance this close to the local
            community.

(7)         NOx - Nitrogen oxides emissions have not been fully addressed. The non-
            catalytic reduction of nitrogen compounds using ammonia presents issues of
            (1) storage of ammonia on the site and (2) the potential for creation of a
            plume of ammonium sulfate. Such a plume would cause visibility problems
            and potential respiratory problems for both workers and residents.

(8)         Offsets - The cost of offsets are estimated to be $15,000 to $25,000 per ton.
            The SAIC report has concluded that there could be 719 tons of SO2 per year
            based on incinerator alone, raising this as a significant cost issue that has not
            been addressed. In addition, it is not clear that offsets are even available for
            the region defined by SCAQMD Rule 13.

(9)         PSD Rule - The SAIC report ignores PSD rules. The issues of whether BACT
            and MACT can be met cannot be determined from the very preliminary state
            of the proposed incinerator design. SAIC cannot prove BACT for each of the
            compounds under the PSD rule. In addition, MACT is a moving target. The
            SAIC report does not carry the design process far enough to have the level of
            detail required to illustrate a high level of confidence that the permitting
            process will be successfully completed. In fact, it would appear to be just the
            opposite.

(10)        Selection of Kiln - A rotary kiln has never been permitted in the SCAQMD,
            has not demonstrated that it would comply with the SCAQMD's stringent
            requirements, and has not been demonstrated to be the optimal unit for
            burning McColl waste. A kiln is generally the best unit for contaminated soils
            but may not be the best type for combustion of organic materials or metals.

McColl Site Group
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                                                 Exhibit 46
                                                   6399
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(11)        Equipment efficiencies - The SAIC report quotes very optimistic equipment
            efficiencies. The efficiencies quoted for all of the control units are maximum
            efficiencies which are not achievable for either long periods of time or for
            mobile units.

(12)        Scaling Up - There is no basis in the SAIC analysis for indicating that an
            incinerator could be scaled up to cover the following issues:

            - Ability to blend
            - High sulfur content of the feed
            - High solids content of the feed
            - Metals content of the feed and incinerator dilutent
            - VOCs in the waste

(13)       Permit Timing - It has taken 7 years to permit a proven incinerator in Ohio,
           which had previously demonstrated its applicability for the proposed waste
           stream. No such demonstration has ever been performed with McColl type
           wastes. The SAIC report conclusions regarding constructability of an
           incinerator for McColl seems to be based solely on a marketing brochure from
           a vendor.

(14)       Time - The treatability studies that would be required to address the above
           issues are not currently factored into EPA's 2 1/2 year schedule for selecting
           an alternative.




McColl Site Group
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                                                Exhibit 46
                                                  6400
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                                   Exhibit 46
                                     6401
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                                   #:6445



                    RE-ESTIMATION OF COSTS FOR QN-SITE INCINERATION

On August 23, 1991, the MSG provided EPA with comments on EPA's estimated
onsite incineration costs, which were set forth in the August 2, 1991 letter to the
Interagency Committee (IAC). In that letter, we indicated that the total cost for
incineration and ash handling should be at least $465 per ton, rather than the $249
per ton quoted in the SAIC START program report of May 1991.

In reviewing the SAIC report in further detail we have identified a calculation error
in the report that affects the cost calculation included in the report. This error is on
page 14 of the SAIC report, which provides a total cost of $36,329,000. For 97,100
cubic yards of material, the report incorrectly states that the cost would be $249 per
ton. The correct unit cost should be $374 per ton in 1987 dollars (36,329,000/97,100),
or $450 per ton in 1991 dollars. If amortization of the unit ($100/ton), and ash
handling ($65/ton) are then added, the total cost per ton rises to $615 per ton. This
would result in a lower range cost of at least $260 to $330 million for this alternative,
as opposed to the $215 million cost estimate we originally projected. In order to
meet BACT and MACT within the SCAQMD, the cost for air treatment would also
represent a significant addition to the above cost, increasing the total cost above the
$260 to $330 million estimate.

A summary of the costs breakdown is provided in the attached Table.




McColl Site Group
October U, 1991




                                           Exhibit 46
                                             6402
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                                   #:6446


                      REVISED COST FOR ONSITE INCINERATION

                   ITEM                                         COST ^MILLIONS)

Excavation and Storage                                          $      62*

Tar Treatment                                                   $       5*

Asphaltic Cement Treatment                                       $     16*

Transportation                                                   $      0

Incineration and Ash Handling**                                  $ 97-150


TOTAL                                                            $ 180-233

CONTINGENCIES***                                                 $ 21-28

TOTAL PLUS CONTINGENCIES* * *                                    $ 211-261

TOTAL COST WITH 5%/YEAR ESCALATION* * *                          $ 260-330

*          These numbers have been taken from an EPA letter to the Interagency
           Committee (8/2/91) for consistency. The McColl Site Group Does Not
           Agree with the Excavation and Treatment numbers cited in the above and
           believes that Excavation and Treatment will be significantly more costly.
                                                     <-
**         Based on 150,000 Tons at $615 - $1000 Per Ton. Emissions control costs
           within the SCAQMD would be expected to be high. The costs of meeting
           BACT and MACT within the SCAQMD will add significantly to the cost.

***        Multipliers taken from EPA letter to Interagency Committee (8/2/91)




McCoU Site Group
October 21.1991




                                             Exhibit 46
                                               6403
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                                   #:6447




                                   Exhibit 46
                                     6404
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                                       #:6448



                    Electromagnetic Survey and Ground Penetrating Radar
                                        Investigations
The EPA conducted an electromagnetic (EM) survey (geonics EM 31) and ground
penetrating radar (GPR) investigation at the McColl site during the period January
1988 to February 1989. The data and results were summarized in a report prepared
by Ecology & Environment dated May 8, 1989 (TDD098810-019).

The EM survey utilized a Geonics EM31 Electromagnetic Meter and covered the
entire Los Coyotes area and Ramparts Sump R-l. The report concluded that the EM
"survey resulted in an accurate account of submerged conductors." The report further
stated "subsurface conductors are very prominent within the pits."

The EM data provided in the report thus indicate that zones of high conductivity exist
within the sumps. Sump L-2 appears to have the most extensive zone of high
conductivity (see Figure 1). The report did not identify the depth at which the
"conductors" were found, so there is no way to affirm whether the conductors are in
the tar or asphaltic cement zones.

The GPR survey was conducted only in the Los Coyotes area. The report concluded
"the data generated from the OYO GPR was "inconclusive and of marginal quality."
Difficulties are attributed to the "inherent properties of the waste [which] limit the
effectiveness of the GPR to penetrate any appreciable depth at this site."

In conclusion, the GPR and EM surveys provide no basis for determining whether the
high conductivity areas are in the tarry or asphaltic cement zones. However, zones of
high conductivity can be indicative of disposed metal material. This is consistent with
the site history. GeoCon has indicated they cannot solidify the waste if large (18")
objects are present. Thus, it is unlikely that total solidification is possible.




McColl Site Group
October 21.1991




                                              Exhibit 46
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                                       Exhibit 46
K                                        6406
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                      Six Months To Clean-Up




3 Months              f Month                  2 Months




EM REVIEWS            PUBLIC                  EPA                       MSG
AND AMENDS            COMMENT                 PREPARES     ft           IMPLEMENTS
SROA; ISSUES          PERIOD;                 ISSUES                    CLEAN-UP -
PROPOSED PLAN         CONSENT                 RESPONSIVENESS            PLAN
& DRAFT EW            DECREE                  SUMMARY. ROD ft
                      NEGOTIATIONS            EIR; CONSENT
                      COMMENCE                DECREE SIGNED




                                         Exhibit 46
                                           6407
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                                   #:6451




                                   Exhibit 46
                                     6408
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    THE                            #:6452
    McCOLL
    SITE
    GROUP             215 East Orangethorpe Avenue, Suite 304, Fullerton, California 92632 (714) 665-7391




                                                    August 23, 1991



  Mr. John Blevins
  U.S. EPA, Region IX
  75 Hawthorne Street, H-6-1
  San Francisco/ California 94105
                   Re: McColl Superfund Site - Analysis of Onsite
                       Incineration Costs
  Dear John:
           The EPA has stated in the Interagency Committee (IAC)
  letter dated August 2, 1991, that costs for onsite incineration
  are currently running approximately $150 per ton. We do not
  believe a $150 per ton estimate is appropriate for incineration
  and ash disposal at the McColl Site. A recent fixed price
  estimate for the Brio NPL site indicates that the incineration
  component alone, not including ash handling, for the site was
  $150 per ton. Further, this site is less complex than McColl and
  is located in a less restrictive air quality area.
           In our comments to the Supplemental Reevaluation of
  Alternatives, we cited a 1988 paper by John H. Lanier in the
  Hazardous Materials Control Research Institute's Superfund '88
  which states: "Incineration prices (for transportable units)
  range from $200/ton for dry contaminated soil to $1000/ton for
  sludges with high heating values." We believe that transportable
  incinerator costs will increase significantly in the future, just
  as the costs of fixed base units have, and that the McColl Site
  wastes will be on the upper end of the cost range.
           Science Applications International Corporation, in their
  START program report of May, 1991, estimated that the cost for
  incineration at McColl, using a transportable rotary kiln system,
  would be $249 per ton in 1987 dollars, or approximately $300 per
  ton in 1991 dollars. However, this number assumes " . . . no
  capital or annual costs involved in procuring such a system," nor
  does it account for the ash handling. It is unrealistic to
  expect that a company would provide an incinerator for six years
  without looking to recover the capital cost of that unit. This
  would add up to $100 per ton to amortize the cost of the unit.
  In addition, the ash handling for other sites costs approximately




   The McColl Site Group is composed of.                   Exhibit 46
   Shell Oil Company, ARCO. Phillips Petroleum, Texaco and UNOCAL
                                                             6409 «.
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  THE                                        #:6453
  McCOLL
  SITE
  GROUP       215 East Orangethorpe Avenue, Suite 304, Fullerton, California 92632 (714) 665-7391




 Mr. John Blevins
 August 23, 1991
 Page 2


 $65 per ton. The total cost for incineration and ash handling
 would be at least $465 per ton. We believe the cost of meeting
 air quality standards in the South Coast Air Quality Management
 District ("SCAQMD") would require additional capital cost, but do
 not have any specific estimate at this time.
           Although we are not convinced that incineration is even
 possible within the SCAQMD, given the above, we have developed an
 illustrative cost analysis for an onsite incineration program.
 For ease of comparison, we have used the costs EPA quoted in the
 Interagency Committee letter for excavation and storage, tar
 treatment, char treatment and contingency percentage. Even
 though we believe EPA's cost estimates are substantially low, and
 the air quality issues associated with such a program have not
 been adequately addressed, we have used them for illustration
 purposes and have found that the lower range of costs for an
 onsite incineration program at McColl would be $215-$330 million
 (see Attachment 1). Adjustments for air quality facilities and
 waste excavation and handling would substantially increase the
 final cost and clearly result in this alternative not being
 cost-effective.
          We would be glad to discuss the foregoing with you in
 detail. We expect the foregoing information will be used in your
 decision-making process at McColl.
                                                          Very truly yours,


                                                         William J. Duchie
 WJD:mfl
 cc:      David Jones
          Pam Wieman
          Steve Linder
          Barry Eaton
          David Bushey
          Barry Brown




 The McCoU Site Group is composed of:
                                                           Exhibit 46
 Shell Oil Company, ARCO, Phillips Petroleum, Texaco and UNOCAL    •«
                                                             6410
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                                   #:6454
     McCOLL
     SITE
     GHOUF          215 East Orangethorpe Avenue, Suite 304, Fullerton, California 92632 (714) 665-7391

                                              ATTACHMENT 1
                                      COST FOR ONSITE INCINERATION



                  ITEM                                                      COST (^MILLIONS)


        Excavation and Storage                                              $         62*
        Tar Treatment                                                                   5*
        Char Treatment                                                                16*
        Transportation                                                                  0
        Incineration and Ash Disposal**                                         70-150


 TOTAL                                                                      $153-233

 CONTINGENCIES***                                                             $18-28

 TOTAL PLUS CONTINGENCIES***                                                $171-261
 TOTAL COST WITH 5%/YEAR ESCALATION***                                      $215-330


 *               THESE NUMBERS HAVE BEEN TAKEN FROM EPA LETTER TO THE
                 INTERAGENCY COMMITTEE (8/2/91) FOR CONSISTENCY. THE
                 MCCOLL SITE GROUP DOES NOT AGREE WITH THE EXCAVATION AND
                 TREATMENT NUMBERS CITED ABOVE AND BELIEVES THAT
                 EXCAVATION WILL BE SIGNIFICANTLY MORE COSTLY.

 **              BASED ON 150,000 TONS AT $465-$1000 PER TON

 ***             MULTIPLIERS TAKEN FROM EPA LETTER TO INTERAGENCY
                 COMMITTEE (8/2/91)




                                                          Exhibit 46
 Shell Oil Company. ARCO. Phillips Petroleum, Texaco and UNOCAL   «-
                                                            6411
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                                   #:6455




                                   Exhibit 46
                                     6412
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                                   #:6456
  McCOLL
  SITE
  GROUP             215 East Orangethorpe Avenue, Suite 304, Fullerton, California 92632 (714) 665-7391



                                                     October 4, 1991



  Mr. John Blevins
  Director of South Coast Region
  Chief Southern California Section
  U.S. EPA, Region IX
  75 Hawthorne Street, H-6-1
  San Francisco, California 94105
                    Re:       McColl Superfund Site. Fullerton. California
  Dear John:
            The MSG made a commitment to the community in August to
  work with the EPA to develop a mutually agreeable schedule. In
  the September 9, 1991, residents' meeting, we again committed to
  attempt to meld the respective schedules of the EPA and the MSG.
  We have now had a chance to review your proposed schedule and
  have attached our proposed "melding" of the two. The melded
  schedule allows the Record of Decision to be issued in April
  1992. Although we still believe a six-month schedule is
  feasible, we understand there are a few tasks which may require
  additional time to reach closure among the parties, and which may
  ultimately add several months to the schedule. We continue,
  however, to believe EPA's 2-1/2 year schedule could be compressed
  considerably. The melded schedule is based on the following
  approach:
                    •         All tasks listed on the EPA's schedule will be
                              performed.
                    •         Much of the extensive work performed by the EPA,
                              Cal EPA, their contractors and the MSG over the
                              past ten years is directly applicable to the
                              process or can be applied with very minor
                              adjustments for new information (i.e.. ARARs
                              analysis, SROA).
                    •         Much of the work can and usually is performed on
                              parallel tracks because:
                              •         different parties are responsible for the
                                        tasks; and




 The McColl Site Group is composed of:                     Exhibit 46
                                                             6413»•-«>••
 Shell Oil Company, ARCO, Phillips Petroleum, Texaco and UNOCAL
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                                              #:6457
  McCOLL
  SITES
  GROUP       215 East Orangethorpe Avenue, Suite 304, FUllerton, California 92632 (714) 665-7391


  Mr. John Blevins
  October 4, 1991
  Page 2


                              •        many of the activities are interrelated and
                                       should be developed concurrently so the
                                       iterative process can be enhanced rather than
                                       completing the tasks in series which will
                                       result in a loss of the iterative process and
                                       lengthen the process.
  We have set forth in footnotes to the schedule our logic for the
  dates we have proposed.
           We believe the selection process can be significantly
  enhanced through open dialogue between the EPA, the MSG and the
  community at all stages of the process. As the agency proceeds,
  we encourage you to keep us informed of your progress so that
  important dialogue can take place in issue identification as well
  as resolution. Such an exchange will facilitate and expedite the
  selection process. We believe that this approach will allow the
  EPA to meet the melded schedule we have attached.
                                                          Very truly yours,


                                                          William J. Duchie

  WJD/ceb
  Enclosure
  cc: Congressman William Dannemeyer
       Mr. David B. Jones
       Ms. Pamela Wieman
       Mr. Steve Linder
       Ms. Caroline Rudolph
       Mr. Steve Gaytan
       Mr. David Bushey
       Mr. Kenneth Ritter
       Ms. Alana Knaster
       Mr. B a r r y Eaton




 The McColl Site Group is composed of.                     Exhibit 46
                                                             6414®.-0»«
 Shell Oil Company, ARCO, Phillips Petroleum, Texaco and UNOCAL
                                              c
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                                             #:6458



                                 MELDING OF EPA/MSG SCHEDULES


               TASK                    RESPONSIBLE PARTY                    TIME FRAME

Thermal Destruction Analysis          ICF Incineration         Final draft:      Should be complete
Report                                Personnel
Response to Comments on               EPA Technical            Final draft:      Should be complete
Incineration Letter from PRPs
Off-sets Letter Report                ICF Incineration         1st draft: Should be complete
                                      Personnel                Final draft: 10/91

Baseline Risk Assessment Letter       ICF Risk Assessment      1st draft:  10/91
Report—^                              Personnel                2nd draft: None needed
                                                               Final draft: 10/91

Excavation Enclosure Letter           Aul and Associates       1st draft: 10/91
Report                                                         Final draft: 11/91

Treatability Study Report             Bill Lewis               Final:    11/91
(Solidification)
Update Community Relations Plan2-' EPA Public Relations        Final:    11/91
Fluidized Bed Emissions Letter        ICF Incineration         1st draft: 11/91
Report                                Personnel                Final draft: 12/91

Applications Analysis Report          ORD                      1st draft: 10/91
                                                               2nd draft: 11/91
                                                               Final draft: 12/91

Treatability Study Report^-'          SAIC                     1st draft: 10/91
(Thermal Treatment)                                            2nd draft: 11/91
                                                               Final draft: 12/91

   Bold type indicates a change from EPA's Proposed Schedule.

                                             Exhibit 46
                                               6415
                                                   c
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                  TASK                    RESPONSIBLE PARTY                TIME FRAME
Fact Sheets                              EPA Public Relations      Monthly
SROA II^-'                               ICF                       1st draft: 1/92
                                                                   2nd draft: 2/92
                                                                   Final draft: 2/92
ARARs Analysis—'                         ICF                       1st draft: 10/91
                                                                   2nd draft: 11/91
                                                                   Final draft: 12/91

Cost Update^'                            ICF                       1st draft: 10/91
                                                                   2nd draft: 11/91
                                                                   Final draft: 12/91
9 Criteria Analysis—'                    EPA Technical             Start: 10/91
                                                                   Complete: 2/92

Risk Assessment-^'                       ICF Risk Assessment       1st draft: 11/91
                                         Personnel                 2nd draft: 12/91
                                                                   Final draft: 1/92

Proposed Plan^'                          EPA Technical             Start: 12/91
                                                                   Complete: 2/92

Public Comment Period^'                  Public                    Start: 2/92
                                                                   Complete: 3/92

Responsiveness Summary                   EPA Technical             Start: 3/92
                                                                   Complete: 4/92

Record of Decision                       EPA Technical             Start: 3/92
                                                                   Complete: 4/92

Administrative Record                    EPA/PRPs                  Start: Ongoing
                                                                   Complete: 4/92


*   Bold type indicates a change from EPA's Proposed Schedule.
                                                      —2 —

                                                  Exhibit 46
                                                    6416
C                                           (
        Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 232 of 449 Page ID
                                           #:6460                                       (
                                ASSUMPTIONS USED TO MELD SCHEDULES


    •       Work on tasks can be on parallel tracks because different parties are
            responsible.
    •       All tasks listed on EPA's schedule will be performed.
                                                 FOOTNOTES
    —'The EPA and MSG have been discussing the issue of whether a
    baseline risk assessment is needed for several months. The MSG made
    a presentation in the September 10, 1991 EPA/MSG technical meeting
    explaining why the MSG does not believe the new risk assessment
    guidance creates an independent basis for redoing the SROA risk
    assessment. The EPA tasked ICF to evaluate this issue some time
    ago. Based on previous McColl Site risk work and ICF experience in
    this field, there is no reason why ICF should not be in a position to
    make a recommendation on this issue in October. The MSG "does not
    believe an interim draft of this letter is necessary.
    —'The EPA conducted community interviews in September. The EPA
    public relations personnel should be able to update the plan, which
    is an integral part of the process, by the end of November.
           work has been outstanding for over two years. The information
    to be obtained from this report should be considered by the EPA in
    the screening stage, which occurs in the early stages of the remedy
    selection process.
    —'The analysis for this document has already begun. Considering the
    level of previous work, a first draft could be completed in January.
    -5-' An extensive amount of work has been done on identifying and
    compiling ARARs by both the MSG and the EPA. There are very few, if




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    any, new ARARs. The EPA has already defined the alternatives it will
    consider in the SROA II. ARARs on the SROA alternatives and
    Selective Excavation have already been compiled. The ARARS for the
    new alternatives being considered by the EPA will not be
    significantly different than the ARARs on the SROA alternatives and
    the Selective Excavation alternative.
    -6-'The EPA has already defined the alternatives it will consider in
    the SROA II. Cost information is available on the SROA alternatives
    and Selective Excavation so work on this task should be commenced
    immediately.
    -2'This analysis should be part of the SROA II. The EPA should be
    working on this analysis on an ongoing basis and updating the
    analysis as new information is developed, rather than deferring this
    task until the end of the process.
    •&'The MSG does not believe the new risk assessment guidance creates
    an independent basis for redoing the SROA risk assessment.   ICF is
    currently evaluating this issue for the EPA. The EPA has already
    defined the alternatives to be included in the SROA II. The MSG has
    performed a risk assessment of the Selective Excavation alternative
    which EPA could be independently evaluating now. Additionally, EPA
    could be performing risk assessments on the other new alternatives
    now. If ICF recommends the SROA risk assessment be updated, the EPA
    could begin that task after the recommendation is made and evaluated
    by the agency.
          majority of the information needed for this document will be
    contained in the SROA II. The EPA should begin the document based on
    the SROA description of those alternatives and the Selective
    Excavation proposal. The preferred alternative will be known at the
    time of the first draft of the SROA II, allowing the Proposed Plan to
    be completed concurrently with the SROA II.
            assumes the minimum public comment period required under the
    NCP. The EPA must extend the comment period a minimum of 30 days if
    a timely request to do so is made by the public. The EPA could
    extend the comment period further at its discretion.


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                                   Exhibit 46
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  THE                                         #:6463
  McCOLL
  SITE
  GROUP       215 East Orangethorpe Avenue, Suite 304, Fullenon, California 92632 (714) 665-7391



                                                   October 18, 1991



 Mr. John Blevins
 U.S. EPA, Region IX
 75 Hawthorne Street, H-6-1
 San Francisco, California 94105
                   Re: McColl Super fund Site,
 Dear John:
          Enclosed is Dr.                          Charles Satterfield's paper entitled
 "The Reactions Occurring                          In the McColl Superfund Site." As we
 have discussed in recent                          technical meetings, Dr. Satterfield has
 reviewed the McColl Site                          data and has concluded:
                   •         The original acidic petroleum waste deposited in
                             the sumps has converted over time to a tarry
                             material and an asphaltic cement-like material
                             ("asphaltic cement");
                   •         Three reactions are responsible for converting the
                             original waste into asphaltic cement:
                             (i) acid-catalyzed polymerization and
                             polycondensation of organic material, (ii)
                             acid-catalyzed polymerization and polycondensation
                             of organic material, accelerated by autoxidation,
                             and (iii) acid-catalyzed polymerization and
                             polycondensation of organic material, accelerated
                             by acidified clay and reaction with clay;
                   •         The tarry material is an intermediate product of
                             the reaction mechanisms occurring at the Site and
                             represents waste that has not completely
                             transformed into asphaltic cement; and
                   •         The reactions responsible for converting the
                             original waste into asphaltic cement are not
                             reversible under conditions existing at McColl.




 The McColl Site Group is composed oft                     Exhibit 46
                                                             6420 »«
 Shell Oil Company, ARCO, Phillip* Petroleum, Texaco and UNOCAL
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  THE                                         #:6464
  McCOLL
  SITE
  GROUP       215 East Orangethorpe Avenue, Suite 304, Fullenon, California 92632 (714) 665-7391

 Mr. John Blevins
 October 18, 1991
 Page 2


          We believe this particular work product is a good
 example of our joint technical effort to further understand the
 McColl Site. We request that this work be submitted into the
 administrative record for McColl.
                                                        Very truly yours,


                                                         Willi4ft J. Duchie
 Enclosures
 cc:      Mr. David B. Jones
          Ms. Pamela Wieman
          Mr. Steve Linder
          Ms. Caroline Rudolph
          Mr. Steve Gaytan
          Mr. Barry Eaton
          Mr. David Bushey
          Mr. Kenneth Ritter
          Mr. Barry Brown
          Mr. Robert Wilson
          Larry Lawton, Esq.




 The McColl Site Group is composed oft                    Exhibit 46
                                                            6421 »-
 Shell Oil Company, ARCO. Phillips Petroleum. Texaco and UNOCAL
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                        THE REACTIONS OCCURRING
                     IN THE McCOLL SUPERFUND SITE




                                                     Charles N. Satterfield
                                                           October 11, 1991




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                                   #:6466
                                 The Reactions Occurring

                               in the McColl Superfund Site

                                   Charles N. Satterfield

                                     October 11, 1991

Executive Summary

       The McColl site contains twelve sumps into which acidic petroleum waste was

deposited between 1942 and 1946. This waste was a by-product from the uianufacturing

of high octane aviation fuel during World War II. Site investigations conducted since

1980 have found that the waste has converted to a hard asphaltic cement-like material

("asphaltic cement") with relatively high ash content. Tar material, generally found

above the denser asphaltic cement, is also found within the sumps. This tar is an

intermediate product and represents waste that has not been completely transformed into

asphaltic cement.

       The reactions that are responsible for changing the waste into the asphaltic

cement are:

       (1) acid-catalyzed polymerization and polycondensation of organic material;

       (2) the above reactions, accelerated by autoxidation; and

       (3) the above reactions, accelerated by acidified clay, and reaction with clay.

These reactions, which are continuing to occur, are not reversible under conditions

existing at the McColl Site.

       Clay, which is contained in the soils surrounding the sumps and other materials

placed on top of the waste, has played a key role in the reactions and is the likely source

of the ash found in the asphaltic cement-like material. By acidification from the sulfuric

acid, the clay became a catalyst for polymerization/condensation reactions and this,

combined with the clay's high adsorbent capabilities, led to the formation of an asphaltic

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cement-like material.

1. Introduction

       The McColl Site is an inactive waste disposal facility located in the city of

Fullerton, California. According to McColl Site records, the facility accepted acid

petroleum waste between 1942 and 1946 (Radian, February 4, 1983), which was

placed in twelve excavated sumps.

       During the 1950's at least three of the sumps in the Ramparts area were covered

with drilling mud from various California oil fields. The western sumps were later

covered with natural fill materials during the construction of the Los Coyotes Country

Club golf course in the late 1950's.

       Various site investigations have been conducted since 1980 to identify the types

and quantities of wastes at the McColl Site. Results of these investigations indicate that

the waste originally placed in the sumps in the 1940's has been transformed into tar and

an asphaltic cement-like material ("asphaltic cement"), the latter sometimes termed

"char." The asphaltic cement is more dense than the tar. In general the more dense

asphaltic cement is found at the bottom portion of the sumps, while the less dense tar is

found in the upper portions. It appears that pockets of tar also exist within the asphaltic

cement.

       This paper addresses the possible reactions thaLhave occurred at the McColl Site

that have resulted in changing the original waste into the present composition.



2. Origin and Original Composition of Waste

       The waste that was deposited in the McColl sumps is described as a waste product

from the production of high octane aviation fuel during World War II by alkylation of




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 isoparaffins catalyzed by sulfuric acid. In the alkylation reaction, isobutane is mixed with

 C^ - C5 olefins at ambient pressure and a temperature in the range of 45-70 8 F, in the

 presence of sulfuric acid. The product consists essentially of Cy - Q, isoparaffins and its

 octane number is quite sensitive to the concentration of H2SO4. The sulfuric acid

becomes diluted with water and organics dissolved in it. Fresh acid is typically charged

at 98-99.5 wt% H2SO4 and is discarded typically at about 90 wt% (Putney, 1959).

        The organic material in the acid can come from several sources. Mercaptans and

hydrogen sulfide are present in nearly all untreated light olefin feedstocks (Putney, 1959),

and these would dissolve into the acid. Water may be present in small amounts in the

feedstocks, either absorbed or entrained, which dilutes the acid. Olefins can polymerize

with each other, a reaction that is minimized by using a great excess of isobutane to

olefins in the alkylation reactor, yet some can still occur, the resulting polymeric material

going into the acid. Abraham (Vol. 1, pp. 78-79) states that concentrated sulfuric acid

removes unsaturated and aromatic hydrocarbons, asphaltic bodies, and "saponifiable

bases" by a complex combination of formation of sulfo derivatives, simple solutions and

polymerization.

        In summary, the organic constituents in the original waste consisted of undefined

material of varying molecular weight and composition, formed by polymerization-

condensation side reactions of the ideal feedstocks, together with other complex

reactions from impurities, plus various dissolved species. The original acid concentration

in the waste was probably about 90% H2SO4. More details are given, for example, in the

review by Putney (1959). It is important to note that essentially no "ash" or non-

combustible mineral matter would have been present in the original waste.




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3. Present Composition of Waste Material

       From the data available to me, there are only two sets of chemical analyses that

seem to distinguish between tar and "char" in the sumps.

       In 1983 Radian, in a "McColl Phase II study," reported on samples obtained in an

earlier Phase I study in 1982 from cores at Ramparts R-l, R-2, and R-5, and Los

Coyotes L-l and L-2. Two samples from each of the five cores were analyzed. Eight of

the ten fell into a class termed W-4 and were described as (Radian, 23 Feb., p. 1-1) "a

hard, black, asphaltic waste with a slight rubbery texture." The analysis showed an

average ash content of 48% by weight, sulfur of 8.1%, a pH of 1.5 and a bulk density of

1.1 g/cm3 (disturbed material). The Radian report did not provide data on the ash

content of individual samples.

       The EPA Pre-Publication Report (September, 1990) gives information on samples

of "raw mud, raw tar, raw char and treated tar" from the L-4 sump. Table 1 summarizes

relevant data from the report. The proximate and ultimate analyses were performed on

four sets of samples. As stated on page 4-94 of the EPA report, "In all of these analyses,

some volatile matter was driven off of the sample when it was heated to 105' C to

determine the moisture fraction. Also, the moisture content of these samples may be

higher than undisturbed waste due to the foam vapor suppressants sprayed on the waste,

which contained large amounts of water."

       As shown in Table 1, the EPA report notes that "the raw tar sample contained a

high percentage of combustible material, . . . an ash content of less than 2 percent, and a

high sulfur content of 10.6 percent" and "raw char has a fairly high ash level of about 55




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percent, a sulfur level of 4.5 percent."



             TABLE 1. TRIAL EXCAVATION WASTE SAMPLE ANALYSIS

                 PROXIMATE AND ULTIMATE (AS-RECEIVED BASIS)

                          Ref; EPA, September 1990 (Table 4-16)

Parameter                    Raw tar                    Raw char

Proximate
Moisture, wt %a              11.6                       21.2
Volatiles                    69.9                       20.1
Fixed carbon, wt %b          16.9                       4.0
Ash, wt %                     1.6                       54.7

Ultimate
Carbon, wt %                 51.1                       8.6
Hydrogen, wt %                5.4                       3.7
                             (4.1)c                     (1.3)'
Sulfur, wt %                 10.6                       4.5
Nitrogen, wt %                0.1                       0.1
Oxygen, wt %d                31.1                       28.3
                             (20.8)c                    (9-5)'

a
    Moisture includes some volatiles lost at 105 ° C.
b
    Fixed carbon determined by difference in proximate analysis.
c
    Excludes hydrogen and oxygen contained in water.
d
    Oxygen determined by difference in ultimate analysis.

        The EPA report also provides proximate and ultimate analyses performed on core

samples collected from various depths in sump L-4. Results from the proximate analyses

further indicate that higher ash contents are found at greater depths within the sumps.

For a sample believed to be tar, the ash content was 14.7%. In comparison, two deeper

samples believed to be the asphaltic cement had ash contents of 49.4% and 53.8%.

Results from the ultimate analyses indicated that total sulfur content ranged from 10.4 to




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14.5% for the asphaltic cement and tarry material, respectively. These analyses give the

total sulfur present but not the form in which the sulfur is combined.



4. Presence of Clay at the McColl Site

       Waste from an alkylation unit in a refinery would be expected to contain

negligible amounts of ash, which is mineral matter. The one analysis in Table 1 appears

to be the best available at present for "raw tar." Particularly noteworthy, however, is that

all eight samples of asphaltic cement from the Radian analyses, the raw "char" from the

more recent EPA study, and the lower bore samples contained large amounts of ash,

averaging in the neighborhood of 50%. This suggests the possibility that substantial

amounts of clay were introduced into the waste sumps from the surrounding soil as well

as from drilling muds and other sources. Most of the asphaltic cement was probably

formed by reactions between the waste and the clay material.

       The boring logs prepared by CH2M Hill in 1987 show that material containing

clay was present in all borings of soil near the sumps (LO-SO-01 through LO-SO-09 and

RA-SO-01 through RA-SO-07). The soil was described in many cases as clayey silt, silty

clay, clayey sand or sandy clay. Radian (Feb. 15, 1983), p. 3-23, gives a diagram of soil

textural classes from a book by Hillel, "Soil and Water Physical Principles and Processes,"

that shows that these definitions mean that the clay content is at least 30%. According

to the boring logs, almost without exception, clay was present in the top 15-20 feet of the

soil and in many cases also much lower.

       Drilling mud consists essentially of bentonite clay which mostly consists of a type




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 of clay having a chemical structure termed "montmorillonite." Radian (15 Feb. 1983), p.

 2-1, states that in the early to mid-1950's, drilling mud was used to cover some of the

 sumps in the Ramparts section while in the late 1950's the western sumps were covered

 during the construction of the Los Coyotes golf course. (This cover is described, p. 3-15,

 as being clayey topsoil). The drilling logs of CH2M Hill give information on nine

 boreholes drilled in the Ramparts sumps. These show that drilling muds were disposed

 of in the R-l, R-2 and R-4 sumps. The CH2M Hill drilling logs also indicate the      •

 presence of clay material above the waste within sumps. The Ecology and Environment

 report (1991) on the subsurface investigation at sump L-l indicated significant clay cap

 material, up to as much as 10 feet in thickness.

       Radian (17 Mar., p. 3-15) further quotes a soil survey by Wachtell in 1978. The

 natural soils in the Ramparts area are described as being primarily clays and clayey

 loams. From the soil survey, the Los Coyotes area is reported as consisting mostly of a

 sandy loam with clays possibly occurring along the western edge.



 5. Reactions

       To obtain an understanding of the probable reactions and changes in composition

 of the McColl wastes over the last 45 to 50 years requires piecing together data and

information from a variety of sources. Several observations and facts are pertinent:

        Source of SO:: It is evident that sulfuric acid is slowly reduced to SO2 by organic

 material in the alkylation waste. Kalichevsky and Stagner (1942), p. 76, give data on the

increase in SO2 over a 21-day period in a waste from treatment of cracked gasoline. A




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fresh acid waste from refining of heavy oils analyzed 1.37% SO2 and this amount of SO2

increased as the waste aged (Kalichevsky and Stagner, p. 122). The H2SO4 in the waste

at McColl may still be slowly reduced to SO2 by organic material present. However, SO2

has a considerable solubility in H2SO4. The SO2 that escapes to the atmosphere when

McColl waste is first exposed probably represents release of entrapped gas and dissolved

SO2.

       Polymerization and Condensation: The presence of sulfuric acid will catalyze the

polymerization and condensation of unsaturated compounds to form higher molecular

weight material. These reactions will occur in the absence of air but are accelerated by

oxygen (see "Autoxidation" below). The most reactive compounds disappear first so the

process as a whole will steadily decrease in rate with time. Some compounds such as

saturated hydrocarbons will never polymerize in the absence of oxygen but may become

autoxidized or adsorbed onto clay. This explains why tar, which is an intermediate

product between the waste and asphaltic cement, still exists within the sumps.

       Autoxidation: It has been observed that tar appearing on the surface as tar seeps

often hardens rapidly. This is a type of polymerization/condensation which is set off by

oxygen and is termed autoxidation. Autoxidation is defined as a spontaneous, self-

catalysed oxidation from air and occurs with a large variety of substances. An example

of autoxidative polymerization occurring at ambient conditions is the commonly-

experienced use of an oil-base paint. Upon exposure to air, the paint thickens and

hardens. There are many other examples. The viscosity of a vegetable oil such as

linseed oil is increased by blowing with air at moderately elevated temperature.




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Similarly the viscosity of asphalt is increased by air blowing (Earth, 1962). Many years

ago Kalichevsky and Kobe (p. 107) reported that lubricating oil acid wastes "may be

allowed to solidify on standing."

       A principal purpose of sulfuric acid treatment of petroleum products is to remove

components especially susceptible to autoxidative polymerization, since this reaction

leads to the formation of insoluble gums in gasoline and distillate fuels and sludges in

lubricating oils. The reactions are highly complex but may be divided into two types,

dehydropolymerization and polycondensation. The two types may be symbolized in

general as:

       RH + R'H ..°2^ R-R' + H2O etc.                           (1)

       R(O)H + R'(O)H --> R-R' or R(O)R' + H2O etc. (2)

Here RH and R'H represent hydrocarbons from which, in an overall sense, hydrogen is

removed by oxygen to form H2O, accompanied by combination of the two hydrocarbons

to form a larger molecule, R'R'. The process then repeats. R(O)H and R'(O)H

represent insertion of oxygen from the air as the first step, followed by elimination of

H2O and condensation. Again, the process repeats to form higher molecular weight

products.

       Unsaturated bonds, e.g., those in olefinic compounds and aromatics, are

particularly susceptible to autoxidation but the degree of reactivity varies greatly with

structure. Some sulfur and nitrogen compounds even in small amounts greatly accelerate

the oxidation rate (Lundberg, Vol. II, p. 716), while other materials act as inhibitors.

Thus the overall oxidative polymerization rate can vary greatly with slight changes in




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composition. This explains why one tar seep at McColl may harden rapidly while

 another may remain fairly soft.

       The most probable mechanism in dehydropolymerization (reaction 1) involves

initial reaction with oxygen to form a hydroperoxide which in turn decomposes to initiate

a polymerization reaction that proceeds by a free-radical (or ionic) chain mechanism.

       In polycondensation (reaction 2) the initial reaction is that of oxygen with the

organic to form an acid, alcohol or similar oxygenated structure. These then combine

with the release of water. A simple example in commerce is the manufacture of

polyester polymers by condensation of a dicarboxylic acid and a dihydroxy alcohol. More

information on oxidative polymerizations is given in books by Scott (1965) and a two-

volume compilation edited by Lundberg (1962),

       Autoxidation would accelerate the conversion of the original waste to a thicker

tarry material, but this would depend on the extent to which air could have access to the

waste. One can visualize two extremes: (1) Waste was disposed on a rotating basis

amongst several sumps, forming a relatively thin layer and with considerable intervals

between disposals. This would maximize autoxidation. (2) One sump at a time was

filled, reducing the opportunity for autoxidation.

       Sludge Asphalts: Some further clues come from scattered information on so-

called "sludge asphalts." For many years (e.g., 1910-1950) these were produced from

sulfuric acid sludge resulting from treatment of a variety of petroleum products in

refineries. A great variety of methods were used to treat the sludge with the objective of

producing asphalt of desired physical properties. Samples of six sludge asphalts were


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examined by Abraham (Abraham, p. 192). Most of his characterizations are of minor

interest here, but he reports that his sludge asphalts had a high sulfur content, from 5.4

to 8.7 wt%. He also comments that sludge asphalts significantly differ from other

asphalts in having a high percentage of oxygen, but gives no data. He also reported that

air blowing of sludge asphalts hardens the sludge.



6. What Happens When Clays Contact An Acidic Hydrocarbon Waste?

       First and foremost, clayey material at McColl, when contacted with acid waste,

was transformed into a solid acid catalyst. This catalyzed polymerization/condensation

and simultaneously the products were adsorbed onto the acidic clay, forming an asphaltic

cement-like material. The following describes how the solid acids are formed and then

how the clayey material could have contacted and converted the waste.

       Clays after acid treatment have been used for decolorization of mineral oils since

the 1920's and the first petroleum cracking catalysts (early 1930's) were prepared by first

treating bentonite clay with sulfuric acid (Ryland et al., p. 14). The reactions of sulfuric

acid with a clay are complex, but they involve replacement of exchangeable cations with

hydrogen to form so-called acid-clays, together with various degrees of dissolution of the

clays and precipitation of new phases. These changes depend on acid concentration,

temperature and time of contact.

       Clays are hydrated aluminosilicates that exist in a variety of types of structures.

Two of the types commonly found are:

       Kaolin (ideal) Al4Si4O10(OH)8- nH2O


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       Montmorillonite (ideal) (Al315Mgogs)Si80O20(OH)4X08S- nH2O

              where X = monovalent cation

       Drilling muds consist essentially of bentonite, a montmorillonite type of clay,

which swells in water to form a thixotropic gel. The above two types are the "ideal"

compositions but in nature impurities may be present.

       As an example of the effects of acid treatment, Mills et al. (1950) give detailed

information on the degree of removal of various cations from a variety of bentonite x:lays

using 5-20% sulfuric acid at 93 ° C for times of up to 16 hours, followed by extensive

washing. Impurities (Ca, Mg, Fe) in the ideal montmorillonite structure are typically

present in the order of 1-4 wt.% each. For a representative case, the percent removal of

various ions as reported by Mills et al. was Na, 90%; Ca, 96%; Mg, 60%;

Fe, 63%; Al, 47%. In the case where a clay is mixed with McColl acidic waste, clay

would be converted into the acidic form by replacement of cations, together with varying

degrees of solution of alumina, followed by complex precipitation of hydroxides as pH

rose with gradual disappearance of sulfuric acid.

       Benesi (1956) prepared samples of hydrogen-exchanged montmorillonite and

kaolinite by treatment with an ion-exchange resin in the acid form, so as to avoid the

dissolution-precipitation of the clayey material. He reported that the clays had acid

strengths, in terms of the Hammett acidity function, Ho, of about -5.6 to -8.2. These

were determined by colorimetric indicator methods (see, e.g., Satterfield, 1991) and this

acid strength is equivalent to a sulfuric acid concentration of 71 to 90% (Benesi, 1956).

The acidified clays can thus catalyse the same polymerization/condensation (and other




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reactions) as concentrated sulfuric acid. In addition, these acidified clays are also good

adsorbents. The combination leads to the formation of an asphaltic cement-like

material.

       Contact of acid waste with clayey material could have occurred at McColl in at

least three different ways.

       A. The sides of the sumps were sloped. As waste was deposited down the slopes

there would have been opportunity for the concentrated acid in the waste to dissolve

and/or suspend clayey material. Upon subsequent drop in sulfuric acid concentration by

rainwater, reduction to SO2, etc., converted clayey-type material would precipitate and/or

coagulate with polymeric carbonaceous material to form an asphaltic cement.

       B. In sumps covered with drilling mud or a clay cap, contact of waste and the

clayey material could have caused the same processes as in (A) above. The EPA 1990

report in Appendix F (p. F-2) gives the density of raw char as 74 lb/ft3 and raw tar as 33

lb/ft3, as measured in the field by weighing a 5-gallon bucket of waste material. The

value for tar seems low, but in any event the density of asphaltic cement would be

expected to be greater than that of tar, so it would tend to settle, providing a mechanism

for gross mixing when drilling mud was dumped on top of tar in the sumps. The

difference in density between the two materials would also explain why the less dense tar

material would be found above the much denser asphaltic cement. Small pockets of tar

may also exist within the asphaltic cement. These could be due to non-reactive tar

trapped within the asphaltic cement matrix, or tar which is only slowly converting to

asphaltic cement because of lack of oxygen.




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       £. Other sumps are presently covered with several feet of soil. This soil

generally appears to contain clayey material that would react as in A and B above.

       As described above, it becomes evident that clays play a key role in conversion of

tar to asphaltic cement. In summary:

       A. Clays are converted to the acidic form by sulfuric acid.

       B. Acidified clays dissolve/disperse.

       £. The converted clays precipitate and/or coagulate as acid concentration drops.

Simultaneously, the clays

       • catalyze polymerization reactions, and

       • adsorb polymeric materials and gradually become inactive as they

          become coated.

The result is the formation of an asphaltic cement.



8. Can Asphaltic Cement Be Converted into Tar?

       Acid catalysts such as sulfuric acid and acidified clay can catalyze a wide variety

of reactions of hydrocarbons and other organics. (Satterfield, 1991, Chapter 7; Tanabe,

1970; and other sources): Polymerization and condensation reactions readily occur and

the polymeric products are adsorbed onto the clay. As these products accumulate, they

surround the clay particles and the clay becomes inactive.

       The reactions described here all occur spontaneously at ambient conditions and

are mildly exothermic (i.e., give off heat). Likewise the adsorption of waste onto clay is

exothermic. Thus the reverse of these reactions cannot occur spontaneously under the


                                               14




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same conditions that drove them forward. To convert an asphaltic cement into a tar

would require a high temperature pyrolysis (which is endothermic, i.e., soaks up heat) or

some form of hydrogenation in massive processing equipment. None of these conditions

exist at the McColl site.

       There is no theory or evidence that asphaltic cement in the McColl sumps will be

converted back into tar under the conditions there. Everyday observations and

knowledge of reactions occurring with carbonaceous materials indeed all indicate that

conversions are in the opposite direction. For example, in mining coal one does not

observe tarry material accompanying it, and an asphalt road gradually becomes harder

rather than softer with time.




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                                            References

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                                   #:6484
    THE
    McCOLL
    SITE
    GROUP
   ^^^^^__            215 East Orangethorpe Avenue, Suite 304, Fullerton, California 92632 (714) 665-7391




                                                 October 30, 1991




  Mr. John Blevins
  U.S. EPA, Region IX
  75 Hawthorne Street, H-6-1
  San Francisco, California 94105
                  Re:       McColl Superfund Site, Fullerton, California
  Dear John:
          Enclosed for your review is a copy of the Analytical
 Testing Protocols which contains the testing protocols for six of
 the tests which are being run on the McColl waste samples
 collected during the July drilling and sampling program. The
 protocols for the other tests were provided to you in August.
 Also enclosed is a copy of Analytical Test; Results. Volume I,
 which contains results from five of the eight tests performed on
 the waste samples. Results from the other tests will be provided
 upon their completion. We ask that this data be submitted into
 the administrative record for McColl.
                  Please call me if you have any questions regarding the
  above.
                                                         Very truly yours,


                                                         William J;' Duchie
 WJD/ceb
 Enclosure




                                                         Exhibit 46
                                                           6441
   The McColl Site Group is composed of:
   Shell Oil Company. ARCO. Phillips Petroleum. Texaco and L'NOCAL
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                            McCOLL SUPERFUND SITE

                        ANALYTICAL TESTING PROTOCOLS




                              McCOLL SITE GROUP

                                  October 7,1991




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                               McCOLL SUPERFUND SITE
                            ANALYTICAL TESTING PROTOCOLS




   Enclosed are the analytical testing protocols for the laboratory methods listed below in
   Table 1. The MSG is utilizing these methods to test McColl waste samples collected during
   the July 15-18, 1991 drilling and sampling program. A complete list of the eight tests to be
   performed is included in Table 2. Testing protocols for other tests were provided earlier
   (see MSG August 29, 1991).

                               Table 1
   MSG Test No.                Test Result                        Laboratory Method

          3                    Viscosity                          ASTM D 445

          4                    Sulfate                            EPA Method 300.0

          5                    Heat of Neutralization             Heat of Neutralization

          6                    Sample Weight loss vs.             Thermogravimetric Analysis
                               time at specified                   - Mass Spectrometry
                               heating rate and                    (TGA/MS)
                               volatiles

                               Ash                                EPA Method 160.4
                                                                  ASTM D 482-87

                               Density                             Unocal    Testing       Method
                                                                   601-83

                               Treatability                        Treatability




   McColl Site Group                                                                   C:\mccoU\wp\aaalvti

   10/7/91


                                           Exhibit 46
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                                                           ^
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                                                       TABLE 2

                        McCOLL SUPERFUND SITE LIST OF ANALYTICAL TECHNIQUES




Test                                  Rationale for                            Material Type
No.         Method                    Requiring Test                           to be Tested    Outputs

1.          pH or equivalent          Solidification involves neutralization   Tar and Char    PH
            titration procedure       of waste

2.          Bearing/Shear             Gain understanding of waste's            Char/Tar/Mud    Compressibility
            Strength                  mechanical strength                                      strength


3.          Viscosity Measurement     Seeps' occurrence dictated by Tar        Tar             Viscosity
                                      mobility

4.          Sulfur/Sulfide Analysis   SO2 emissions are major site             Tar and Char    Sulfur concentration
            (X-Ray fluorescence)      concern. How much sulfur could
                                      theoretically be released?

5.          Heat of Neutralization    Solidification involves waste            Tar and Char    Temperature rise on
                                      neutralization                                           mixing specified
                                                                                               reagents




McColl Site Group
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     c                                                 c
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Test                                Rationale for                           Material Type
No.        Method                   Requiring Test                          to be Tested         Outputs


6.         Thermogravimetric        Neutralization of waste will cause      Char                Sample weight loss
           analysis (TGA) or        temperature rise; outgassing features   Tar                 versus time at
           simulated distillation   of wastes are important if wastes are                       specified heating
           for volatiles            disturbed.                                                  rate (in °F/min)

                                                                                                Off gasses can be
                                                                                                speciated using, for
                                                                                                example, GC-MS

7.          Density                 Waste Characteristic                    Tar/Char/Mud/Soil   Density as function
                                                                                                of depth

8.          Solidification          Solidification is a major component     Tar/Mud             Reagents and
            Treatability            of selective excavation plan                                concentrations for
                                                                                                solidification/
                                                                                                fixation




McColl Site Group
8/29/91



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                                   Exhibit 46
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  mj|M Designation: 0 448 - SI


            Designation: 71/84

                                                                                                                                                     I.
                                                                                                                                                     L
                 Standard Teat Method lor                                                                                                            I.
                 Kinematic Viscosity of Transparent and
                                                      1
                                                        Opaque Liquids (and
                 the Calculation of Dynamic Viscosity)
                 Ttw MR**** i* te<Md u«a« UN (bud de4|a*tlOtt D 441; Uw cumber imnediudy foOo*to» the dnitwUM in&aM the yttf of
                 onfiMi njopuon or. IA ibt a« of itv.Mm. tteywrof Utt ICVBIOB. A number m iMratiicwf mfcaia tfie yMr of UnnumovtL A                  I-
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                 ttu K<u*orj hat but aivnntifer tut *j- dfrtcw ufi*» Utpenmnt eftofcnitaii* npictctt Mmkod J«r.« afftlenl Tat UKht*
                 SianJarl 19th. Ccntuit (Ht OoD I«ta of SpttlflCtlivu «nt Standard! far lb tpteific ytv <j an* wtuct, Av te«n etfOMrd by 'he
                 Dtfenmmt a/Dtfenit.                                                                                                                 1.2
                                                                                                                                                     I t
                                                                                                                                                     tL
 1. Scope                                                                             D446 Speciflcations and Operating 2Instructions for Gl«§       4 •

    1.1 This test method coven the determination of the                                 Capillary Kinematic Viscometers
 kinematic viscosity of liquid petroleum products (Note I),                           D2170 Test Method     for Kinematic Viscosity of Asphafc
 both transparent and opaque, by measuring the time for a                               (Bitumens)1
 volume of liquid to flow under gravity through a calibrated                          D2171 Test Method for1 Viscosity of Asphalu by Vacuum
 glass capillary viscometer. The dynamic viscosity can. be                              Capillary Viscometer
 obtained by multiplying tbe measured kinematic viscosity by                          E I Specification for ASTM Thermometers4                 ;
 the density of the liquid.                                                           E 77 Method for Inspection    and Verification of Liquid*
                                                                                        in-Glass Thermometers1
   Nort 1—Forttemea$urtmentofth« vuooiiry of bitumens, IM alto
 Tea Msihod D 2170 ind Test Method D 21' 1.
      1.2 Thi* test method is intended primarily for application                 3. Terminology
 to liQuuls fur which the shear irreti and shear rates are                            3.1 Dtflnutons:
 proportion*!.                                                                       3.1.1 kinematic vistotity—t measure of the resistive flow i
      1.2.1 This test method depends on the behavior of the                      of a fluid under gravity, the pressure head being proportional't
 sample, and ideally the coefficient of viscosity should be                      to the density, p, of the fluid: for gravity flow under a givea '
 independent of the rate of shear (this is commonly called                       hydrostatic head, the pressure head of a liquid is propor-
 Newtonian flow behavior). If. however, the coefficient of                       tional to its density p. For any particular viscometer, the'
 viscosity «-aries significantly with the rate of shear, different               time of flow of a fixed volume of fluid is directly propor-
 results may be obtained from viscometers of different                           tional to its kinematic viscosity, r » i/p, where ij is the.
 capillan diameters.                                                             dynamic viscosity coefficient. The kinematic viscosity coeOV
      1.3 This test method also includes the determination of                    cient has the dimension LVT, wh«rc L is a length, and f is a
 the kinematic viscosity of fuel oil* which often exhibit                        time. The cgs unit of kinematic viscosity is one centimetre
 non-NeMonum properties.                                                         squared per second and is called one stokes (symbol St). The
      1 .4 This standard may involve hazardous materials. op*r-                  SI unit of kinematic viscosity is one metre squared per
 ati<m*. and equipment. This standard does not purport lo                        second and is equivalent to 10* St. Frequently,             jht
 sdd'e' f j// of the saj'ay problems associated *'iih its use. h is              centistokcs (symbol cSt) is used (I cSt - 10~: St - 1 mm:/s).
 ir-.g responsibility of ihc user of thij standard to rstabhsH                       3.1.2 density—the mass per unit volume of the fluid. The
 appropriate safety and health practices and determine the                       dimension of density is A//L1. where M is a mass. The cgs
              ty oj rc&tiutcry imitations prior to use,                          unit ordfnsiryfp) is one gram per miUilhra, and the Si unit
                                                                                 of density is one kilogram per cubk metre.
 2. Referenced Documents                                                             3.1.3 dynamic viscosity {coelitcient of)—(he ratio between
                                                                                 tha applied shear ureas and rate of sucu. This coeffldem, i.
   2.1 ASTM Standards:                                                            is thus a measure of the resistance to flow of the Quid; it is
                                                                                 commonly called the viscosity of tho liquid. The diraensioc
                                                                                  of the coefficient of dynamic viscosity is M/Lf - FT/L
    ' This ten nehod it under iht rufiufccnon of ASTM CORIBIOM 04 oc
  Pnrateum Producu and U&ncmu ind u tlw dims ropoatibiUtr of SuteMn.
  RUUW 0020? oo Flo* fapcmw.
 , Curwit (diLua 9pmv«« Oct. Jl. )««. ftblidMrf DMtA>b«r t»»l. Onauwrty                                               Vol 0) 01.
'?obiub*i««0*«i-j: r ^ptnousedi'joaD445-l6"                                           4
                                                                                          nual tovk JASTU S>***«*3,
    IB DM If. th« mt mMtod » under tfx ;un*liem» of It* SumUrtUttioo                    Annual t<X*<f. \STMSianAird*.            tod i*.03.
                                                                                      1
                                                                                        Axnmi Bout 0ASTM ianiw*. V«|

                                                                         Exhibit 46
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                                   #:6491
                                                                              0446-$ 71
                        TABLE 1       Vlwomttttv Typee                                     5.2 The kinematic viscosity of many petroleum fuels ii
                                                                                        important for their proper use. for example, flow of fuels
                                                                                        through pipe lines, injection nozzles and orifices, and the
      ojf*** IVP*» igr Trarwparam uques:                                                determination of the temperature range for proper operation
               **"««• f»uw«e                                   O.S* to » COO
                                                               O J US 3000
                                                                                        of the fuel in burners.
                                                               0 Ho 10 000
                                                               0.4 to 20 000            6. Apparatus
                                                               0.9* «10 000
         63/lf U-IUM Mlnittur**                                0210100                     6. 1 Viscometers of the glass capillary type, calibrated and
                                                               C 5* to 17 000           capable of measuring kinematic viscosity w«htn the limiis of
                                                               0.3*10100000             precision given in Section 15 are acceptable. Vjscomotcrs
                                                               o.e»1200                 listed in Table 1 meet these requirements.
                                                               075*106000                   6.1.1 Automated assemblies thai measure kinematic vis-
                                                               OS* to 100000
     ; Canr«voc»t.ionae Semwnwo-                               0.4 M 20 000
                                                                                        cosily within the limits of precision given in Section IS are
     ji IS^P SuwtfXXfl Lav**                                   3.9*10100000             acceptable alternatives; kinematic viscosities less than 10 cSt
     7! a3/IP $u*04W)M Uv«.                                    1.09* to 10 000          (mnrVs) and flow times less than 200 s may require a kinetic
     I. Kl't MiPHtura Suioanded                                O.I tt 3 000             energy* correction (see Specification D 446).
     n«v«rj»-F>ow TYPW tor Tfanaoanir* ana Opaoua
                                                                                            62 Viscometcr Holders to enable the viscometer 10 be
  ' *. i ZaWudw Croat-Arm6                                     0.610100000              suspended in a similar position as when cilibuied. The
  *.' j. CaworvFarijua Ocaoue<c                                0.410 20 000             proper alignment of vertical pans may be confirmed by using
                                                               eo to 100 ooo            a plumb line.
     4 SSflP LMuC* P.av*rta How9                               o.«» wo ooc
                                                                                            6.3 Vixtometer Thermostat and Bath—\ny transparent
          Caen rvs* QUOIAO rtquirta * MTIM et vijoomtttf § . To IVUM d'* naetaau? of
 jff*tq a wwue •rirTy corraeiion. meM vncomtwa ir« aewgnad tor t Now ume
                                                                                         liquid or vapor bath may be used, provided that it i* of
'' h°*>OH* 01 200 s t*e»ol wnata iwta n Tatt* 4                                          sufficient depth that at no time during the measurement will
  * '-' * 'n Men of m*«( i*naa, tn» rrwwnurn flow vnt tor trw rfscomatar* with tr*      any portion of the sample in the viscometer be lius than 20
            eonittiu tiCMdt 200 I.                                                       mm below the surface of the bath liquid or less than 20 mm
                           >u cvtrcung mtinjeuAni tor in«M wMomciort
                <n Soecifiution* trw Operating mivuctioflt 0 44«.                        above the bottom of the bath.
                        for UWM *r* OM*O «i AaptraiMt 10 IP 71.                             6.3.1 The temperature control must be such that for the
   in:                                                                                   range from 15 to lOO'C (60 to 2l2'F) the temperature of the
                                                                                         bath medium does not vary by more than 0.0 l*C (0.02*F)
        nding on whether the dimension of viscosity is based on                          over the length of the viscometen, or bctwvcn the position of
    e M-L-T s>stem or the F'L'T system (where F represents a                             each viscometer, or at the location of ihe thermometer. For
    rce)' The cgs unit of dynamic viscosity is one gram per
    n'timeire per second « one dyne-second per centimetre                                          TABLE 2 Kfn*rratto               T*«4 Th«<mom«tcVfl*
   (ftared and is called one poise (symbol P). Frequently, the                               Ten Tamparitura* 3c*<* Error •            Th«m>omataf Numoar
     itipoise (symbol cP) is used (UP - 10"* P). The SI unit of                                    f               •C                ASTMtf              IP*
     aamic viscosity is one pascal-second; for convenience it*                               -85               -$39                   74*. CT           Wf. C
   tlbmuliiplc of millipascal-second is frequently used (1                                   -eoto-U           -91 »-S5               43F               6W. C
                                                                                             -40               -40                    ?3T.C             (IF C
                                                                                             -IB               -28.1                 126F.C             71P C
           2— Dynamic viscosity ilu> denutcj «                                                                 -20                   '27C               we
     atity m which thear rrc» and shear rate have a jinujoidal time                          U                 -1T.8                  72F. Ct           €7F C
      ndenc;: n :s hoped that this dual use of the ume term will not be                      32                0                     128F.C             33*. C
                                                                                             88 and 70         20 and 21.1            44F C             29F.C
                                                                                             77                U                       4SF.C            30F C
                                                                                             M                 30                    HV.C
     Sunnury of Test Method                                                                  100               37.8                   28F.C             3if C
                                                                                                               40                    120C               92C
       .I The time is measured in seconds for a fixed volume of                              122               SO                     40F.C             86F. C
          (o flow under gravity through the capillary of a                                   130               844                    »F. cr            34F. C
rjalibrated vucomcier under a reproducible driving head and                                  140               80                     *7F. C            3SF C
                                                                                                               •0                                      'OOC
  « a closely controlled temperature. The kinematic viscosity                                180               82.2                   4a>.c             80F. C
  p. the product of the measured flow time and the calibration                               2GO               83.1                  12SF.C             *tatfl i*
                                                                                                                                                        *w» . V
                                                                                                                                                        92F.C
  "«ttnt of the viscomctcr.                                                              » 4JC and 212         M.» and 100            30F
                                                                                                       *        100                  121v
                                                                                             2t9                188                  110V. C
     Significance and Uw                                                                    * Th4» amtMat waauaw. ol \fm Fanr*nr>»n
         \tany petroleum products, as well as non petroleum                              OXitua iMrmoma-tin a 0.05'C wow tor A$TM 43F aM if WF for wiveii « a
              are used as lubricants for bearings, gears, com-                           0.2*r*
                                                                                            « Seata arror tor *t Far»ar«ait *«rmoma«art <a not u» «»c*«d *0 fff iaj^aet
           cylinders, hydraulic equipment etc. The proper                                tor AftTM 1 10? wh<*» * *O.J« ft for ttw Catalua tn«/momw» rt it *C 1 'C. Tha*a
    Ration of the equipment depends upon the proper kine-                                  m «rror« am ftwjirad » apoty orty ** M 9«v> '-»tt **'*»**
                                                                                            e
                                                                                               Camont* oerwifjetwrt oatau a oivaft m Soaofieat'e1" C
          viscosity or viscosity (sometimes called dynamic
   *osity) of the liquid- Thus, the accurate measurement of
        atic viscosity and viscosity it essential to many product                             t EdMcrti*V oowacttd.
     ifita«ion$.
                                                                                       169
                                                                          Exhibit 46
                                                                            6448
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                                      #:6492
                                          TAiUI 3      Value* art tti* ««v«**i A»TM VteeaMy 0* •Undavd*                                                             1
   '•"tooartv Sianoara                                                Approaumaia) wnamaae vnooany, cSt <mm*ft)                                               "
                                                                              AI« ir,ra*c
   »STM Stanaaroa*         i-40»F)        TJS?             %£?
                                                                                                  Al4e*C           «3e*C           Al* W W*C
                                                                                                                                     (810*^)
                                                                                                                                                    At 1«J'C
                                                                                                                                                                    i'
     «                      M             48               40                  3.0                2.9                                                          •*
                                                                                                                                                        12
                                          11               at                  a.o                3.T                                  1.8              ia           I
     S-20                                 44               34                  20                 18                                   40
     S-M                                                                                                                                                3.9
                                          170              120                 80                 M                                    74               7.2
     3-20G                                                 430                 200                180                                  17               17
     s.«oo                                1400             1800                800                S20                  280             33               32
     v-2000                               s?oo             5800                zooe               1TOO                                 78               7J
     S-8000                               3? 880           23009               8000               8700
     5-30000                                               11000               37000              23000    11000
    ' Ts* actual vauoi tor tn* •(•rxiirdi             •»lat»*llMj •>** ••mat!* iMiflrmM nv canounavf taiia. in 1989 uoii war* mAOft uunA i A f
vitccmaiart .n 28 .abowcna* ocataa ri 13 couxnat.
    * Standarouationt at 37.T8*C ana M.88*C niay IM <>Ku>uweO J«ig«y 1.19BT.



temperatures outside this range, the variation must noi                                  8.2.1 Kinematic viscosity test thermometers snail be stano
exceed O.C3*C (O.Oi'F).                                                               dardized at total immersion which means immersion to the
   6.4 Temperature-Measuring Device— Standardised liq-                                top of the mercury column, with tbe remainder of the item
uid-in-glass ihermometers (Table 2^ of an accuracy after                              and the expansion chamber at the top of the thermometer
correction of 0.02'C (0.04'F) can be used, or any other                               exposed to room temperature. Do not submerge the expan-
thermometnc device of equal or better accuracy. If standard-                          iion bulb al the top of the thermometer.
ized liquid-in-glass diermometers are used, il is recoui-                                8.2.2 It is essential that the ice point of standardized
rr.cndcd fbut not required1) that two thermometers be used;                           thermometers be determined periodically and that the onV
ihey must agree within 0.04'C (0.07T).                                                ciai corrections be adjusted to conform to the change m ice
   6.5 Timing £> t 'vwc—Any liming device may be used                                 point.
provided that the readings can be taken wiili a discrimina-                              8.3 7Ym?r;—Standard time signals available in some1
tion of 0.2 s or belter, and thai it has aa accuracy within                           countries may be used for checking accuracy of timing
±0.07 % when lesled over intervals of 13 min.                                         devices.
   6.5.1 Electrical liming devices may be used if the current                            5.4 Viscosity Standards* (Table 3)—These may be usedJ
frequency u controlled 10 an accuracy of 0.05 % or better.                            as confirmatory checks on the procedure in the laboratory. If £
Alternating currents, as provided by some public power                                the measured kinematic viscosity does not agree withint|
systems, are intermittently rather than continuously con-                             ±0.35 % of the certified value, each >icp in ihe procedure^
trolled. When used (o actuate cleitrical timing devices, such                         should be rechecked, including thermometer and viscometer^
control can cause lai^e errors in viscosity Cow measure-                              calibration, to locate the source of error. It must be appreci-
ments.                                                                                ated that a correct result obtained on a standard oil docs not
                                                                                      preclude the possibility of M counterbalancing combination,
?. Reagents and Materials                                                             of the possible sources of error.
                   Solvent, completely mikcibJe with the                                 3.4.1 Vncosity Oil Standards, ASTM, having the approx-
sample, for example, petroleum etlter.                                                 imate kinematic viscouiy shown in Table 3 arc available,
  7
    2 Appropriate Volatile Soheni. completely miscible with                            Certified kinematic >i$co%iiy talues are compared by annual
:he $olv«m described iu 7.1.                                                          cooperative t»l» by « number of laboratories. The current
  7.3 Chromic Acid Solution for cleaning gla»sw«rc.                                    values are supplied with each portion.
9. Calibration                                                                 9. G»n«ral Procedure for Kinematic Viscosity
   S ! Viswinews-*-Use only calibraied vi»cuineien wiih                           9.1 The specific details of operation vary for the different
ronstants measured and provided to Uie neatest 0.1 % of                        types of viscoraeters listed in Table l. The operating instruc-
'.heir value.                                                                  tions for the diffei«ul lypes of viscomclci* arc given in
   8.2 r/k'r/wmertm-—Routine liquid-in-glass thermome-                         Specification D 446.
ters should be checked to the nearest 0.01'C (0.02*F) by                          9.2 Maintain the bath at the test temperature within tr.s
direct comparison with a suitable calibrated thermometer.                      limits given in 6.3.1 taking account of the precautions given
                                                                               in Appendix XI and of the correction supplied on ihe
                    TABLE < Mimmum Flow TtoiM                                  certificates «of calibration.
    NO<«—u «u«i oi ail vKcoffl«tv« tttua n SpadAeaKor) 0 444 a.-* oangnao tor     9.2.1 In order to obtain the most reliable temperature
ifte»-tirs»* out* tf 200 i. »«capt as Ut»d b«ow. Tria minimumflowtimwtormeasurement, it is recommended that two thermometer*
tr<a an BS/iP' v team*t»n n*t«0 n Ttttt i *r« f»v«r n tfta appanolce* 10 iPTt. with valid calibration certificates be used. The thermometers
                                                   ASTM         MWmun          should be held iu an upright position under the same
            Viacairatar idartrAcahon                            FiowTlma. a
                                                     26             200
Ubbetond*                                             0             300                   « The ASTM Viwoniy Oil Suitdardi art aviilaWa in l-pt (0.47 L) conui««.
Atumic                                                oc            250                pjr-h»rt ortfen iheuld be addreued to Ox Cannon Instrumcm Co.. P.O. Bo* '*•
Cannon-UDOatonda. CanwrHJbbatohoa o*ibor             25             350                State Co'.taee. PA. IC104. Shifumm »0i b« mada as wearied or b> beat meats*.

                                                                                 170


                                                                       Exhibit 46
                                                                         6449
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                                     #:6493
I                                                           D 443-971
          ef immersion as when calibrated. They should be           10.3.2 If iwo measurements agree within 0.2 %, use the
fl with a lens assembly giving about five times magnifi-         average for calculating the kinematic viscosity to be reported.
fllj0n and which should be arranged to eliminate parallax        If the measurements do not agree, repeat the determination
                                                                 after thorough cleaning and drying of the viscometers and
    9.3 Select a clean dry, calibrated viscometer having a filtering of the sample.
         covering tire estimated kinematic viscosity (that is, a
         capillary for a very viscous liquid and a narrower
             for a more fluid liquid). The flow time should not  11. Procedure for Opaque Liquids
 ^ le» than 200 s, or as noted in Table 4.                           11.1 In general, the viscometers used for opaque liquids
   93.1 When the test temperature is below the dew point, are of the reverse-flow type listed in Table I, C.
 jjlk loosely packed drying tubes to the open ends. of the           112 For steam refined cylinder oils and black lubricating
 viscometer. The drying tube* must fit the design of the oils, proceed to 11.4 ensuring a thoroughly representative
vijcomeier and not rennet the flow of the sample by sample is used. The viscosity of residual fuel oils and similar
pr$sure$ created in the instrument. Carefully flush the moist waxy products can be affected by the previous thermal
toooi air from the viscometer by applying vacuum to one of history and the following procedure shall be followed to
tig drying tubes. Finally, before placing the viscometer in the minimize this.
lath, dnw up the sample into the working capillary and               U .2.1 Heat in the original container, in an oven, at 60 ±
umjnj bulb and allow to drain back as an additional 2'C for I h.
afeguard against moisture condensing or freezing on the              11.2.2 Thoroughly stir the sample with a nonmetallic rod
Mill.                                                            of sufficient length to reach the bottom of the container.
 • 9.3.2 Viscometers used for silicone fluids, fluoro-carbons, Continue stirring until there is no sludge or wax adhering to
j£j other liquids which are difficult to remove by the use of the rod.
i 'cleaning agent, should be reserved for the exclusive use of       11.2.3 Recap the container tightly and shake vigorously
ihose fluids except when calibrating. Such viscometers for I min to complete the mixing.
          bf subjected to calibration checks at frequent inter-
                                                                     NOTI 3—With sample* of i very waxy nature or oils of hijfi
     i.'The solvent washings from these viscometers should not vitooaity,
           fur the claming of other viscoraeters.                          it may be necessary tv UKTCCB the heatim lemoeniun: to
                                                                 ichieve proper mixing. The umple should be sufficiently fluid for ease
                                                                     of turriag «n4 snakins.
             cedure for Transparent Liquids
    0.1 In general, toe vtscometers used for transparent                11.3 Immediately after completing 11.13, pour a suffi-
          i are of the type listed in Table 1, A and B.              cient sample to fill two viscometers mto a iCO-rnL glass flask
 |0.2 Charge the viscometer in the manner dictated by the            and loosely stopper.
        i of the instrument, this operation being in conformity         11.3.1 Immerse the flask in a bath of boiling water for 30
               employed when the instrument was calibrated. If       min.
    ! sample contains x>Hd panicles, filter during charging            Sort 4: Caottoa—Vi|orou» tottaver may occur when opaque liq-
   ough a 200 mesh (75-um.) filter.                                  uid* that contain hith level* of water are heated to hi|h temperatures.
 J0.2. 1 With certain products that exhibit "gel-like" be-              11.3.2 Remove the flask from the water, stopper tightly
  vidr, take care thai measurements are made at sufficiently         and shake for I min.
     i temperatures for such materials to flow freely, so that          11.4 Charge two viscometers in the manner dictated by
             results will be obtained in viscometers of different    the design of the instrument. For example, for the cross-arm
        ary diameters.                                               or the BS U-tube viscometers for opaque liquids, filter the
  iO.2.2 Allow the charged viscometer to remain in the bath          sample through a 200 mssh (75-um) filter into t<*o
    t enough       to reach the test temperature. Because the time   viscometers previously placed in the hath. For samples
        :                                                            subjected to heat treatment, use preheated filter to prevent
           for the different instruments and temperatures, estab-
       • safe equilibrium time by that (30 min should be             the sample coagulating during the filtration. Viscometers
   Helen t). One bath is often used to accommodate several           that are charged before being inserted into the bath may n«ed
    omeiers. Never add or withdraw a viscometer while any            to be preheated in an oven prior to charging the sample to
       ' viscometer is in use for measuring a flow time.             ensure the sample will not be cooled below test temperature.
        23 Where the design of the viscometer requires it,               11.4.1 After 10 min, adjust the volume ot the sample to
           the volume of the sample to the mark.                     coincide with the filling marks as in the viscometet specifi-
        * Use suction (if the sample contains no volatile            cation. For example, for the cross-arm viscometer for opaque
    . tuents) or pressure to adjust the head level of the test       liquids, this is described in the annex of Specification D 44£.
   jjple to a position in the capillary arm of the instrument        The Cannon-Fcnske Opaque Viscometer design does not
   ' ' 5 mm ahead of the first timing mark. With the sample           require further adjustment of sample volume. Allow the
    ''ing freely, measure, in seconds to within 0.2 s (set 6.5),      viseorneters to reach test temperature. Because this time will
              required for the meniscus to pass from the Tint to      vary for the different instruments and for different test
                 timing mark. If this flow time is less than the      temperatures, establish a safe equilibrium time by trial (30
               minimum (sec 9.3) select a viscometet with a           rain is normally sufficient). One bath is often used to
          Jy of smaller diameter and repeat the operation.            accommodate several viscometen. Never add or withdraw a
           •l Repeat the procedure described in iO.3 to make a        viscometer white any other viscometer is in use for mea-
            measurement of flow time.                                 suring a flow time.


                                                            Exhibit 46
                                                              6450                                                                             ill:
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                                             -v<p n
                                        #:6494
     11.5 With the «ampie flowing freely, measure in seconds
  10 within 0.2 a (aec 6.5), the time required for tbe advancing                                             ''"                           H
  ring of contact to pass from the first timing mark to the                 wnenr                                                       i 13.3 t
  second.                                                                   n • dynamic viscosity, cP(mPa-s)                              bias of t
     11.5.1 In the case of samples requiring heat treatment                 P - density, g/mL, at the same temperature used fr^
 described in 11.2 through 11.3.2, complete rhe determina-                        measuring the flow time f, and
 tions within I h of completing 11.3.1                                      t> • kinematic viscosity, cSt (ranWs)                     •:
     11.6 Calculate the mean kinematic viscosity » in                          14.3 Repon test results for both the kinematic and
 cemistokes (millimetres squared per second) from the two                   dynamic viscosity rounded to the nearest one pan per
 determinations. For fuel oils, the two determinations should               thousand of the value measured or calculated, respectively,
 not differ by more than 1.7 % of r at 50*C and J.I % of (t +               15. Precision and Bias
 8) at 80 and JOO'C. If the two determinations exceed these                    15.1 The precision of this test method as obtained by XU
 limits, repeat the operation from ] 1.2.1. For other opaque                statistical examination of interiaboratory test results for kinemat
 liquids which may be non»Newionian, toe precision has not                  clean, transparent oils tested over the range from 15 to lOO'C lithe 10
 been determined.
    11.6.1 Report the mean of the two determinations as the                 (59 to 212*F) using the procedure described in Section 10 it ofchecl
 kinematic viscosity.                                                       ai follows:                                                  •<
                                                                               15.1.1 Repeatability—The difference between successive* ehKkrn
 12. Cleaning of Viscometer                                                 test results, obtained by the same apparatus under constant' X1.2
    12.1 Between successive determinations, clean the                       operatiug conditions on identical test material would, in the* point is
 viscometer thoroughly by several rinsings with an appro,                   long run, in the normal and correct operation of this test* Wlowin
                                                                            method, exceed 0.35 % of their mean only in one case « the met
 priate solvent completely miscible with the sample, followed               twenty. Differences greater than this should be considered descnbw
 by a completely volatile solvent Dry the tube by passing a                 suspect.                                                           tiers.
 slow stream of filtered dry air through the viscometer for 2                   15.1.2 Reproducibility—Thc difference between two; XI.2.
 min or until the last trace of solvent is removed.                         single and independent test results obtained by diffi               momete-
    12.2 Periodically clean the viscometer with chromic acid                operators working in different laboratories on identical            ture for
 cleaning solution for at least twelve hours to remove residual             material would, in the long run, in normal and                      expresse
 traces of organic deposits; nonchromium-containing,                        operation of this test method, exceed 0.70 % of their mean            X.l.2.
 strongly-oxidizing acid cleaning solutions7 may be substi-                 only in one case in twenty. Differences greater than ths pt« wa
 tuted so as to avoid disposal problems of chromium-                        should be considered suspect                                   • the ice
 containing solutions. Rinse thoroughly with distilled water                    15.1.3 The precision data* in 15.1.1 and 15.1.2 were pieces,
 followed by acetone, and dry with clean, dry air. Inorganic                obtained using five mineral oils covering        the kinematic ehwnica.
 deposits may be removed by hydrochloric acid treatment                     viscosity range from 3 to 1200 cSt (mm:/s) at tcmperarumS
 before use of cleaning acid, particularly if barium salts are              from 38 and 99'C.                                              |
 suspected. The use of alkaline cleaning solutions is not                       15.2 The precision' of this test method as obtained DT!1
 recommended as this can enlarge the working capillary and                  statistical examination of interiaboratory      test results for ,
 necessitate recalibration.                                                 residual fuel oils of 30 to 1300 cSt (mm2/*) at 50*C and of i
 13. Procedure for Dynamic Viscoeity                                        to 170 cSt (tura'/s) MI 80 and lOO'C using the procedure
                                                                            described in Section 11 is as follows:                          •
    1?.! Determine the kinematic viscosity as described in                      15.2.1 Repeatability—The difference between successive
 Section 10 or U.                                                           test results, obtained by the same apparatus under constant
    13.2 Determine the density of the sample, to the nearest                operating conditions on identical test material would, in tbi
 0.001 g/mL at the same temperature as the viscosity, in                    long run, in the normal and correct operation of this tea
 accordance with any applicable method.                                      method, exceed 1.5 % of their mean for results at 50*C aad
                                                                             1.3 % of their mean plus 8 cSt (mnr/s) [that is, 1.3 * *
 14. Calculation aad Report                                                 (mean * 8 cSt (mzu:/$))J for results at 80 and lOO'C only 'A
    !4 I Calculate the kinematic viscosity, », from the mea-                 one case in twenty. Differences greater than this should fr
 sured flow time, /, and the instrument constant, C by means                 considered suspect.
 of the following equation:                                                     15.2.2 Xeprrxiucibtitty—Tht difference between w»
                              »-O
                                                                             single and independent test results obuiucd by differed
                                                                             operatora working in different laboratories on identicalje»
  where:                                                                     material would, In the long run, in normal and com»
.jt * kinematic viscosity, cSt (min2/*)                                      opeSnion of. the test method, exceed 7.4 % of their mean W
  C » calibration constant of the viscometer, cSt/s, and                     results at SO'C and 4.0 % of their mean plus 8 cSt (mmv«
  i - flow time, s.                                                          [that is, 4.0 % of (mean t-1 cSt (mnrV$))l for results at«»
     14.2 Calculate the viscosity, n. from the calculated kine-              and lOO'C only in one case ia twenty. Differences great*
  matic viscosity, v, and the density, p, by means of the
  following equation:
                                                                                  • tupeofwt *** we avaiUMe from ASTM iraadauanan. td*«*
                                                                                I1&
  * A romttereul touiet for t non-«hremhim eonuiiuAa       tftlwtio* ia           • Sup^.ii.< J«w -r« avaiUbta from
Coda* UbcTKonaa lac. 410 Canal Swat. New Vert, NY 100)3.                        1191.


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                                                                 Exhibit 46
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                                                #:6495
                                            f|j 0 446 - <$ 71
                this should be considered suspect.                                         kinematic viscosity because all determinations are relative to
              3.3 Bias—'No justifiable statement can be made on the                        a calibration fluid.
               of the procedure in Test Method D 445 for measuring
'for

                                                                                APPENDIX
nd
Jer                                                                  (Noamaodatory Inforntatlou)
J.'
                                                              XI. ICE POINT DETERMINATION
             Xl.l To achieve an accuracy of ±Q.02*C for calibrated         crushed ice and add sufficient distilled and preferably
           kinematic viscosity thermometers, it is required that a check   precooled water to form a slush, but uo: enough 10 float the
            it tn< ice point be made, II U recommended that the interval   ice. Insert the thermoiuetet picking tlie ice gendy about the
          . Of checking be every six months; for a new thermometer, k;em, to i depth sufficient to cover the 0*C (32'F) gradua-
            check monthly for the first six months.                        tion. A* the ice melts, drain off some of the water and add
               X 1 .2 A detailed procedure fur the measurement of the ice  more crushed ice.
            point is described in Method E 77. The suggestions in the         XI.2.3 Raise die thermometer a few millimetres after at
            following sections of this appendix are given specifically for least 3 min have elapsed, tap the stem gently, and observe the
            the mercury-in-glass "kinematic viscosity" thermometers        reading.   Successive readings taken at least I min apart
            described in Table 2, and may not apply to other thermom-      should  agree  within one tenth of a division.
                                                                              X 1.2.4 Alternatively, some of the ice may be heaped
                                                                           around tbe stem above the ice octal and a deep narrow
               XI. 2.1 The ice point reading of kinematic viscosity ther- channel formed to permit observation of the meniscus which
            mometers shall be taken 5 min after being at test tempera* is thus kept well below the general level of the ice. Observa-
            tore for not less than 3 min. The ice point reading shall be tions may then be made as described above without,
            expressed to the nearest 0.0 1*C or 0.02'F.                    however, raising the thermometer.
             > X.I.2.2 Select dear pieces of ice, preferably made from        XI.2.5 Record the readings and compare with previous
            pure water. Discard any cloudy or unsound portions. Rinxe readings. If the readings are found to be higher or lower than
            (he ice with dbuJlcd water and shave or crush into small the reading corresponding to a previous calibration, readings
            pieces, avoiding direct contact wiih the hand* or any at all other temperatures will be correspondingly increased or
            cnemiotlly unclean objects. Fill the Dewar vessel with the decreased.
                          Tha Am««0*i SotHtr tor Testing tro Mattrm* taint no ponton rotpoetlng Mt va#«y of a*y patarv «gwa a**vt*d in cwrwcixy
                       *«M arty rfaoi maMionatf M rftia nv*ttni. Uttn of truo tranrfartf w* aiprmsf atfrttad Iftaf Marmftaric/t ot tr» va/Wftr of*.? tuiui
*
or I                   Oftft riytn, and rfrt ns* y ktfrtnpamtnr ot tueit rgra. art awrary :n
r
    5 I
                           f*<» tttnatra « tve/vet to ^«*wi ar any (unt fy '/s« rwonxwt ntcftrveaf etvrwr*r*« tna -iuti M ravwwM rrtry «vt jrtara anc
                        1 101 rtvittd. »*h»r itopron* or m«k<irm\ Vevr eeirmfMW w umlfd tUhtt far rarwon ot tn'i tttmSvti v lor tmKtonti »f«ntr*a»
                       mi tfiovKl Aa atftfrwaatf to ASTU Ha*«9Mvr«ra. *tur aMiMwnta »^/ /a«an« etf^m eoxiatfttion ar a mooting al Oto rttponw*
                       toeMteit eammwa*. **&> row may artand. Urow tool tn* your conmam "*v» ** racaoai} a nn /MMrvy rw *"wM m*Mr f<M-
                       vttwt M*H*> to (M AS7M                                                             19rOi.




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-A.                                                                              Exhibit 46
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                                   Exhibit 46
                                     6453
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                                   #:6497
                                   States                                            M«n(ionng ana
                            Invlronrneniai Protection                               a(«ry
                            Agency                                     Cincinnati OH 48218

                                       end Development                 lr»A.«X)/4.§4.0t7     Mir. 1964



SEPA                        Test Method
                           The Determination of
                           Inorganic Anions in
                           Water by Ion Chromatography -
                           Method 300.0
                           James W, O'Oell. John 0. f»f«ff, Morn's E. Galea, and Gerald 0. McKee




                           1. Scops and Application                    1 ,8 Whan this method la uaeej te
                                                                       analyse- wn/amlHar aampfaa for any ot
                           1,1 This method covers the                  the above snrens, anfon Identification
                           determination of ma following               should bo supported by the addition
                                    eniene.                            of apike solutions e«v*ring tha anleni
                                                                       of Interest. Tha Splka proeedur* is
                                                                       described In Section M.6.
                           Anitvte                   Total Oltteived
                           Chloride                  00940      —      2. Summary of Method
                                                     00991    00980    2.1 A a mell volurrt e of sample,
                           Nhrate-N                  00620      -
                           Nltrite-N                                   tvpleallr 2 to 3 mL Is Introduced Into
                                                     00616             an ton cnromatograph. Thf anions of
                                                       -      00671
                                                                       interest are aaparated and mtasufec",
                           Sul'aie                   0094*      -      using • system comprised of a guard
                                                                       column, aaparator eolumn, auppraaa«r
                            1.1 Thle le an ten chromaioa.rj.phle       column, and eenduetlvlty datector.
                           (1C) method applicable te the .
                           deterffiineiie* o> the »nign» Hated         3. Definitions
                           above in drinking water, sur/set
                           water, end mixed domestic and               3.1 Stock standard solution •» a
                           Induatrlfti wasteweter.                     concentrated solution containing •
                                                                       cenlfiad standard that (a • method
                           .,3 The Method Detection Umtt               inaryie. Stock randard solutlona are
                          (MDL. defined In Section 13) for me          used to prepare secondary standard
                          Ibove analvtes fs tisteej In Table 1.        solutions.
                          The MOL (or e apeeiflc matrix may
                          differ from those tlaied. depending          3.2 Calibration atsndtrds — •
                          upon the nature of the aample.               solution of enalytes prapared In tha
                                                                       laboratory from stock atandard
                          1.4 Thle method (s restricted to us*         solution* and diluted as needed te
                          by or under the supervision of               prapare a«ueeus calibration folutlona.
                          analysts experienced in the UM o' ion
                          chromaiofriphy end In the                    3.3 Quality control clieci. sempit —
                          Imrapretailon ol the rveuiilng Ion           e aolutton eemalnlng known
                          chrom«(oc<ram. taeh analyst must             eoncantretlona o' anaiytoa. prepared
                          cfemonstreie the ability to generate         by e laboratory oinkr tnan Vie •
                          •eeepieble roauita with (hla methccj.        laboratory performing the analysis.
                          ualnf the procedure deaerlbed In             The analysing laboratory uses thle
                          Section 10.2.                                Solution' to demonstrate that it can

                          300.9't                            Jt*.


                                        Exhibit 46
                                          6454
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           obtain acceptable id-.'niWoatione end        •PBaretuj that lead to discrete           7.4 Regeneration eoiutlon (.fife..
           meaaurementa with o method.                 artifacts er elevated be Milne In (on . • suppress*}: fiuWurle eeld <CAA KM
              3.4 Performance evaluation sample        chromstoo/ame.                             76M.M.9) 0.028N. OKuta 2 8 "L
              — * solution of method enalytes                                                    cone, autfurfc odd |HXS04) to 4 m,
                                                       4.4 Samples that ecmaln particles         with reagent water.
              distributed by the Quality Assurance      larger then 0,48 microns ir.d reagent
              Branch (QAE), Environment!               solutions that contain particles larger   7.5 Stoik atanderd eclUtlgni, irjr
              Monitoring and Support Laboratory        thin 0.20 microns require filtration to    mg/L (1 mg/mU: Stock standard
             (EMSL-Clnei.intitlJ. USEPA, Clncfnnat', prevent damage to Instrument                aolutlon* may be purchased ai
              Ohio, to myl. ie laboratories for        columns and flow systems.                 certified solutions or prepared from
             analyst. A v< ume of the aolutlon r»                                                ACS reagent grade meterlele idriefi
             added to a kncwn volume of reagent        5. Safety                                  at 105°C for 30 min.) aa listed oeio
             water and analyzed with proeedurea
             usec for samplea. Results of analyses     8.1 Normal, accepted laboratory            7.6. 1 Chloride JCC*> 1 000 mg/f
             ero used by tho QA8 to determine          safety practice! should be followed       Dissolve 1.8485 g sodium chlorlrja
             statistically the accuracy and precision during reagent preparation and             (NaCL CAS KH 7647*14.6) In ra«,,
             tnat can be o\pected when a method        Instrument operation. No known            water and dilute to 1 liter.
             Is performed l>y • competent snaryst.     carcinogenic material! are used In
                                                       this method.                                7.5.2 Fluoride if] 1000 mg/L:
            An*iytt true values tre unknown te                                                    Dissolve 2.2100 0 sodium fluoride
             the analyst.                                                                        (NeF. CAS AN 7081-49-4) In resg«r
             3.5 Laboratory control standards —
                                                       6. Apparatus and Material*                wsttr and dilute to 1 liter.
             a solution of snslyies prepared In the    Q.I Science — Analytical, Cspebfo of 7,6.1 Nitrate (NOT-N) 1000 mg/L
            laboratory by adding appropriate           accurately weighing to the nearest        Dissolve 6.0679 g sodium nitrate
            volume* of the atock standard             0.0001 g.                                  (NaNOa, CA$ *N 7«31.99<4) In
            lo/utfona to restent water                 6.2 Ion ehrpmstograph — Analytical         reagent water end dilute to t liter.
            3.8 Laboratory duplicates — two           system    complete  with ton                7.8.4 Nitrite (NOi-N) 1000 mg/u
            siiguou of the same sampio that ere       chromatogriph and sil required              Dissolve 4.925? g sodium nitrite
            treai«U exactly the same throughout       seeensoriia Including syringes,            (NaNOt, CAS AN 7032-00-0) In
            faboraiory andlyliCJl procedures.         enelytie*! ee'umns, eompreaaed air,         reagent water and dilute te t liter.
           Analyses of laboratory dupl.'catea         detector, and stdpchart recorder. A
            inr/icate precision associated with       data system it recommended for peak         7.5.8 Phosphate (PQl-F) 1000 m«
           laboratory procedures but not the          integration.                               plssoii^e 4.3937 g potassium
           sample collection, preservation, or                                                   photphafe (KHjPO*. CAS RN 7778-'
                                                      6.2.1 Anton guard column: 4 x 60           0) In retgent weter end dilute to 1
           storage procedural.                        mm, Olonex P/N 030128, or                  liter.
*w          3,7 Fie'd duplicates — two
           tskon at the •am« time and place
                                                      equivalent.
                                                                                                  7.8.6 Surfate (SOT) tOOO mg/(j
           under (dinnesi circumstances and           6.2.2 Anfon ftperetor column: 4 K          Dissolve 1.8141 g potassium aulfat
           treated exactly the came throughout        250 mm, Dione* P/N 030827. or              («,SO,. CAS ftN 7778-80-5) In
                                                      equivalent.                                rasgent water end dilute to 1 liter.
           fierd end laboratory procedures.
           Analyses of Held duplicates indicate the 9.1.3 Anlon suppressor column:                7.1.7 Stability of standards; Steel
           preelelon associated with semo'e           fleer. Olenex P/N 3S3SO. or                standards f7,8) era stable for at let
           collection, preservation end itc-raga.     equivalent.                                 one month when stored at 4*C. OH
           ac wall a< with laboratory procedures.                                                working standards should be pr«pa<
                                                      6.2.4 Ooteetcr — Conductivity ctll:
                                                      approximately t (A. volume, Oionex. or weekly, except those that contain
           4. Interference*                           equivalent                                 nitrite and phosphate should be
                                                                                                             fresh daily.
           4.1 Interferences can Bo caused toy
           substances with retention tlm«e that . 7. Reaganta and                                 8. Sarnpia Collection,
           ire aiintler to end overlap those of the    Consumable Malarial*
           snipn of ini»rott. Large amounts of »n                                                 Preservation and Storage
           e-ifon can interfere with tho peek         7.1 Sample boil lea; O'aae or               8.1 Samples should, be collected
          resolution of en adjacent mien.             polyethylene «t sufficient volume to        scrupulously eiean glass or
          Sample dilution and/or spiking ean be allow replicate analyses of enlona of             polyethylene bortlM.
          used to soJve most Interference             Interest.
          preblema.                                                                               8.2 temple preservation end nek
                                                      7.2 fleegerH-wtte't ptstllied or            tlmee for the snions that can Oe
          4.2 The water dip or negative peak          delonixed water, 'free of the enions of     determined by this method are ••
          that elutei near and e»n interfere          Interest. Water Should contain              follows:                          „„
          with the fluoride peek eon be               pinlelas Ad larger then 0.20 micron*.
          elimineted by the Addition of the                                                       AneMe             Freaervedon     _!•
                                                      7.3 Huant solution: Sodium                  Chloride          Non«  reoutred 26  -
          iquivaiant of I ml of concentrated          bicarbonate (CAS RN 144-66-8) 0.003 Fluoride
          «luent (7.2 1COX) io 100 mL of each                                                                       Nono required 28
                                                      M, Sodium carbonate (CA$ flN 497.            Nrtrlts-N        Cool to 4«C 48
          cisndard and sample.                         19-8J0.0024M. Dissolve 1.0081 g             Nitrite-N        Cooi to 4«C 48
           4.3 Method interferences may bo            sodium biearbonate (NeHCOi) end             0-Phesphita-P     PHter and cool 48
          caused by eontaminanta in the                1.0176 g of sodium carbonate                                  to4«C
          reagent water, reagente, glaaawere,         (NatCOiI In reagent weter end dMute
          »nd ether Simple processing                 to 4 liter*.                               .fulfate           Coc4to4«C      21



                                                        Exhibit 46
                                                          6455
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             The method of preservation end       column loading (ell enlenel eh«uld not   10.S The analyst must calculate
           Aiding time for samples enslyzed       exceed about 400 ppm.                    method performance criteria and
               method era determined by the                                                da'lne, the performance of tha
               *' imereei. in s given sample.                                              laboratory for aach spike
        1, inlort tnat rtqulre* the most          10. Quality Control                      concentration of analyte being
                 tion trenmem end the             10.1 Bach laboratory using this          measured.
                 holding tlrr.e will determine   method should have a foimal quality
        AI preservation troatmont tnd            control program. The minimum              /0.3. t Calculus upper and lower
                time for the total sample.       requirements of this program consist      control limits for method performance
                                                                                           as follows:
                                                 of an Initial demonstration of
        j, Calibration and                       laboratory capability (10.2) and the        Upper Control Limit (UCU « R + 3 s
        Standardization                          analysis of spiked samples aa a             Lower Control Limit (LCD • R • 3 a
       j.1 Establish ion chrometog'spnic         continuing cheek on performance, Tha      where A and s arc calculated as in
       Meriting parameters equivalent to         laboratory should maintain                Section 10.2.3. Tha UCL and LCL can
       fiett indicated in Table 1.               performance records to dsllna tha         be used to construct control charts
                                                 quality of data mat ere generated.        that are useful In observing trends In
          1.2 f*r each enatyte of Interest.                                                performance.
         vlpere calibration standards at e        10. f. t In recognition of tha repld
     I (wnlmum of thraa concentration            advances occurring in                     10.4 The laboratory should develop
     I jyfl* and a blank by adding               chromstogrophy, the analyst it            and maintain separata aeouracy
     I ucurxa'y measured volumes of one          permitted certain options to improve      statements of laboratory performance
         or para stock standards (7,5) 10 a      the separations or lower tha oost of      for watar and wastewaiar simples.
         loiumatrlc flask >nd diluting 10        measurements. Each tlmt such              An accuracy statement for tha method
         rflluma with reagent water. If the      modifications to the method are made,     Is defined as ft ± s. Tha accuracy
        werk./ig reng« exceees the linear        tha analyst Is required to repast the     US tarn am should ba developed by the
        nng* of tha system, e sufficient         procedure In Section 10.2                 snarytas of four aiiquots of water or
        Aumbar of itsndards mutt be                                                        wsattwator. as described In Section
        jnjlyted to allow an accurate             10.1.2 The laboratory should spika       10.2.2, foliowad by the calculation of
       ufibratlon curve to be established.       and enalyta a minimum of 10* of ail       R and a.
       One e( the standards ahould be            sempies to mender continuing
       representative oi a concentration         laboratory performance.'Field and         10.6 Before processing any
       aaar, But aoovo, the method detection     laboratory duplicates should also be      samples, tha analyst muat
       imit If tha system is operated on an      analyted.                                 demonstrate through the analysis of
 jj|»|»lleable attenuator range. Tha other                                                 an aliquot of reigant water that all
                                                 10.2 Before performing any                glassware and raagcnt interferences
'^lomdarda ahould correspond to the              analysis, tha anatvst should              are under control. Each time thara la
.^ft'tnea ef concentrations expected in          demonstrate tha ability to generate       a change in raiginta. a laboratory
 • I tw sample or should define tha              acceptable accuracy and precision         reagent blank mutt ba processed M a
 • I working rsnga of the detector. Unless       with this method, using a laboratory      safeguard against laboratory
    I «N tttanwotor range settings ara           control standard.                         contamination.
      sfcvan te bs linear, each setting muat
      te calibrated individually.                 10.2.1 Selaet a'representative           10.9 It la recommended that the
                                                 spike concentration for eeeh analyte      laboratory adept additional qualm/
       U Us'r.g injections of 0.1 to 1.0 mL      to be measured. Using stock               assurance practices for uia with this
      Witermmed by injection loop volume)        standards, prepare a quality control      method. Tha specific practleaa that
      «f«ich calibration standard, tabulate      cheek sample concentrate In rosgent       are moat productive depend upon the
      Nak height or eras responses against       weter 100 timaa more concentrated         neada of the laboratory end the nature
      *« concentration. The results are          than the selected concontrationt,         of tha samplaa. Field duplicates may
      «*w u prepare a calibration curve for                                                be aneiyied to monitor the precision
      •th SftSryte, During this procedure.        f 0.2,3 Using a pipet add 1.00 ml        of the sampling technique. When
      ttontlon times must be recorded. Tha       of tha check aampte concentrate           doubt exists over tha Identification of
      wtntiofl time is inversely                 {10.2.1} to aacft of a minimum of four    a peak in tha chrematogrim,
      •foportlonsl to the coneemrauon.            100«ml aliquot* of reogent water.        confirmatory techniques such at
                                                 Analyse tna aliquots according to tha     sample dilution and spiking, mult ba
      *-4 The working calibration curve          procedure in Section 11.                  used. Whenever possible, the •
      "utr bo verified on esch working diy.                                                laboratory should parform analysis of
      • *fi«navcr the enion eiuent w              TO.2.3 Calculate tha average             quality control chaeV samples end
      **njad. and after evary 20 sampfes.        percent recovery (R), and tha standard    participate in relevant performance
      * "*< response or retention time for       deviation^) of tha percent racBVary.lor   evaluation sample studios-
      *"y analyte varies from tho e«p4Ct«d       the result!.
              by more than ± 1014, the test
           Be repeated, using fresh               10.3.4 Using tha appropriate data        11. Procedure
           ition standards. if the results       from Table 2. determine the recovery
                                                 and single operator precision axpactad    11.1 Tabla 1 summarises tha
      ••trill more than ± 10%. an entire                                                   recommended operating conditions for
      "•* Calibration curve must be              for the method, and eompara these
I..                                              raiults to tha values calculated In       the ion chromatograph. Included In
                for that analyta                                                           this tobla a/a estimated retention
                                                 Section 10.2.3. If the data are not
          Nonfinaar response can rtsutt          comparable within control flmlta          times that can ba achieved by thte
          the tepintor column capacity           (10.3.1). review potential problem        method. Other columns,
      '•weeded (overloading). Maximum            areas and repeat tha tost.                chromatograpNc conditions, er

                                                 990.9-9                       Ji*. ttt4

                                                                Exhibit 46
                                                                  6456
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       , detectors may be used if the                  iere. The MOU eeneentrettone listed in
         requirements of Section 10.2 are met.         Table 1 were obtained using reagent
         11. 2 Cheek system calibration dally          water
         and. If required, recalibrate ea               13.2 Single-operator accuracy and
         deacribed in Section 9                        precision for reagent, drinking and
                                                       surface water, end mixed dems«tie
          11. 3 Load and Inject a fixed emount         and industrial wastewster ere listed In
         of well mixed sample. Flush infection
         loop thoroughly, using eceh new               Table 2.
         sample. Use the same site l«oo for             14.       Referencaa
         standards and camples. Record the
        reauUlng peak site In sros or peek             1 4.1 Annual Book of ASTM
        height units. Ait automated constant           Standards. Part 31 Water, proposed
        vo'ume infvciron system may alao be            test method for "Anions in Water by
        used.                                          Ion Chromatography," p. 1486*1492
         11.4 The width of the retention time
        window used to make Identifications            14.2 Standard Methods for the
        should be based upon measurements              Examination of Water end
        gf actual retention time variations of         Waatewster. Method 4002, "Anions
        standards over the course of a day.            by k n Chromategraphr" proposed for
        Three times the standard deviation of          the 16th Idltlon of Standard Methods,
        a retention time can b« used lo                1 4.3 Olonex, 1C 1 6 Operation end
        calculate a suggested window site for          maintenance manual. r*N 30579,
        B compound. However, (he experience            Dionax Corp., Sunnyvale, California
        Of the analyst should weigh heavily In
        (he interpretation of chromatograms.           94086.
                                                       1 4.4 Method detection limit (MOL)
        I 1.8 If the resoonto for the peak
        axceeds tha working ranga of the               si described in 'Trace Analyses for
        System, dilute the sampla with an              Wastawaiar." J. Glaaer. 0. Foam,
        appropriate amount of reagent weter            6. McXae, S. Ouava. W. Budda.
                                                       fnvtroruntnttt Sciinet ind
        and reanaiyte.                                 Ttertnohyy. Vol. 15. Number 12. p.
        II ,f If the resulting chremetogram            1436. December (991.
        falls to produce adequate resolution.
        or if Identification of (pacific anlona Is
        questionable, spike tha sampto with
        an eppropriate amount of standard
        end reenelyt*.
          AVrev tt&tntton time It inverter?
        proportion*! to cancf.rttrtllon. Nttf*tt
        and tutfttt exnvo/V tr>» grtttist
        tmourM ft eJitngt. ttthough »ll tn/ont
        trt tftiet»d 10 torn* o'ffrte. in torn*
        cut ft, tru't ptttt mffffttton con
                  floor rotelutlt/t or

        1 2. Calculation
         12.1 Prepare separate callbretlon
        curves f«r eeeh ani«n «f interest by
        plotting peek site fn ares, or peak
        height units of atandards against
        eeneentrstion values. Compute
        sample concentration by comparing
        temple peak response with the
        standard curve.
        12.2 Report results in mg/L*

       13. Precision end Accuracy
       — Method Detection Umtt
       13.1 The method detection limit
       {MOD ia defined as tha minimum
       concentration of a eubetanee that can
       be measured and] reported with 99%
       cenfldenee that the value rl above
                                                      JIM. li*4                        390.0-4
                                                     Exhibit 46
                                                       6457
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                                   #:6502




                                   Exhibit 46
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                  TESTING PROTOCOL FOR HEAT OF NEUTRALIZATION


    The tests are being carried out in plastic containers which are 3 inches in diameter and
    about 3 1/4 inches high. These containers are placed inside of an "adiabatic" chamber of
    styrofoam insulation material which has been made just big enough to accept the reaction
    container. There is a minimum of 1 inch of styrofoam insulation on top, bottom and all
    sides of the reaction vessel. There are provisions made so that a thermometer and a
    mechanical starrer shaft can be put through the top layer of the styrofoam insulation.

    A 100 gram portion of waste is placed in the reaction vessel for each test. In a separate
    container, coarse ground limestone is mixed with deionized water. The temperatures of
    both the waste sample in the reaction vessel and the limestone slurry are monitored until
    they are identical. When these two materials have reached the same temperature, the top
    of the chamber is opened and the limestone slurry is added to the waste sample. The top
    of the chamber is immediately replaced and the mechanical stirrer is started. The
    temperature in the reaction vessel is monitored closely. The highest temperature which is
    stable is recorded as the final temperature.




                                         Exhibit 46
                                           6460
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                                    RESIDUE, VOLATILE

                     Method 160.4 (Gravimetric, Ignition at 550°O

                                                                        STORET NO. Total 00505
                                                                            Non-Filterable 00535
                                                                                Filterable 00520

 1.    Scope and Application
       1.1 This method determines the weight of solid material combustible at 550*C.
       1.2 The test is useful in obtaining a rough approximation of the amount of organic matter
             present in the solid fraction of sewage, activated sludge, industrial wastes, or bottom
             sediments.
2.    S ummary of Method
      2.1 The residue obtained from the determination of total, filterable or non-filterable residue
             is ignited at 55CTC in a muffle furnace. The loss of weight on ignition is reported as mg/1
             volatile residue.
J.    Comments
      3.1 The test is subject to many errors due to loss of water of crystallization, loss of volatile
            organic matter prior to combustion, incomplete oxidation of certain complex organics,
            and decomposition of mineral salts during combustion.
      3.2 The results should not be considered an accurate measure of organic carbon in the
            sample, but may be useful in the control of plant operations.
      3.3 The principal source of error in the determination is failure to obtain a representative
            sample,
4-.   Sample Handling and Preservation
      4.1 Preservation of the sample is not practical; analysis should begin as soon as possible.
            Refrigeration or icing to 4*C, to minimize microbiological decompostion of solids is
            recommended.
5.    Precision and Accuracy
      5.1 A collaborative study involving three laboratories examining four samples by means of
            ten replicates showexl a standard deviation of ±11 mg/l at 170 mg/1 volatile residue
            concentration.
6.    Reference
      6.1 The procedure to be used for this determination is found in:
            Standard Methods for the Examination of Water and Wastewater, 14th Edition, p 95,
            Method 208E,( 1975).




Approved for NPDES
Issued 1971

                                                 160.4-1

                                                           Exhibit 46
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                                       :                                                                                                                           «jve
          Designation: 4/91


                Standard Test Method for                                                                                                                           He*
                                                                                                                                                                   beig
                Ash from Petroleum Products1                                                                                                                       ihc :
                                                                                                                                                                   raw,
                Tite wndard If tMuad undtr tbe find daaisaauon 04S2; tba number tmrarilaat} follo»trt Uw •4"*p""— indicate iha year of
                enemal adoption OT. in tha van of nvtem, <*e vaar of laM nrvtara. A numbar in ptmibeti* IndletW* UN yew of Ian wtpprrnrai.
                Thi» ii abe a luuulurd of Jh« lft«uuta of MroJawa usuad ttixlar iha A sad dettsnvuoa IP 4, Tha flnai number radkMMUtawv of tot


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                     NOTE—An cditonai correction <wa made ID Now t a December 10HI.

                                                                                                                                                                   faave
1. Scop*                                                                          3. Summary of Taal Method
    1 , 1 Tbii test method coven the dewrroinatioft of ash from                     3.1 The sample contained in a suitable vessel is ignited
distillate and residual fuels, gai turbine fuel*, crude oils,                     and allowed to burn until only ash and carbon remain. Tbe
lubricating oils, waxes, and other petroleum products, in                         carbonaceous residue is reduced to ati ash by heating in a
which any ash-forming materials present are normally con-                         muffle fumace ai 775'C. cooled and weighed.
sidered 10 be undesirable impurities or contaminants (Note                                                                                                   r


1 ). The method it limited to petroleum products which arc                        4. Sfyilficaact aad U»»
free from added ash-forming additives, including certain                            4, ] Knowledge of the amount of aih««orming material
phosphorus compounds (Note 1).                                                    present in a product may provide information as to whether
   Non i— In certain type) of uropltm all of th« uti-formiaf                      or not the product is suitable for use in a given application,
mxy not be retained quantiuttivciy in the aih. Thlt ii paniculirty tnia of        Ash can result from oil or water-soluble metallic compounds
distillate oik which require a special nS rrroctdunf in erdar to twain            or froa extraneous solid* such as dirt and rust.
mat all quAnutmvsiy.                   ,
   NOTJ; 2—This tea method it uui murwjerj for the aiwlysU of uauted              9, Apparatus
luhrieaiini ci!i eonitiiunf tddttivet; for such samples tna TM Method                5.1 Evaporating Dish ur Crwtblt, mode of platinum,
D 874 neither is It intended fonht analyiii of lubneauna oils ccnuifling          silica, or porcelain, of 90 to 120-raL capacity.
     nor for uwd enjme erankcase mli>
                                                                                     5.2 Eltcirtc ,V/i</7/# Furnace, capable of maintaining a
  l .2 This standard may involve hazardous mattrtah,                              temperature of 775 ± 23X' and preferably having suitable
Mtons. arid equipment. Thii standard does not purport to                          aperture* at the front «ad rear so u to allow a slow natural
address alt vfiht safaypmbifmS'^Mociatgd wish us us*. It is                       draught Of air to pass through.
iht responsibility <tf she user $' rhi$ standard to establish
appropriate softiy and htahh practices and determine the                          6. Sampling
applicability of regulatory limitations prior w me.                                 A,! Take samples in accordance with the injtruciion* in
  ] .1 "Hie preferred units are mioa percent.                                     Practice D4057. Before transferring the portion of the
                                                                                  sample to be uahed to the evaporating dish or crucible, lake
                                                                                  particular care to oaaure that the portion taken is truly
2. Referenced DocvmcQti                                                           representative of the larger portion. Vigorous shaking may he
  :.i ASTM Standard:                                                              necesaary.
  D 874 Ten Method for Sulfetad Ash (rum Lubricating Oils
.= and Additives2                                                                 7. PttCMnrc
  A 40S7/AP) MPMS J),! Practice fur Manual  Sampling of                              7.1 Heai ihe evaporating dish or crucible at TOO to 800'C
    Petroleum and Petroleum Products3                                             for 10 min or more. Cool to room temperature in a suitable
                                                                                  container, aad weigh to the nuaraft 0.1 mg,
   1                                                                                 Norc 3—The ooauioer in which uu» ^»» <* eruahle K cooled can Ic
     TM* u» m«thod u uttdtr the jurto&etun et ASTM Commute*                       4 dcikeaior should BM wflwin a daticcstini ocjant. In addition, all
rctraKam *rod«Kti tad Uhn«ani* and ii the diraet rawonnhiiitj .                   weiahlnu of the mieiWt* ibmikj be performed as won ax the erodeln
mmw 0 CM) on Ekoemal Anatyili.                                                    have cooled. If it xhmtld 6» aeuetaaty that the enables ramaio m iha
  Cvimm adltto* afpr** Oct. M. i W PttbHated Oaawnter 1911. On|inaOy
Bubbiftrta»D4S2-«T. Uft iwioui tdhios D 4*2 - M).                                 daiieeaiux (w a iansar period, theo all lu&sequem wabinai itautt ha
  In ilta IP. tkia nwOiwI » uod» tha jttiMkliMt of ma                             made aAer aJJowttt* Ota orudWet aad coatftnu 10 rteuua ia Lhc
                                                                                  a«ai«*tor for the some Inaih of urn*.
                               , Vgl 0J.OI.                                          7.2 Trie quantity of sample to be taken will depeod upyn
  */«miu/ Book o(.<$Tt4 StaMan*. vol OJ.UJ.
                                                                                   tha aah content of the material. Weigh imu the dlih or
                                                                           Exhibit 46
                                                                             6462
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                                                                            0482
crudbla sufficient sample (up 10 a maximum of 100 g) w                        W m maaa of sample, g,
live, up to 20 rag of mh. For wnpte weights which require                    9. Raaort
more than one filling of the dish, obtain the weight from the
difference between the initial! and final weights of a suitable                9,1 Report the result to two significant figures u the ash,
sample container. Weigh the sample to the nearest 0.1 ft,                    ASTM ,D 482 stating the weight of tbe sample taken.
Heat the dish or crucible and sample until tbe contents can                  10. Preckloo asui Blaa
be ignited with a flame. Maintain at such a temperature that                    10.1 The precision of this ten method as obtained by
the sample continues to bunt at a uniform and moderate                       statistical examination of intrrlafeoratory test results is as
rate, leaving only ash and carbon when the burning oases.                    follow.
  Nnn 4 Precaadc*— The umple m»y contain wottr, which .eaa                      10.1.1 Repeatability—The difference between successive
CUD* spattariog. The opcnuor ibould haat tha ample cautiously la I           tests results, obtained by the same operator with the same
bood white wearing safety gataMi                                             apparatus under constant operating conditions on identical
  Nori 5—Iflh* Staple contains sufflftient moisture u> cause Toftiujne       test material would, in the long run, in the normal and
and loss of matarial, discard the sample, and to an additional sample add    correct operation of the test method, exceed the following
l to 2 mL of 99 % laopropyl alcohol (WsnUst— Fliimmabla) before
hettiaft, If thn it not tatJi&ctory, add 1C ml of M equiwluma mlxrun         values only in one case in twenty:
»f tuluane (Waning— Hatnnable) and Jsopropyl alcohol and mix                                 Aih. *                           Raoaaubilitx
thoroughly. Pluw aevenl Mript oi'Mhless filter paper in the mixture aad                  O.AOIU&.IP9                             0,003
beat; woea the paper t*$ini to burn, the pester put of tha water wltl                    O.tWJ toO.180                           0,00?
hive been removed.
                                                                                 10.1.2 JteprvdueibiUty—The difference between two
  7.3 Heat the residue in the muffle furnace at 775 ± 25*C                    single and independent results obtained by different opera-
until all carbonaceous material has disappeared. Cool the                     tors in different laboratories on identical test material would,
dub to room temperature ia a suiubiu container (Note 3),                      in the long run, in the normal and correct operation of the
and weigh to the nearest 0. 1 ing .                                           test method, exceed the following values only in one case in
  7.4 Reheat the dish at 77J'C for 20 to 30 min, cool In a                    twenty;                                                   '•
suitable container (Note 3), and reweigh, Repent the hooting                                 Aid, %                          Reprodue Witty
and weighing until consecutive weighings differ by not more                              0.001 » 0.079                            O.OOJ
inaa 0.3 mg.                                                                             UOMOie&ISO                               6.fcJ4
                                                                                10J &tas—Th9 bias of thin test method cannot be deter-
8. dlcuUtkm                                                                   mined since aa appropriate standard reference material
  3.1 Calculate the mass of the ash as a percentage of. the                   containing a known level of ash in liquid petroleum hydro-
original samples as follows:                                                  carbon is not available.
                       Akh. % *(w/W)X 100
where;
w m mass of ash, g, and
                   Tt» American Soo*<v ftjf ruttny end AMerWS *a*aa no petition ruoMW<t**^diW**
                wtto «r» ifam nwnanad /n »n xertfarfl. Users ef tfm ttanetrtf are a«preaa» aaoiag mat otam^toon of tne »aWry »* any me*
                paiaw ivra, antf the nat or mMffeeMf* o< auc* rtprw, are enrvafx maw own meoitWlily.
                                                                              tterwVMrm^irafwiotrwH&towfoirMHirt
                1 not rwaetf . eiffwr naaeofwatf «r w#sc>i wn. Vour ocvmeraf era i
                arm itvuta te addrenee to AMTV Hmtjuuttn, rour 6om«a«i ** fcerVe osneW           wo*«wnei a /naeflncflf o*tupv*iD»
                italic* eotimmm imeit you *«*«l*#- 1' w W M year cenvmm no*                          & hMrw y& *t**# **** w*
                v*aw» wxxwr » tte Ainu Oemrnttse en larave* T8J8 Haea Si. maoaOMa.




                                                                     Exhibit 46
                                                                       6463
<o   Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 279 of 449 Page ID
                          r             #:6507




                                        Exhibit 46
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               THERMOGRAVIMETRIC ANALYSIS - MASS SPECTROMETRY
                                                  —
   TGA-MS (thermogravimetric analysis - mass spectrometry) is an analytical technique which
   monitors the decomposition and weight loss of a sample as a function of temperature and
   identifies the volatile decomposition products. In the TGA module the sample is heated in
   a furnace at a pre-programmed linear rate. The final temperature and time of heating are
   specified in the program. The weight of the sample is measured continuously with a Cahn
   electrical microbalance. The volatile decomposition products are swept by carrier gas to a
   UTI quadrupole mass spectrometer. The mass spectrometer has a mass range from 1-200
   amu (atomic mass units) and unit resolution. The mass spectrometer scans and data
   acquisition are controlled by computer software purchased from Shrader Analytical and
   Consulting Laboratories Inc. (Detroit, MI). Analog electronic signals for weight, mass ion
   intensities, and temperature are digitized and stored on computer hard disk or floppy disk.
   Mass ions for up to 38 different mass-to-charge ratios may be monitored during a single
   TGA-MS analysis run. Reports may be generated in graphical or tabular form as weight,
   temperature, and/or mass ion intensities as a function of time. Sample sizes up to 100
   milligrams may be analyzed with this method.

   Limited quantitative analyses are available with the mass spectrometer data. With
   information on the thermogram peak areas, relative ion intensities among the various
   fragment ions for each component identified, and the relative parent ion intensities for one
   mole of each component present, relative ratios (or molar ratios) among the various sample
   components can be calculated. If the concentration of one component is determined with
   another independent technique (i.e., moisture content), then the concentrations of the other
   volatile decomposition products can be calculated relative to the sample weight. Because
   the TGA-MS technique is primarily suited to qualitative identification, no determinations
   on the precision or accuracy of mass spectral measurements have been made. Precision and
   accuracy are expected to vary with the sample matrix. TGA measurements, however, are
   quite precise and accurate to the nearest microgram.




                                          Exhibit 46
                                            6465
c
                                         II

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                                       Exhibit 46
                                         6466
 Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 282 of 449 Page ID
                                    #:6510
                                                            Analytical fviethotf
                                                            Union Oil Company of California




                                                                                              UTM


                                           DENSITY.OF COKE
                                        (Hogartn Pycnometer)


 SCOPE
      1. This method is applicable to the determination of the real density of
 coke by means of a Hogarth pycnometer.
METHOD SUMMARY
          2.       An accurately-weighed sample, ground to .pass 9 200-mesh screen and
dried at 105°C, 1s introduced Into a calibrated Hogarth pycnometer along w i t h a
s u f f i c i e n t q u a n t i t y of d i s t i l l e d water containing surfactant to f i l l the pycnometer
about o n e - h a l f f u l l . The s o l u t i o n Is b o i l e d , cooled and diluted to the mark with
mere of* the same solution which has also been freshly boiled and tooled. Tha
pycnometer is then wiped dry, weighed and the temperature of the contents taken
immediately, from the values obtained the density of the coke 1s calculated.
REAGENTS

     3. a. Surfactant Solution, 0.1 percent. Dissolve 1.00 r 0.01 g of Triton
X-100 s u r f a c t a n t in recently ooiled d i s t i l l e d water and d i l u t e to one l i t e r . Mix
thoroughly.
             b.    Triton X-100 Surfactant..                Fisher S c i e n t i f i c Co. Catalog No.
CS-2S2-4M.
APPARATUS

      4.     a.    Pycnofficter, Hogarth, 100-ml capacity.
             b.    Thermometer
PRELIMINARY PROCEDURE
     5.   a.   C a l i b r a t i o n of Hogarth PycnoaTeter. Weigh to the nearest 0.1
                                                                                  0.1 nig,
the clean dry pycnometer empty, then r"iT i l to the"'mark with freshly-boiled d i s t i l l e d
water which has been cooled to 24°C (75*F) and reweiyh. From these values,
c a l c u l a t e the pycnometer volume, and from table values for the density of water at
various temperatures and corrections for the expansion of glass with temperature
changes, prepare a table giving the weight of the pycnometer and the water
required to f i l l I t at the various room temperatures likely to occur 1n the labor-
atory.



                                               Exhibit 46
                                                 6467
                   Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 283 of 449 Page ID
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                 UTM 601-83
                 Page 2 of 3


                 PROCEDURE
                       6.   Carefully Introduce Into tha pycnometer an accurately weighed, 5-gram
                 representative sample of coke which has been ground to pass a 200-fliesn screen
                 and dr'ed for one hour at 105°C. Fill the pycnometer about one-half full with
                 distilled water containing 0.1 wt.% Triton X-100 surfactant. Place.tha pycnometer
                 on a hot plate and gently boil the contents for 15 to 30 minutes during which time
                 ajj_ of the coke particles should settle to the bottom of the pycnometer (NOTE 1).
                                 NOTE 1 : Settling of the coke particles to the bottom of the
                                 pycnometer can best be observed by lifting the pycnometer from
                                 tha hot plate which momentarily suspends the boiling process
                                 and allows the sample particles to settle.
                 Remove the bottle from tha hot plate, fill it to the tubular with recently boiled
                 and cooled 0.1 percent surfactant solution and Insert the stopper. Permit tne
                 pycncrcetsr to stand until the contents have cooled to room temperature (NOTE 2);
'                 then fill the bottle to slightly above the mark on the capillary of the stopper with
                 recently boiled 0.1 percent surfactant solution which has been cooled to room
                 temperature. (NOTE 3). Adjust the solution level to the mark on the capillary by
                 touching a piece of filter paper to the end of the tubular. Then wipe the
                 pycnoneter dry and weigh 1t immediately. As soon as the weighing has been made,
                 remove the stopper and measure the temperature of the contents. From the taole
"W               determine the weight of the pycnometer filled with water at this temperature.
                                 NOTE 2:    Cooling may be hastened by placing the pycnometer in
                                 water.
                                 NQT& 3;   This is conveniently done by Inserting the end of the
                                 tubular in a small beaker of the surfactant solution and
                                 applying a slight suction on the stopper.
             CALCULATIONS

m                    7.          Calculate the true density of the coke as follows:
                                                                           x
                                      True Density - y . (i|}i . pj            °

                     where:           W • weight of coke sample taken, g.
v          -=•                                                                 * -•*•- ,
                                     W' • weight of pycnometer + coke + surfactant solution, g.
      4F

                                      D • Density of water at test temperature, T
                          and:        P » weight of pycnometer + water required to fill it at temperature
<**                                       measured on pycnometer solution, g (from table).




                                                              Exhibit 46
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                                                                            UTM 601-83
                                                                                 3 of 3

 PRECISION

 differ8.froma.eachRepeatability.  Duplicate
                     othar By more than 0.01. results by the same operator should not
            b, Raoroduci'bility. Results obtained by 2 operators from different
 laboratories should not differ from each other by more than 0.02.
 REFERENCES

     9,   ASTM Method 0-167 "Specific Gravity and Porosity of Lump Coke" Annual
Book, of ASTM Standards, Part 26.




                                           Union 011 Company of California
                                           Science and Technology Division
                                           Chemfcals* Research Department
                                           Analytical Research a/id Service Group
                                           WHtten by:      LW8*&£         .
                                           Approved by:    NWL/JMF flits f*
                                           Date:      April 12, 1983:1vb




                                     Exhibit 46
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                                   Exhibit
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                       TESTING PROTOCOL FOR TREATABILITY

  In order to determine the amount of reagent which will be needed to neutralize a given
  amount of waste the following approach is used. A sample (approx. 40 grams) is weighed
  into a 500 ml volumetric flask. Approximately 400 ml of deionized water is added to the
  flask and the flask shaken well. The mixture is allowed to leach like this for a minimum of
  24 hours. The solution is diluted to the 500 ml mark with deionized water and again mixed
  well. The flask is allowed to sit overnight so the solids can settle out. An aliquot of the
  supernatant liquid is then pipetted into an erlenmeyer flask and titrated with N/10 NaOH
  to a pH of 7.0 using a pH meter to determine the endpoint.

  Based on the acid value of the waste per unit weight from this experiment, the amount of
  reagent required to treat a given amount of waste can be calculated.




                                         Exhibit 46
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                            McCOLL SUPERFUND SITE

                            ANALYTICAL TEST RESULTS

                                    VOLUME I




                               McCOLL SITE GROUP

                                   October 7,1991




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                             McCOLL SUPERFUND SITE

                            ANALYTICAL TEST RESULTS

                                     VOLUME I




                               McCOLL SITE GROUP

                                   October 7, 1991




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                             McCOLL SUPERFUND SITE

                            ANALYTICAL TEST RESULTS

                                     VOLUME I




                               McCOLL SITE GROUP

                                   October 7, 1991




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                                  McCOLL SUPERFUND SITE
                                 ANALYTICAL TEST RESULTS
                                        VOLUME I



    The MSG has completed five of the eight tests that are being performed on McColl waste
    samples received in July 1991. Enclosed are the results from the following analytical tests.


           Test 1-       EPA Method 9045A (ph)

          Test 2-        Compressibility

           Test 3 -      Viscosity

          Test 4-        EPA Method 300.0 (sulfate)
                         ASTM D 1552-90 (sulfur)

          Test 6-        EPA Method 160.4 (ash)
                         ASTM D 482-87 (ash)

          Test 7 -       Unocal Testing Method 601-83 (density)


   The heat of neutralization (Test 5), thermogravimetric analysis - mass spectrometry (Test
   6) and treatability (Test 8) tests are still in progress. Results will be forwarded when they
   are available.




   McColl Site Group
   10/7/91




                                           Exhibit 46
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                                                                                                                                  jjnta Ana
                                                                                   -Inc.
    E N V I R O N M E N T A L                                         T E S T I N G

                                                                                                                                  > 7'1:57-322
                                                                                                                                  :
                                                                                                                                      5X 714 757 7274
                                                      LABORATORY REPORT


    C;.ent:              UNOCAL Science & Technology                                     Report Date:         8/22/91
    Client Address:      376 S. Valence Avenue                                           LabP.N.:             2189
                         Brea.CA 92621                                                   Client P.N.:         160866

    Contact:             Dan Weilman

    Proiect Name:        McCoil                                                          Date Sampled:        8/5/91
                                                                                         Date Received:       8/6/91
                                                                                         Date Analyzed:       8/6/91
                                                                                         Physical State:      Solid



    Tie samoies were received rjy Terra Teen Laos. Inc in a cniited state, intact and with the
    Oain-of-Custody Recora attacnea.

    Pease note that NO means not detected at the detection limit excressed.

    Sold Samoies are reported on an "as received" basis.




   M s Mane Scu« / Soka Outxcara                                                 L = Lflfcormory Germs Sanww Soka / Sot® Ou»cae




                                                                                                        -     7?V



                       Of THW* TECH IXB, he. ni
                    9f >9tw 'W*J' LJDBt rtl M not sn nociMon of co^oWon uoon
                    ^ only to ^AM^OM ffiW •nHyVBQ mcl ^w^ not BPTV o fln
     Lttonny Moon • »• BOPBV 011» rtri 10 wwm i» IOOMM,
     ueonny RnuH •• any • poien of r* LaorMory

                                                                      Pagei
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                                                                    Line.
     E N V I R O N M E N T A L                          T E S T I N G



                                              LABORATORY RESULTS


     C'.ent:            UNCCAL Science & Technology                       Report Date:      8/22/91
     Client Address:    376 S. Vatenca Avenue                             LabP.N.:          2189
                        Brea.CA 92621                                     Client PN.:       160866



     Project Name:      McColl                                            Date Sampled:     8/5/91
     Project Address:                                                     Date Analyzed:    8/6/91
                                                                          Physical State:   Solid




                                   PH
                                   EPA 9045
     Sample ID

    R3-555                         <2
    R3-35J                         2.8
    R2-9                           <2
    R2-18                          <2
    R2-25                          <2
    PRP3-55                        <2
    PRP3-7                         <2
    PRP3-10                        <2
    PPP3-16                        <2
    PRPLM2                         <2
    FRPL1-17                       <2
    PRPL1-19                       <2
    PRP1-10                        3.2




    NO: Not Detectable
    The Laboratory Results are only a portion of the Laboratory Report.
                                                         Page2
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                                                       6478
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                         DETERMINATION OF pH BY EPA 9Q45A


          Sample Identification                              H funits


                       A                                            2.3
                       B                                            0.4
                       C                                            0.5
                       D                                           -0.2
                       E                                            0.4
                       F                                            0.5
                       AJ                                      .    0.7
                       BJ                                          -0.1
                       DJ                                          -0.1
                       DJ2                                         -0.2
                       LJ                                           2.1
                       PJ                                           2.3
                       M-CS                                         2.9
                       I-l-TS                                      -0.1
                       R-2-1                                        0.4
                       R-2-2                                        0.7
                       R-2-5                                        0.5
                       R-3-2                                        4.2
                       R-3-3                                        0.5
                       R-3-5                                        2.6
                       R3-J                                         2.7
                       R2/R3 SSS                                    1.5

         1. No sample preparation was performed and temperature was controlled by room
         temperature.




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                                   Exhibit 46              N>
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I                                      #:6524



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                             uliOOJUb fOZSVOI It TIQDfQXtOdY OZVZBION
                                                    itoex pftoriftTXif
I                   fib                       fill * t10045



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I                                          Perforated by«
                                    ' Cer« Laboratoriaa
                                      3430 Uniaorn Road
                                B»Xarafi«ld, California 93308
                                          (005) 3»2-0600

                                                        2S f i




                                       Exhibit 46
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I
                                      WKXMUK PAATXOXPAXTI


I
I
         i)    Bulk coapr«f*ibility
                                                                            "C
         2)    Data Evaluation and
               Report Preparation




                                Reviewed by
                                                    7,x;ng \\
                                  ADVANCED ROCK P*ROPERTZE9 SUPERVISOR




                                       Exhibit 46
                                         6482
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                                       #:6526



-                                      TABU ov comma
I
         flection
I            1            Introduction

I           2             Coapreeaibility Procadurea

I           3             Coapreaaibility Raaulta

a           4             obearvation and Oiacusaion


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 "                                                   ItCTXOX
 I

 I
-               Two environaantal oora aaaplaa ware raleaaed to our BaHarafield,
I          California facility for oeapreaaibiiity -tudy. The reaulta or the
I          atudy are preeented in thia report.            A description of tha teat
          protocol and raeulta are preaentad in the accompanying page*.
 I
i
I
I
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                                        Exhibit 46
                                          6484
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                                               HCTXO* I
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                                         TUT
I
.                                 SOUE votOKJ comtiatziZLZfy



         laanle >f aa

I            Plug apeeiaens of approxiaately two inches in langrh and one and
         ona-ineh in diameter were obtained from bulk cor a aaaplaa. The plug
I        apeoimens were inserted into laad »l«evea with 120 aesh screens. The
i        slaevee were eat to the samplss at a pressure of 200 paig,



             Deioniced water was uaed in the teat and was vacuum filtered to
I        0.3 microns*

        3ui3c
             Initially, attsmpts were made on removing the ealta and
        hydrocarbon* fren the aamplea by the Oean-starX ro«thod uaing toluene
        aa the aolvent. Due to the diaaolution of the aaaplaa in the preeenca
        of tha aolventa, thia proc«»» waa terminated. Alao pore volume ,
        porosity and air permeability datarminationa could not ba performed on
        tha samples beoauee tha aaaplea were too tight for theee neaauraaents.
        Since the impervious tendency of the samples did not allow for thea to
        b« misoibly saturated with the daionized weter (to establish liquid
        continuity throughout th« «yat«a) , the deioniced water waa introduced
        into tha pipet tube and the confining atraas increased to the first
        pressure paint •* 200 pei. After a twenty-four hour period , the volume
                                             -9-
                                       Exhibit 46
                                         6485
    I   Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 301 of 449 Page ID
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    •          of deioniaad water expelled waa raoarded.       This process was repeated
    I         for at least five additional pressure stsps for eaeh aaaple.
,                      Initial bulk volume measurements were calculated using the
    I         Archimedes Principle. Bulk voluass at each stress were determined by
    I         subtracting the expelled volume from the initial stressed bulk volume
r   •         according to Equation l.      The bulk velumea wara plotted as a function
    t         of strsss(flgure i).




    '         where:

    I                  Vb>   -   Straased bulk volume


                             -   Initial atreaaed bulk volume


                       vw    -   cuaaulativa volume of deionized water produced




                                           Exhibit 46
                                             6486
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                                           #:6530

I                                                  •IOTZOM I


                                               Tii* RHQX.«i
I
i
|                a     Bulk voluae Compressibility Reeults                 Table    1-1

J            o        Bulk voluae Versus Net Overburden                   Figure 1-1

i
I
I
I




                                             -4-

                                           Exhibit 46
                                             6487
I   Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 303 of 449 Page ID
                                       #:6531

I
I                                  TAIL! 1 - I      : '
                           8DLJE 7010101 COmiliXftlLZTY

I              SJUCfLB *            *JUf» ft              PI* #3


            Pressure (pai)           Vo«)                 Voe)

                  200                 34. SO              43.42


                  300                 34.62               43.03


                  600                 34.40               42.90


                  900                34.1*                4), II


                 1200                34.06                42.*?


                 1500                33. 82               42.78




                                       Exhibit 46
                                         6488
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                                       #:6532


I                            FIGURE 1 -
             BULK VOLUME COMPRESSIBILITY VS.PRESSURE
I
I




          200       400       600       800 1000 1200 1400 1600
                              NET OVERBURDEN PRESSURE, Psig



                              RAMP #2 -f~ PRP #3
                                                                     -J




                                       Exhibit 46
                                         6489
I
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                                   #:6533

I                                           •BCfXOaT     4
I                               CM nvavzov MO Discrsszo*

I           Bulk volua. value, ranged fMa . measured high ef 34,90 oo
      *t 200 psig for t*e Ra«P ,2 aa^is at a deptn or ,.„ f.« td t
      lew of 33.ea cc f»r tft. .™ d.pth at 1SOO
      changed from a hi,h of 43.42 cc at a depth of 7.1 feet at 200
      psig for the PRP ,3 Mmpit to . iw of 4 a > 7 8 cfl tt ^ ^
      confining strea. .r isoo P.i9.            TO.   coapres.ibility of the PR*
     « .ampis. change the least amount. Average overall compaction
     wa. approximately 3 p.re.nt froa 200 psi tQ
     compression forces used in the laboratory.




                                        -7-
                                   Exhibit 46
                                     6490
c:
                                          V

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                                        Exhibit 46         J
                                          6491
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                                        #:6535

 TEST RESULTS
 8/28/1991
VALIDATED BY: STEVEH R ROSS


SAMPLE NAME         LOS BO.   CODE    COMPOKHT BIKE       RESULT                COMMENT
B                    91062889 PT9055 VISCOSITY            $$$$$$$$    CST   at 275 f does not flov at this teoperature
                                     VISOOSITT            $$$$$$$$ sus
                              PT9055 VISCOSITY            $$$$$$$$ CST      at 125 f solid at this teiperature
                                     VISCOSITY            $$$$$$$$ scs
                     91062890 PT9055 VISCOSITY            $$$$$$$$    CST   at 275 f does not flou at this teiperature
                                     VISCOSITY            $$$$$$$$    SOS
                              PT9055 VISCOSITY            $$$$$$$$    CST   at 125 f solid at this teiperature
                                     VISCOSITY            $$$$$$$$    SOS
PJ                    91062876 PT9055 VISCOSITY            $$$$$$$$   CST   at 125 f solid at this teiperature
                                      VISCOSITY            SSSSS3SS   SCS
                               PT9055 VISCOSITY            $$$$$$$$   CST   at 275 f does not flov at this teiperature
                                      VISCOSITY            $$$$$$$$   SOS




                                                      Exhibit 46
                                                        6492
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                                   Exhibit 46
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                                                                                                                                                  iir'Enseco —r
                                                                                                                                                       A Coming Company

                           Enseco - CRL
            ~440 Lmcoin Way • Garden Grove, CA 92641
           "14) 898-6370 • f213) 598-0458 • (800) LAB-1-CRL
                          FJJC. (714)891-5917




     August: 19, 1991



    TERRA TECH LAS, INC.                                                             Analysis No.: G-9122127-001/013
    1920 EAST DEERE AVENUE, SUITE 130                                                Date Sampled: 5-AUG-1991
    SANTA ANA, CA 92705                                                              Date Sample Rec'd: 9-AUG-1991
    ATTN: MS. RUTH WILSON                                                            Project: (TTL#2189/160866) UNOCAL/BREA


    Enclosed with this letter is the report on the chemical and physical analyses on the
    samples from ANALYSIS NO: G-9122127-001/013 shown above.

    The samples were received by CRL in a chilled state, intact and with the chain-of-custody
    record attached.

    Note that ND means not detected at the reporting limit expressed. The reporting limit
    is raised to reflect the dilution factor of the sample.

    Solid samples are reported on "as received" basis.

    Preliminary data were provided on August 16,1991 at 2:20 P.M.




                               Re                                                                                       Approved




                                                          The Report Cover utter la an integral part et Ma report
This reoon pertains only to the samples investigated and does not necessarily apply to other apparently identical or similar matenaH. This report is lutimimxto ^^^
.jse of the client to whom it * aadressed Anv reproduction of this reoort or use of this Laboratory's name for aovertwno or oueiicitv ourooses without authorisation is oromo.teo
                                                                           Exhibit 46
                                                                             6494
Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 310 of 449 Page ID
                                   #:6538

                                              Laboratory Report                         ••^•Enseco
                                                                                           V Coming

  TERRA TECH LABS, INC.
  1920 EAST DEERE AVENUE, SUITE 130                   Analysis No.: G-9122127-001/013
  SANTA ANA, CA 92705                                 Date Sampled: 5-AUG-1991
  ATTN: MS. RUTH WILSON                                             16-AUG-1991
                                                      Date Sample Rec'd: 9-AUG-1991
                                                      Date Analyzed: 15-AUG-1991
      Project: (TTL#2189/160866)


                         Sulf ate
                          •J W at •!» A WtS

  Sample ID              (Soluble)
                         mg/kg
  -                      EPA 300.0
  R3-SSS                 i c cn n
                         15500
  R3-35J                 1 1 Q rtrt
                         IIBOO
  R2-9                   107000
                         i  W /WWW
  R2-1S                  5220OO
                         ft £* « WWW
  H2-25                  155000
                         1* J 3WW W
  PRP3-55                7300
                         / JW W
 PRP3-7                  TGI
                         ^  7X nn
                                WW
 PRP3-10                 128000
 PRP3-15                 Ort£ f\f^
                         OUoUU
 PRPL1-12               283000
                        ^Ow W W W
 PRPL1-17               226000
                        A. ifc O W W W

 PRPL1-19               178000
 PRPL1-10               no en
                        7O9U
 Blank                  NDrio\




                                               Exhibit 46
                                                 6495
    Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 311 of 449 Page ID
                                       #:6539

                                                                                          '^Enseco
                                                                                                A Coming Company
                                        Laboratory Report

    TERRA TECH LABS, INC.                       Analysis No.: G-9122127-001/013
    1920 EAST DEERE AVENUE, SUITE 130           Date Sampled: S-AUG-1991
    SANTA ANA, CA 92705                                       16-AUG-1991
    ATTN: MS. RUTH WILSON                       Date Sample Rec'd: 9-AUG-1991
                                                Sample Type: SOLID
       Project: (TTL#2189/160866) UNOCAL/BREA

                          Matrix Spike/Matrix Spike Duplicate Report

                                                        Observed
    Sample                                           Concentration          Amt.     % Recovery    %
    Number    Parameter (Method)        Units    Sample    MS    MSD       Spiked   MS   MSD Avg. RPD

9122127-002   SULFATE (EPA 300.0)        mg/kg     11800   68600   69000    50000   114   114    114




                                           Exhibit 46
                                             6496
Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 312 of 449 Page ID
                                   #:6540

                                                                              •^Enseco
                                                                                  A Comin

               Matrix Spike/Matrix Spike Duplicate Report Cross-Reference

  QC Batch          Date                    Parameter   (Method)            Sample Nos.

 9122127-002     15-AUG-1991   SULFATE (EPA 300.0)                          G-9122127-001
                                                                            G-9122127-002
                                                                            G-9122127-003
                                                                            G-9122127-004
                                                                            G-9122127-005
                                                                            G-9122127-006
                                                                            G-9122127-007
                                                                            G-9122127-008
                                                                            G-9122127-009
                                                                            G-9122127-010
                                                                            G-9122127-011
                                                                            G-9122127-012
                                                                            G-9122127-013




                                      Exhibit 46
                                        6497
Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 313 of 449 Page ID
                                   #:6541


                                       Laboratory Report
                                                                :                      ^Enseco
                                                                                         * comm^ comm

   TERRA TECH LABS, INC.                       Analysis No.: G-9122127-001/013
   1920 EAST DEERE AVENUE, SUITE 130           Date Sampled:   5-AUG-1991
   SANTA ANA, CA 92705                                       16-AUG-1991
   ATTN: MS. RUTH WILSON                       Date Sample Rec'd: 9-AUG-1991
                                               Sample Type: SOLID
     Project: (TTL#2189/160S66) UNOCAL/BREA

                        Laboratory Control Sample Report

                                                               Avg.             Rel.
  QC                                     Amt.                  Spike Acceptable Pet. Acceptable
  Batch       Parameter (Method)        Spiked       Units     Recov.  Range    Diff.  Range

L91228004   SULFATE (EPA 300.0)           10.0         mg/kg        102 88-130     1       15




                                        Exhibit 46
                                          6498
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                                   #:6542

                                                                          'IfeEnseco
                                                                               Coming Company
                     Laboratory Control Sample Report Cross-Reference
    QC Batch        Date
                               .             Parameter (Method)          Sample Nos.
  L91228004      15-AUG-1991   SULFATE (EPA 300.0)
                                                                        G-9122127-001
                                                                        G-9122127-002
                                                                        G-9122127-003
                                                                        G-9122127-004
                                                                        G-9122127-005
                                                                        G-9122127-006
                                                                        G-9122127-007
                                                                        G-9122127-008
                                                                        G-9122127-009
                                                                        G-9122127-010
                                                                        G-9122127-011
                                                                        G-9122127-012
                                                                        G-9122127-013




                                    Exhibit 46
                                      6499
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                                   #:6543




                      DETERMINATION OF SULFUR BY ASTM D-1552


            Sample Identification                                Sulfur (wt%1


                         A                                               4.04
                         B                                               12.15
                         C                                               12.40
                         D                                                17.80
                         E                                                5.31
                         F                                               5.96
                         AJ                                              5.89
                         BJ                                              13.9
                         DJ                                               15.7
                         DJ2                                              15.55
                         LJ                                               1.38
                         PJ                            '                 5.38
                         M-CS                                             1.43
                         I-l-TS                                           16.7
                         R-2-1                                           8.96
                         R-2-2                                           7.77
                         R-2-5                                           7.73
                         R-3-2                                            1.76
                         R-3-3                                            8.83
                         R-3-5                                            1.49
                         R3-J                                            0.85
                         R2/R3 SSS                                        5.18

            1. Determined using a resistance furnace with infrared detection. Calibrated with
            ION sulfuric acid.




                                       Exhibit 46
                                         6500
(D   Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 316 of 449 Page ID
                                        #:6544




                                        Exhibit 46
                                          6501
                                                        i         >
                                                                                     )
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                                   #:6545
                                                                                                                       Sm!e 130

                                                                                                                       Santa Ana

                                                                                                                       California
      E N V I R O N M E N T A L                               T E S T I N G
                                                                                                                       92705
                                                                                                                       Tei714757"22

                                                                                                                       fax 714 757 7274
                                                    LABORATORY REPORT


      C.ent:                UNCCAL Science & Technology                         Report Date:       8/23/91
      Client Address:       376 S. Valenca Avenue                               LabP.N.:           2218



                                                                                                                                     4
                            Brea.CA 92621                                       Client P.M.:       160868

      Contact               Dan Wellman

      Project Name:         McColl                                              Date Sampled:      8/9/91
                                                                                Date Received:     8/12/91
                                                                                Date Analyzed:     8/14/91
                                                                                Physical State:    Solid


      The samples were received by Terra Tech Labs, Inc ntact and with the
      Chain-of-Custody Record attached.

      Rease note that NO means not detected at the detection limit expressed.

      Solid Samples are reported on an "as received" basis.




         Mauw Sc*» / Se*» CXcfcae                                      L » Laborewy Cermet Sempe So** / Sphe Oucwate




                            By 1H*U T8CH l>68. ix. n i                t by *»
                         ay T«mi T«at LJB. re • rn *<
                        f any to re •me* irwuniM
     *>» necnary Anart • r» atnny a r» cMn 0 mnom « •




                                                         Exhibit 46
                                                           6502
Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 318 of 449 Page ID
                                   #:6546

      THUU TB9M                                                                Inc.
      E N V I R O N M E N T A L                          T E S T I N G


                                               LABORATORY RESULTS



      Client:           UNOCAL Science & Technology                        Report Date:      8/23/91
      Client Address:   376 S. Valence Avenue                              LabP.N.:          2218




                                                                                                       4
                        Brea. CA 92621                                     Client P.N.:      160868



      Project Name:    McColl                                              Date Sampled:     8/9/91
      Project Address:                                                     Date Analyzed:    3/14/91
                                                                           Physical State:   Solid




                                     PH
                                     EPA 9045         Percent Ash
      Sample ID                      mo/kg            EPA 160.4

      R-2-5                          <2               57.6%
      R-2-2                          <2               21.5%
      EE1-WA                         <2               21.4%
      EE1-BOT                        <2               83.9%
      PL                             2.0              33.2%
      HoleJ-1 6.5-7                  <2               0.9%
      Hole 1-1 6-6.5                 <2               73.5%
      Hole D 9-9.5                   3.7              81.4%
      PRP1 9-9.5                     2.4              34.0%
      PHP1 9.5-10                    <2               49.1%
      PRP3-J                         <2               1.0%
      PRP3 13-13.5                   <2               61.2%




      NO; Not Detectable
      The Laboratory Results are only a portion of ire Laboratory Report
                                                          Page 2
                                                    Exhibit 46
                                                      6503
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                                   #:6547




                       DETERMINATION OF ASH BY ASTM D-482


          Sample Identification                         Ash


                       A                                       45.2
                       B                                       0.1
                       C                                       0.1
                       D                                       0.12
                       E                                       51.4
                       F                                       68
                       AJ                                      37.9
                       BJ                                      6.7
                       DJ                                      4.4
                       DJ2                                     3.9
                       U                                       76.1
                       PJ                                      37.3
                       I-l-CS                                  74.3
                       M-TS                                    13
                       R-2-1                                   9.6
                       R-2-2                                   20.6
                       R-2-5                                   56.3
                       R-3-2                                   45
                       R-3-3                                   23.2
                       R-3-5                                   78.5
                       R3-J                                    85.3
                       R2/R3 SSS                               20.3




                                   Exhibit 46
                                     6504
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                                   #:6548




                                   Exhibit 46
                                     6505
Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 321 of 449 Page ID
                                   #:6549




                          iRMINATION OF DENS               601-83


          Sample Identification             Density          Test
                                                        Temperature (°F)

                       A                    1.2907                   75
                       B                     1.1686                  75
                       C                     1.1517                  75
                       D                     1.3131                  75
                       E                    1.9141                   75
                       F                    2.0132                   75
                       AJ                   1.2774                   75
                       BJ                   1.3011                   75
                       DJ                   1.3222                   75
                       DJ2                  1.2984                   75
                       LJ                   1.8693                   72
                       PJ                   1.3275                   72
                       I-l-CS               2.0043                   72
                       I-l-TS               1.4199                   75
                       R-2-1                 1.2138                  75
                       R-2-2                1.2708                   75
                       R-2-5                1.6642                   72
                       R-3-2                1.4330                   72
                       R-3-3                1.2601                   75
                       R-3-5                1.9330                   72
                       R3-J                 2.0682                   72
                       R2/R3 SSS             1.2131                  72

          1. Noncalcareous option used.




                                      Exhibit 46
                                        6506
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                                   #:6550




                                   Exhibit 46
                                     6507
Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 323 of 449 Page ID
                                             #:6551
   THE
   McCOLL
   SITE
   GROUP       215 East Orangethorpe Avenue, Suite 304, Fullerton, California 92632 (714) 665-7391




                                                   October 31, 1991




 VIA FEDERAL EXPRESS

 Mr. John Blevins
 U.S. EPA, Region IX
 75 Hawthorne Street
 San Francisco, California                             94105

                  Re:       McColl Superfund Site, Fullerton, California
 Dear John:

          In our recent technical meetings, the EPA requested
 additional information regarding the McColl Site Group's proposed
 remedy described in the February 12, 1991 submittal entitled
 "Selective Excavation, Treatment and RCRA Equivalent Closure
 Report" (the "February Report"). In response to this request,
 the MSG submits herewith the enclosed document entitled
 "Responses to EPA Questions Regarding Tar Definition and Emission
 Control Under the February 12, 1991 Selective Excavation,
 Treatment and RCRA Equivalent Closure Approach." This document
 specifically addresses the following questions posed by the EPA:
                  1.        How are the tarry zones of interest defined?
                  2.        How will the tarry zones of interest be located?
                  3.        What is the basis for the 5,000 to 10,000 cubic
                            yard tar volume estimate?

                  4.        What is the basis of the assumed solidification and
                            excavation quantities?

                  5.        What is the effect of tar which may not be detected?
                  6.        How reliable will the emissions control shroud be?
          If you have any questions regarding the enclosed
 document, please give me a call. We would be happy to discuss
 the program with you in more detail. In addition, we ask that



   The McColl Site Group is composed of:                    Exhibit 46
                                                              6508
   Shell Oil Companv, ARCO, Phillips Petroleum, Texaco and UNOCAL
Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 324 of 449 Page ID
  THE                                        #:6552
  McCOlL
  SITE
  GROUP       215 East Orangethorpe Avenue, Suite 304, Fullerton, California 92632 (714) 665-7391

Mr. John Blevins
October 31, 1991
Page 2


you submit the enclosed document to the McColl administrative
record with the February Report.

                                                         Very truly yours,


                                                         William J. Duchie
WJD:pla
Enclosures
cc: Mr. David B. Jones
         Mr. John Blevins
         Ms. Pamela Wieman
         Mr. Steve Linder
         Ms. Caroline Rudolph
         Mr. Steve Gaytan
         Mr. Barry Eaton
         Mr. David Bushey
         Mr. Kenneth Ritter
         Mr. Barry Brown
         Mr. Robert Wilson
         Larry Lawton, Esq.




  The McColl Site Group is composed of:                     Exhibit 46
                                                              6509
  Shell Oil Company, ARCO, Phillips Petroleum, Texaco and UNOCAL
Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 325 of 449 Page ID
90-336A                            #:6553




  RESPONSES TO EPA QUESTIONS
 REGARDING TAR DEFINITION AND
       EMISSION CONTROL
           UNDER THE
        FEBRUARY 12, 1991
    SELECTIVE EXCAVATION,
      TREATMENT AND RCRA
 EQUIVALENT CLOSURE APPROACH




                              October 23, 1991




                                                 ENVIRONMENTAL SOLUTIONS, INC.

                                   Exhibit 46
                                     6510
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                                   #:6554



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 5.0 WHAT IS THE BASIS FOR THE 5,000 TO 10,000 CUBIC YARD             5-1
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                                   Exhibit 46
                                     6511                    ENVIRONMENTAL SOLUTIONS
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                                                                                            1-1

                                 1.0 INTRODUCTION
    The purpose of this paper is to respond to the following questions which have been raised by
    the EPA regarding the identification and treatment of tarry material for the remedy
    recommended in the February 12,1991, report titled Selective Excavation, Treatment and
    RCRA Equivalent Closure (Selective Excavation) for the McColl Superfund site:
         How are tarry zones of interest defined?
         How will tarry zones of interest be located?
         What is the basis for the 5,000 to 10,000 cubic yard tar volume estimate?
         What is the basis for the assumed solidification and excavation quantities?
         What is the impact of tar which may not be detected?
         How reliable will the emissions control shroud be?
     These questions are addressed in Sections 3.0 to 8.0 of this paper. Section 2.0 summarizes
     the basic engineering philosophy for remediating the tar as part of the proposed Selective
     Excavation remedy.




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          2.0 BASIC PHILOSOPHY FOR REMEDIATING THE TAR

 1.   The Selective Excavation plan for locating, treating, and excavating the tar has been developed
      to reliably eliminate the potential for:
      •    The tar to cause future seep or deformation problems.
      •    Health and safety risks to workers or the public during remediation.

      Highly reliable redundant procedures for each element of the remedy are provided to assure
      success of this plan. Each procedure alone would be sufficient to provide a completely
      adequate solution. When combined, the redundant procedures result in a solution for which
      the potential of failure is negligible.


 2.   Sections 3.0 through 8.0 discuss how this philosophy of redundancy is implemented through:
      •    The predesign investigation consisting of both in situ (cone penetrometer)
           and physical sampling (boring samples) techniques.
      •    The requirement for both solidification and selective excavation with
           controlled backfilling at existing and potential seep areas.
      •    Closure provisions which would preclude migration, even if small zones
           of undetected tar were not totally solidified and/or excavated.
      •    Remediation emissions control systems, which include both redundant
           procedures and controls, each of which alone would provide safety to
           workers and the public.

      The goal of the plan has been to develop a very reliable remediation program, using proven
      technologies, with a very low potential to be affected by any events which could conceivably
      occur during or after remediation.




                                                 Exhibit 46
                                                   6514                            ENVIRONMENTAL SOLUTIONS
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                                                                                                  3-1

        3.0 HOW ARE TARRY ZONES OF INTEREST DEFINED?

 1 . Data from boring logs (Radian, 1982; CH2M Hill, 1987; Ecology and Environment, Inc.,
     1991)^) and cone penetrometer tests (CPT) (Ecology and Environment, 1989) consistently
     show that the tarry material (tar) is located above the "asphaltic-cement-like" (asphaltic-cement)
     material. This condition is consistent with results of a recent analysis by Dr. Charles
     Satterfield of the reaction mechanisms occurring at the McColl site which have converted the
     original acid wastes to the present tar and asphaltic-cement. The analysis concludes that the
     asphaltic-cement material is expected to coalesce below the tar because of density differences
     between the materials (Satterfield, 1991). Dr. Satterfield also concludes that the reactions
     which transform the acid waste to asphaltic-cement and tar cannot be reversed under the
     conditions that exist at McColl, and that the asphaltic-cement material will not revert to tar over
     time (Satterfield, 1991). Wetter zones within the solidified asphaltic-cement material, possibly
     due to some tarry-like material remaining within the pore spaces, have been observed in some
     of the borings. These conditions do not represent zones of potential geotechnical instability
     because of the inherent strength of the competent asphaltic-cement material matrix.
     Additionally, because the reaction mechanisms are irreversible and continuing, these areas will
     not increase in size over time and will likely get smaller as the tar continues to convert to
     asphaltic-cement.

 2.   The tar does not exist at uniform thickness, or in all sump areas. Where tar does occur, it varies
      in thickness from inches to several feet. It is characterized as having the consistency of a
      roofing tar and is generally not fluid enough to flow like a liquid, but can deform and migrate
      when it is squeezed (e.g., existing seep conditions). The tar occurs: (1) within a zone of
      mixed tar and soil (or drilling mud) at the base of the overburden; (2) as lenses between the
      overburden and asphaltic-cement material; and/or (3) as lenses within the top, partially
      solidified, portion of the asphaltic-cement material. Collectively, this sequence where tar may
      exist is referred to as the "tarry zone of interest."

 3 . The thickest tarry zone which has been physically observed is about 4 feet in Sump L-4,
     based on both pre-excavation borings and observations during the 1990 trial excavation.
     Conclusions from CPT testing near the "Old Faithful" tar seep in Sump L-l (Ecology and
     Environment, Inc., 1989) indicate the existence of up to 5 feet of a soft, perhaps liquidy zone,
     which we interpret to include flowable tar. The log for only one (Boring No. 22, by Ecology
     and Environment, 1991) out of approximately 70 borings drilled into the sumps to date

 W See Appendix A for references.




                                                Exhibit 46
                                                  6515                             ENVIRONMENTAL SOLUTIONS
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                                         #:6559
                                                                              3-2


            indicate evidence of tar below the level of completely solidified asphaltic-cement material.
            This anomaly was confirmed to be an isolated condition when closely spaced adjacent borings
"           did not encounter tar within the surrounding asphaltic-cement material. The surrounding
            asphaltic-cement material, which is structurally sound, would prevent the potential for any
**          geotechnical instability or tar mobility.


_„_    4.   Table 3.1 summarizes how boring data interpreted to estimate the volume of tarry material in
            the various sumps for developing cost estimates and schedules for the Selective Excavation
            report. Appendix B includes the logs for several of the referenced borings to illustrate how
{^
            the data were interpreted.


**     5.   The Selective Excavation approach is founded on the premise that "significant" tarry zones of
            interest (i.e., zones with a thickness greater than 3 inches) should be treated to eliminate: (1) the
w           potential for future seeps to occur; and (2) ponding of rainwater on the RCRA equivalent
            closure cover due to settlement of soft areas. A combination of CPT and borehole sampling
            procedures (see Section 4.0) will be used during predesign to accurately locate tarry zones of
            interest, thereby allowing "significant zones" to be identified for treatment. The CPT testing
            program will be conducted on at least 10 foot centers in the direction that the cover will be
^^^         sloped. This criteria is based on the assumption that the settlement of any unsolidified lense at
            depth would cause a one-to-one displacement effect at the sump surface. A differential
«*          settlement of 3 inches in the vertical is not expected to have a significant impact on the integrity
—           of the cover over a horizontal distance of 10 feet or less (Figure 3.1). The 3-inch criterion can
~           be met given the accuracy of the CPT unit for tip resistance, which can be run to measure
__          variances within 1-inch increments.

m
       6. For purposes of the predesign testing program, any material with an unconfined shear strength
:_:         below 500 psf, which corresponds to a CPT tip resistance of 25 tsf (kg/cm2) or less will be
*           considered "tarry material of interest." The 500 psf criterion is considered conservative. In
~           order for a material to flow when squeezed^ a material must have a very low shear strength.
*           This type of material would have to be softer than "very soft" clay, which, according to
            commonly used soil classifications has an unconfined shear strength less than about 250 psf
_           (Table 3.2).




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                                                                                                                                                                                                                                                                                                3-3
                                                                                                                                                                TABLE 3.1

                                                                       BORING AND SEEP INTERPRETATION TO ESTIMATE SOLIDIFICATION AND EXCAVATION REQUIREMENTS

                                                                                        BORING DATA                                                                                             EVALUATION OF DATA                         QUANTITIES FOR COST ESTIMATING

                                                                                                                                                                                      EVIDENCE OF                 ESTIMATED   ESTIMATED              CASE 1             CASE 2
 SUMP                                                SAMPLE                                                                                                                             DRILLING    EVIDENCE OF    NUMBER      MATERIAL       INDIVIDUAL      INDIVIDUAL
                BORING           LOCATION             DEPTH                                                           BORING LOGO                                                     MUD OR VERY       TAR           OF       REQUIRING      SEEP ZONES      SEEP ZONES     TARRY ZONES
                                                       (Feet)                                                                                                                          SOFT SOILS                  SEEPS<2>   TREATMENT          TO BE           TO BE          TO BE
                                                                                                                                                                                                                                (BCY)(3)      EXCAVATED       EXCAVATED      EXCAVATED^)

  L-l          LO-WA-02      Approximate Center       5.0 - 7.0    Soil grading at 6.0 ft. to Black, tar like, hard, dry to moist.                                                        Yes           Yes          11          4,300                 11         (5)               6
                                                                                                                                                                                                                                                ii
                                                     10.0 - 12.0   Silty sandy clay grading at 10.5 to waste, black, asphaltic, dry to moist.
  L-2          LO-WA-01      Approximate Center       5.0 - 7.0    Bottom of liner 2 waste, coal like structure, solid, black, moist, rubbery.                                            No            Yes          2           2,300                 2          2                 -
  L-3          LO-WA-03         20 ft. West of       10.0 - 12.0   Bottom of liner 2 waste, coal like consistency, black, moist.                                                          No            Yes                      3,300
                                    Center           15.0 - 16.5   Waste or chemically altered claystone, black and brown, plastic, moist.
                                                     20.0-21.5     Waste, coal like consistency, solid, soft, black liquid on surface of sample, wet.
               LO-WA-04      25 ft. East of Center   10.0 - 12.0   Soil mixed grading at 10.5 ft. to waste, black, asphaltic, dry to moist.
      L-4      LO-WA-05        West of Center        15.0 - 17.0   Waste, tar-like, black moist to sticky last 6 inches: waste, black silty clay, moist.                                  Yes           Yes          9           2,800                 9          (5)               5
                              (Excavation Area)      20.0 - 22.0   Waste, black, asphaltic, material moist to sticky.
               LO-WA-06        South of Center        5.0 - 7.0    Interlayered clay and waste — waste coal-like consistency, solid, black.
                                                     10.0 - 12.0   Waste with clay, coal-like consistency, black, solid, dry.
      L-5      LO-WA-07        North of Center       10.0 - 12.0   Bottom liner 2, waste, crystalline, asphaltic -like material, black.                                                   No            No
               LO-WA-08         East of Center        5.0 - 7.0    Sandy clay fine to medium ~ plastic, brown, moist, areas of black asphaltic material.
                                                     10.0 - 12.0   Waste mixed with sandy clay. Waste, hard coal-like consistency.
      L-6      LO-WA-09         SW of Center         10.0 - 12.0   Bottom liner 2 waste coal-like structure, solid, black, dry.                                                           No            Yes           1          1,100                 1           1
               LO-WA-10          NE of Center        10.0 - 12.0   Bottom 4 inches: waste, black charcoal-like material.
                                                     15.0 - 16.5   Top 8 inches clayey silt with fine sand, dark brown with black staining, bottom 10 inches, waste, asphaltic like
                                                                   material, black.
      R-l      RA-WA-01       20 ft. NE of Center     5.0 - 7.0    Clay? Trace fine sand (drilling mud?) Green brown streaks of black, wet (consistency of axle grease).                  Yes           Yes          11          8,400                 11         (5)               7
                                                     10.0 - 12.0   Clay? Trace fine sand (drilling mud?) Green brown streaks of black, wet (consistency of axle grease).
                                                     15.0 - 17.0   16 ft. grading to clay, wet, with pockets of waste, black, tar-like. At 17.0 ft: Waste, asphaltic material,
                                                                   black, moist to wet.
      R-2      RA-WA-02             Center           10.0 - 12.0   Drilling mud last 6 inches, waste, coal like structure, black, wet.                                                    Yes           Yes          4           4,100                 4          (5)               3
                                                     15.0 - 16.0   Waste, solid, granular, black, dry, hard, white deposits.
      R-3      RA-WA-03          South Center         1.0-3.0      Silty clay (layer of waste, black, tarry material at 1.5 ft - seep?)                                                   Yes           Yes          9           1,500                 9          9
                                                      5.0 - 7.0    Waste, black, asphaltic material, moist.
               RA-WA-04          North Center         1.0-3.0      Silty clay, moist-wet with pockets of waste, black tarry material (seep?)
                                                      5.0 - 7.0    Waste, black asphaltic material moist-wet.
      R-4      RA-WA-05          NE of Center         1.0-3.0      Bottom liners clay, very plastic, black to dark brown, wet, probably drilling mud.                                     Yes           Yes          4           2,100                 4          (5)               3
                                                      5.0 - 7.0    Drilling mud, shoe, waste granular, black, solid, hard.
               RA-WA-06         SW of Center          1.0 - 3.0    Clay, highly plastic, black to dark grey, wet, probably dehydrated drilling mud.
                                                      5.0 - 5.5    Waste, granular, solid, black, dry, specs of white material.
      R-5      RA-WA-07       20 ft SW of Center      5.0 - 7.0    Sand with clay in shoe.                                                                                                No            No           -             -                   -          -                 -
                                                     10.0- 11.0    Waste, granular, black, solid, dry, white specs.
      R-6      RA-WA-08       20 ft. SW of Center    10.0 - 12.0   Clay mixed with silty clay with some pockets of waste (black asphaltic) at 1 1 .5 ft. grading to waste, black          No            No
                                                                   asphaltic, dry-moist.
               RA-WA-09                               5.0 - 7.0    Top 2 clay, plastic, brown, dry, bottom 2 waste, solid, dry, coal-like consistency.
W     CH2M Hill boring log description (CH2M Hill, 1987).                                                                                                                                                                                                               90-336A( 10/19/91/mg)
(2)   Refer to overlay to Figure 1.3 in Selective Excavation remedy (MSG, 1991).
@)    Assumed distribution of treatment for estimating purposes. Quantity and distribution will be revised based upon actual requirements as determined by predesign activities.
(4)   Volume assumed per excavation 550 Bank Cubic Yards (BCY).
@)    Seeps would be excavated with the tarry zones.




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             3" MAXIMUM              -RCRA-EQUIVALENT COVER SURFACE
                                      SLOPES AT 5% TO DRAIN
             DIFFERENTIAL
             SETTLEMENT
                                                                            NOTE: FINAL GRADE AFTER MAXIMUM
                                                                                  POTENTIAL DIFFERENTIAL
  6" PROVIDED                                                                     SETTLEMENT STILL HAS SLOPE
FOR DRAINAGE                                                                      TO DRAIN
        SLOPE




                                                               10'




                                                                                           FIGURE 3.1

                                                                              ILLUSTRATION OF THE IMPACT OF
                                                                              3" DIFFERENTIAL SETTLEMENT ON
                                                                                      DRAINAGE SLOPE
                                                                                          McCOLL SITE
                                                             NOT TO SCALE     ENVIRONMENTAL SOLUTIONS, INC.
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                                            TABLE 3.2

                     STANDARD CLAY CLASSIFICATIONS^

         UNCONFINED                        UNCONFINED SHEAR
     COMPRESSIVE STRENGTH                      STRENGTH                       CONSISTENCY
             (psf)                                (psf)

                   <500                                <250                     Very Soft


               500 to 1,000                        250 to 500                      Soft


              1,000 to 2,000                      500 to 1,000                   Medium


             2,000 to 4,000                      1,000 to 2,000                    Stiff


             4,000 to 8,000                      2,000 to 4,000                 Very Stiff


                  >8,000                              >4,000                       Hard

                                                                              90-336A (10/10/91/dls)
    (1) Adapted from Table 7.4 of Lambe and Whitman's Soil Mechanics (1969)




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 7.   Based on the above discussions, the following criteria have been established for eliminating
      significant tarry zones of interest which have the potential to cause future geotechnical or seep
      problems:
      • Materials above the asphaltic-cement material at all existing tar seeps will
           be solidified. After solidification, these areas will be excavated down to
           the asphaltic-cement material and backfilled, if the excavation can be
           safely accomplished (see MSG, 1991, for discussion of "safe"
           excavation).
      • Materials away from seep areas with an undrained shear strength of less
           than 500 psf (cone tip resistance below 25 tsf) and greater than 3 inches in
           thickness will also be solidified. These zones will also be excavated if
          post-solidification tests show that the 25 tsf cone tip resistance criteria is
           not met, and the work can be done safely (see MSG, 1991, for discussion
           of "safe" excavation).
      • The maximum spacing of samplings to locate soft lenses will not exceed
           10 feet in the direction of planned cover slope.




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    4.0 HOW WILL TARRY ZONES OF INTEREST BE LOCATED?

  1 . In situ CPT tests, coupled with physical sampling at borings, will be used to locate tarry zones
      of interest and identifying the "significant" zones. This technique, which has been used by
      geotechnical engineers for several decades to identify differences in properties of subsurface
      materials, is illustrated in Appendix C. The appendix also presents an example predesign
      testing program for the McColl site.


 2 . The CPT technique has already been used at the McColl site to evaluate a small area in
      Sump L-l, near the "Old Faithful" tar seep. That work was done as part of an EPA Technical
      Assistance Team (TAT) program to determine possible interim solutions for controlling tar
      seeps (Ecology and Environment, Inc., 1989). The test locations and results are shown in
      Figures 4. 1 and 4.2, respectively. The soft zone in Figure 4.2 represents a volume of about
      60 cubic yards covering an area of about 600 square feet, adjacent to the "Old Faithful" seep.
      An important conclusion from the TAT study was:
           "The cone penetrometer gave a subsurface picture of the pits around
           'Old Faithful.' It delineated relative soft and hard areas of waste;
           approximately 4 to 6 feet of clay cap on top, 0 to 5 feet of a soft perhaps
           liquid section, very hard area directly below that and then average
           hardness to the bottom of the cone hole."

      This interpretation conforms with the sump profile expected in an area with a thick tarry zone
      of interest; the top layer is the overburden, the "soft, perhaps liquid" zone is the tarry zone of
      interest; and the underlying "very hard area" zone is the competent asphaltic-cement-like
      (asphaltic-cement) material. The material of "average hardness" at the bottom of CPT tests
      seems to correspond to natural soil beneath the sump. The TAT program did not include
      companion sample borings near CPT locations as is proposed for the Selective Excavation
      predesign program to calibrate tip and skin friction ratios to physical sample observations and
      laboratory tests.


 3 . A key recommendation from the TAT report is:
           "To better delineate the soft spots within the pit, an expanded cone
           penetrometer and an undisturbed sampling survey should be incorporated.
           This will improve the determination of the position, volume, and
           geotechnical properties of the plastic constituent. "

      This recommendation is consistent with the predesign investigation program.




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                                                                                                         _ E-LO-G-2
                                                                                                    <$>
                                                                                                    E-LO-T-2




       1477X7                    1477*46    14773*1




                        •     CONE MOLE
                       $      MWLL HOLE




•cotogy and •nvfcOMMnt. tnc
                                                                                            FIGURE 4.1
                                               CLOSE UP OF McCOLL CONE DATA
                                                                                CONE PENETROMETER PROGRAM
                                                                                                                      N>
                                                       Exhibit 46                IN "OLD FAITHFUL" SEEP AREA
                                                         6522
                                                                                I!     I     1
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                                                                                LEGEND
                                                                                    BOUNDARYOFSUMP
                                                                                    CPT LOCATION WITH DETECTED "SOFT
                                                                                    ZONE" THICKNESS IN FEET
                                                                                    THICKNESS OF "SOFT ZONE" IN FEET




                                                                                                           FIGURE 4.2

                                                                                             APPROXIMATE THICKNESS OF
                                                                                                    "SOFT ZONE"
                                                                                            IN "OLD FAITHFUL" SEEP AREA
                                                        12                24 FEET
                                                                                                          McCOLL SITE
SOURCE: ECOLOGY AND ENVIRONMENT, INC., 1989.           SCALE                             ENVIRONMENTAL SOLUTIONS, INC.
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*     „    4.   Table 4.1 provides an initial interpretation of the range of CPT results from the TAT program
                for various sump materials and site soils. The ranges include only data from the CPT tests
""              results included and identified in the TAT report.

«•         5.   The testing program for the Selective Excavation remedy will include an extensive initial
                calibration program during which continuously sampled borings will be drilled immediately
_,              adjacent to cone penetrometer tests. Table 4.2 provides estimates of CPT values which will
                be used to differentiate sump materials based on comparisons to the TAT testing results and
                estimated material properties. The tip resistance and skin friction ratio parameters show that:
                •    CPT results for tar and drilling mud are likely to have tip resistances
                     below 10 and 15 tsf, respectively. A conservative value of 25 tsf as the
__                   tip resistance has been selected for determining when solidification will
*•                   occur. Use of the 25 tsf criterion will assure that even mixed soils with a
                     high percentage of tar are identified and solidified if appropriate.
                • Values for clean (unmixed) overburden materials will vary greatly
"                     depending on the type of material (e.g., clay or sand) and its relative
                     degree of compaction. This is not a key parameter, however, since the
                     overburden consistently exhibits adequate geotechnical properties.
""              • The tip resistance for the tarry zone of interest (see Chapter 3.0) will vary
                     from below 10 tsf where "pure" tar is encountered to as much as 100 tsf
                     at lenses of relatively clean soil or hard portions of the top partially
••^                  solidified asphaltic-cement material. The investigation within this zone
                     will use closely spaced (e.g., 1 to 2 inches) tip resistance test increments
                     to assure that even very thin lenses of tar are identified.
*»              • The tip resistance of the asphaltic-cement varies from 100 to greater than
                     500 tsf. These values compare to very stiff or dense soils potentially with
                     some cementation, consistent with the high structural competence of this
g|                   material.
__              Figures 4.3 and 4.4 illustrate example CPT logs from the TAT Program. Figure 4.5 illustrates
M               how these types of CPT tip resistance and the skin friction ratio data will be used to differentiate
                the waste materials. Refinements to these parameters will occur during instrument calibration.

           6.   Table 4.2 also includes conductivity as a potentially important CPT parameter, because this
_               characteristic may be helpful in differentiating between tar and drilling mud in Sumps R-l, -2
                and -4. Conductivity is increasingly being used together with CPT tip and friction resistance
                measurements to characterize sites where subsurface chemistry is an issue. The estimated
"•"             conductivity values shown in the table are based on experience from other sites and anticipated
                properties of the tar. This parameter will also be refined as part of the initial calibration
H               program.




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                                                                                                                                                                                                 4-5
                                                                                      TABLE 4.1
                          CPT DATA, 1989 ECOLOGY AND ENVIRONMENT, INC. REPORT
                                          McCOLL SUPERFUND SITE
                                                                                                            MATERIAL
                                                                              ZONE OF INTEREST                                                                 UNDERLYING SOILS
   CPT             PARA-         OVERBURDEN                                                    UPPER ASPHALTIC.                  ASPHALTIC-
  MAP NO.         METERS             AND                  MIXED SOIL                  TAR          CEMENT-LIKE                  CEMENT-LIKE                 SAND                    CLAY
                                  MIXED SOU.                                                       MATERIAL IN                   MATERIAL
                                                                                               ZONE OF INTEREST
                                Depth        CPT        Depth        CPT       Depth      CPT  Depth       CPT                  Depth      CPT        Depth        CPT       Depth     CPT
                                (feel)       Data       (feet)       Data      (feet)     Data  (feet)     Data                 (feet)     Data       (feet)       Data      (feet)    Data
       1           TRd)
                   SFR<2>
       2             TR
                     SFR
       3             TR
                     SFR
       4             TR
                     SFR                                         MAP LOCATIONS INDEX DOES NOT AGREE WITH SOUNDING IDENTIFICATION NUMBER
       5              TR
                     SFR
       6              TR
                     SFR
       7              TR
                     SFR
       8              TR
                     SFR
       9              TR
                     SFR                                                                                                                                _
       10             TR        0-1.0       35-78       1.5-4.5      12-27      5.0-6.0    5-10      6.5-7.0          50-60    7.5-8.0    211-323                  NT          -           NT
                     SFR                   1.5-5.7                  3.8-6.4
                                                                       _          _       4.9-6.3
                                                                                             _                       3.1-9.9              6.2-6 6       _
       11             TR        0-5.0       29-56         -           _                      _       5.5-6.5         44-62     7.0-10.5   144-546                  NT          -           NT
                     SFR                   3.2-7.4                    _                      _          _            2.2-3.5
                                                                                                                        _                 0.4-4.6
       12             TR           -       46-150         -                       -                                            6.5-8.0    237-339       -          NT          -           NT
                     SFR                   1.2-4.9                                           _                                             1.8-5.4                             _
       13             TR        0-2.5      99-158      3.0-5.5       37-77        -                  6.0-7.0          48-79    7.5-8.0    231-264       -          NT                      NT
                     SFR                   1.5-3.5                  2.0-6.2                                          4.1-7.4                4.5
       14             TR        0-8.0       22-79         -           -           -          -          -              -       9.5-10.5   308-389       -          NT          -           NT
                                           00)0)
                     SFR                   1.2-10.6                                                                                       4.0-5.6
       15             TR        0-0.5         32        1.0-3.0      12-17     3.5-4.0     8-10      4.5-6.5          23-71      7.0        400         -          NT           -          NT
                     SFR                      1.8                   5.0-6.5               4.0-7.6                    2.1-8.1                4.8
       16             TR
                     SFR                                                                       NOTWTTHINSUMPL-1 AREA
       17             TR        0-0.5      I7.5W        1.0-7.5      10-99        -          -   8.0-11.0 153O 66-95 11.0-21.0             100-439   21.5-29.5    92434         -          -
                     SFR                    6.03                   3.2-7.39                         _      1.0- 1.7P)                     0.8-17.2               0.7-24(3)
       18             TR         0-11      81-202         -           -           -          -                  -     115-16.0            319-606       -          NT           -          NT
                     SFR                   0.9-3.4
       19             TR
                     SFR                                  _           _           _          _ NOT WITHIN
                                                                                                    _     SUMP L-l AREA                                 _                      _
       20             TR        0-100       26-249                                                                               10.5       202                    NT                      NT
                     SFR                   0.6-10.8                                                                                         4.7
       21             TR
                     SFR                                       MAP LOCATIONS_INDEX DOES
                                                                                     _ NOT _AGREE WITH_ SOUNDING IDENTIFICATION NUMBER
                                                                                                                                    _                                          _
       22             TR        0-1.0       2045        1.5-5.5    12-47                                        6.0-8.5  101-499                                   NT                      NT
                     SFR                   4.3-7.3                3.3-7.3            _                  -
                                                                                                        _                1.3-8.4    _                                          _
       23             TR        0-1.5       25-74      2.0-7.5     11-80     -                -                 8.0-9.0 219-291                                    NT                      NT
                     SFR                   1.8-4.0               2.6-10.2            -                  -                5.0-7.0
       24             TR        0-8.0      35-176         8.5      18.2      -       -    9.0-10.0    30-88       10.5     238      -                              NT          -           NT
                     SFR                   1.2-5.7                  1.0              -              0.7-1.0<
                                                                                                        _ )
                                                                                                             3
                                                                                                                           0.7
       25             TR        0-6.0      54-149          -         -       -       -        -                 6 5-7.0  117-453    -                              NT          -           NT
                     SFR                   0.6-4.7                   -               -        -         -                3.5-7.1
       26             TR        0-1.5       26-60      2.0-2.5     10-14  3.0-3.5   5-9    4.0-6.0     14-60    6.5-9.5  111-494    -                              NT          -           NT
                     SFR                   1.7-4.9         _      5.9-6.3
                                                                     _       _    4.0-6.5
                                                                                     _        _         _
                                                                                                    1.8-4.9<3)           0.9-4.9                                               _
       27             TR        0-9.0       53-94                                    _                  _      9.5-13.0  113-728    -                              NT                      NT
                     SFR                   1.3-10.4                  -                                                   0.7-1.7
       28             TR        0-1.0       28-47      1.5-10.0    11-83     -       -    10.5-13.0 69-2920)   135-23.5 105-294 24.0-30.0                        81-279        -           NT
                                                                 (145)0)                                                (95.4)W
                     SFR                   0.4-1.5               0.6-12.4            -               2.2-4.7             0.5-3.5                                 05-2.8
       29             TR        0-13.0      25-224         -         -       -       -        -         -       135-23   114-646 235-30                          76-258                    NT
                     SFR                   1.2-11.2                  -               -                  -                0.5-2.5                                 0.6-1.8
       30             TR        0-65        33-70          -         -       -       -
                                                                                     _        -         -
                                                                                                        _      7.0-18.0  81-432
                     SFR                   2.7-10.7                  -                                                   0.4-3.6                                   NT                      NT
       31             TR
                     SFR                                         MAP LOC ATIONS INDEXDOES NOT AGREE WITH SOUNDING IDENTIFICATION NUMBER
Range                 TR                   20-250                  10-100            <I8             10-100              >IOO           >75                                           20-250
Interpretation       SFR                  Variable                 Variable           >4               >2              Variable         <1.S                                           >1.5
                                             (5)
                                                                                                                                                                          90-336A (10/19^1/mg)
- = No material delected.
NT= Not tested. Cone did not penetrate beyond asphaltic-cement-like material.
O Tip resistance (tons per square foot).
(2) Skin friction ratio (96).
(3) Possible anomaly. Example (1) high tip resistance rock at point of contact, (2) low tip resistance small void.
(4) Ranges of cone tip resistance and skin friction ratio do not correlate directly to each other.
(5) Variability depends upon soil content




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                                                   TABLE 4.2

                                ESTIMATES OF CPT CRITERIA
                               FOR McCOLL SUMP MATERIALS

                                                                             PARAMETER
                  MATERIAL                            Tip Resistance          Friction Ratio          Conductivity
                                                     (ton/square feet)              (%)                (m ohms)

  Clayey Overburden                                      20 to 250                >1.5(D             1,000 - 5,000
  Sandy Overburden                                           >75                   <1.5              1,000-5,000
 Drilling Mud                                                <15                    >2               1,000-5,000
  Zone of Interest
   • Mixed Tar and Soil                                   10 to 100                  (2)           20,000 - 50,000
   • Tar                                                    <10                     >4                 0-200
   • Tar in Top of Asphaltic-Cement Like                  10 to 100                 >2             20,000 - 50,000
     Material
 Hardest Asphaltic Cement-Like Material                     >100                     (3)                 0-200
 Natural Sandy Soil                                          >75                   <1.5                  > 1,000
 Natural Clayey Soil                                     20 to 250                >1.5(D                 > 1,000
                                                                                                 90-336A (10/21/91/dls)
     Soil friction rate varies with sand content.
     Material friction ratio dependent on sand or clay soils percentage in zone.
     Asphaltic-cement-like material friction ratio variable, possibly due to moisture content and/or material strength.




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                                              FRICTION RATIO                                                       CONE RESISTANCE                         MATERIAL
                                                    (%)                                                                  (TSF)                               TYPE
                                    14   12   10 8      6 4               2       0        25   100               200           300      400        500

                                                                       ,-—•                                                                               OVERBURDEN

                                                      jl
                                                           /
                                                               .
                                                                              —    /fy^
                                                                                   r
                                                                                     \*                                                                    MIXED SOILS
                                                                                                                                                             AND TAR
                                                      /                           T^                                                                          TAR
                                                           •~~^
                                                                   I                  s/                                                              MIXED ASPHALTIC
                                                               <                                                                                        CEMENT-LIKE
                                                                                  1                                                                      MATERIAL
                                                                                                                                                          ANDTAH
                                                                       ^>         W
                                                                        <          1^^-"~—                     ---„
                                                                              ^                                                           i                ASPHALTIC
                                                                                                                                                          CEMENT-LIKE
                                                                                                      * —^-
                                                                                                       —^                                                  MATERIAL
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                                                                                                                                       FIGURE 4.3

                                                                                                                          SOUNDING NO. 100215 STRATIGRAPH
                                                                                                                                   JUNE 23, 1988
                                                                                                                           CONE PENETROMETER PROGRAM
                               REFERENCE: DATA FROM ECOLOGY AND ENVIRONMENT. INC ,                                                    McCOLL SITE
                                          MAY 8, 1989. DRAFT REPORT - McCOLL,
                                          FULLERTON. CALIFORNIA - SITE ASSESSMENT
                                                                                                                          ENVIRONMENTAL SOLUTIONS, INC.
                                                                                                          Exhibit 46
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d
                   FRICTION RATIO                           CONE RESISTANCE                         MATERIAL
                         (%)                                      (TSF)                               TYPE
         14   12   10 8      6  4   2   0   25             200           300     400         500




                                                                                                     MIXED
                                                                                                    DRILLING
                                                                                                     MUDS
                                                                                                    AND TAR




                                                                                                      MIXED
                                                                                                    ASPHALTIC
                                                                                                   CEMENT-LIKE
                                                                                                    MATERIAL
                                                                                                    AND TAR




                                                                               FIGURE 4.4

                                                                SOUNDING NO. LR3CPT STRATIGRAPH
                                                                          JUNE 24, 1988
                                                                  CONE PENETROMETER PROGRAM
     REFERENCE- DATA FROM ECOLOGY AND ENVIRONMENT, INC.,                       McCOLL SITE
                MAY 8, 1989. DRAFT REPORT - McCOLL,
                FULLERTON, CALIFORNIA - SITE ASSESSMENT
                                                                  ENVIRONMENTAL SOLUTIONS, INC.
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                                                      TAR AND
                                                     TAftAND
                                                      LIKE MA




                                   2          3          4         5          6
                            FRICTION RATIO, (SLEEVE FRICTION/CONE BEARING), %

                                                                          FIGURE 4.5

                                                              PRELIMINARY GUIDE FOR ESTIMATING
                                                                 McCOLL SITE MATERIAL TYPE
                                                                       FROM CPT DATA
                                                                         McCOLL SITE
SOURCE   GUIDELINES FOR CONE PENETRATION TEST, U S
         DEPARTMENT OF TRANSPORTATION, JULY 1978               ENVIRONMENTAL SOLUTIONS, INC.
                                                 Exhibit 46
                                                   6529
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          1000

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             4




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    13
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            10

             8

             6


             4




             2
                 ()         1           2          3          4         5          6       7
                                 FRICTION RATIO, (SLEEVE FRICTION/CONE BEARING), %

                                                                          FIGURE 4.5

                                                              PRELIMINARY GUIDE FOR ESTIMATING
                                                                 McCOLL SITE MATERIAL TYPE
                                                                       FROM CPT DATA
                                                                         McCOLL SITE
 SOURCE      GU IDELINES FOR CONE PENETRATION TEST. U S
             DE PARTMENT OF TRANSPORTATION, JULY 1978          ENVIRONMENTAL SOLUTIONS, INC.
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 7.   Hydrocarbon emissions, SO2 emissions, and/or pH measurements, also using CPT equipment,
      may be considered as secondary chemical parameters for differentiating materials. The benefit
      of using one or more of these parameters will be determined during the initial calibration testing
      program.


 8.   The four-phase CPT program illustrated in Appendix C was developed to estimate predesign
      costs for the Selective Excavation report. This example provides for approximately 1,700 to
      2,000 cone penetrometer sampling locations within the 12 sumps (an average of about 150 to
      170 locations per sump) which will be used to:
      •    Calibrate CPT results with continuously collected boring samples.
      •    Identify key sump boundaries.
      •    Identify significant tar and drilling mud.
      •    Statistically verify a high probability that tarry zones of interest are
           located.
      •    Define the lateral limits of tarry zones of interest.


 9.   At the unique "Old Faithful" seep, the planned program will result in about 50 CPT soundings
      on a 5 x 5-foot grid, and 5 to 10 continuously sampled borings to identify limits of the tarry
      zone of interest. This is about twice as much testing as that which was already successfully
      used during the TAT program (see Figure 4.2). For the predesign program, structural mats will
      be used to support the CPT vehicle at the softest areas to assure that these most important areas
      are also tested.




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      5.0    WHAT IS THE BASIS FOR THE 5,000 TO 10,000 CUBIC
                   YARD TAR VOLUME ESTIMATE?
 1.   The 5,900 cubic yard tar volume estimate provided in the Selective Excavation report is based
      on calculations of sump areas determined from a 1947 aerial photograph and tarry zone
      thicknesses interpreted from boring logs (Radian, 1982; CH2M Hill, 1987; Ecology and
      Environment, 1991). Based on this information, it is reasonable to assume that the actual
      volume is between 5,000 and 10,000 cubic yards.

 2. The sump areas at the level of the tarry zones of interest were estimated based on:
    • The areas of the top of the sumps determined from a 1947 aerial
        photograph, taken before overburden material was placed (see Figure 5.1).
    •    Side slopes for the sump walls determined from plotting intersection points
        for natural soil at borings near the sump edges. The average side slope is
        estimated to be 1:1.
    • The depth to the top of the asphaltic-cement material determined from the
        borings in each sump.

 3.   The boring logs (Radian, 1982; CH2M Hill, 1987; Ecology and Environment, 1991) showed
      that the tarry zone of interest is less than 1 foot, except for Sump L-4 where pre-trial
      excavation borings showed a tar thickness of up to 4 feet. Except for Sump L-4, an average
      thickness of 1 foot was assumed across the entire sump area, even where data indicated less tar.
      An average thickness of 4 feet was assumed for Sump L-4. The resulting 5,900 cubic yard tar
      volume estimate is shown in Table 5.1. The footnote to Table 5.1 shows that estimated
      volumes were included for Sumps R-5, R-6, and L-5 even though there are no seeps in these
      areas and boring logs for these sumps do not indicate the presence of tarry materials.

 4. For comparison purposes, the tar volume in Sump L-l was recently recalculated using data
    from the 1990 drilling program (see Figure 5.2) by Ecology and Environment (1991). This
    recalculation indicates 660 cubic yards in Sump L-l as compared to the Selective Excavation
    report estimate of 600 cubic yards. This comparison, within 10 percent, using data from a
    much more dense sampling provides additional justification for the 5,000 to 10,000 cubic yard
    tar volume estimate.




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                                   #:6577




                                          Id
                                          ffjr



                                                       FIGURE 5 1


                                                      SITE PLAN


              200         400 FEET
                                                       McCOLL SITE
             SCALE                                          " SOLUTIONS, INC.
                                     Exhibit 46
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                                              TABLE 5.1
                              SUMMARY
               TAR OF INTEREST VOLUMES AS DERIVED FOR
                    THE FEBRUARY 12, 1991 REPORT

                               VERTICAL                                                     ESTIMATED
       SUMP                   THICKNESS                            AREA                    TAR VOLUME
                                 (feet)                         (square feet)               (cubic yards)

         L-l                         1                           17,100                         600

         L-2                         1                           16,700                         600

         L-3                         1                           16,300                         600

         L-4                         4                            7,200                       1,100

         L-5                         1                            6,800                         300(D

         L-6                         1                            6,500                         200

        R-l                          1                           10,900                         400

        R-2                          1                            8,800                         300

        R-3                          1                           10,800                         400

        R-4                          1                            8,100                         300

        R-5                          1                           13,100                         500(D

        R-6                          1                           16,500                         600^

      TOTAL                          —                                 —                      5,900
                                                                                       90-336A (10/21/91/dls)

    Sumps L-5, R-5 and R-6 have no seep areas and borings at those sumps do not indicate
    significant tar.




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                         ISOPACH MAP OF TARRY MATERIAL THICKNESS (FT)




                                                                                                    May21.



                                                                                             FIGURE 5.2



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              6.0     WHAT IS THE BASIS OF THE ASSUMED SOLIDIFICATION
                             AND EXCAVATION QUANTITIES?

             1. For the Selective Excavation report, two solidification and excavation cases (Cases 1 and 2)
~   i
                were developed to provide a reasonable range of remediation schedule and cost estimates. The
"                 estimates were developed using models of sump conditions illustrated in Figures 6.1 and 6.2
                  and summarized in Table 6.1.

             2.   The minimum estimate (Case 1) is based on excavating material at each location where a tar
^-                seep is currently active or previously occurred Fifty-one seep locations were interpreted from
                  a November 1990 aerial photograph, supplemented by onsite observations. The locations of
                  the identified seeps are shown as an overlay to Figure 5.1.

             3. Figure 6.1 illustrates the model used to estimate excavation volumes for Case 1. The
m
                proposed technique will solidify any tarry zones in the vicinity of a seep and cut off potential
                seep pathways by excavating and backfilling an average 12- x 12-foot area (approximately
ip              150 square feet) at the level of the zone of interest underlying the seep. This redundant
                activity will eliminate both seep material and pathways for the other soft material to migrate to
s       .       the surface. In addition, a buffer zone at least 12 feet wide (horizontal) at the base of the
                excavation would be solidified around each area to eliminate the potential for tar to migrate into
S3
                the excavation. The extent of solidification will be even wider at anyJ areas where the tarry
                                                                                                            J


""              zone of interest is determined to be greater than 3-inches thick beyond the planned buffer
                zone.

             4.   Case 2 assumes that all seep areas plus any significant tarry zones of interest where adequate
Ig                solidification cannot be achieved will be excavated. Adequate solidification is defined as
                  material where post-solidification CPT tip resistance exceeds 25 tsf. The model used to
«                 calculate volumes for this case is shown in Figure 6.2. For development of this model, the
                  larger solidification and excavation areas will sometimes encompass one or more seeps. For
                  example, it is probable that the remediated zone around the"Old Faithful" seep will be fairly
*"                large (see Section 4.0 and Figure 4.2) completely encompassing all soft zones in this portion of
                  Sump L-l.
m




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                                                                                                   CPT PROBES @ 5' CENTERS
                                                                            12'EXCAVATION             SEEP
                                                                             BUFFER ZONE
                                                                                                            EXAMPLE      r- SEEP
                                                                                                            SEEP PATHS


                                OVERBURDEN SOILS


                                     MIXED SOILS

                                 ZONi OF INTEREST


                                                              3" MAX. (SEE NOTE 1)



                                           ASPHALTIC-CEMENT-LIKE MATERIAL
                                                                                                              TAR POCKET

                                                                                            NATIVE SOILS
                    LEGEND
                  KX\Xl MINIMUM ZONE OF SOLIDIFICATION
                  Y//A    ZONE OF EXCAVATION AND BACKFILL

                                                                                            NOTE
                                                                                            1. BEGIN 12 FOOT BUFFER ZONE FROM AREA
                                                                                               INTERPOLATED TO HAVE LESS THAN 3 INCHES
            SEEP AREA ASSUMPTIONS FOR QUANTITY CALCULATIONS:
                                                                                               OF TAR.
                 TAR POCKET PLAN SIZE CONTRIBUTING TO SEEP IS 150 SQUARE FEET
                 EXCAVATION SIDE SLOPES AT 0.5:1 (HORIZONTAL TO VERTICAL)
                 AVERAGE EXCAVATION DEPTH IS 12 FEET
                 EXCAVATED QUANTITY PER SEEP IS 80 BCY
                 SOLIDIFICATION AND EXCAVATION VOLUME INCREASE = 60% (BCY TO LCY)                               FIGURE 6.1
                                                                                                       MODEL FOR TYPICAL CASE 1
            BCY = BANK CUBIC YARDS
            LCY = LOOSE SOLIDIFIED CUBIC YARDS                                                        EXCAVATION CONFIGURATION
                                                                                                            AT TAR SEEPS
                                                                                                               McCOLL SITE
                                                                                                    ENVIRONMENTAL SOLUTIONS, INC.
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                                                        12'EXCAVATION           CPT PROBES @ 5' CENTERS                 12'EXCAVATION
                                                         BUFFER ZONE                                                     BUFFER ZONE




            OVERBURDEN SOILS




              ZONE OF INTEREST



                                                                  3"MAX. (SEE NOTE 1)                        TAR POCKET

                                                                  ASPHALTIC-CEMENT-LIKE MATERIAL

    i iVAV.Vp'.V.V.W.V.W.W.WAV.V    .V.'A%V.V.V.-.g.V.W.V.




             LEGEND

       k \ \ J MINIMUM ZONE OF SOLIDIFICATION
                                                                                                   NOTE
       \/ /J ZONE OF EXCAVATION AND BACKFILL
                                                                                                   1. BEGIN 12 FOOT BUFFER ZONE FROM AREA
                                                                                                      INTERPOLATED TO HAVE LESS THAN 3 INCHES
                                                                                                      OF TAR.
      TAR ASSUMPTIONS FOR QUANTITY CALCULATIONS:
      •   THICK TAR ZONE PLAN SIZE IS 600 SQUARE FEET
      •   EXCAVATION SIDE SLOPES AT 0.5:1 (HORIZONTAL TO VERTICAL)
      •   AVERAGE EXCAVATION DEPTH IS 12 FEET
      •   EXCAVATED QUANTITY PER TARRY SEEP IS 550 BCY
      •   SOLIDIFICATION AND EXCAVATION VOLUME INCREASE = 60% (BCY TO LCY)                                             FIGURE 6.2

                                                                                                            MODEL FOR TYPICAL CASE 2
      BCY = BANK CUBIC YARDS
                                                                                                           EXCAVATION CONFIGURATION
      LCY = LOOSE SOLIDIFIED CUBIC YARDS                                                                   AT TARRY ZONE OF INTEREST

                                                                                                                      McCOLL SITE
                                                                                                          ENVIRONMENTAL SOLUTIONS, INC.                        UJ
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                                                                               TABLE 6.1
                            SUMMARY OF ESTIMATED SELECTED EXCAVATION QUANTITIES

                                       BASIC SUMP DATA                             OVERALL AREA SOLIDIFIED               EXCAVATED VOLUME INCLUDING SWELL
                                                                                                                         FROM SOLIDIFICATION AND EXCAVATION
       SUMP                                                    ESTIMATED                              ESTIMATED
                      APPROXIMATE           ESTIMATED                                                                                ZONES OF
      NUMBER                                                    ZONES OF                               MATERIAL           SEEPS
                        SURFACE                SEEPS                               AREA (Ft2)                                        INTEREST          TOTAL
                                                                INTEREST                               REQUIRING         (TYPE 2
                          AREA                (TYPE 2                                                                                 (TYPE 3
                                                                 (TYPE 3                              TREATMENT          AREAS)
                          (Ft2)               AREAS)                                                                                  AREAS)
                                                                 AREAS)                                  (BCY)
      CASE 1
          L-l                20,500                11                   -            20,500               4,300            1,430           -            1,430
          L-2                18,300                 2                   -            18,300               2,300             260            -              260
          L-3                18,600                 -                   -            18,600               3,300               -            -                -
          L4                  9,300                 9                   -             9.300               2,800            1,170           -            1,170
          L-5                 7,500                 -                   -                  -                   -              -            -                -
          Lr6                 7,700                 1                   -              7,700              1,100             130            -              130
         R-1                 19,800                11                   -             19,800              8,400            1,430           -            1,430
         R-2                 13,400                 4                   -             13,400              4,100             520            -              520
         R-3                 12,200                 9                   -             12,200              1,500            1,170           -            1,170
         R-4                 10,200                 4                   -             10,200              2,100             520            -              520
         R-5                 14,500                 -                   -                  -                   -              -            -                -
         R-6                 18,700                 -                   -                  -                   -              -            -                -
      TOTALS                170,700                51                   -           130,000              29,900            6,630           -            6,630
      CASE 2
         L-l                 20,500                  -                  6            20,500               4,300              (1)        5,300           5,300
         L-2                 18,300                  2                  -            18,300               2,300             260            -              260
         L-3                 18,600                  -                  -            18,600               3,300               -            -                -
         L-4                  9,300                  -                  5             9,300               2,800              d)         4,400           4,400
         L-5                  7,500                  -                  -                  -                   -              -            -
                                                                        -                                                                  -                —
         L-6                  7,700                  1                                 7,700              1,100             130                           130
         R-1                 19,800                  -                  7             19,800              8,400              (D         6,200           6,200
         R-2                 13,400                  -                  3             13,400              4,100              (D         2,650           2,650
         R-3                 12,200                  9                  -             12.200              1,500            1,170           -            1,170
         R-4                 10,200                  -                  3             10,200              2,100              (D         2,650           2,650
         R-5                 14,500                  -                  -                  -                   -              -            -                -
         R-6                 18,700                  -                  -                  -                   -              -            -                -
      TOTALS                170,700                 12                 24           130,000              29,900            1,560       21,200          22,760
CA                                                                                                                                              90-336A (10/9/91/dh)
O     For Case 2, seep areas in Sumps L-l, L-4, R-1, R-2, and R-4 will be treated as part of larger zones of interest.



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 5.   The combination of single seep and larger area excavations considered for Case 2 are shown
      in Table 6.1. Based on boring data and the locations of tar seeps, it was assumed that
      excavation in Sumps L-2, L-6, and R-3 will only occur at isolated seep areas. At sumps with
      more closely spaced seeps (Sumps L-l, L-4, R-1, R-2, and R-4), the smaller (Case 1) areas
      will be combined into fewer, but larger excavation areas. No excavation is assumed for Sump
      L-3 where borings do not show any significant tarry zones of interest and there is no evidence
      of seeps.


 6. Post-solidification excavation for each of the tarry zones of interest solidified under Case 2,
    was estimated to extend over an average area of 600 square feet at the bottom of the
    excavation. A minimum 12-foot wide (horizontally) solidification buffer is also provided to
    prevent the inflow of tar during excavation. Table 6.1 summarizes excavation quantities
    estimated for Case 2.




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                    7.0   WHAT IS THE EFFECT OF TAR WHICH
                            MAY NOT BE DETECTED?

 1 . As discussed above, a primary remediation activity will be to solidify all significant tarry zones
     of interest, (i.e., those which have the potential to seep or to cause excessive differential
      settlement to the closure cover as discussed in Section 3.0). The planned predesign
      investigation program is directed toward providing a very high probability that these zones will
      be located.

 2.   Any tar which could potentially go undetected within the tarry zone of interest would be thin,
      isolated small lenses (e.g., less than 1 or 2 cubic yards in size) between the tight grid of CPT
      tests. Also, based on data from a single boring in Sump L-l (Reference Boring 22, Ecology
      and Environment, 1991), there hypothetically may be occurrences of tar within small vertical
      discontinuities in the asphaltic-cement-like material. Neither of these conditions will cause
      geotechnical instability or differential settlement condition which would distress the closure
      cover. In addition, the Selective Excavation plan incorporates redundant features which will
      prevent such conditions from causing any future surface seeps, even if tarry material
      theoretically were assumed to be able to migrate from their present location.

 3 . The designed cover (see Figure 7.1) includes several elements which preclude any potential
     for tar to migrate vertically to the surface. A composite layer of low permeability clay and
     geosynthetic liner, included to prevent inward migration of water, in and of itself would
     eliminate any vertical movement of tar. In addition, a geotextile filter fabric provided beneath
     the underlying emissions control gravel layer would not permit tar to migrate even to the level
     of the impermeable liner.

 4. Lateral migration of tar through the original sump berms has not historically been a problem.
    The lateral migration of any small amounts of undetected tar is not considered to be possible.
    Even so, cement bentonite cutoff walls will be provided around the perimeter of the sump
    areas and will serve as a redundant precaution against any such outward migration.

 5 . In summary, the redundant approach to the design provides very high reliability that tarry
     material will not create any short- or long-term site problems when the Selective Excavation
     remedy is completed. First and foremost, the plan is designed to eliminate all significant tar
     material with the potential to cause geotechnical instability or seep conditions. Redundant
     provisions are provided to counter migration, in the unlikely event small volumes of tar with
     mobility potential were to go undetected.


                                               Exhibit 46
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                                                                                                                           A'
                          400                                                                                               400
                                                UPPER RAMPARTS SUMP             LOWER RAMPARTS SUMP
                                   RCRA                 JBi5_               I   ^r      R-2      ,~__ I


                                   EQUIVALENT      K-
                          350      CAP                         -EXISTING              RANDOM FILL           -SLOPE          350
                     P
                     IU                                         SUMP SURFACE-         FOR SITE GRADING       STABILITY            LU
                     LU                                                                                                           LU
                                                                                                             IMPROVEMENT

                     O    300                                                                                               300 O

                                                                                                                                  LU
                                     PERIMETER                                                              CUT-OFF
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                          250        GAS CONTROL                                                            WALL            250
                                     WELL                                                                 PERIMETER
                                                                                                          GAS CONTROL
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        24" VEGETATIVE COVER

                   GEOTEXTILE

             GEONET DRAINAGE
                                                                                        REFER TO FIGURE 6.7 OF FEBRUARY 12,1991
                   GEOTEXTILE                                                           SELECTIVE EXCAVATION AND RCRA
          60 MIL HIGH DENSITY
                                                                                        EQUIVALENT CLOSURE REPORT.
         POLYETHYLENE(HOPE)
                                                                                                               FIGURE 7.1
      24" CLAY (1 X 10'7 CM/SEC)

                   GEOTEXTILE
                                                                                                  ILLUSTRATION OF RCRA
                                                                                                EQUIVALENT COVER CLOSURE
12" GRAVEL GAS COLLECTION                                                                               ELEMENTS
SYSTEM WITH PERFORATED PIPES
                                                                                                             McCOLL SITE
                   GEOTEXTILE
                                                                                              ENVIRONMENTAL SOLUTIONS, INC.
                                                            Exhibit 46
                                                              6543
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                                                                                                  8-1

                 8.0 HOW RELIABLE WILL THE EMISSIONS
                         CONTROL SHROUD BE?

     The Selective Excavation report provides that significant tarry zones of interest will be
     solidified in situ. Reliable control of emissions to protect workers or nearby residents is an
     important requirement for this solidification operation. Redundant safety precautions provided
     for in the design include:
     • Keeping the working area very small (e.g., one 6-foot diameter area at
           a time).
     •     Operating the solidification auger at its lowest rated rate.
     • Having a system which can be easily stopped at any time, with no
           exposed surface of tar or asphaltic-cement material.
     • Providing a degree of in situ neutralization of tar prior to its potential
           exposure.
     • Providing a proven, primary emission control shroud immediately
           surrounding the small in situ area.
     • Providing a completely separate secondary emission control enclosure in the
           event any significant emission were to escape from the primary shroud.

 2. Figure 8.1 (Figure 6.4 in the Selective Excavation report) shows the method planned to
    control emissions from the vicinity of the solidification auger. The shroud labeled "Primary
    Emissions Control Shroud" in the figure is similar to one successfully employed by Nova
    Terra^2) (Figures 8.2 to 8.4) for in situ remediation of soils at a site in San Pedro, California.
     The Nova Terra unit uses a single shroud enclosing dual augers. During operation, emissions
     migrate upward along the auger shaft and into the shroud for collection and subsequent
     treatment. The shroud employed by Nova Terra is 8 feet long, 5 feet wide and 5 feet high.
     Both routine operations monitoring and special tests conducted as part of the EPA SITE
     program (EPA, June 1990) show the single shroud to be very effective for containing the
     emissions. The special SITE program test results show that with an air flow of approximately
     600 cfm, and an average contaminant concentration of 496 ppm within the shroud,
     immediately adjacent, outside concentrations were maintained at 0.16 and 0.58 ppm levels.

     The design for the in situ solidification portion of the Selective Excavation remedy will be
     based on the conservative assumption that the highest allowable operating SO2 concentrations
     within the primary shroud will be 1,000 ppm. If for any reason the 1,000 ppm level would
     be reached, the operations would be modified (e.g., the solidification rate would be reduced
     and/or the neutralizing agents would be adjusted) to maintain conditions below this limit. The
     primary shroud will be a steel enclosure 8 feet long, 8 feet wide, and 15 feet high, operated



   Formerly Toxic Treatments (USA), Inc.

                                               Exhibit 46
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I
                                                      r-ROTARY PLATFORM
1



                                                                          SMALL DOZER

                                                                      SOLIDIFICATION
                                                                      AUGER
                                                                           A'



                                                                           REDUNDANT
                                                                           ENCLOSURE
                                                                           AIR CONTROL
                                                                           SHROUD

                                                                           EDGE OF
                                                                           SOLIDIFICATION

                                  LOCAL EMISSION
                                  CONTROL BLANKET -


                                                      PLAN



                                                                3' STROKE HYDRAULIC CYLINDER
                                                                ROTARY TABLE


                                                                      FLEXIBLE BOOT


                                                                      KELLY BAR



                                                                      PRIMARY EMISSIONS
                                                                      CONTROL SHROUD

                                                                      REDUNDANT
                                                                      ENCLOSURE

                                                                     EXCESS
                                                                     SOLIDIFICATION
                            •:'<'}''':'.'*.'.*.'
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              x's'xV   SOLIDIFIED
                              IED " vX'>X'JX-5
              sVsV      MATERIAL '



                   SOLIDIFIED
                   CONFIGURATION
                   FROM PRIOR PASS              SECTION A-A'

                                                                                FIGURE 8.1

                                                                 IN SITU TREATMENT AND
                                                                SOLIDIFICATION EQUIPMENT

                                                                                McCOLL SITE
                                                             ENVIRONMENTAL SOLUTIONS, INC.

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          Checking for emissions from treated area.




                                                               FIGURE 8.2
                                                       TOXIC TREATMENTS UNIT
                                         Exhibit 46
                                                            IN OPERATION
                                           6546
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                                                          FIGURE 8.3

                                   Exhibit 46
                                                 SHROUD BEING LOWERED
                                     6547             INTO PLACE
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                                                                            F9GURS 3.4
                                                                  MONITORING OF
                                   Exhibit 46
                                     6548                          AT SHROUD BOUNDARY
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      under a negative pressure with a ventilation rate of 1,000 cfm, equivalent to approximately one
      air change per minute. Under these conditions, the highest SO2 concentration immediately
      outside of the primary shroud will be less than 2 ppm above background based on control
      efficiencies demonstrated by Nova Terra. This control alone would preclude the potential of
      any health risk to workers or residents.

 4.   As a redundant safety measure, the primary shroud will be completely contained within a
      secondary enclosure (labeled "Redundant Enclosure" on Figure 8.1). The secondary
      enclosure will have an emissions control system separate from the primary shroud, sized at
      1,200 cfm to provide for four air changes per hour. Concentrations of SO2 leakage from the
      redundant system are expected to be less than 0.5 ppm above background, well below levels
      of concern even to workers in the immediate vicinity of the activities. Further, as a final
      control, an emissions control blanket will be deployed over the row of solidified holes as they
      are exposed, to collect any remaining emissions as the solidified mass cures.

 5.   The potential for an accident to occur which could result in the release of high SO2 concentrations
      is negligible. The primary shroud is a structural steel box which could not be significantly
      damaged by wind, earthquake or fire conditions. The redundant enclosure includes a structural
      steel frame. Its relatively small size makes the potential for its sudden failure to be very low
      (much less than for a single, larger enclosure above an open excavation). The redundancy of the
      system, coupled with the small area of exposure, will allow for rapid operation shutdown under
      any foreseeable accident scenarios.


 6.   Figure 8.5 (Figure 7.5 from the Selective Excavation report) shows that redundancy is also
      built into the design of the solidification operation air treatment system such that failure of
      any component will not compromise emissions control. The design provides for standby
      blowers, and a cross tie to assure continuous vacuum conditions. In addition, emergency
      power generators with automatic start and power transfer are included. In the event of a
      treatment equipment failure, the solidification operations would be curtailed until any problem
      is corrected, while the redundant systems continue to treat any small residual emissions.




                                               Exhibit 46
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                                                                                                                                                                                                            8-7
                                                       S-1 & S-2                             S-3                     B-1                    tl               C-1 & C-2         B-4
                                            PARTICULATE AND PRIMARY             SECONDARY SO2 SCRUBBERS         MAIN BLOWER         INCINERATOR         VANE DEMISTER      MAIN BLOWER     INCINERATOR
                                                 SO2 SCRUBBERS                                                    5,000 cfm           5,000 cfm      AND CONDENSATE TRAP    15,000 cfm       15,000 cfm
                                                     1,000 cfm                                                                    CONTAMINATED AIR n                                     CONTAMINATED AIR
cc
p




                                             1,000 cfm




                                            1,aOOcfm



     GROUND
       tOUND W
                    30 cfm
     BLANKET
       ANKET IL       °




                                             1,000 cfm


       AIR




                                             1,200 cfm
                                                                                                             CIRCULATING   CONDENSATE
                                                                                                                PUMP          TANK

     GROUND
        >UND    J
     BLANKET
        NKET    L    300 cfm




                                                ^_ 1,500 cfm   L.


               SOLIDIFICATION                                                                                                  EXCAVATION    CONDENSATE
                ENCLOSURE                                                                                                      ENCLOSURE        TANK




                                                                                                                                                                             AIR TREATMENT SYSTEM
                                 PUG MILL                                B-2    B-3
                                                                                                                                                                                 FLOW DIAGRAM
                                S-4                                               B-3                    S-5                                     T-1 & T-2
                    PUG MILL PARTICULATE             SOLIDIFICATION          EXCAVATION           DIESEL EXHAUST                        SCRUBBER CIRCULATING TANK
                                                                                                                                                                                     McCOLL SITE
                     AND SO2 SCRUBBER              ENCLOSURE BLOWER       ENCLOSURE BLOWER     PARTICULATE SCRUBBER
                          1,500 cfm                     5,000 cfm              5,000 cfm              1,000 cfm                                                          ENVIRONMENTAL SOLUTIONS, INC.

                                                                                                        Exhibit 46
                                                                                                          6550
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                                REFERENCES




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                                   #:6595
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                                              6552                           ENVIRONMENTAL SOLUTIONS
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                                 APPENDIX B
                                BORING LOGS




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                                 APPENDIX C

                EXAMPLE SUMP CONE PENETROMETER PROGRAM




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           EXAMPLE SUMP CONE PENETROMETER PROGRAM
                    McCOLL SUPERFUND SITE
 1. The following discussion describes the cone penetrometer test (CPT) system and an example
     survey program used to establish predesign cost estimates for the February 12 Selective
     Excavation, Treatment and RCRA Equivalent Closure report
     •   The CPT method is widely accepted within the technical community and its
         use is dictated by ASTM standard procedures. The basic CPT method is
         founded on the following straightforward concepts:
              More competent materials provide greater tip resistance to the penetration
              of a standard cone shaped rod being pushed into the subsurface.
              The ratio of skin friction on the side of a standard cylinder pushed into
              the subsurface to cone tip penetration resistance will be lowest for
              granular material and highest for cohesive materials.
         The equipment for the basic CPT test therefore consists of a cone tip and
         friction sleeve (Figure C.I) and mechanisms to measure the penetration
         resistance of both at the surface. Figure 4.5 illustrates the manner in which
         the CPT data is used to classify McColl sump material.
     •   Because the CPT method relies upon in situ measurements, without the actual
         collection of samples, it is necessary that the procedure for each specific site
         be calibrated against borings drilled to recover samples immediately adjacent
         to CPT test locations. The goals of the borings are to obtain samples for
         laboratory testing and to develop site-specific CPT interpretation curves
         similar to those shown for general material in Figure 4.5. The number of
         calibration (ground truthing) borings required varies from site to site
         depending on prior experience in the area and complexity of the subsurface
         conditions.
     •   During the past decade, CPT equipment developments have included
         procedures for measuring conductivity, pH and soil gas characteristics of the
         materials being penetrated, concurrent with the basic geotechnical data
         collection. These extensions to the basic technique have resulted primarily
         from environmental projects where information about subsurface chemistry is
         also important. At least conductivity, and possibly others of these special
         types of CPT measurements will be used to supplement the McColl site
         physical boring tests.
         The CPT interpretation estimates shown in Table 4.2 would be refined as an
         initial step in the predesign program, using a carefully planned initial
         calibration program. Initial calibration would consist of drilling continuously
         sampled borings immediately adjacent to CPT tests at each sump and in
         representative natural soil and sump boundary embankment areas. The
         specific boring locations would be determined to provide calibration for a
         variety of conditions observed from a number of randomly located CPT tests.
         Many additional confirmation borings would also be drilled during each phase
         of the subsurface characterization program.




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                   CONE PENETROMETER SYSTEM




                                                        MEASURED PARAMETERS
                                                        • TIP RESISTANCE

                                                        • FRICTION RESISTANCE

                                                        • RESISTIVITY

                                                        • pH

                                                        • GAS QUALITY



                                                                           FIGURE C.1
SOURCE: THE EARTH TECHNOLOGY CORPORATION
        CONE PENETROMETER TESTING
                                           Exhibit 46
                                             6558
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    An example four-phase program, illustrated in Figure C.2, provides an approach for determining
    the approximate effort planned to adequately characterize the materials lying above the hard
    asphaltic-cement-like materials at the bottom of the sumps.
    • Phase 1 - Correlation of Cone Penetrometer Logs with Borings
         The objective of Phase 1 is to provide detailed correlations between the cone
         penetrometer soundings, and physical characteristics and types of the
         materials encountered at immediately adjacent, continuously sampled borings.
         This is accomplished in the following manner:
              Three to five CPT soundings will be performed in each sump, and in two
              background areas outside of the sump boundaries.
              Two to three CPT soundings in each sump, which show some variation
              in the sounding log, will be selected for adjacent correlation borings.
              A boring with continuous sampling capabilities will be drilled within
              1 foot of each selected CPT sounding.
         The results of the CPT sounding logs and physical characterization and
         laboratory testing of physical samples will be evaluated and correlated to
         calibrate the CPT data.
    • Phase 2 - 40-Foot Grid with Infilling to Define Sump
         Boundaries
         A basic CPT sounding survey on a 40-foot by 40-foot grid will be conducted
         over the entire area of each sump. During this phase, infill soundings will be
         located to define important sump boundaries and the top of the adjacent
         asphaltic-cement-like material. Phase 2 procedures will include the following
         activities:
              CPT soundings on an overall 40-foot by 40-foot grid.
              Soundings between grid points at known or located sump boundaries,
              infilled at 10-foot increments toward the sump center until hard asphaltic-
              cement-like material is encountered.
              Drilling of adjacent confirmation borings at 5 to 10 percent of the
              soundings.
              Evaluation of the information and preparation of plan and section
              drawings for each sump showing approximate asphaltic-cement-like
              material boundary, original side slope locations, overburden and upper
              waste limits, and general soil conditions encountered outside of the sump
              boundaries at confirmation borings.
    • Phase 3 - 10- x 20-Foot Grid with Randomly Located Infill
         Soundings
         This phase is directed primarily toward locating zones within the sumps
         where greater than 3 inches of tar exists in the zone of interest above die
         asphaltic-cement-like material. It will also provide additional confirmation of
         the data interpretations made during Phase 2, and information required to
         complete the sump plan and section drawings in sufficient detail to plan the
         solidification operation. This phase will include the drilling of additional
         correlation borings at 5 to 10 percent of the CPT sounding locations.




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  Example Sump Cone Penetrometer Program




                                                                        Phase 2
  Cone/Continuous Sampling Calibration                 40-Foot Grid With Infill To Define Boundaries
    Cone Penetrometer (o), Boring (n)




             Phase 3                                                    Phase 4
          20-Feetx 10-Foot Grid                                 Special Area Study 5-Foot Grid




                                                  DO




                                         DO


                          Composite Of Four Phases

                                                                                  FIGURE C.2


                                         Exhibit 46
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        Areas with more than 3 inches of tar will be investigated in greater detail
        during Phase 4 of the program. For those areas where significant tar is not
        encountered, additional randomly located, and intermediately spaced
        soundings will be made to provide a high probability that all soft zones of
        interest have been detected. Determination of the number and locations for the
        random soundings will be determined applying EPA guidelines for using
        statistical procedures to select sampling requirements.
        Phase 4 - Special Area Studies on a 5-Foot Grid
        The primary objective of Phase 4 will be to define the limits of areas
        determined to potentially have more than 3 inches of tar during Phase 3. The
        tighter grid will be used to prepare detailed plans of the configuration
        (including buffer zones) of each area where in situ solidification will be
        implemented. Correlation borings will also be conducted adjacent to
        approximately 5 percent of these closely spaced grid soundings.




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                                   Exhibit 46
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                                   #:6606




                                   Exhibit 46             R
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Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 379 of 449 Page ID
      IMF                          #:6607
        McCOLL
        Silt
        tillOUP          215 East Orangethorpe Avenue, Suite 304, Rillerton, California 92632 (714) 665-7391
                                                                November 1,

   Mr. John Blevins,
   U.S. Environmental Protection Agency,
   75 Hawthorne Street,
   San Francisco, CA                   94105

   Dear John;
   At our August 29, 1991 EPA/MSG technical exchange at Baldwin Park
   we talked about tar conversion mechanisms with our expert
   Professor Charles Satterfield of MIT.
   At one point during the dialogue EPA/ICF suggested that another
   mobile tar generation mechanism could be microbially driven.
   Could microorganisms use the asphalt as a hydrocarbon substrate,
   and in that process "liquify" the asphalt?
   We have further investigated this mechanism, once again drawing
   upon the facts we definitively know about McColl. I have
   consulted with both biochemical engineers and microbiologists at
   UNOCAL's Science and Technology Division in Brea. Our
   conclusions are as follows*
   •         Sulfur dioxide is not a known metabolic intermediate or end
             product of the oxidation or reduction of sulfur containing
             organic species. During our meeting a suggestion was made
             that a potential asphalt to tar microbially catalyzed
             reaction would also result in the release of sulfur dioxide.
             We believe this type of pathway is not scientifically
             proven.
   •          In general, microbes which could "liquify" asphalt or
             oxidize sulfur compounds are obligate aerobes (eg white rot
             fungus and Thiobacillusl. We can definitively state that
             the subsurface at the McColl site is strictly anaerobic.
             Therefore aerobic microbes could not exist at McColl and
             catalyse any asphalt to tar conversions.
   If you wish to discuss the microbial route further please do not
   hesitate to contact us.


   Ian A. Webster                                               Lori E. Patras
   Manager                                                      Bioremediation Specialist
   Superfund Technical Response                                 Environmental Technology Group
                                                               •Unocal Science and Technology
                                                                   Division
                                                                Brea, California




                                                        Exhibit 46
       Th* McCoU SIM Croup l» eompo««<J of
       Jbdl Oil Company, ARCO, PWlllp* Petroleum. Tcx*co «Ad 6564
                                                             UNOCAL •-
Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 380 of 449 Page ID
                                   #:6608



                       215 East Orangethorpe Venue, Suite 304, Fullerton, California 92632 CM 665-~391



                                           November 18, 1991



  Ms. Pamela Wieman
  Project Manager
  U.S. EPA, Region IX
  75 Hawthorne Street
  San Francisco, California                     94105
                  Re:      McColl Superfund Site, Fullerton. California
  Dear Pam:
           On October 23, 1991, McColl Site Group ("MSG")
  representatives visited the McColl Site. During the visit, the
  following observations were made which we would like to mention
  to you:
           1. Depression Areas. There are four depressed areas on
  the Site which have the potential for ponding during a
  rainstorm. Those areas, which lie in Sumps L-4, R-1, R-2 and
  R-4, are noted on Figure 1 attached. We recommend that these
  depressed surface areas be graded before the rainy season to
  reduce the possibility of ponding.
           2. Vapor Well. At the request of the community, MSG
  representatives observed the area around well P2D in an effort to
  locate a vapor extraction/gas monitoring well purported to be in
  the vicinity. We did not find such a well. We would appreciate
  it if you could provide us with any information you have
  regarding the existence and location of such a well or its date
  of closure.
            We have enclosed the pictures taken by our
  representatives  during the
      resentatives UULIIKJ I.HC visit.
                                vj.»o.v.. Thank
                                          AUO. you again for allowing
  our representatives to visit the Site.
                                                   Very truly yours,


                                                   William J. Duchie

  WJDthpl
  Enclosures




                                                   Exhibit 46
    The Mcfoll "MIC Group is composed of             6565
Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 381 of 449 Page ID
                                   #:6609
      THE
      McCOLL
      SITE
      GROUP            215 East Orangethorpe Venue Suite 3CM Fullenon California 92632 ("I-*) 665 ~391

   Ms. Pamela Wieman
   November 18, 1991
   Page 2



   cc:    Mr. David B. Jones (w/o enclosure)
          Mr, John Blevins (w/o enclosure)
          Mr. Steve Linder (w/o enclosure)
          Ms. Caroline Rudolph (w/o enclosure)
          Mr. Steve Gaytan (w/o enclosure)
          Mr. Barry Eaton (w/o enclosure)
          Mr. David Bushey (w/o enclosure)
          Mr. Kenneth Ritter (w/o enclosure)
          Mr. Barry Brown (w/o enclosure)
          Mr. Robert Wilson (w/o enclosure)
          Larry Lawton, Esq. (w/o enclosure)




     The McColl Site Group is composed of             Exhibit 46
     Mid'Oiir ""-M-n M?(~O Phillip* Petroleum Tcxaio and6566
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Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 382 of 449 Page ID
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                                                                                       FIGURE 1


             DEPRESSION AREA                                                    SITE FIELD MAP SHOWING
             (POSSIBLE PONDING AREA)                                               DEPRESSION AREAS

                                                                                      McCOLL SITE
                                                                      ENVIRONMENTAL SOLUTIONS, INC.
                                            Exhibit 46
                                              6567
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                                                   PHOTO VIEWPOINT LOCATIONS


                                                            McCOLL S TE
                                   Exhibit 46
                                     6568       ENVIRONMENTAL SOLUTIONS, INC
Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 384 of 449 Page ID
                                   #:6612


                             PHOTOGRAPH DESCRIPTIONS



             Viewpoint
    Figure   . tku                               Description

      3         1          Foreground shews location of Well P2D. Background
                           shows area of seep excavation around Sump L-4.

      4         2           Excavation crew at Rampart sumps.

      5         3           Excavation at Old Faithful seep.

      6         4           Excavated seep material being dumped on liner.

      7         5           Surface seep at edge of Sump R-2.

      7         6           Surface seep at edge of Sump L-l.

      8         7           Old Faithful seep at southwestern corner of Sump L-l.

      8         8           Surface seep at Sump L-4.

      9         9           Surface seep near Sump L-4.

      9        10           Hand excavation of seep near Sump L-4.

     10        11          Backhoe excavation of seep near Sump L-4.

     10        12          Excavated tar from seep near Sump L-4.

     11        13          Soil cover being placed over seep area.

     11        14          Staining and surface seep near recently drilled boring
                           in Sump R-2.

     12        15          Sampling of surface seep in Sump R-1.

     12        16          Surface seep sample with litmus paper showing pH
                           reading.

     13        17          View of barrels storage yard.

     13        18           Illustration of materials from July 1991 boring
                            investigation.




                                    Exhibit 46
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                                   f
Case 2:91-cv-00589-CJC Document 677-17
                                   \    Filed 07/10/20 Page 385 of 449 Page ID
                                   #:6613
                                                                                      00-33M/MEMO 10/26*1




                                 Vkwpoint 1




                                                                          FIGURES


                                                                     OCTOBER 23,1991

                                                                        McCOLL SITE

                                    Exhibit 46
                                                           ENVIRONMENTAL SOLUTIONS, INC.
                                      6570
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                                            #:6614
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                                         Viewpoint 2




                                                                                  FIGURE 4

                                                                         SITE VISIT PHOTOGRAPHS
                                                                             OCTO8ER23,1991

                                                                                McCOLL SiTE
                                            Exhibit 46             ENVIRONMENTAL SOLUTIONS, INC.
                                              6571
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                                   #:6615
                                                                                     90-336A/MEMO 10/28/91




                                Viewpoint 3




                                                                        FIGURE 5

                                                               SITE VISIT PHOTOGRAPHS
                                                                   OCTOBER 23,1991

                                                                       McCOLL SITE

                                   Exhibit 46            ENVIRONMENTAL SOLUTIONS, INC.
                                     6572
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                                                                                     90-336A/MEMO 10/26/91




                               Viewpoint 4




                                                                         FIGURE 6

                                                               SITE VISIT PHOTOGRAPHS
                                                                   OCTOBER 23,1991

                                                                       McCOLL SITE

                                   Exhibit 46            ENVIRONMENTAL SOLUTIONS, INC.
                                     6573
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                                   #:6617




                                     Viewpoint 5




                                    Viewpoint 6


                                                           FIGURE 7

                                                    SITE VISIT PHOTOGRAPHS
                                                        OCTOBER 23,1991

                                                          McCOLL SITE
                                   Exhibit 46
                                     6574       ENVIRONMENTAL SOLUTIONS, INC.
                                 __^«.W.X.H.X.X«'H^^



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                                       #:6618




                                             Viewpoint 7




V




                                             Viewpoint 8



                                                                      FIGURES

                                                               SSTE VISIT PHOTOGRAPHS
                                                                   OCTOBER 23,1991

                                                                     McCOLL SITE
                                              Exhibit 46
                                                6575
                                                           ENVIRONMENTAL SOLUTIONS, INC.
Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 391 of 449 Page ID
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                                   Viewpoint 9




                                   Viewpoint 10



                                                           FIGURE 9

                                                    SITE VISIT PHOTOGRAPHS
                                                        OCTOBER 23,1991

                                                          McCOLL SITE
                                   Exhibit 46   ENVIRONMENTAL SOLUTIONS, INC.
                                     6576
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                                   #:6620




                                   Viewpoint 11




                                   Viewpoint 12



                                                           FIGURE 10

                                                    SITE VISIT PHOTOGRAPHS
                                                        OCTOBER 23,1991

                                                          McCOLL SITE
                                   Exhibit 46   ENVIRONMENTAL SOLUTIONS, INC.
                                     6577
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                                   #:6621




                                   Viewpoint 13




                                   Viewpoint 14



                                                           FIGURE 11

                                                    SITE VISIT PHOTOGRAPHS
                                                        OCTOBER 23,1991

                                                          McCOLL SITE
                                   Exhibit 46
                                     6578
                                                ENVIRONMENTAL SOLUTIONS, INC.
Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 394 of 449 Page ID
                                   #:6622




                                    Viewpoint 15




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                                    Viewpoint 16


                                                                          FIGURE 12

                                                           SITE VISIT PHOTOGRAPHS
                                                               OCTOBER 23,1991

                                                                      McCOLL SITE
                                   Exhibit 46    ENVIRONMENTAL SOLUTIONS, INC.
                                     6579
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                                   #:6623




                                   Viewpoint 17




                                   Viewpoint 18


                                                           FIGURE 13

                                                    SITE VISIT PHOTOGRAPHS
                                                        OCTOBER 23,1991

                                                          McCOLL SITE
                                   Exhibit 46
                                     6580       ENVIRONMENTAL SOLUTIONS, INC.
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                                   #:6624




                                   Exhibit 46
                                     6581
Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 397 of 449 Page ID
                                            #:6625
      THE
      McCOLL
      SITE
      GROUP      215 East Orangethorpe Avenue, Suite 304, Fullerton, California 92632 (714) 665-"391




                                                 November 20, 1991




     Mr. David B. Jones
     U.S. EPA, Region IX
     75 Hawthorne Street
     San Francisco, California                       94105
                    Re:      McColl Superfund Site. Fullerton. California
    Dear Dave:
             During our October 21, 1991, meeting, John Zannos and I
    expressed the McColl Site Group's ("MSG") concerns with the EPA's
    continued pursuit of excavation and on-site incineration as a
    remedial approach for McColl. As we have stated previously, we
    believe information gathered over the past ten years has shown
    this alternative to be ineffective, unimplementable and not
    cost-effective.
             As you requested, we are providing an analysis to show
    how the EPA Guidance for Conducting Remedial Investigations and
    Feasibility Studies Under CERCLA, EPA/540/G-89/004 (the "Rl/FS
    Guidance") allows screening of excavation and on-site
    incineration from the process. The purpose of the screening
    process "is to reduce the number of alternatives that will
    undergo a more thorough and extensive analysis . . . ." (Rl/FS
    Guidance, 4-23). We, therefore, believe excavation and on-site
    incineration should be screened out of the remedy selection
    process in accordance with the NCP and the Rl/FS Guidance. A
    screening of the excavation and on-site incineration alternative
    at this time will allow resources to be directed to the
    implementable solutions.
             The EPA has indicated the agency is reluctant to screen
    excavation and incineration out of the process because this
    remedy is a "total treatment" remedy. The Rl/FS Guidance
    specifically provides that "[ijt is not a requirement that the
    entire range of alternatives originally developed be preserved if
    all alternatives in a portion of the range do not represent




                                                         Exhibit 46
     The McColl Site Group Is composed at                  6582
     Shell Oil Company ARCO Phillips Petroleum. Texaco and UNOCAL »•
      Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 398 of 449 Page ID
                                         #:6626
             THE
            McCOLL
            SITE
            GROUP
           ^^^^^^^           215 East
                                        Orangethorpe Avenue, Suite 304, Fullenon, California 92632 (714) 665-"391



          Mr. David B. Jones
          November 20, 1991
          Page 2



         distinct viable options." (Rl/FS Guidance, 4-26). The Rl/FS
         Guidance further provides that "[t]he target number of
         alternatives to be carried through screening should be set by the
         project manager and the lead agency on a site-spegjf ;«; basis "
         (Rl/FS Guidance, 4-26 (emphasis added)), we believe the data
         collected during the past ten years at McColl and the fact the
         site is located in a residential area in the South Coast Air
         Basin, demonstrate that treatment of all of the waste is not
         practical and that excavation and incineration is not workable at
         McColl.
                  The Rl/FS Guidance provides that the evaluation
         conducted during the screening phase.should be "sufficiently
         detailed to distinguish among alternatives." (Rl/FS Guidance,
         4-23). All of the information collected over the past ten years,
         including the La Jolla trial burn, the 1990 trial excavation and
         other testing, provides the level of detail necessary to screen
>-"      the excavation and incineration alternative out of the process.
         Further experience has repeatedly shown that a hazardous waste
         incinerator will not be built in the South Coast Air Quality
         Management District ("SCAQMD").
                  The EPA has also stated it is reluctant to screen
         alternatives from the process now in the event information would
         later be discovered which indicates the alternative is viable,
         while we believe this has an extremely low probability, the Rl/FS
         Guidance specifically addresses this concern. It provides that
         "[ujnselected alternatives may be reconsidered at a later step in
         the detailed analysis . . . if information is developed that
         identifies an additional advantage not previously apparent."
         (Rl/FS Guidance, 4-26).
                  The MSG has more site specific concerns and logic as to
         why excavation and on-site incineration does not satisfy the
         three screening criteria and thus should be screened out of the
         process, early in the Feasibility Study preparation. We have set
         forth our analysis in an attachment to this letter. As you will
         see, we believe:
                         •        Excavation and on-site incineration will not bq
                                  effective in protecting human health and the
                                  environment nor in achieving reductions in
Y /                               toxicity, mobility or volume. Implementation risks


                                                              Exhibit 46
          The McCoU Site Group Is composed ot                    6583
          Shell Oil Company ARCO Phillips Petroleum, Texaco and UNOCAL »«
Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 399 of 449 Page ID
                                            #:6627
       THE
       McCOLL
       SITE
       GROUP      215 East Orangethorpe Avenue, Suite 304, Fullenon, California 92632 ("14) 665-"391




      Mr. David B. Jones
      November 20, 1991
      Page 3



                               posed to workers and the community, including S02
                               emissions generated during excavation and heat
                               stress to workers, are a serious concern with
                               excavation and on-site incineration. The EPA's own
                               Thermal Destruction Analysis Report indicates it is
                               questionable whether the incinerator will meet
                               particulate standards and it is doubtful a mobile
                               incinerator will meet SOX and NOX standards, thus
                               being out of compliance with ARARs. The
                               implementation risks associated with this
                               alternative are more risky than 10~°. The effect
                               of this alternative will be to transfer many of the
                               compounds of concern from one media to another.
                               This alternative will increase the volume of
                               material at the Site by a factor of more than
                               three.
                               Excavation and on-site incineration is not
                               imp lamentable at McColl. Excavation to depths of
                               40 or more feet and incineration of the type of
                               volume of McColl wastes have not been proven within
                               65 feet of residences. An assembly of containment
                               equipment will be necessary to control emissions.
                               These containment structures will need to be
                               repositioned around the site. No working model
                               exists for many of the components needed for the
                               system. Moreover, multiple incineration systems,
                               with associated control systems, will be required
                               to manage the emissions from the respective
                               containment structures. Finally, on-site
                               incineration within a residential neighborhood is
                               not administratively feasible in the South Coast
                               Air Basin as it will not be able to meet the
                               SCAQMD's strict air quality requirements. Impacted
                               McColl residents and adjacent communities have made
                               it clear they will resist on-site incineration with
                               its associated emissions, odors, noise and traffic.
                               Excavation and on-site incineration is not a cost
                               effective alternative for McColl. This alternative
                               will be three to five times more costly than other
                               alternatives providing an equivalent or greater
                               level of protection. By EPA's own numbers, cost



       The McColl Site Group is composed of:
                                                          Exhibit 46
       Shell Oil Company. ARCO Phillips Petroleum, Texaco and L"NOCAL »•
                                                          6584
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                                             #:6628
     THE
     McCOLL
     SITE
     GROUP      215 East Orangethorpe Avenue, Suite 304, Fullenon, California 92632 ("14) 665-~391




    Mr. David B. Jones
    November 20, 1991
    Page 4


                              estimates for this alternative now range from $212
                              to $399 million. As you know, we believe, and
                              experience at numerous Superfund sites has shown,
                              that costs of an incinerator are consistently
                              underestimated. We believe the costs will be even
                              higher as the process design is modified to deal
                              with the specified characteristics of the McColl
                              waste, operating this close to a residential
                              district and within the confines of the SCAQMD.
                              Potentially toxic emission levels, associated PPE
                              requirements and other factors will lead to
                              excavation rates radically lower than those
                              anticipated by the EPA, thereby significantly
                              extending the schedule and the cost of this
                              alternative. When you balance this with the risk 6
                              range we are dealing with at McColl (i .e.. 2 x. 10~
                              with a one foot cover), and the fact this
                              alternative will increase short term risks by
                              generating SO2 levels that are above Immediately
                              Dangerous to Life or Health levels, it is
                              undefensible.
             If the cuts which need to be made are made now, not only
    will the process be considerably shortened, but a technically
    feasible remediation can begin within the next two and one-half
    years. We have attached the relevant pages from the Rl/FS
    Guidance for your convenience. We would be happy to discuss our
    analysis further.
                                                           Very truly yours,


                                                            William J.
   WJD:ceb
   Enclosures




     The McColl Site Group is composed o£                  Exhibit 46
                                                              6585
     Shell Oil Company. ARCO. Phillips Petroleum, Texaco and UNOCAL   »-
Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 401 of 449 Page ID
      THE                                    #:6629
      McCOLL
      SITE
      GROUP      215 East Orangethorpe Avenue, Suite 304, Fullenon, California 92632 ("14) 665-"391




    Mr. David B. Jones
    November 20, 1991
    Page 5



    cc:     Greg Ritter, Esq.
            Mr. John Blevins
            Ms. Pamela Wieman
            Mr. Steve Linder
            Ms. Caroline Rudolph
            Mr. Steve Gaytan
            Mr. David Bushey
            Mr. Kenneth Ritter
            Ms. Lydia Goldshmidt
            Mr. Barry Brown
            Larry Lawton, Esq.




     The McColl Site Group Is composed of.
                                                         Exhibit
     Shell Oil Company ARCO Phillips Petroleum. Texaco and UNOCAL46 »«
                                                          6586
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                                   #:6630



        I.        EFFECTIVENESS.

            "Alternatives that do not provide adequate protection of
   human health and the environment shall be eliminated from further
   consideration." 40 C.F.R. § 300.430(e)(7)(i).
            Excavation and incineration will not be effective in
   protecting the health and safety of workers and the community
   during implementation. Implementation  risks associated with this
   option are more risky than 10~6. Based on results from the 1990
   trial excavation, excavation of the waste will take 16 to 21
   years to accomplish. As stated in our comments on the 1990 trial
   excavation:
                  •      Full-scale excavation will generate sulfur dioxide
                         levels that are above Immediately Dangerous to Life
                         or Health ("IDLH") levels. Emissions of S02 and
                         other potentially toxic substances through
                         excavation and incineration pose potentially
                         serious and conceivably fatal health risks to
                         workers and the surrounding community.
                  •       Heat stress to workers wearing personal protective
                          equipment ("PPE") within the excavation enclosure
                          is a major concern. Due to this heat stress and
                          the time required for associated health monitoring,
                          the length of time a worker in modified Level B or
                          Level A could work in the excavation enclosure is
                          no more than 15 minutes per hour when ambient
                          temperatures exceed 70 degrees F.
                 •        Full-scale excavation and pug mill and
                          incinerator(s) operation will result in noise
                          pollution, toxic emissions (S02 and THC) and odor
                          pollution (thiophene) in the surrounding community.
   Additionally, with respect to the incineration component of the
   process, the ICF Thermal Destruction Analysis Report indicates it
   is questionable as to whether the incinerator will meet
   particulate standards and it is doubtful a mobile incinerator
   will meet SOX and NOX standards, thus being out of compliance
   with ARARs and not being protective of public health and the
   environment.
            The effect of excavating and incinerating the McColl
   waste is basically to transfer the compounds of concern from the
   tarry or asphaltic cement material to the air, scrubber sludge
   (for the sulfur compounds) or to activated carbon (for the
   volatile compounds), while at the same time posing great risks to
   worker and community health and to the environment.



                                       ATTACHMENT A
                                            -1-

   1 345/2PLA/S7694-002/1 1 -20-        Exhibit 46
                                          6587
Case 2:91-cv-00589-CJC Document 677-17 Filed 07/10/20 Page 403 of 449 Page ID
                                   #:6631



            The purpose of excavation and on-site incineration is to
   ultimately reduce the toxicity of the S02 and THC contained
  within the waste. The tent proposed for excavation will not
   however, assure capture of all the gases during the excavation
  process. If, as stated in the EPA's Start Program Special
   Investigation dated May, 1991 authored by SAIC, the volume of SO->
   is 14-17% by weight of the material to be excavated, and if the
  enclosure is 98% effective in controlling the emissions (an
  optimistic assumption), over 200 tons of fugitive SO? will escape
  the tent during the course of the excavation and impinge on the
  local community. This is in addition to the amount of S02 that
  would escape the incinerator(s) and scrubber system. The EPA, in
  its NSPS document for resource recovery facilities, indicates
  spray dryers, will, at best, remove only 90% of the S02. At this
  efficiency level, over 1000 tons of S02 could escape the
  incinerator/emissions control system. The incinerator/emissions
  control system is untested on McColl wastes and the efficiency
  and destruction removal efficiencies ("DRE") assumptions
  currently projected by the EPA are overly optimistic. While the
  individual components may reach the levels of control and
  operational capabilities under optimal conditions, it is seldom
  the case that these levels are achieved and maintained over long
  periods of time for the less than ideal conditions found in the
  field.
           Although at this time it is difficult to determine
  whether ash is hazardous, if it is, there will be a considerable
  volume increase. The May 1991 SAIC Report states that the waste
  will have to be blended with non-sulfur containing material at an
  approximate 2:1 ratio to dilute the sulfur content. This will
  approximately triple the volume to be incinerated. In addition,
  there will be a substantial volume of scrubber sludge to be
  disposed. At this time, it is not known if the ash or sludge
  will test hazardous. If so, disposal will be further complicated,
           Excavation and incineration may minimize residual risk
  to the community after the 16 to 21 year excavation and
  incineration period. However, we question whether this
  alternative could ever be implemented given the inability of the
  process to protect human health and environment during
  implementation.
     II.        IMPLEMENTABILITY.
           "Alternatives that are technically or administratively
  infeasible or that would require equipment, specialists or
  facilities that are not available within a reasonable period of
  time may be eliminated from further consideration."
  40 C.F.R. S 300.430(e)(7)(ii).




                                      ATTACHMENT A
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            Excavation and onsite incineration is not a technically
   feasible alternative for McColl. The feasibility of excavating
   to depths of 40 or more feet within 65 feet of residences has not
   been demonstrated. The enclosure needed to conduct a full-scale
   excavation will either need to be larger than any such enclosure
   utilized to date or, alternatively, the enclosure will have to be
   moved multiple times for excavation of some of the sumps, a
   process which has not been proven. The specialized equipment
   required for excavation, emission control and treatment is not
   readily available. The debris within the sumps would more than
   likely slow the excavation rates and would have to be separately
   handled during the treatment process, further lengthening the
   time for this alternative. In order to control emissions, all
   excavation, milling, and blending operations will have to be
   performed within containment structures. No working model exists
   for many components of the system. Multiple incineration
   systems, with associated control systems, will be required to
   manage the emissions from the respective containment structures.
   The air treatment system used during the trial excavation was not
   effective and therefore could not be scaled up for full scale
   excavation and treatment. Significant delays during
   implementation are highly likely due to high emission rates and
   excavation difficulties.
            Furthermore, it has not been shown that an incinerator
   will be successful in handling the type and volume of McColl
   wastes. The need to blend the excavated material with dilution
   material will extend the operation period. Intermittent use of
   the incinerator equipment will add to the stress on the
   equipment, especially on the thermally-stressed refractory. As
   the length of the project is extended during repair periods,
   other materials with working life designed to meet the original
   schedule will require replacement as well. This is especially a
   concern with the containment barrier materials exposed to
   internal and external stress.
            Onsite incineration is also not administratively
   feasible within a residential community in the South Coast Air
   Basin. An onsite incinerator will not be able to meet the strict
   requirements of the SCAQMD. As stated on page ES-12 of the
   Thermal Destruction Analysis Report, "Compliance with SCAQMD
   particulate emission standards may be difficult to achieve." We
   concur with this statement. The report further states sulfur
   oxides and nitrogen oxides should be controllable. This
   presupposes the incinerator will achieve a high degree of
   treatment (>99.99\ ORE) and that the scrubbing systems
   consistently operate at very high efficiencies (95-99+% for
   scrubbers, 90+% for activated carbon). This is not realistic for
   McColl wastes, which are so highly variable in sulfur content and
   combustible materials. Emissions control associated with



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  excavation and blending will exacerbate the problem. Residents
  and adjacent communities have made it clear that they will resist
  on-site incineration with its associated emissions, odors, noise
  and traffic. We believe that this factor should be considered in
  determining the administrative implementability of this
  alternative in accordance with NCP Section 300.430(e)(7)(ii).
           The Rl/FS Guidance provides that "[t]he determination
  that an alternative is not technically feasible and is not
  available will usually preclude it from further consideration"
  (Rl/FS Guidance, 4-24) and further provides that "this type of
  'fatal flaw'" would typically have been identified during
  technology scrsening and the "infeasible alternative would not
  have been assembled." (Rl/FS Guidance, 4-24). Ten years of
  studies costing nearly 20 million dollars have demonstrated that
  excavation and on-site incineration is technically infeasible.
  It is time to move forward with the possible.
   III.        COST.
           "Costs that are grossly excessive compared to the
  overall effectiveness of alternatives may be considered . . . to
  eliminate alternatives." 40 C.F.R. S 300.430(e)(7)(iii).
           Excavation and incineration will be significantly more
 costly (three to five times) than the other alternatives
 providing a greater or an equivalent level of protection. Costs
 for an onsite incinerator have been grossly underestimated. In a
 paper dated October 21, 1991, the MSG illustrated the lower cost
 range for an onsite incinerator would be at least $260 to $330
 million. Additional requirements for air treatment to meet BACT
 and MACT within the SCAQMD would be expected to increase these
 costs significantly. The Thermal Destruction Analysis Report
 indicates the total cost of excavation and incineration is now
 estimated at $212 to $399 million. As you know, we believe the
 higher numbers are more realistic. Experience at numerous other
 Superfund sites has shown that costs of incineration are
 consistently underestimated. In addition, potentially toxic
 emission levels, associated PPE requirements and other factors,
 will lead to excavation rates radically lower than those
 anticipated by the EPA, thereby significantly extending the
 schedule and dramatically increasing the cost for full-scale
 excavation. Based on the Thermal Destruction Analysis Report and
 our own analysis, costs will increase approximately 20% per year
 for each year the project is extended. When you balance this
 with the risk range we are dealing with at McColl (i.e.. 2 x 10-6
 with a one foot cover) and the fact this alternative will
 increase volume, it is indefensible.




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                                                                                        Com*irvn«ni:    StMrtlkm.  Cap; aw         CW ColKdlon.
                                                                         NoQW           aw              Cap; QW    Coltoaioft,     Pf»lr«*l(T«m
                                                                         Centred        C«l*clton.      Coltctlen. PnMrMlmtm,      POTW
      Madium        Technology       A/««or                                             Pn>tr*«lm«nl.   PfMrtumtn. POTW
                    T/p«             Volume                                             POTW            POTW

       So*          Acc*ta           E/ius*
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                    (Forcing)
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* Th* « « conceptual (itmpM ufting t» •>impwofcMnoe«nlc'l»kfW)9M;now«v*r. ttg*n*<«, «*\«n MCU «/ttvilUfll* H)f w« ipc*r.



             *4.                      a range of altemttive «x«mp»««.

                                                                               technologies or remediation timeframes have not
  4.3 Alternatives Screening Process                                           been fully characterized (except for timeframes
                                                                               identified to develop ground-water action
  4.3.7     A/ternat/ves Definition                                            alternatives). Furthermore, interactions among media,
  Before beginning screening, alternatives have been                           which may influence remediation activities, have
  assembled primarily on medium-specific                                       usually not been fully determined, nor have sitewide
  considerations and implementability concerns.                                protectiveness requirements been addressed.
  Typically, few details of the individual process options                     Therefore, at this point in the process, such aspects
  have been identified, and the sizing requirements of                         of the alternatives may need to be further defined to



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  form the basis for evaluating and comparing the              underlying aquifer composed of unconsoNdated
  alternatives before their screen -g.                         materials. Using a model of transport processes at
  4.3.1.1   Specific Objective                                 the site, the effect of different soil removal actions on
                                                               ground-water remediation (using a specified
   Alternatives are initially deve ^ad and assembled to        extraction scheme) could be estimated, in this
   meet a set of remedial action objectives for each           example, development of alternatives that consider
   medium of interest. During screening, the assembled         ground water actions independent of soil removal
   alternatives should be evaluated to ensure that they        (i.e.. the no-soil-removal scenario) could result m
   protect human health and the environment from each          underestimating the achievable remediation level or
  potential pathway of concern at the site or those            overestimating the time frame for ground-water
  areas of the site being addressed as part of an              remediation. This could result m an overestimate of
  operable unit. If more than, one pathway is present,         the extraction and treatment requirements for
  such as inhalation of airborne contaminants and              technology processes for ground water. By evaluating
  ingestion of contaminants in ground water, the overall       soil and ground water actions together, the rates and
  risk level to receptors should be evaluated. If it is        volumes of ground water extraction to achieve the
 found that an alternative is not fully protective, a          target remediation levels can be refined more
 reduction in exposure levels for one or more media            accurately.
 will need to be made to attain an acceptable risk
 level.                                                        After the alternatives have been refined with respect
                                                               to volumes of -edia, the technology process options
  In refining alternatives, it is important to note that       need to be c r.ed more fully with respect to their
 protectiveness is achieved by reducing exposures to           effectiveness, mplementaomty, and cost such that
  acceptable levels, but achieving these reductions in         differences among alternatives can be identified. The
 exposures may not always be possible by actually              following information should be developed, as
 cleaning up a specific medium to these same levels.           appropriate, for the various technology processes
 For example, protection of human health at a site may         used in an alternative:
 require that concentrations of contaminants in
                                                               •   Size and configuration of onsite extraction and
 drinking water be reduced to levels that could not
                                                                   treatment systems or containment structures -
 reasonably be achieved for the water supply aquifer;
                                                                   For media contaminated with several hazardous
 thus, protection could be provided by preventing
                                                                   substances, it may be necessary to first
 exposures with the use of a wellhead treatment
                                                                   determine which contaminant(s) impose the
 system. The critical selection of how risk reductions             greatest treatment requirements; then size or
 are to be achieved is part of the risk management                 configure accordingly. Similarly, for ground-
 decisionmakmg process.                                            water extraction technologies at sites with multiple
 4.3.1.2 Define Media and Process Option*                          ground-water contaminants, it may be necessary
                                                                   to evaluate which compounds impose the
 Alternatives should be defined to provide sufficient              greatest limits on extraction technologies, eitr '
 quantitative information to allow differentiation among           because of their chemical/physical characterise
 alternatives with respect to effectiveness,                       concentration, or distribution in ground water.
 Implementability, and cost. Parameters that often
 require additional refinement include the extent or           •   Time frame m which treatment, containment, or
 volume of contaminated material and the size of                   removal goals can be achieved - The remediation
 major technology and process options.                             time frame is often interdependent on the size of
                                                                   a treatment system or configuration of a ground-
Refinement of volumes or areas of contaminated                     water extraction system. The time frame may be
media is important at some sites at which ongoing                  determined on the basis of specific remediation
releases from tha source (or contaminated soils)                   goals (e.g., attaining ground-water remediation
significantly affect contaminant levels in other media             goals in 10 years), in which case the technology
(e.g., ground water) because such interactions may                 is sized and configured to achieve this; the time
not have been addressed when alternatives were                     frame may also be influenced by technological
initially developed by grouping medium-specific                    limitations (such as maximum size consideration,
response actions. If interactions among media appear               performance capabilities, and/or availability of
to be important at a site, the effect of source control            adequate treatment systems or disposal
actions on the remediation levels or time frames for               capacity).
other media should be evaluated.
                                                               •   Rates or flows of treatment - These will also
 Figure 4*7 provides an example of such an analysis                influence the sizing of technologies and time
 in whicn volatile organics in soil are migrating into an          frame within which remediation can be achieved.




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                                                          TIME IN YEARS

      Figure 4*7.   Tim* to achlave 10-* to 10* risk level for a single-contaminant for ground water cleanup under various soH
                    removal alternative*.

  •      Spatial requirements for constructing treatment or                  and other legal considerations. These may also
         containment technologies or for staging                             encompass some action-, location-, and
         construction materials or excavated soil or waste                   chemical-specific ARARs.

  •      Distances for disposal technologies - These
                                                                        4.3.2      Screening fve/uet/ort
         include approximate transport distances to                     Defined alternatives are evaluated against the short-
         acceptable offsite treatment and disposal facilities           and long-term aspects of three broad criteria:
         and distances for water pipelines for discharge to             effectiveness, impiementability, and cost. Because
         a receiving stream or a POTW.                                  the purpose of the screening evaluation is to reduce
                                                                        the number of alternatives that will undergo a more
  •       Required permits for offsite actions and imposed              thorough and extensive analysis, alternatives will be
         limitations - These include National Pollutant                 evaluated more generally in this phase than during
         Discharge Elimination System (NPOES),                          the detailed analysis. However, evaluations at this
         pretreatment. and emission control requirements;               time should be sufficiently detailed to distinguish
         coordination with local agencies and the public;               among alternatives. In addition, one should ensure



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  that the alternatives are being compared on an               includes operation, maintenance, replacement, and
  equivalent basis (i.e., definitions of treatment             monitoring of technical components of an alternative,
  alternatives are approximately at the same level of          if required, into the future after the remedial action is
  detail to allow preparation of comparable cost               complete. Administrative feasibility refers to the ability
  estimates).                                                  to obtain approvals from other offices and agencies,
                                                               the availability of treatment, storage, and disposal
  Initially, specific technologies or process options were     services and capacity, and the requirements for. and
  evaluated primarily on the basis of whether or not           availability of, specific equipment and technical
  they could meet a particular remedial action objective.      specialists.
  During alternative screening, the entire alternative is
  evaluated as to its effectiveness, implementability,         The determination that an alternative is not technically
  and cost.                                                    feasible and is not available will usually preclude it
                                                               from further consideration unless steps can be taken
   During the detailed analysis, the alternatives will be      to change the conditions responsible for the
  evaluated against nine specific criteria and their           determination. Typically, this type of "fatal flaw"
  individual factors rather than the general criteria used     would have been identified during technology
  in screening. Therefore, individuals conducting the FS       screening, and the infeasible alternative would not
  should be familiar with the nine criteria (see Section       have been assembled. Negative factors affecting
  6.2.2) at the time of screening to better understand         administrative feasibilit will normally involve
  the direction that the analysis will be taking. The          coordination steps to les -n the negative aspects of
  relationship between the screening criteria and the          the alternative but win not necessarily eliminate an
  nine evaluation criteria is conceptually illustrated in      alternative from consideration.
  Figure 4-8.

 It is also important to note that comparisons during          4.3.2.3   Cost Evaluation
 screening are usually made between similar                    Typically, alternatives will have been defined weif
 alternatives (the most promising of which is carried          enough before screening that some estimates of cost
 forward for further analysis); whereas, comparisons           are available for comparisons among alternatives.
 during the detailed analysis will differentiate across        However, because uncertainties associated with the
 the entire range of alternatives. The criteria used for       definition of alternatives often remain, it may not be
 screening are described in the following sections.            practicable to define the costs of alternatives with the
                                                               accuracy desired for the detailed analysis (i.e.. + 50
 4.3.2.1   Effectiveness Evaluation                            percent to -30 percent).
 A key aspect of the screening evaluation is the
 effectiveness of each alternative in protecting human         Absolute accuracy of cost estimates during screening
                                                               is not essential. The focus should be to make
 health and the environment. Each alternative should
                                                               comparative estimates for alternatives with relative
 be evaluated as to its effectiveness in providing
                                                               accuracy so that cost decisions among alteratives
 protection and the reductions m toxicity, mobility, or
                                                               will be sustained as the accura • of cost e -iates
 volume that it will achieve. Both short- and long-            improves beyond the screer -\g proces. The
 term components of effectiveness should be                    procedures used to develop cost estimates for
 evaluated: short-term referring to the construction           alternative screening are similar to those used for the
 and implementation period, and long-term referring
                                                               detailed analysis; the only differences would be in the
 to tne period after the remedial action is complete.          degree of alternative refinement and in the degree to
 Reduction of toxicity, mobility, or volume refers to          which cost components are developed.
 changes in one or more characteristics of the
 hazardous substances or contaminated media by the             Cost estimates for screening alternatives typically will
 use of treatment that decreases the inherent threats          be based on a variety of cost-estimating data. Bases
 or nsks associated with the hazardous material.               for screening cost estimates may include cost curves.
                                                               generic unit costs, vendor information, conventional
 4.3.2.2   Implementability Evaluation                         cost-estimating guides, and prior similar estimates
 Implementability, as a measure of both the technical          as modified by site-specific information.
 and administrative feasibility of constructing,
 operating, and maintaining a remedial action                  Prior estimates, site-cost experience, and good
 alternative, is used during screening to evaluate the         engineering judgments are needed to identify those
 combinations of process options with respect to               unique items in each alternative that will control these
 conditions at a specific site. Technical feasibility          comparative estimates. Cost estimates for items
 refers to the ability to construct, reliably operate, and     common to all alternatives or indirect c o s t s
 meet technology-specific regulations for process              (engineering, financial, supervision, outside contractor
 options until a remedial action is complete; it also          support, contingencies) do not normally warrant



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     SCREENING                                               NINE EVALUATION                            ROLE OF CRITERIA DURING
     CRITERIA                                                CRITERIA                                   REMEDY SELECTION



                                                              Overall Protection ol Human Health
                                                              and Environment

                                                                                                       Threshold- Factors
                                                             Compliance with ARARS




                                                              Long-term Effectiveness and Permananoa


                                                             Reduction* in Toxicity. Mobility, and
                                                             Volume Through Treatment
                                                                                                       "Primary Balancing" Factors
ro
ot                                                            Short-term Effectiveness




               Implementabtlity                               Implementability




               Coat



                                                             Stale Acceptance
                                                                                                       "Modifying" Considerations


                                                             Community Acceptance




      Figure 4-a.   Relationship ol Screening Criteria to the Nine Evaluation Criteria
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  substantial effort during the alternative screening         a portion of the range do not represent distinct /.able
  phase.                                                      options.
  Both capital and 04M costs should be considered,            The target number of alternatives to be earned
 where appropriate, during the screening of                   through screening should be set by the project
 alternatives. The evaluation should include those            manager and the lead agency on a site-specific
  O&M costs that will be incurred for as long as              basis. It is expected that the typical target number of
 necessary, even after the initial remedial action is         alternatives earned through screening (including
 complete. In addition, potential future remedial action      containment and no-action alternatives) usually
 costs should be considered during alternative                should not exceed 10. Fewer alternatives should be
 screening to the extent they can be defined. Present         carried through screening, if possible, while
 worth analyses should be used during alternative             adequately preserving the range of remedies, if the
 screening to evaluate expenditures that occur over           alternatives being screened are still medium-specific
 different time periods. 8y discounting ail costs to a        and do not address the entire site or operable unit,
 common base year, the costs for different remedial           the number of alternatives retained for each specific
 action alternatives can be compared on the basis of a        medium should be considerably less than 10.
 single figure for each alternative.

 A more detailed discussion of cost evaluations is            4.3.3.2   Selection of Alternatives for Detailed
 presented in Chapter 6.                                                Analysis
                                                              Once the evaluation has been conducted for each of
 4.3.2.4   Innovative Technologies                            the alternatives, the leac agency and its contractor
                                                              should meet with the succort agency to discuss each
 Technologies are classified as innovative if they are        of the alternatives being considered. This meeting
 developed fully but lack sufficient cost or performance      does not correspond to a formal quality control review
 data for routine use at Superfund sites. In many             stage but provides the lead agency and its contractor
 cases, it will not be possible to evaluate alternatives      with input from the support agency and serves as a
 incorporating innovative technologies on the same            forum for updating the support agency with the
 basis as available technologies, because insufficient        current direction of the FS.
 data exist on innovative technologies. If treatability
 testing is being considered to better evaluate an            The alternatives recommended for f u r t h e r
 innovative technology, the decision to conduct a test        consideration should be agreed upon at this meeting
 should be made as early in the process as possible to        so that documentation of the results of alternative
 avoid delays in the Rl/FS schedule.                          screening is complete; any additional investigations
                                                              that may be necessary are identified; and the detailed
Innovative technologies would normally be carried             analysis can commence.
through the screening phase if there were reason to
believe that the innovative technology would offer            Unselected alternatives may be reconsidered at a
significant advantages. These advantages may be in            later step in the detailed analysis if similar retained
the form of better treatment performance or                   alternatives continue to be evaluated favorably or if
•mpiementability, fewer adverse impacts than other            information is developed that identifies an additional
available approaches, or lower costs for similar levels       advantage not previously apparent. This provides the
of performance. A "reasonable belief exists if                flexibility to double check a previous decision or to
indications from other full-scale applications under          review variations of alternatives being considered
similar circumstances or from bench-scale or pilot-           (e.g., consideration of other similar process options).
scale treatability testing supports the expected              However, it is expected that under m o s t
advantages.                                                   circumstances, once an alternative is screened out it
                                                              will not be reconsidered for selection.
4.3.3      Alternative Screening
                                                              4.3.3.3   Poet-screening Tasks
4.3.3.1    Guidelines f<x Screening                           The completion of the screening process leads
Alternatives with the most favorable composite                directly into the detailed analysis and may serve to
evaluation of all factors should be retained for further      identify additional investigations that may be needed
consideration during the detailed analysis. Alternatives      to adequately evaluate alternatives. To ensure a
selected for further evaluation should, where                 sm • -ith transition from the screening of alternatives to
practicable, preserve the range of treatment and              the mailed analysis, it will be necessary to identify
                                                                      -
containment technologies initially developed. It is not       ar        egm verifying action-specific ARARs and
a requirement that the entire range of alternatives           im         treatability testing (if not done previously) and
originally developed be preserved if aH alternatives in       aoc ..cnal site characterization, as appropriate.




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C/1SR Cor.sjft'rg and Engineering   Review of the START
                                    Report for the McCol?
                                    Superfund Site in
r >«..,&«, 1t91

f -c -men* > .mber 0162-001
                                    Fullerton, California




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ENSR Consulting and Engineering
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                                  Report for the McColl
1,0^1991                          Superfund Site in
Document Number 0162-001
                                  Fullerton, Calif ornia




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                          Review of the START Report


                               Performed by:
                       ENSR Consulting and Engineering
                            Somerset, NJ, 08873


                                November 1991



                                Report Authors:

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                                 Joyce Feldman
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                                               EXECUTIVE SUMMARY



_          Science Applications International Corporation (SAIC) evaluated on-site incineration as a remedial
           option for the McColl Superfund Site in Fullerton, California under the Superfund Technical
           Assistance Response Team (START) Program. The report, developed to address the conceptual
~          feasibility of using incineration to manage hazardous wastes located at the McColl Site and
           issued in May 1991, concluded that on-site incineration would comply with federal, state and
_          local requirements for this technology. ENSR Consulting and Engineering (ENSR) performed on
           behalf of Shell Oil Company, Atlantic Richfield Company, Union Oil Company of California,
           Texaco Refining and Marketing, Inc. and Phillips Petroleum Company (the "Companies"), a
«•         critical analysis of the START Report. This review has been performed to determine, in part,
           whether the use of on-site incineration as a remedial technology can be performed while meeting
           the regulatory requirements identified in the applicable regulations.

           Concerns have previously been raised regarding the application of thermal treatment
m          technologies at the McColl Site, which is located in a residential area of the South Coast Air
           Basin (SCAB), an area designated by the EPA as nonattainment for nitrogen oxides, ozone, total
           suspended particulates, and carbon monoxide. The excavation and incineration activities will
™"*8r      generate sulfur oxide emissions, particulate emissions and other pollutants. Due to the status
           of the proposed project as a major new source requiring emissions offsets, and the sulfur oxides
m          and potential particulate matter it will generate, an evaluation of this major new source must also
           be performed under requirements for the Prevention of Significant Deterioration (PSD).

••         ENSR's review of the START Report identified four major areas of concern regarding the use of
           on-site incineration as the technology of choice to address the wastes found at the McColl site:

"               1)   Environmental Compliance Issues
               2)    Health Risk Assessment Issues
_              3)    Operational Issues
               4)    Project Duration Issues

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           Each of these concerns will be summarized and briefly described below. The specific comments
           and questions raised by the ENSR review follow in the body of this review, with locations in the
_          text cited for reference.




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   1.   Environmental Compliance Issues

   Under SARA, all regulatory requirements must be met by a Superfund-mandated remedial action
   process. Although acquisition of all operating permits is not essential, all regulatory
   requirements associated with issuance of those permits must be met. ENSR's review of the
   START Report indicates it is technically challenging, extremely cumbersome and~based on the
   existing uncertainty associated with this alternative-extremely difficult, if not impossible, to
   develop a remedial system that will meet all of the technical requirements associated with
   emissions projected from incineration and associated processes of the McColl waste:

        •   The physical management of the materials will require resources well beyond those
            identified and described in the START Report. The excavation, milling, blending, pre-
            incineration storage and incineration activities identified in the START Report will all
            result in the generation of particulate matter and gases from the contaminants present
            in the waste.

        •   The ability to control the volatile emissions from organic components of the waste, the
            sulfur-containing emissions, nitrogen oxides, products of incomplete combustion (PICs)
            and particulates has not been established.

        •   The PSD Rule has been ignored. The issue of whether Best Available Control
            Technology (BACT) or Maximum Achievable Control Technology (MACT) can be met
            cannot be established from the preliminary nature of the START Report. Due to the
            conceptual approach applied for the START Report, the description of the system fails
            to provide a level of detail to assure that the permitting process can proceed to
            successful completion. On the contrary, the results of this approach would indicate the
            process would not be successful.

        •   The non-catalytic reduction of nitrogen compounds using ammonia presents issues of
            (1) storage of ammonia on the site and (2) the potential for creation of an ammonium
            sulfate plume. This plume would cause visibility problems and potential respiratory
            problems for both workers and residents.

        •   The START Report indicated the incineration process alone would generate 719 tons
            of sulfur dioxide per year. It is unlikely that these offsets are available within the
            regulatory structure which exists in the SCAB.




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   2.   Health Risk Assessment Issues

   Although it is part of the permitting process, the concerns raised by the START Report regarding
   risks to the nearby residents and to the general area have not been addressed. It is generally
   conceded that the incineration process results in the maximum health impact through the
   emission of gaseous materials (sulfur dioxide, nitrogen oxides, PICs, and particulates in this
   case).

        •   The McColl Site and its surroundings are in southern California, where the lifestyle
            includes extensive outdoor activities. For this reason, the modelling performed should
            include all pathways of exposure, rather than the inhalation pathway only. The area
            contains swimming pools, for example, that can accumulate materials deposited after
            emission from the facility. Pools used by children are critical to evaluation of health
            impacts, since children tend to drink the water in which they swim, yielding both a
            dermal exposure and an ingestion hazard. Neither deposition nor the associated
            ingestion pathway have been addressed in the modelling or in the risk assessment.

        •   No downwash assessment was included in the air modelling performed in the
            dispersion analysis or the risk analysis; thus, the health effects estimates to the adjacent
            community are severely underestimated.

        •    Health impacts from particulates generated by the process activities have not been
            addressed. Most of the particulates generated are expected to be less than 10 microns
            and may even be as fine as 1 micron. This particle size range is especially easy to
            inhale and may cause additional respiratory problems locally.

        •   Modelling also did not include emissions from any of the activities identified at the site
            beyond the incinerator stack emissions. In addition to emissions associated with the
            disturbance of the materials, the blending and milling and the incineration process,
            diesel emissions will be generated by construction equipment as well as from transport
            vehicles. None of these were addressed in the modelling or risk assessment.

        •   The modelling effort failed to reflect the longer period of operation associated with the
            need to blend and incinerate the blended volume of material.




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   3.   Operational Issues

   The START Report indicates it is theoretically feasible to successfully address all of the issues
   identified in Items 1 and 2. The operational effort is far more extensive than indicated. Each of
   the environmental and regulatory requirements identified are interrelated and in solving one
   problem, additional problems may be created.

        •   The START Report does not explain how waste disturbance activities will be coordinated
            or how materials will be moved from one containment structure to the next in the
            operational chain.

        •   No working model exists for many of the components of the proposed system. While
            individual components, such as the respective emissions control devices, may be
            capable of meeting the control requirements, the cumulative operating capability will
            probably not be additive to the extent identified.

        •   A rotary kiln has never been permitted in the SCAQMD, has not demonstrated that it
            would comply with the SCAQMD's stringent requirements, and has not been
            demonstrated to be the optimal unit for burning the McColl waste.

        •   Equipment efficiencies are described very optimistically.          While the individual
            components may reach the levels of control and operational capabilities under optimal
            conditions, it is seldom the case that these levels are achieved and maintained over
            long periods of time in the field. Further, the high level of utilization cited is
            characteristic of a stationary unit normally operating on a continuous basis, not cyclic
            as proposed for McColl.

        •   The use of containment structures further complicates the control of emissions.
            Opening the structures for ingress and egress of vehicular traffic will result in emission
            releases from the containment structure. In addition, breaks or tears in these structures
            due to accidents or normal activities will further compromise the security of the
            containment.

        •   Multiple incineration systems, with associated control systems, will be required to
            manage the emissions from the respective containment structures as well as from the
            waste.




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        •   Since it is necessary to stage waste feed materials for efficient operation of the
            incinerator itself, the containment structures and their emission control systems will be
            operating simultaneously. Associated noise and traffic nuisances will also be present.

   4.   Project Duration Issues

   Many factors, in addition to those described above, will contribute to the duration of the project
   and cause it to be extended far beyond the initially-described one and one-half years.

        •    It has taken 7 years to permit an incinerator in Ohio which previously demonstrated its
            applicability for the proposed waste stream. No similar facility has been approved in
            the SCAQMD; therefore, no estimate on the timing of the approval process is available.
            Further, no similar demonstration of the technical capabilities of the proposed
            conceptual system has been performed with the McColl waste. Although a treatability
            study of selected waste described in the START Report indicated areas for further
            consideration, completion of that test protocol has not demonstrated either the
            treatability of the entire waste stream present or the timing requirements for the
            operation on a large scale.

        •   The plan to blend the excavated material with "clean" dilution material from offsite,
            tripling its volume, implicitly assumes that the operating period will be extended by a
            similar ratio. The volume of residues resulting from this process will similarly increase.

        •   There is no basis in the START Report for the conclusion that the incinerator could be
            scaled up to cover blending of the materials (tripling their volume), of ability to handle
            high sulfur- and high solids-content feed, and of manageability of the volatile
            compounds contained in the feed.

        •   Intermittent use of the incinerator equipment will add to the stress on the equipment,
            especially on the thermally-stressed refractory. As the length of the project is extended
            during repair periods, other materials with a working life designed to meet the original
            schedule will require replacement as well. This is especially important for containment
            barrier materials exposed to external and internal stress.

        •   During the operations, worker safety requirements will also serve to extend the period
            of operations. The use of Level B personnel protective equipment will place demands
            on workers over the prolonged period. It may be necessary to plan for replacement or
            rotation of workers who are to be in this work environment for extended assignment to
            prevent accidents due to overtired employees.




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           •    The extended period of operation associated with the activities identified above
                significantly increases the overall costs of the project, from a financial perspective and
                a societal perspective. The local community will be exposed to both environmental
                stress and inconvenience associated with traffic, noise and other adverse effects.

       In summary, while the technical aspects of managing the McColl Superfund Site wastes are
       theoretically possible, the actual management of the wastes through on-site incineration have
—      not been addressed to the extent required to assure that the project can, indeed, be accepted
       by either the regulatory establishment or the local community as the optimal management
       method. To gain such acceptance would require considerable additional study with associated
       significant cost and delay. In the end, it remains doubtful that local acceptance could be gained.




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                           REVIEW OF START REPORT ON THE
                 EVALUATION OF INCINERATION ALTERNATIVES FOR McCOLL



   GENERAL COMMENTS

   The following critical analysis of EPA's START Program Special Investigation, authored by SAIC
   and Cross/Tessitore & Associates (the START Report, dated May, 1991) was performed relative
   to the current air quality regulations as adopted and enforced by the South Coast Air Quality
   Management District (SCAQMD). The SCAQMD has been granted authority by the EPA to issue
   and enforce permits for new and modified sources that emit nonattainment pollutants and their
   precursors (see 46 FR 5978, January 21, 1981). The South Coast Air Basin (SCAB) is
   designated nonattainment for nitrogen oxides, ozone (of which volatile organic compounds
   (VOCs) and nitrogen oxides are precursors), total suspended particulates and carbon monoxide
   (see 40 CFR, Section 81.305).

   The START Report improperly ignores the applicability of EPA's rule covering requirements for
   Prevention of Significant Deterioration (PSD). This lapse will result in a failure to complete the
   review requirements identified as part of the normal EPA evaluation process. Further, the
   SCAQMD lacks authority to issue and enforce PSD permits, which are required for major new
   or modified sources that emit sulfur oxides (SOJ or particulate matter less than 10 microns
   (PM10) in excess of specific emission thresholds. The proposed incinerator was also reviewed
   by ENSR relative to EPA's PSD rule (see 40 CFR Section 52.21) for SOX and PM10. Our review
   has led to the conclusion that the requirements of the SCAB for incremental emissions may not
   be met.

   Our specific comments on the START Report are presented below:

   I. Introduction

   Page 1, Paragraph 1:

       The assumption made in the START Report is that an incinerator can be designed with the
       necessary air pollution control (APC) equipment to meet the SCAQMD rules that apply to
       burning the waste at the McColl site. It is also assumed that the design will be satisfactory
       to the SCAQMD. This case has not been demonstrated: No hazardous waste facilities for
       third party use have been successfully sited within the SCAQMD.




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       The guidelines for approval of this "conceptual" design have not been identified. If the
       SCAQMD had input into the design, it is not shown that the agency agreed to the proposed
       configuration. If the SCAQMD "bought into" the limits cited, this also has not been shown.
       There should be some recognition of concurrence with EPA by SCAQMD.

       Finally, it should be noted that the level of information provided within the START Report and
       other support documents is not at a level of detail that would allow acceptance of the
       information in support of a permit application for construction of a hazardous waste facility
       in the SCAB, nor is the information adequate to assume or conclude that, if additional
       information were provided, a permit would be forthcoming. The protocol for Superfund
       remediation projects normally requires that, although specific permit acquisition is not
       required, the equivalent procedures must be followed and all offsite impacts must be
       equivalent to those required under applicable regulations.

   Page 1, Paragraph 3:

      "The incinerator configurations in the START Report are conceptual in nature and are
      in response to either regulatory requirement or good engineering judgement. They are
      not a substitute for more and better treatability data, nor do they represent even a
      preliminary design."

      The intent of this paragraph is unclear. The suggestions made in the remainder of the
      START Report are apparently not in response to regulatory requirements. Yet, the statement
      frames an important concept: Under the system description, it appears as if the detailed
      preliminary design activities were carried out. In fact, in order to demonstrate compliance
      with applicable regulations, this level of design is necessary. However, in other areas of the
      START Report, it is not apparent that a commitment has been made to this level of detail.
      Indeed, at several points in the START Report there is a stress on the "conceptual" nature
      of the information. The default to conceptual design precludes the presentation of detailed
      screening assessments of emissions or associated risk projections. It is this information that
      is essential to the acceptance of the project by both the SCAQMD and the local community.
      The information on emission of pollutants from the entire project must be made available
      in order to develop the input data for the risk assessment, discussed in the ENSR evaluation
      of Section VI, Estimated Emissions.




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       It is common experience in current permitting protocols that a waste burned of any type will
       not be approved unless there are, as part of the permit application package, a preliminary
       design of the unit and its APC system. It is also necessary that vendors and their respective
       guarantees for the unit be presented in the application package, with agreements signed
       prior to issuance of any permits to construct. To this end, there seems to be a major
       inconsistency in the START Report concerning the level of detail that exists for the proposed
       incineration system.

       The specifications for performance and design have been set in the START Report. In
       addition, actual APC equipment types (e.g., Calvert) have been identified, if not selected.
       The assumption that a rotary kiln is the best unit by comparison is correct, since this is the
       device most frequently utilized for "dirt burning" or other applications requiring the tumbling
       effect needed to optimize exposed area. It is not valid, however, to assume that this type
       of system could effectively accept and burn this type of waste. There should be a statement
       of justification for use of the rotary kiln as the facility of choice. This statement should
       include some reference to an existing system operating at a level of performance reflective
       of the projections assumed for this unit.

      The assumed volume of material (97,100 cubic yards) is not supported (except by reference
      to other reports). The START Report appears to question the cited level of sulfur
      concentrations reported (14 to 17%) which makes the volume estimate even more tenuous.
      For this and other reasons identified later in this review, this makes the assumption of a 1.0-
      to 1.4-year completion schedule highly suspect. This schedule assumes 80% on-line
      performance for the system as yet undesigned and untried. To date, there do not appear
      to be any similar systems burning similar wastes anywhere in the United States. While a
      treatabilitv study would help to clarify this question, the information presented here does not
      present sufficient promise to justify this next step.

      If one reviews hazardous waste incineration projects such as the facility in East Liverpool,
      Ohio, it has been more than seven years since the permit applications were submitted. That
      system has already been constructed and operated in other areas of the U.S. and the world.
      Yet, as a concept and as an actual design in operation elsewhere, with an established "track
      record" it has yet to be accepted for construction. To date, obstacles have included
      obtaining an approved permit and overcoming public opposition. In comparison, it is
      difficult to envision the purely "conceptual" design presented for the McColl wastes being
      accepted and eventually built or operated.




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       Assuming that acceptance is possible, it is feasible to consider a 20-ton per hour unit. It is
       unlikely, however, that this amount of waste can be processed, given the restrictions
       (identified later) regarding excavation and blending requirements [see comment on page 8].
       It is unrealistic to assume that from the design to permit approval to construction, startup,
       and shakedown through waste incineration and demobilization will occur in less than ten
       years. A shorter period is highly questionable since there is no working model for this type
       of proposed system.

       In addition, paragraph 3 states that the incinerator design is conceptual. It appears that flow
       rates and emission rates estimated for conceptual purposes were drawn from some
       experience base that is not cited here. In cases where industrial entities seek approval for
       preliminary (e.g., "conceptual") designs, sufficient detail must be presented to establish
       permit limitations and provide accurate emissions estimates. These limits are then cited as
       the requirements for the device to be approved for actual use. Protocols applied for
       determining the criteria and parameters applied are not defined here. The question also
       arises as to whether or what guarantees can be sought from the vendors that successfully
       bid the project.

   II. Waste Characterization

   Page 2, Paragraph 2:

       It is unclear whether the "average" values were calculated based only on the measurements
       where some concentration of the respective contaminant was identified above a detection
       limit or whether a default value equal to the lower detection limit of the test method was
       used. The result of this level of uncertainty is that any estimates for requisite blending to
       control SO2 emissions during the incineration process will become suspect for two reasons:
       (1) the lack of definition of additional material that will be fed into the incinerator and (2) the
       resulting time requirements for the incinerator to handle this additional material.

       Tables 1 through 4:

       The presentation of data is not relevant to the estimates on which the time of incineration,
       and therefore of the project, are based. The actual metals concentration of the waste and
       the level of blending needed to develop a waste stream that can be incinerated in the
       "conceptual" device in a manner that will produce acceptable emissions of trace metals is
       the issue that must be addressed. (See further discussion in Section IV of these
       comments.)




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       The logistics of the blending operation to achieve a balance of low concentrations of sulfur
       must be examined carefully. Given the range of sulfur concentrations and the acknowledged
       emission of mercaptans (and other sulfur-containing volatile compounds), it is to be
       expected that all excavation activities will require containment. Each of the respective
       activities that involve removal of materials, milling, storage and transfer, and placement into
       the incinerator will generate "puff" releases of volatile materials. Therefore, all activities,
       including storing prior to blending and the blending operation itself will need to be shown
       to be effectively and efficiently performed to minimize the release of volatiles and to control
       those that are released.

       The ability to control fugitive emissions under the design described is in question:
        Emissions generated from the excavation activities will require "flaring" to react the reduced
       sulfur compounds; this activity will, in turn, require additional APC devices. Without APC
       devices, flaring will lead to elevated S02 levels that will exceed the SCAQMD limits. The
       waste excavation activity alone will therefore require both containment and scrubbers
       separate from the incinerator. This requirement serves to complicate both the logistics and
       the emissions control activities for the site, with associated increases in cost. Blending and
       incineration activities in separate containment structures must be planned for the activities
       described to allow the complete incineration of the waste. The impact of this action has not
       been included in considerations of the planning process. Transporting these emissions from
       the respective positions of the excavation structure to the APC poses significant problems
       in controlling the emissions.

   Page 7, Table 5:

      There seems to be some question that the CH2M-Hill estimate of 14 to 17% "maximum"
      sulfur concentration reported is valid. The word "if" raises this question. Further, the range
      cited raises questions on the amount of blending that may be required to bring the average
      acceptable sulfur concentration (5.4%, a value selected by EPA to assure compliance with
      SCAQMD requirements for sulfur emissions, based on 98.5% SO2 removal efficiency) to the
      waste feed. In order to achieve an average concentration of 5.4%, it will be necessary to
      blend three volumes of sulfur-free material with each volume of material at the maximum
      levels found on-site. This will consequently increase the total volume of material to be fed
      into the incinerator and will likely increase the total time required for incineration of the
      materials on the McColl site by a factor of up to three. The management of elevated sulfur
      concentrations in the waste materials by dilution will result in a doubling or tripling of the
      total volume of materials fed to the incinerator. The dilution materials will need to be
      brought in from off-site. Additional transport vehicles will be needed, with the associated




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       noise and intrusion into the neighborhood. The processing of the total volume of diluted
       waste, in turn, will require far more materials for the incinerator bed and APC system.

       It is not clear how the concentrations will be established prior to insertion into the unit. If
       chemical analyses are to be performed routinely on the blended waste feed before its
       introduction into the incinerator, it is not shown how this step will impact operations. If the
       assumption is made that these concentrations can be balanced to a level that will assure
       that the SO2 emission levels will meet the SCAQMD limits, this also has not been indicated.

   III. SCAQMD Rules and Regulations Analysis

   Page 7, Paragraph 2:

       The statement is made that "downwash may have to be considered." Indeed, to perform
       the necessary complete and accurate analysis of air impacts required as input for the health
       risk assessment, a downwash analysis must be performed to demonstrate what the most
       realistic impacts are for this proposed facility.

       The last statement in this paragraph says "This would impact ground level concentrations
       and make the modelling demonstration more difficult." This statement seems to imply that
       downwash considerations should be avoided in the calculations because they are difficult
       to address. Considering downwash will not make modelling more difficult; indeed,
       downwash models exist for addressing these conditions. Downwash analysis is performed
       regularly in dispersion analysis studies. However, it may well project increases in ground
       level concentrations and may make it more difficult to gain acceptance for the incinerator.
       Further, the "difficulties" will only present a problem if the SO2 and other emitted compounds
       are not sufficiently scrubbed from the waste gas stream.

       The application of downwash will increase ambient air impact predictions as reported in
       Table 11 on page 19 of the START investigation. In addition, the increase in impact will
       result in higher risk to exposed individuals for those levels reported in Table 12 and will
       make it more difficult to achieve permitting requirements. The fact that risk levels of this
       magnitude have been calculated without considering downwash would lead one to conclude
       that incineration should be abandoned at this point.




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   Page 8, Table 6:

       It is unclear how the use of natural gas supplemental fuel will control SO2 emissions. While
       the use of natural gas instead of sulfur-containing fuels may help to keep the levels of SO2
       from rising, the use of natural gas will not reduce the levels of the gaseous emissions
       attributable to the waste.

       Table 6 also contains the notation that the limit for particulate matter is 0.002 gr/DSCF.
       Compliance with this limit is not established anywhere in the document, even with the use
       of HEPA filters as BACT. In fact, the START Report states that it may be difficult to control
       particulate emissions to that level. Based on available test data (from the California Air
       Resources Board, among others,) this appears to be correct.

   Page 8, Paragraph 1:

       The use of lime spray drying with a fabric filter is not shown to control SO2 to the levels
       assumed for the conceptual design presented here. The START Report indicates that a
       removal efficiency of 98.5% will be required to meet the SO2 emission limits. Spray dryers,
       at best, will remove 90% of SO2) as reported by EPA "Municipal Waste Combustors -
       Background Information for Proposed Standards: Post-Combustion Technology
       Performance," in its NSPS document for resource recovery facilities.

   Page 8, Paragraph 2:

       References made to enclosure of an area under excavation in a "mobile structure" under
       negative pressure that is then vented to a cyclone/secondary combustion chamber (and,
       hopefully, to a scrubber system as well) raises the question of how "mobile" a system will
       be necessary. Similarly, the emissions from this combustion process must be vented to a
       scrubber system as well. This requirement raises the question of how "mobile" a system can
       be while meeting the restraints of the APC system. If the mobile structure is to be
       repositioned around the site with a long hose connecting it to the incinerator, other factors
       must be addressed. These have not been discussed in the START Report. For example,
       leaks from the vent line leading to the incinerator must be prevented. There is no discussion
       to indicate that any similar project has ever been attempted. As noted earlier, in order to
       excavate and blend the materials to assure that excessive concentrations of sulfur-containing
       and other volatile compounds are not introduced into the system, it will probably be
       necessary to have a series of these structures. Each structure will, in turn, require its own
       APC system, which will generate a secondary waste stream in the form of treatment residues
       removed from the ventilation air.



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       This assembly of containment equipment will then affect timing, since workers performing
       in respirators within containment will require additional breaks; equipment used within the
       containment structure will require special design (e.g., diesel-operated equipment will also
       require venting and emissions control; electrical equipment may not possess sufficient
       power to be used for heavy-duty excavation operations). Further, the excavation operation
       will not be the only activity requiring containment: Storage of the excavated material and
       blending operations will also require containment.

   IV. System Description

   Page 9, Paragraph 1:

      A waste heat boiler is described as advantageous for reducing exit gas temperatures from
      the incinerator into the APC equipment. Neither a source of makeup water nor the disposal
      of any waste water or its treatment appears to have been considered. A boiler will add costs
      and complexity to the system. Required maintenance will increase the time requirements
      of the project. The venting of steam is also a potential nuisance in this residential
      community.

   Page 11, Paragraph 1:

      The utilization rate of 80% is generally applied to devices that are already up and operating.
      Experience seldom proves that initial operating capacity is at this level. A vendor who will
      guarantee this level of performance for the period of the project should be identified prior
      to initiation of the project.

      Further, the projected timing does not allow for segregation of the wastes, blending of those
      with disparate concentrations of sulfur-containing constituents, etc. Containment structures
      that can accommodate excavation activities at a rate of 20 tons per hour over this period
      should be identified.

      Paragraph 3 refers to a removal efficiency of 85% for particles in the size range >10 /zm.
      There is no support for this efficiency level. It is reported that only 65 to 75% control
      efficiency for particles >10/zm is achieved by incinerators (Ref: Air Pollution Control
      Equipment Selection and Design. Operation and Maintenance. Theodore, Buonicore,
      Editors, Prentice-Hall, Inc. 1982). This may be due to the lower density of the dust for
      incinerator fly ash than for process particulate emissions. It appears that the START Report
      is overly optimistic in predicting the day-to-day operational efficiency of the proposed APC
      equipment.



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   Page 12, Table 8:

       Table 8 indicates that some level of design (beyond a conceptual level) was performed for
       this project. The level of detail provided in the estimates indicates that a specific model has
       been used for estimating the capabilities of the system. This is in conflict with the statement
       in the beginning of the START Report that only a conceptual design exists for this system.

   Page 12 (SNCR):

       The assumption that removal efficiency of 50 to 60% is achieved may be an overestimate.
       According to "Municipal Combustors - Background information for Proposed Standards:
       Control of NOX Emissions" EPA-450/3/89-27d, there is only limited operating experience for
       thermal DeNOx. Therefore reliable data are not available. Goals of 50 to 60% removal are
       achieved for short-term testing durations under close to ideal conditions. The efficiency of
       thermal DeNOx varies greatly with temperature as well. The variability of the combustion
       characteristics of the McColl waste makes the performance of SNCR unpredictable. No
       experience currently exists to establish that a system to control NOX emissions will perform
       to SCAQMD specifications burning the type and variation of waste that exists on the McColl
       site. Without this experience, it is unlikely that a vendor will be prepared to provide
       guarantees for a specific level of removal. Therefore, any claim for NOX control for this
       specific application will be made on a "best guess" basis.

       Selective Non-Catalytic Reduction (SNCR) also has the potential of ammonia slip, especially
       due to the temperature variations possible due to the variability of waste constituents and
       their associated variable characteristics.

   Page 12 (Waste Heat Boiler):

       Drying the waste may accelerate the emission of volatile compounds. The flares on the
       mobile containment structures and the APC devices must be shown to be capable of
       managing these emissions as well as others. Release of emissions to the atmosphere must
       be controlled through scrubbers. Control of these emissions has not been established, or
       even considered as part of the emissions projections.




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   Pages 12 & 13 (Spray Dryer & Fabric Filter):

       If temperature conditions are optimal and the waste gas stream is homogeneous, then 90%
       SO2 removal can be achieved with a dry scrubber/fabric filter. However, the temperature
       of gas entering the scrubber must be below 300 "F. As the temperature approaches that
       point, removal efficiencies have been shown to fall to 35%. The START Report does not
       address this sensitivity and does not establish the temperature of the waste gas exiting the
       boiler.

       The 90% removal efficiency was not demonstrated to be continuous, and fell more often into
       the 70% range. It is unlikely that a vendor will guarantee compliance with removal
       efficiencies of >90% for a dry scrubber/fabric filter system for an incinerator burning McColl
       waste.

       Again, the variable character of the McColl waste and its related combustion characteristics
       will make it difficult to keep the temperature constant with time. Further, the high levels of
       SO2 removal expected for the dry scrubber also require stoichiometric levels of lime for the
       predicted levels of sulfur. Considering the high levels of sulfur in the waste stream, the
       quality of sulfur needed may be considerable for both the incinerator and the excavation
       control.

       The START Report states that the SO2 removal efficiency for the spray dryer is listed as 70%.
       Additional removal efficiency of 15% by the fabric filter raises this level to 75% (.70 + (.15 x
       .30)). It is not clear by our calculations how the additional 23% removal will be achieved to
       meet the 98.5% total SO2 removal requirement stated in the START conclusions.

   Page 13, Table 9:

      It is not clear what the loading of SO2 is that permitted a removal efficiency of 98 to 99%.
      Will Calvert guarantee 97% removal efficiency? Typical SO2 removal efficiencies are a
      function of the SO2 partial pressure in the waste gas stream at the point of application of the
      wet scrubber, the SO2 partial pressure will be reduced, resulting in the reduction of scrubber
      removal efficiency.




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, .        Page 14 (HEPA Filter):
~%«<r
              This paragraph acknowledges the problems associated with the use of a HEPA filter system.
              Later discussions (e.g., page 17) note that for many of these reasons, the system does not
              include the HEPA filters. The emissions reduction credit is included in the presentation of
              data on Table 10 (SCAQMD System), yet the first paragraph on page 17 says that "the
              proposed system does not include the HEPA equipment." It appears, however, that credit
              is taken for application of HEPA equipment in the emissions estimates. The START Report
              is inconsistent on this issue (see p. 17). The addition of a HEPA system can, indeed,
              increase the particulate removal efficiency of the system. However, the addition of this APC
              equipment to the overall system configuration will increase the cost as well as result in
              additional potential "down time" during repair and replacement activities associated with its
              use.

           Page 14 (Treatment Costs):

              Paragraph 2 describes a contract that would be negotiated between the parties involved and
              provides estimates on the costs associated with the remedial activity. The cost figures cited
              do not match the figures presented in this paragraph:

              If a cost of $36,329,000 is allocated for treatment of 97,100 cubic yards of materials, the cost
              should be

                   $36.329.000. or $374/ton, rather than the figure of $249 cited.
                    97,100 ton

              The cost shown in the START Report is $249/ton. Allowing for a 5% increase due to
              inflation, the correct figure should be approximately $300/ton in 1991 dollars. If the higher
              figure is used, this translates to a cost of approximately $450/ton with a 5% inflation rate.

              In either case, the cost will be significantly higher than shown in the START Report, since
              these figures do not apparently include the cost for excavation, blending, and other pre-
              treatment activities. The discussion in paragraph 3 of this section does not address these
              issues. The costs cited also do not include the cost of erection of the mobile covers
              required to prevent fugitive emissions during excavation activities, nor is any discussion
              presented on the costs of managing the residues remaining from the incineration treatment
              activities.




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   V. System Performance and Operational Considerations

    Page 14, Paragraph 1:

        Standard engineering practice is a moving target in terms of incineration. What is standard
        in terms of equipment and operational specifications is constantly changing as a result of
        ever increasing requirements in environmental laws and regulations. To this end, BACT
        driven analyses has resulted in changes to both incinerator system design and operation
        and APC design and operation. This has resulted in ever decreasing stack emissions and
        more stringent operating conditions from one project to the next.

    Page 16, Paragraph 3:

       Since there is "concern about waste heat boiler deposition, fouling and perhaps short-term
       corrosion," these considerations should be included in estimating both the cost of managing
       the incineration project and the timing of the completion of this activity. This should be
       balanced with the "lower overall flue gas volume from the oxygen enriched system"
       discussed in paragraph 4. This reduction in volume of flue gas will reduce the volume of
       air included in the emissions and will effectively increase the concentrations of pollutants
       included in the emissions from the system. It is not clear which of these systems has been
       conceptually applied to determine the gas throughput of the system for purposes of risk
       screening. However, any increase in concentrations will affect the risk assessment by
       increasing associated risks.

       Paragraph 4 attempts to address SO2 loading, yet cites "normal rules of thumb" for a
       concentration that admittedly "far exceeds" the normal levels handled by lime spray dryers.
       This is clearly a case where default values or rules of thumb are inappropriate: "Rules of
       thumb" should not be applied outside the accepted envelope where the concept has been
       tested.

   VI. Estimated Emissions

   Page 17, Paragraph 1:

       The assumption that the emissions for SO2 and Particulates were based on overall projected
       performance is not valid. These numbers have to be verified. It is also not appropriate to
       assume that the APC equipment will operate at maximum capabilities which the overall
       pollutant removal efficiencies used in the START Report reflect.




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       It is also not valid to assume that NOX emissions will comply with SCAQMD standards.
       There is no basis for this argument.

    Page 17, Paragraphs 2 & 3:

       The assumptions made for control of the metals emissions is questionable. In research
       conducted by the U.S. EPA 18% to 38% of the arsenic in the waste stream that was fed into
       the test incinerator was not recovered in the out put streams. EPA assumed that the
       unaccounted for metal partitioned in the same manner that the metal that was recovered.
       This is a highly questionable assumption, particularly when the central issue is the possible
       resultant health risk assessment and substantial potential impacts to public health.

    Page 18 (Ambient Concentrations):

       Ambient air concentrations calculations were made using the Screen model for comparison
       with the NAAQS. The mixing height used in Screen is for neutral and unstable conditions.
       The Los Angeles Basin Area is known for its inversions, which result from very stable
       atmospheric conditions and prevent the plume from rising to its potentially maximum
       elevation (that which would be reached under neutral conditions). In order to compensate
       for this condition, the mixing height used in the program should have been set to 1 meter
       above the stack height. The effects of considering this more realistic stability situation would
       result in higher ambient impacts of the stack emissions. It would have been more
       appropriate in this situation to use real meteorological data and the ISCST and ISCLT
       models. All of this would increase the risk above acceptable levels based on results of the
       screening analysis.

       It was also inappropriate not to use a downwash mode as well as the complex terrain
       option.

       While the incinerator system has only been conceptualized, as stated on the first page of
       the START Report, it was also determined in the START Report that the selected control
       method for SO2 will be a dry scrubber/fabric filter configuration. Due to the high levels of
       SO2 expected in the stack emissions, a considerable quantity of lime will be required to
       make the spray dryer effective. This requirement will result in the need for a large silo
       adjacent to the incinerator. In addition, the silo will require lime dust control (with its own
       bag house) usually erected on top of the silo. This configuration will result in a structure of
       significant height, adding to the building downwash. It should be considered in the
       modelling effort for the unit.




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       The complex terrain option should also have been used for modelling. This area is hilly and
       dictates the requirement that the terrain be considered in selection of modelling constraints.

       The modelling corrections required will also affect the risk analysis that was performed by
       significantly increasing the risk to the maximum exposed individual (MEI).

       The Screen model does not offer options for deposition analysis. This is important if the risk
       analysis is to be complete and accurate. Experience indicates that deposition and resulting
       ingestion of hazardous materials result in greater risk to MEIs than inhalation. The risk
       analysis performed for the START Report includes only the inhalation pathway.

       It also must be determined if SCAQMD will accept Screen as a valid analysis tool for this
       situation.

   Page 20 (Risk Analysis):

       It is not valid to perform a risk analysis only for the inhalation pathway when considering the
       impact of an incinerator. Although inhalation is considered a major pathway for incinerator
       emissions, the fact that the operation will occur in a residential area leads to the requirement
       that all impacts be considered; e.g., residential pools may serve to receive and increase the
       possibility for both dermal exposure and ingestion from the deposition of particulate
       emissions.

       Experience has shown that the deposition portion of the emission impacts through the
       ingestion pathway will result in the greatest risk. When combined with the conclusions of
       the modelling review, this information indicates that an accurate and refined analysis will
       yield a far higher level of both ambient impacts and resultant risk.

       The SCAQMD requires a multiple pathway health risk assessment for air emissions sources.
       The exposure is required to be calculated for a 70 year period for each exposure pathway
       for all emissions with potential carcinogenic effects.

       The resulting conclusion is that this risk analysis does not serve any constructive purpose,
       cannot be considered reflective of the conditions that would result from the operation of the
       proposed incinerator, and should therefore be dismissed as insufficiently definitive to apply
       to this effort.




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                                            APPENDIX

           Assessment of the Specific Incineration System for Potential Compliance
                             with Environmental Requirements

   1. EPA PSD Requirements

   The START Report contains no analysis of the applicability of PSD to the proposed incinerator.
   Under worst case configuration, the incinerator is estimated to release 164.16 Ib/hr SOX. If
   operated on a continuous basis, this translates to 719 tons/year (see START Report, Table 10).
   As such, the new incinerator would be a major source of SO2, and subject to PSD. Under EPA's
   PSD rule, the following analyses and requirements would apply:

       •   Best Available Control Technology (BACT) (see 52.21 (hi. BACT will be required to
           reduce emissions of S02, arsenic and benzene (see 52.21 (b) (21 )(ii)). BACT is
           determined on a case-by-case basis, and under the "Top-Down" BACT principal, is
           interpreted by EPA to mean the most stringent emission limitation that is economically
           feasible, and achieved in practice for a similar source. The START Report presents no
           such BACT analysis for these three pollutants. These BACT analyses would likely result
           in the identification of additional process controls to reduce SO2 emissions.

       •   Ambient Air Quality Impact Modeling and Increment Consumption Analysis (52.21 (k)).
           Detailed ambient air quality modeling will have to be prepared to demonstrate that
           national ambient air quality standards for SO2, and applicable increments, will not be
           violated. Based on the modeling performed for the START Report, violations of both
           the SO2 ambient air quality standards and the maximum allowable increments are
           predicted. Notably, this screening analysis is not acceptable as it underestimates the
           increment consumption of the project. The modeling analysis does not account for the
           portion of SO2 increments consumed by other sources after the baseline date or
           existing ambient concentrations of SO2. Further, this modeling analysis must consider
           not only the emissions from the incinerator, but other pollution sources necessary to
           support the incinerator (e.g., soil excavation equipment, fugitive dust, etc.).

       •   Results of Modelling Evaluations. The modeling performed in the START Report
           assumes source contribution only from the proposed incinerator. Under the EPA's PSD
           regulations, a PSD permit for the incinerator would be denied if this modeling analysis
           predicts violations of either the maximum increment or ambient air quality standards
           unless sufficient emission reductions are provided to reduce ambient impacts below



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           these levels. EPA PSD regulations do not restrict the location of potential offsets to
           areas "upwind," as does the South Coast Air Quality Management District New Source
           Review Regulations. However, if required, these offsets must be sufficient to
           demonstrate, through ambient air quality dispersion analyses, that potential violations
           of both ambient air quality standards and increments are mitigated. Based on the
           screening analysis prepared for the START Report, the project cannot be permitted
           unless sufficient offsets are provided. As noted in the START Report, SO2 offsets in the
           SCAQMD are rare and if available, very costly (approximately $15,000 - $25,000/ton).

       •   Additional Impact Analysis (see 52.21 (o)). An analysis on the impairment to visibility,
           soils and vegetation as a result of the project must be prepared. If nonselective
           catalytic reduction is used to mitigate NOX emissions, EPA would likely require a visibility
           impact analysis of the secondary particulates formed from the emissions of ammonia
           from the incinerator. The START Report presents no such analysis or screening.
           Further, an analysis on the impact to soils and vegetation must be prepared if such soil
           or vegetation has commercial value.

   Without performing these additional impact analyses, ENSR cannot predict the potential impact
   of the proposed source's emissions on visibility, soils, and vegetation. Based on past analyses
   performed on the potential visibility impact of ammonia slip from Selective Catalytic Reduction,
   there is the potential for significant increases in degradation of visibility due to secondary
   particulate formation. This impact, however, may not be perceptible. Such an analysis may
   indicate to regulatory authorities that more stringent ammonia slip control is required.

   2. South Coast Air Quality Management SCAQMD Regulations

   Each of the SCAQMD regulations that applies to the proposed incinerator is examined in turn
   below. Regulations are listed in order of relative impact on the proposed project.

   Rule 1401 - New Source Review of Carcinogenic Air Contaminants

   A "cursory, screening-level risk assessment" was conducted for the START Report to estimate
   the increased cancer risk associated with the McColl incinerator. This analysis understates the
   potential carcinogenic impact of the incinerator and would not be accepted by the SCAQMD as
   demonstrating compliance with Rule 1401. Based on the emission levels presented (see START
   Report, Table 12), the SCAQMD's significant risk threshold (without BACT) of one increased
   cancer in one million people exposed over a 70-year period will be exceeded by the McColl
   incinerator. (Under Rule 1401, facilities that operate less than a 70-year period must still
   demonstrate compliance with potential increased cancer risk normalized to this 70-year time



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   frame.) This increased cancer risk analysis is based on a risk screening calculation. This
   screening, however, indicates that a refined health risk analysis is required before the START
   Report can conclude that the proposed remediation technology complies with District Rule 1401 .
   Under Rule 1401, a unit may be permitted if installed with toxics BACT and the excess cancer
   risk is less than ten in one million.

        a-   Air Toxic Compounds and Emission Rates

   The START Report presents no engineering estimate to support the emission levels cited in here.
   Therefore, ENSR cannot gauge the accuracy of these emissions data. Notably, the START
   Report screening protocol incorrectly limits the health impact analysis to those carcinogenic
   compounds emitted from the incinerator. The screening analysis does not address the potential
   formation of polycyclic aromatic hydrocarbons in the incinerator exhaust stream or carcinogens
   released in the excavation of soil or handling of waste at the site. The SCAQMD's guidelines
   require the health risk analysis to include other sources which are located within 100 meters of
   the incinerator, and which have been permitted since June 1, 1990 (e.g., soil excavation, other
   internal combustion sources, fugitive emissions). Therefore, the START analysis incorrectly limits
   the scope of the health risk assessment.

        b.   Health Risk Assessment Assumptions

   The screening assessment also assumes the only pathway of concern is inhalation. This directly
   conflicts with applicable California EPA, California Air Resources Board (ARB) and SCAQMD
   guidance. A multi-pathway assessment is required to assess the potential health impact of
   arsenic, chromium (VI) and nickel. To assess potential health risks from the non-inhalation
   exposure pathways for arsenic, the SCAQMD provides a specific multipathway adjustment factor
   (see Procedures for Preparing Health Risk Assessments to Comply with Air Toxic Rules of the
   South Coast Air Quality Management SCAQMD. April, 1991; note that the SCAQMD suggests
   a refined assessment should be used if multipathway adjustment factors are not available). For
   the other two pollutants, in the facility prioritization phase of the statewide air toxics program
   (AB 2588) , local air districts generally use a factor of 1 0 to adjust facility risk prioritization/ranking
   scores to account for multi-pathway effects. ENSR has used these agency-approved
   assumptions in reviewing the START assessment.

   The screening analysis uses accepted EPA unit risk factors for chromium (VI). However, the
   SCAQMD requires that 1 .46 x 10"1 (m3/jig)~1 be used rather than the value included in the START
   Report risk screening. Similarly, the SCAQMD may not accept the unit risk factor used in the
   START Report screening analysis for arsenic; the SCAQMD-approved value for arsenic is 3.3 x
   10"3.



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       c.   Regulatory Requirements

   ENSR did not conduct a revised risk screening analysis. However, using data presented in the
   START Report, which improperly understate the relative health risk posed bv an incinerator, the
   incinerator is estimated to cause an increased cancer risk greater than 2.6 in one million
   exposed, and would trigger T-BACT (see 1401). Under the SCAQMD's rule, T-BACT, which is
   determined on a case-by-case basis, represents the most stringent emissions limitation or control
   technique that has been achieved in practice or is determined by the SCAQMD to be feasible.
   No such T-BACT analysis is presented in the START Report.

       d.   Practical Considerations

   The analysis in the START Report makes no mention of the vigorous public opposition that will
   almost certainly result if an incinerator is proposed at the McColl Superfund site. To place this
   potential opposition in perspective, the SCAQMD has issued permits for waste incinerators,
   however, these projects were challenged by public interest groups and have yet to be built. To
   our knowledge, no major hazardous waste incinerator designed to process third party wastes
   has been permitted, or if permitted, commenced construction within the SCAQMD over the last
   four years. The practical difficulty associated with permitting the incinerator must be considered
   when evaluating project alternatives.

   SCAQMD Regulation XIII - New Source Review

   The START Report correctly states that any net emissions increase of particulates, oxides of
   sulfur and nitrogen, carbon monoxide and volatile organic compounds will trigger control
   technology requirements (Rule 1303(a)), and will trigger emission offset requirements
   (1303(b)(2)). However, the START Report fails to discuss the SCAQMD's ambient air quality
   impact requirements (see Rule 1303(b)(1)). These requirements are addressed in turn below.

       a.   Control Technology Requirements

   Based on the emission levels cited in the START Report, Best Available Control Technology
   (BACT) will be required to reduce emissions of VOCs, nitrogen oxides, SO2, carbon monoxide
   and particulate matter, as stated (see Table 6 of START Report) (see Rule 1303 (a)). The
   SCAQMD maintains an engineering guideline (Best Available Control Technology Guidelines,
   SCAQMD), which is periodically updated and used as a guide when selecting the appropriate
   level of control as BACT. We note, however, that this guideline is not binding on either the
   SCAQMD or applicants. A full control technology evaluation is often necessary to be included
   as part of a permit application for a significant project such as a hazardous waste incinerator.



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   The review of such applicable controls contained in the START Report is insufficient to support
   the proposed controls suggested in the report. At a minimum, selective catalytic reduction
   should be evaluated as BACT for NOX. SCR is routinely required on new or modified combustion
   sources that trigger District New Source Review requirements.

       b.   Emission Offsets

   As discussed above, SO2 offsets will be required to reduce the ambient impact of sulfur
   emissions from the incinerator below maximum ambient air quality standards and increments.
   Additional offsets will also be required (at a ratio of 1.2:1) to offset emissions of particulate
   matter, nitrogen oxides and VOCs. Additional offsets may also be required to reduce the
   facility's "New Source Review (NSR) Balance" to zero. The NSR balance represents the net
   emission increases from permitted equipment since October 8, 1976 at the facility. No
   discussion of the NSR balance for the facility is presented. No detailed quantification of the net
   emissions increase from the incinerator and related operations is provided in the START Report.
   Finally, no discussion of the availability or cost of these offsets is presented in the START Report.
   The SCAQMD limits the location of emission reduction credits which can be used to offset
   emissions under the New Source Review rule to certain areas relative to a source location (see
   Rule 1303, Appendix B); no mention is made of this fact in the START Report. As a practical
   matter, offsets are rare, and if available, expensive. The costs of offsets, if available, generally
   parallel the cost of BACT ($/ton). Unless sufficient offsets are provided, the incinerator will not
   be allowed to operate. ENSR cannot determine to what extent sufficient offsets are available to
   comply with Regulation XIII without conducting a detailed emission offset search. While the
   District has issued Emission Reduction Credits to sources within the Basin that would satisfy
   offset requirements, we cannot determine whether the owner of these Emission Reduction
   Credits are willing to sell them to third parties.

       c.   Maximum Ambient Impacts

   The air quality impact analysis performed to support estimated maximum ambient concentrations
   due to emissions from the proposed incinerator does not meet minimum SCAQMD or EPA
   requirements. The START Report fails to consider existing ambient concentrations of individual
   criteria pollutants, improperly limits potential emission sources to the incinerator itself, and does
   not address potential downwash eddy effects from the incinerator. Therefore, the START Report
   screening analysis understates ambient concentrations that could result from the construction
   and operation of the incinerator.




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   Even though the START Report understates ambient impacts, it can still be used to gauge
   compliance with SCAQMD regulations. Under the SCAQMD's New Source Review rule, new or
   modified sources cannot increase ambient concentrations in excess of "significant change in air
   quality concentration" (see Table A-2, Rule 1303(b)(1)). These values are presented below:

   Air Contaminant Averaging Time Maximum Significant Change

   Nitrogen Dioxide      1-hour             1 pphm         (2Q(ig/m3)
                         Annual             0.05 pphm     (1 /ig/m3)

   Carbon Monoxide       1-hour             1 ppm
                         8-hour             0.45 ppm

   Additional standards are provided for sulfate and PM-10. The analysis summarized on Table 11
   of the START Report indicates that each of these maximum significant change levels cited above
   will be exceeded. The START Report makes no mention of this fact. Under Rule 1303(b)(1), an
   applicant for a new or modified source must demonstrate through modeling or other analysis
   approved by the District that the new facility or modification will not cause an increase in excess
   of the values summarized above. Therefore, the emission offsets that will be required as
   prerequisite to operating the incinerator must be sufficient to reduce the net increase in ambient
   concentrations of nitrogen dioxide, carbon monoxide, sulfates, and PM10 below these thresholds
   listed above. To demonstrate compliance with this provision, the START Report must contain
   ambient air quality impact analyses and then document that emission offsets available proximate
   to the proposed incinerator are both necessary and sufficient to reduce ambient air quality
   impacts below the thresholds listed above.

   3. Other SCAQMD Regulations

   Outlined below are other SCAQMD regulations that will apply to the McColl Incinerator project,
   which are not mentioned in the START Report:

       Rule 1166 - VOC Emissions from Soils. SCAQMD Rule 1166 is triggered where VOC-
       containing soils in excess of 50 ppm are excavated. Briefly, the SCAQMD will require that
       90% vapor control efficiency will be required during excavation/remediation of the soil. As
       discussed above, the carcinogenic health risk due to soil excavation must also be evaluated.




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  McCOLL
  SITE
  GROUP              215 East Orangethorpe Avenue, Suite 304, Fullenon, California 92632 (7l4) 665-7391




                                                 December 20, 1991




Mr. David B. Jones
U.S. EPA, Region IX
75 Hawthorne Street
San Francisco, California 94105
                  Re: McColl Superfund Site, Fullerton. California
Dear Dave:
          In recent conversations with John Blevins, he indicated
the Agency believes the ICF Technology, Inc. ("ICF") October 1991
report entitled "Thermal Destruction Analysis Report" and the
October 22, 1991 Letter Report: McColl Thermal Destruction
Alternative (collectively, the "ICF Reports") provide sufficient
detail for a feasibility study analysis, detail lacking in the
SAIC START Report. We have completed our initial review of the
ICF Reports and continue to have serious concerns regarding the
viability of on-site incineration at McColl. While the ICF
Reports do attempt to address the problems posed by on-site
incineration in more detail than the SAIC START Report by
broadening the scope of facilities that will be necessary if
there is any hope of meeting the South Coast Air Quality
Management District's ("SCAQMD") strict air quality requirements,
they contain no new information regarding the technical
feasibility of the operation or emissions control. Thus, they
provide no increased assurance that the operation will work or be
cost effective. Consequently, we continue to believe on-site
incineration is not practical, cost effective nor feasible at the
McColl Site.
         The following issues, most of which were raised in our
comments on the START Report, remain outstanding in the ICF
Reports:
                 •         Multiple incinerators will be required to maintain
                           a high on-stream factor and to deal with waste
                           characteristics. Two or more incinerators will be
                           needed for the solids, and at least one gas
                           incinerator will be needed to handle emissions



 The McColl Site Group Is composed ot                      Exhibit 46
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 Shell Oil Company, ARCO, Phillips Petroleum, Texaco and UNOCAL
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    McCOLL
    SITE s
    GROUP:            215 East Orangethorpe Avenue, Suite 304, Fullerton, California 92632 (714) 665-7391




  Mr. Dave Jones
  December 20, 1991
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                            from the multiple containment structures. It is
                            doubtful there is sufficient space available at the
                            Site for these facilities and the necessary air
                            pollution control equipment.
                  •         The ICF Reports imply that a 100 million btu/hr
                            incinerator at McColl could be operated 12 hours
                            per day, 300 days per year, yielding an on-stream
                            factor in excess of 95%. With a system of this
                            complexity, ICF is overly optimistic about the "on
                            stream factor" and the general performance of this
                            system. No allowance has been made in this number
                            for breakdowns, adjustment for varying waste feed
                            properties, and normal operations and maintenance
                            which will result in longer operating times and
                            higher costs, if even practical. We believe, at
                            this point in our analysis, an on-stream factor of
                            65% is more realistic yielding at least 4.5 years
                            to complete under EPA Option 1 and 10 years to
                            complete under EPA Option 2.
                  •         The ICF Reports acknowledge, in several places, and
                            we concur, that it may not be practicable to
                            control air emissions within the regulatory
                            limits. This is a significant concern, especially
                            in light of the fact that the emissions projections
                            included in the ICF Reports, as well as their
                            control, have been limited to the excavation
                            enclosure and the incinerator. The waste
                            pre-treatment activities will, by their nature,
                            disturb the materials, thereby leading to even more
                            emissions which must be controlled. Moreover,
                            since not all emissions (e.g., those from the
                            additional containment structures) have been
                            characterized, a complete human health risk
                            assessment has not been completed and the risks
                            posed to the community by the operation remain
                            unknown.
                  •         The scrubber wastewater and spent activated carbon
                            from the ICF enhanced emission treatment system
                            will add over 50% to the volume of waste that is
                            generated on-site. Rather than attaining a



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  Mr. Dave Jones
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                             significant reduction in volume of the waste,
                             treatment by incineration will increase the volume
                             of waste, a result which is inconsistent with the
                             goals of the Superfund program.
                   •        Because of the broad range of sulfur
                            concentrations, blending will be extremely
                            difficult to control, and we do not believe this is
                            a realistic or practical approach. We believe the
                            sulfur in the tarry materials and asphaltic cement
                            would have to be diluted with low sulfur cement to
                            achieve the desired incinerator input
                            concentrations for sulfur. Approximately 65,000
                            tons of low sulfur cement would have to be added,
                            more than doubling the volumes of these materials.
                            The results are to increase the processing time
                            approximately 40%, add to the amount of material
                            imported to the site, and increase the ultimate
                            volume of waste to be disposed.
                   •        The necessity of multiple containment structures
                            for the respective operations and the need to move
                            the materials from one containment area to the next
                            have not been characterized. The impact on the
                            schedule, costs and the ability to control fugitive
                            emissions will be significant. While theoretically
                            possible, it is not likely to be practical.
                   •         ICF still has not addressed the issue of noise
                            associated with an excavation and incineration
                            scenario. The ICF Report does not contain
                            information on 24 hour operation of the kiln,
                            ventilation equipment and air pollution control
                            devices needed for each structure. The kiln
                            temperature and rotation must be maintained to
                            minimize damage to the refractory. Further, the
                            complexity of the emission control system does not
                            lend itself to startup and shutdown of operations.
          We are under the impression the EPA is reluctant to
 screen the excavation and on-site incineration alternative from
 the process because the EPA believes that a great deal of work on
 this alternative has already been done. What the Agency fails to



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 realize is how much work has yet to be done if this alternative
 is to be actively considered. The work done to date has
 demonstrated that on-site incineration is not a viable
 alternative for McColl. All of the issues outlined above remain
 outstanding and present serious implementation questions.
 Addressing these issues will require significantly more work by
 the Agency and we believe that despite such work, most of the
 issues will remain unresolved.
          As we indicated in our November 20, 1991 letter,
 screening of the excavation and on-site incineration alternative
 at this time will considerably shorten the remedy selection
 process and allow valuable resources to be directed to
 implementable solutions. We encourage the Agency to seriously
 consider the significant issues that remain outstanding regarding
 on-site incineration and come to the realization that this
 alternative must be screened from the process now. We believe
 any other conclusion to be inconsistent with the NCP.
          We ask these comments be submitted to the McColl Site
 administrative record.
                                                         Very truly yours,


                                                         William J. Duchie
 WJD:cIw
 cc:      Mr John Blevins
          Ms. Pamela Wieman
          Mr Steve Linder
          Ms, Caroline Rudolph
          Mr, Steve Gaytan
          Mr, David Bushey
          Mr, Kenneth Ritter
          Mr, Barry Brown
          Mr, Dick Fraser
          Timothy R. Patterson, Esq.
          Ms. Lydia Goldshmidt




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                                                   November 27, 1991



   Ms. Pam Wieman
   U.S. EPA, Region IX
   75 Hawthorne Street, H-6-1
   San Francisco, California 94105
                    Re: McColl Superfund Site
   Dear Pam:
            Enclosed are five copies of ENSR Consulting and
   Engineering's "Review of the START Report for the McColl
   Superfund Site in Fullerton, California." ENSR's review
   identified four major areas of concern regarding the use of
   on-site incineration as the remedial action choice for the McColl
   Superfund Site.
                    •        Environmental Compliance. It will be extremely
                             difficult to develop a remedial system to meet all
                             of the technical requirements associated with
                             incinerator emissions and associated processes.
                             The physical management of the waste material will
                             require resources well beyond those identified in
                             the START Report. The system's ability to control
                             emissions and to comply with regulatory
                             requirements for emission control is unproven and
                             doubtful.
                   •         Health Risk Assessment. The START Report does not
                             address in full the health impact of the remedial
                             system. The associated risk to local residents is
                             thus significantly underestimated.
                   •         Operational Issues. The use of containment
                             structures complicates the control of emissions.
                             The START Report does not explain how activities
                             that disturb the waste (excavation, milling,
                             blending) can all be performed in containment
                             structures, without the escape of particulates and
                             pollutants from the Site. In addition, no working
                             model exists for many components of the proposed
                             remedial system. While the individual components
                             may theoretically meet regulatory requirements
                             under optimal conditions, the cumulative operating



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                            efficiency of the system will likely be compromised
                            by the interaction of the components as a whole.
                            The proposed duration, use of containment
                            structures and cyclical operation of the
                            incinerator will add stress to the system creating
                            less than optimal conditions. Moreover, it is
                            questionable whether a rotary kiln could comply
                            with SCAQMD requirements.
                  •         Duration. The duration of the project will extend
                            far beyond the initial estimate of one and one-half
                            years. Many factors, such as timing of the
                            approval process, repair periods on the system,
                            worker safety requirements and the required
                            blending of the waste materials, will contribute to
                            delay of the project.
          These problem areas combine to make excavation and
 on-site incineration an impractical alternative.
          We are willing to make our contractor available for
 discussion of these and other specific issues after you have had
 an opportunity to review the information. We have included
 copies of the report for Steve Linder, John Blevins and your
 contractor. We ask that this letter and the accompanying report
 be submitted into the administrative record for McColl.
                                                        Very truly yours,


                                                        William J.

 WJD/ceb
 Enclosure




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Ms. Pam Wieman
November 27, 1991
Page 3


 cc:     Ms. Caroline Rudolph
         Mr. Steve Gaytan
         Mr. Barry Eaton
         Mr. David Bushey
         Mr. Kenneth Ritter
         Mr. Barry Brown
         Larry Lawton, Esq.
         Ms. Lydia Goldschmidt




                                                           Exhibit 46
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